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                                  No. 22-1998

                 In the United States Court of Appeals
                         for the Third Circuit

  MONIQUE RUSSELL; JASMINE RIGGINS; ELSA M. POWELL;
                    DESIRE EVANS
                                      Appellants
                                          v.
            EDUCATIONAL COMMISSION FOR FOREIGN
                   MEDICAL GRADUATES,
                                           Appellee

             On Appeal from the United States District Court for the
     Eastern District of Pennsylvania, No. 2:18-cv-05629-JDW (Wolson, J.)


                       JOINT APPENDIX
                 VOLUME II, PAGES JA79 TO JA562
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    The J S 44 c ivil cove r s hee t a nd th e infonnation co ntained he re in ne ither rep lace nor supple me nt the fi ling a nd service of pl eadings or other papers as req uired by law, e xce pt as
    pro vided by loca l rules o f co urt. T h is form, approved by th e Judicial Co nfe re nce o f the Unit ed Sta tes in Septe mbe r 1974 , is req uired for the use of the C le rk o f Co urt for th e
    purpose of initi atin g the c iv il docket shee t. /SEE !NWRU(TIONS ON NEXT P.-IGE OF THIS FORM)

    I. (a) PLA INT IFFS                   Mon iq u e R u ssell , Jasm in e Riggins ,                                           DEFENDANTS                         E d u cati o n a l Comm ission for
                                          Elsa Powe ll , a n d Desire E v a n s                                                                                   F o reig n Medi cal G radua tes


       (b)    Co unty o f Res ide nce o f First Listed Pla int iff   An n e A ru nde l Cou n ty , M D                         Cou nt y o f Residence o f Fi rs t Listed Defenda nt     P hila d e lp hi a, P A
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             nce ntre lla@co nra d obrien .com 1500 Market St.                                                                    E lisa P . McEnroe                         1701 Ma rket S t.
             215-864-8098                      Cen tre Square , West Towe r, S u ite                              3900            bria n .sh a ffe r@ m o rga nl ewis .c o m Phila d e lp hi a , PA 19103
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0 110 Insurance                             PERSONAL INJURY                            PERSONAL INJURY              0 625 Drug Related Seizure                0 422 Appeal 28 USC 158                 0 375 False Claims Act
0 120 Marine                              0 3 IO Airplane                         0 365 Personal Inj ury -                of Property 2 1 USC 88 1            0 423 Withdrawal                        0 376 Qui Tam (31 USC
0 130 Miller Act                          0 315 Airp lane Prod uct                      Product Liability           0 690 Other                                     28 use 151                               3729(a))
0 140 Negot iable Instrument                     Liabi lity                       n 367 Health Care/                                                                                                  0 400 State Reappo11ionmcnt
0 150 Recovery of Overpayment             0 320 Assa ult. Libel &                       Phannaccut ical                                                                   -    •y   Uf    ,;1-1'1'~   0 410 Antit rust
       & Enforcemen t o f Judgment               Slan der                               Personal lnju1y                                                       0 820 Copyrights                        0 430 Banks and Banking
0 15 1 Medicare Act                      0 330 Federa l Emp loyers'                     Prod uct Liabi li ty                                                  0 830 Patent                            D 450 Commerce
0 152 Recovery of Defa ult ed                    Liabi lity                       0 368 Asbestos Personal                                                     0 835 Patent - Abbreviated              0 460 Dcpor1ation
      Student Loans                      0 340 Mari ne                                  Injury Product                                                              New Drug Application              D 470 Racketeer Infl uenced and
      (Excl udes Veterans)               0 345 Maiinc Product                           Liability                                                             0 840 Trademark                                Corrupt Organizations
0 153 Recovery of Overpayment                    Liability                            PERSONAL PROPERTY                        .,\ l OK                                              >K               D 480 Consumer Credit
                                                                                                                                                                        '" '
      of Veteran's Benefits              0 350 Motor Vehicle                     0 370 Other Fraud                 0 710 Fair Labor Standards                 0 86 1 HIA ( 1395fl)                    0 490 Cable/Sat TV
0 160 Stockholders' Suits                0 355 Motor Vehicle                     0 37 1 Truth in Lending                 Act                                  0 862 Black Lung (923)                  0 850 Securities/Commodities/
0 190 Other Contract                            Product Liab il ity              0 380 Other Personal              0 720 Labor/Management                     0 863 DIWC/ DIWW (405(g))                      Exchange
n 195 Contract Product Liab ility        ))(360 Other Personal                          Propc11y Damage                    Relati ons                         0 864 SS ID Title XV I                  n 890 Other Statu lmy Actions
0 196 Franchise                                 Injury                           0 385 Propert y D:un.i gc         0 740 Railway Labor Act                    0 865 RS I (405(g))                     D 89 1 Agri cultural Acts
                                         0 362 Personal Inju ry -                       Product Liability          0 75 1 Family and Medical                                                          0 893 Environmental Matters
                                                Medical Ma loraclicc                                                       Lea ve Act                                                                 0 895 Freedom of In fo rmation
I          REAL l'ROI'JlRTY                    CIVIL RIG HTS                          PRISONER PETITIONS           0 790 Ot her Labor Litigation                 FEDERAL TAX SUITS                           Act
0 210 Land Condemnation                   0 440 Other Civi l Rights                Habeas Corp us:                 0 79 1 Emp loyee Retirement                0 870 Taxes {U.S. Plaintiff             0 896 Arbitra ti on
0 '.!2.0 Foreclosure                      0 -l-ll Votin g                        0 463 Alien Detainee                     Income Security Act                        or Defendan t)                   0 899 Ad mini strati ve Procedure
0 '.!30 Renl Lease & Ejectment            D 442 Emp loym ent                     0 5 10 Motions to Vacate                                                     0 87 1 IRS- Third Par1y                       Act/Review or Appea l of
0 '.!40 To11s to Land                     0 443 Housing/                                Sent ence                                                                    26 USC 7609                            Agency Decision
0 '.!45 Tort Product Liabilit y                 Accommod.itions                  0 530 Ge nera l                                                                                                      0 950 Constituti onnlity of
0 290 All Other Rea l Pro p e11y          0   -l-45 Amer. w / Di s:ibi \ it ics - 0    535 Death Pe n a lty                 IMM IG RATION                                                                    Stale Statute:;
                                                Employment                 Ot her:                                 0 462 Naturnlization Applicat ion
                                          0 446 Amer. w/Disabi liti es - D 540 Mandamus & Other                    0 465 Other Immigration
                                                Other                    D 550 Civil Ri ght s                            Actions
                                          D 448 Education                0 555 Prison Cond ition
                                                                         D 560 Civil Detainee -
                                                                               Co ndition s of
                                                                               Confinement
V. ORIG IN (Place""              ··.1--· in One Box 011/y)
0 I       Orig inal          )( 2 Re moved from                     0     3     Re m anded fro m              0 4 Rein sta ted or       0      5 Trans ferred from             0 6 Mu lt idis trict            :J 8 Mult idistrict
          Proceeding                 State Co u11                               Appellate Co un                    Reo pe ned                     Anothe r Distri c t              Li tiga tio n -                    Litigatio n -
                                                                                                                                                  (spec1fv)                        Trans fer                          Direct File
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V I. CAUSE OF ACT ION i---1_33~2~1_44_1~ 1_
                                          4 4~6' - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                8 ,icr descripti o n o f ca use:
                                                    Negligence / Negligent Infliction of Emotiona l Distress
VII . REQUESTED IN                             ~ C HECK IF THIS IS A CLASS ACT IO N                                   DEMAND$                                             C HECK YES o nly if demanded in comp lai nt :
      COMPLA INT:                                     UN DER RUL E 23. F.R.Cv. P.                                                                                         .JURY DEMAND:                   ):;(Yes        ONo
VIII. RELATED CASE(S)
                                                    (See ins1111ctio11s):
      IFANY                                                                      J UDGE
DATE                                                                                   SIGNATURE OF ATTORNEY OF RECORD
              12.31.2018                                                  Brian W. Shaffer
FOR OFFICE USE ONLY

      RECEIPT #                      AMOUNT                                                AP PLYING IFP                                       JUDGE




                                                                                                                                                                                                                                              JA79
                    Case: 22-1998                       Document: 22-2                           Page: 20                     Date Filed: 09/08/2022

                         Case 2:18-cv-05629-JDW Document 1 Filed 12/31/18 Page 2 of 47


                                                                UNITED STATES DI STRI CT COU RT
                                                          FOR THE EASTERN DI STRI CT OF PENNSY LVAN IA

                                                                               DES IGNATION FORM
                       (to be used by counsel or prose plaiuti/fto indicate tir e cntegorl' o(llre cnseJor tire purpose o(assig11111e111 to tire appropriate ca/eudnr)

 Add ress of Plaintiff:         1906 Beeches Glory Path, Annapolis , MD 21401
 Add ress of Defendant:            3624 Market Street, Philadelphia , PA 19104

 Pl ace of Accident, In cident or Transact ion: Various
                                                            - - -- -- -- - - -- ---------------------------

 RELATED CASE, IF ANY:

 Case Number: - - - - - - - - - - - - - -                           Judge: - - - - - - - - - - - - - --                             Date Tenninated : _ _ _ _ _ __ _ __

 Civi l cases are deemed related when Yes is answered to any of the fo llowing questions:

 I.     Is this case related to prope,ty included in an earlier numbered suit pending or within one year
        previously tenninated act ion in this comt?
                                                                                                                                          Yes D                   No [8]


2.      Does this case invo lve the same issue of fact or grow out of the sa me transaction as a prior suit
        pending or within one year previously tenninated action in this cou1t?
                                                                                                                                          Yes D                   No ~


3.      Does this case invo lve the va lidity or infri ngement of a patent already in suit or any earlier
        numbered case pending o r within one year previous ly tenninated action of this coutt ?
                                                                                                                                          Yes D                   No   [8J
4.      Is this case a second or succ essive habeas corpus, soc ial security appea l, or prose civ il 1ights
        case filed by the same ind ividual?
                                                                                                                                          Yes D                   No ~


I ce1tify that, to my knowledge, the within case
this cmut except as noted above.

DATE:        12.31 .2018                                           Brian    W. Shaffer
                                                                                                                                                      Allomey I.D. ff (i(applicable)


C IVIL : (Place a ..J in one category onl y)

A.             Feder11I Question Ca.,es:                                                         B.    Diversity Jurisdictin11 Case.\·:

D       I.  Indemnity Contract, Ma rine Contract, and All Other Contracts                       D      i.    Insurance Co ntrnct and Other Contracts
0      2.   FELA                                                                                D      2.    Airplane Personal lnju,y
D      3.   Jones Act-Persona l lnju1y                                                          D      3.    Assa ult , Defamati on
D      4. Antitrust                                                                             D      4.    Marine Perso nal lnju1y
D      5. Patent                                                                                D      5.    Motor Vehicle Personal Inj ury          Negligence/Negligent
D      6.   Labor-Management Relations                                                          ~      6.    Other Personal lniu1y (Please specib>): Infliction of Emotional Distress
D      7. Civil Rights                                                                          D 1.         Products Liability
D      8. Habeas Corpus                                                                         D s.         Products Liabi li ty - Asbestos
D      9. Sccu,i ties Act(s) Cases                                                              D 9.         All other Diversity Cases
D      I 0. Social Sec u,i ty Review Cases                                                                   (Please speci/j•): - - - - - - - - - - - - - - - - - -
D      11 . All other Federal Question Cases
               (Please speci/j•): - - - - - - - - - - - - - - - - - -



                                                                                ARB ITRATION CE RTI FICAT IO N
                                                     (77,e ~!feet of this certification is to remove th e case .from eligibility for arb11ratio11.)

1,    Brian         W . Shaffer                               , counsel of record or pro se plaintiff, do hereby ce11ify:

              Pursuant to Local Civil Rule 53.2, ~ 3(c) (2), that to the best ofmy knowledge and be li e f, the damages recoverable in this civi l action case
              exceed the sum of $ 150,000.00 exclus ive of interest and costs:

               Rel ief other than monetmy damages is sought.


DATE         12.31 .2018                                           Brian    W . Shaffer
                                                                                                                                                  Attorney I.D. II (i(applicable)

NOTE: A tria l de novo will be a tria l by jury only if there has been compliance with F.R.C. P. 38.

c,,. 609 (5t20/8)




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                                                                    UNITED STATES DI STRICT COURT
                                                              FOR THE EASTERN DI STRI CT OF PENN SYLVAN IA

                                                                                   DESIGNATION FORM
                         (to be used by co1111sel or pro se plai11t(l(to indicate th e catego,y of th e case _/Or th e purpose ofn ssig11ml!11t to th e appropriate cale11dm )

 Address of Plaintiff:               1906 Beeches Glory Path , Annapolis , MD 21401

 Address of D efenda nt:              3624 Market Street, Philadelphia , PA 19104

 Place of Acciden t, In ci d ent or Transaction:                _V_a_r_io
                                                                        _ u_s_ ____________________ ____________


 RELATED CASE, IF ANY:

 Case Number:                                                            Judge:                                                           Date Tenninated:

 Civil cases are deemed related when Yes is answered to any of the following questions:

 I.      Is this case related to propetty included in an earlier numbered suit pending or within one year                                     Yes D                   No [8]
         previously tenninated action in this coutt?

 2.      Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                                    Yes D                   No ~
         pending or within one year previously tenninated action in this coutt?

 3.      Does this case invo lve the validity or infringement of a patent already in suit or any earlier                                      Yes D                   No ~
         numbered case pending o r within one year previously tenninated act ion o f this coutt?

 4.      ls this case a second or successive habeas corpus, social security appeal, or prose civi l tights                                    Yes O                   No ~




                                                                      ':,i:l~,~~:: :z :~                                                        :: :
         case filed by the same individual ?

 I cettify that, to my knowledge, the within case                    1
 this co utt except as noted above.
                                                                0                                                                                            p:~•,::B:•;iru<OO ,e,;,, io
 DATE:          12.31 .20 18
                                                                                  Allom ey-at-law I Pro Se Plainti[J" ./                                 Allom ey I.D. II (ilapplicable)

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C IVIL : (Place a .,/ in one category on ly)                                                                         /
A.               Fetleral Q11e.'itio11 Cases:                                                         B.    Dil,enity Juristlictin11 Cases:

D        I.   Indemnity Contract, Marine Contract, and All Other Contracts                           D      I.     Insurance Contract and O ther Contracts
D        2.   FELA                                                                                   D      2.     Ai tplane Persona l Injuty
D        3.   Jo nes Act-Persona l lnjuty                                                            D      3.     Assau lt , Defamatio n
D        4.   Antitmst                                                                               D      4.     Marine Persona l Injuty
D        5.   Patent                                                                                 D      5.     Motor Vehicle Personal lnju1y               Negligence/Negligent
D
                                                                                                     ~
         6.   Labor-Management Relations                                                                    6.     Other Persona l lnjuty (Pleas e speciJ.i,): Infliction of Emoti onal Distress
D        7. C ivil Rig hts                                                                                  7.     Products Liability
D        8.   Habeas Corpus                                                                          D      8.     Produc ts Liabi lity - A s h cs tos
D        9. Securities Act(s) Cases                                                                  D      9.     All other Diversity Cases
D        IO. Soc ial Sec u1i ty Review Cases                                                                       (Please specif.v):
D        II . All ot her Federal Questio n Cases
                 (Please specify):



                                                                                     AR BITRATION CERTIFI CATIO N
                                                         ( 771e effect of this certffication is to remove th e case from e!igibili1y fo r arb11 rario 11.)

1,     Brian W. Shaffer                                           , counsel of record or pro sc plaintiff, do hereby certify:

                 Pursuant to Loca l C ivil Ru ic 53.2, ~ 3(c) (2), that to the best ofmy knowledge and belief: the damages recoverable in this c ivi l actio n case
                 exceed the sutn of $ I 50,000.00 exc lusive o f interest and costs :

                 Relief other than mo nctaty damages is sought.


DATE           12.31 .2018                                             Brian W. Shaffer
                                                                                                                                                         Allom ey I.D. II (i(applicab/e)

NOTE : A trial de novo will be a trial by jury only if there has been compliance with F.R.C. P. 38.

Cl\'. fiM (i l }0/8J




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                         IN THE UNJTED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                     CASE MANAGEMENT TRACK DESIGNATION FORM
        Monique Russell, Jasmine Riggins,
                                                                            CIVIL ACTION
        Elsa Powell , and Desire Evans
                        V.
        Educational Commission for
                                                                            NO.
        Foreign Medical Graduates
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Fonn in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
side of this form.) Jn the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C . § 2241 through§ 2255.                            ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                  ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53 .2.     ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                          ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the comt. (See reverse side of this fonn for a detailed explanation of special
    management cases.)                                                                             (X)

(f) Standard Management - Cases that do not fall into      y one of the other tracks.              ( )



 12.31.2018
                                L~A                                Educational Commission for Foreign
                                                                   Medical Graduates
Date                                                                    Attorney for
 1.215.963.5000                  1.215.963.5001                      brian.shaffer@morganlewis.com

Telephone                            FAX Number                         E-Mail Address



(Civ. 660) I0/02




                                                                                                           JA82
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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EV ANS,
                                                         Civil Action No. - - - - - -
                     Plaintiffs,

         V.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                     Defendant.


                            DEFENDANT'S NOTICE OF REMOVAL

         Defendant Educational Commission for Foreign Medical Graduates ("ECFMG"), by and

through the undersigned counsel, hereby removes Case No. 181101690, Monique Russell et al. v.

Educational Commission for Foreign Medical Graduates, a putative class action pending in the

Court of Common Pleas of Philadelphia County, Pennsylvania (the "Action"), to the United

States District Court for the Eastern District of Pennsylvania. ECFMG removes the Action

pursuant to 28 U.S.C. §§ 1332, 1441, 1446, and 1453 on the factual and legal grounds discussed

below.

I.       Introduction

              1. As set forth below, the Action is properly removed to this Court pursuant to 28

U.S.C. § 1441, because this Court has jurisdiction under the Class Action Fairness Act, 28

U.S.C. § 1332(d) ("CAFA"), because this Action is a civil action in which the amount in

controversy alleged exceeds the sum of $5,000,000 exclusive of costs and interest, has more than

100 members in the proposed putative class, and is between citizens of different states.

              2. By filing this notice ofremoval, ECFMG does not intend to waive, and hereby

reserves, any objection as to venue, the legal sufficiency of the claims alleged in the Action, and



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                                                                                                      JA83
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all other defenses. ECFMG reserves the right to supplement and amend this notice ofremoval.

II.      Background

             3. On November 14, 2018, Plaintiffs Monique Russell, Jasmine Riggins, Elsa M.

Powell, and Desire Evans (the "Named Plaintiffs") coml)1enced this putative class action against

ECFMG by filing a Complaint in the Court of Common Pleas of Philadelphia County,

Pennsylvania, entitled Monique Russell et al. v. Educational Commission for Foreign Medical

Graduates, Case No. 181101690.

             4. The Complaint alleges that ECFMG is liable for negligence and negligent

infliction of emotional distress in connection with its alleged improper certification of a third

party foreign medical graduate ("Oluwafemi Charles Igberase (a/k/a/ Charles J. Akoda, M.D.)")

as having met certain criteria to be eligible to enter a residency or fellowship program in the

United States. The Complaint seeks an order certifying the proposed putative class, a judgment

ofliability against ECFMG, "compensatory damages to each class member in an amount which

exceeds seventy-five thousand dollars," litigation costs and expenses, attorneys' fees, pre-

judgment and post-judgment interest, punitive damages, and any other relief the Court deems

appropriate. See Compl., Prayer for Relief.

             5. The proposed putative class consists of"[a]ll patients examined and/or treated in

any manner by Oluwafemi Charles Igberase (a/k/a/ Charles J. Akoda, M.D.)." Id.                ,r 48.   The

Complaint asserts that this class contains more than 1,000 members. Id.            ,r 50.
            6. ECFMG was served with a copy of the Summons and Complaint on or about

December 10, 2018. 1

            7. ECFMG has not yet filed an answer or responsive pleading to the Complaint.


1
  The Summons and Complaint, which together comprise "all process, pleadings, and orders served" on Defendants
in this Action, see 28 U.S.C. § 1446(a), are attached hereto as Exhibit A.



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                                                                                                                 JA84
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    III.    Jurisdiction

                 8. CAFA creates federal jurisdiction over lawsuits in which "the matter in

    controversy exceeds the sum or value of $5,000,000, exclusive of interest and costs, and is a

    class action in which ... any member of a class of plaintiffs is a citizen of a State different from

    any defendant," and involves a putative class that consists that consists of more than 100

members. 28 U.S.C. § 1332(d)(2)(A) and (d)(5). All of these requirements are met here.

            A.       Minimal diversity exists.

                 9. CAFA requires only minimal diversity, and in class action lawsuits, "[t]he district

courts shall have original jurisdiction of any civil action in which ... any member of a class of

plaintiffs is a citizen of a State different from any defendant." 28 U.S.C. § 1332(d)(2)(A). Such

diversity of citizenship exists here.

                 10. None of the Named Plaintiffs are citizens of Pennsylvania. See Compl.     ilil 1 & 3-
4 (Plaintiffs Russell, Powell, and Evans reside in Maryland); id. ,i 2 (Plaintiff Riggins resides in

Washington, D.C.).

                 11. For purposes of diversity, a corporation is deemed to be a citizen of (1) the state

under whose laws it is organized; and (2) the state of its "principal place of business." 28 U.S.C.

§ 1332(c)(l). ECFMG is a Pennsylvania corporation with its principal place of business in the

Commonwealth of Pennsylvania. Compl.             il 5; Pennsylvania Statement ofDomesticati01i;
Articles oflncorporation. 3 Thus, for purposes of CAFA jurisdiction, ECFMG is a citizen of

Pennsylvania, and no other state. 28 U.S.C. § 1332(c)(l).




2
    Attached hereto as Exhibit B.
3
    Attached hereto as Exhibit C.



                                                       - 3-




                                                                                                             JA85
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             12. Accordingly, the minimal diversity requirement of CAF A is satisfied given that

the Named Plaintiffs are citizens of states other than Pennsylvania and ECFMG is a citizen of

Pennsylvania.

             13. Moreover, the restriction in 28 U.S.C. § 1441(b)(2) that actions otherwise

removable solely on the basis of diversity of citizenship may not be removed if a defendant is a

citizen of the State in which the action is brought applies only to removal under§ 1332(a), not -

as is the basis here-§ 1332(d) (CAFA).

        B.      The amount in controversy exceeds $5,000,000.

             14. Although ECFMG denies all liability alleged in the Complaint and denies that

class treatment is appropriate for this Action, if damages were awarded on Plaintiffs' claims as

Plaintiffs allege, the aggregate amount as to the putative class would exceed $5,000,000

exclusive of interest and costs.

             15. ECFMG denies Plaintiffs' substantive allegations, denies that Plaintiffs are

entitled to any of the relief sought in the Complaint, and do not waive any defense with respect

to any of Plaintiffs' claims. Nonetheless, for these purposes, the amount in controversy is

detennined by accepting Plaintiffs' allegations as true. See Dart Cherokee Basin Operating Co.,

LLC v. Owens, 135 S. Ct. 547, 549-50 (2014) ("The amount-in-controversy allegation of a

plaintiff invoking federal-court jurisdiction is accepted if made in good faith. Similarly, the

amount-in-controversy allegation of a defendant seeking federal-court adjudication should be

accepted when not contested by the plaintiff or questioned by the court."); Horton v. Liberty Mut.

Ins. Co., 367 U.S. 348,353 (1961) ("The general federal rule has long been to decide what the

amount in controversy is from the complaint itself."); Abington Twp. v. Crown Castle NG E.

LLC, No. CV 16-5357, 2017 WL 57142, at *2 (E.D. Pa. Jan. 5, 2017) ("In ascertaining the

amount in controversy in a removal case, a court must first look to the complaint." (citing


                                                  - 4-




                                                                                                     JA86
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Samuel-Bassett v. KIA Motors Am., Inc., 357 F.3d 392, 398 (3d Cir. 2004)).

              16. Here, the proposed putative class is alleged to consist of more than 1,000 putative

class members (Compl.       il 50), and the Complaint alleges that each putative class member is
entitled to compensatory damages in an amount that exceeds $75,000 (Compl., Prayer for Relief,

Page 18   il F).   As a result, based on allegations in the Complaint, the amount in controversy,

exclusive of interests and costs, exceeds $75,000,000, which is well above CAFA's $5,000,000

amount-in-controversy requirement. ECFMG does not waive any argument as to the sufficiency

or size of Plaintiffs' alleged class or as to the damages alleged.

         C.        The putative class exceeds 100 members.

              17. The Complaint alleges that "[t]he Class consists of more than one thousand

(1,000) patients and is thus so numerous thatjoinder of all members is clearly impracticable."

Comp1.    il 50.   Therefore, the size of the putative class well exceeds 100 members.

IV.      The procedural requirements for removal are satisfied.

              18. This Court is the proper venue for removal because the Action is pending in the

Court of Common Pleas of Philadelphia County, Pennsylvania, and the United States District

Court for the Eastern District of Pennsylvania is the "district and division embracing the place

where such action is pending." 28 U.S.C. § 1441(a).

              19. ECFMG timely filed this notice ofremoval. ECFMG was served with the

Summons and Complaint on December 10, 2018. Accordingly, ECFMG filed this notice of

removal within 30 days of being served. 28 U.S.C. §§ 1446(b); 1453(b); Murphy Bros., Inc. v.

Michetti Pipe Stringing, Inc., 526 U.S. 344,354 (1999) (explaining that the time for filing a

notice of removal does not run until a party has been served with the summons and complaint

under the applicable state law).




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                                                                                                        JA87
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           20. As required by 28 U.S .C. § 1446(d), a copy of this notice ofremoval is being

promptly served upon counsel for Plaintiffs, and a copy is being filed with the Clerk of the Court

of Common Pleas of Philadelphia County, Pennsylvania.



       WHEREFORE, ECFMG hereby removes the above action now pending in the Court of

Common Pleas of Philadelphia County, Pennsylvania, Case No. 181101690 to the United States

District Court for the Eastern District of Pennsylvania.



Dated: December 31 , 2018


                                                        B1ian W. Shaffer, PA · ar No. 78851
                                                        Elisa P. McEnroe, PA Bar No. 206143
                                                        brian.shaffer@morganlewis.com
                                                        elisa.mcenroe@morganlewis.com
                                                        1701 Market Street
                                                        Philadelphia, PA 19103-2921
                                                        Telephone:      + 1.215.963 .5000
                                                        Facsimile:      + 1.215.963.5001

                                                        Attorneys for the Educational Commission
                                                        for Foreign Medical Graduates




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                                                                                                     JA88
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                                 CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing has been sent this 31st day of December,

2018 via first class U.S. mail, postage prepaid, to:

       Nicholas M. Centrella
       Conrad O'Brien PC
       1500 Market Street
       Centre Square, West Tower, Suite 3900
       Philadelphia, PA 19102-2100




                                                  Brian W. Shaffer




                                                 -7 -



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                EXHIBIT A




                                                 -   ---~---   --~--

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              02.urt of fommon Pleas of Philadelphia County
                        ·    Trial Division
                          Civil Cover Sheet
 ! PLAINTIFPS NAME -
I   MONIQUE ROSSELL
                                                                                               DEFENDANT'S N A M E \ ,


                                                            ·---------i-l-~-~_1_g_t_r_~-~-~-AL--C-O_MM_I_S_S_I_ON_F_O_R_·,_F_O
                                                                                                                             __RE_I_G_N_ME_D_I_C:: ____.
'. PLAINTIFPS ADDRESS                                                                      j   DEFENDANrS ADDRESS                                                           I
·1    1906 BEECHES GLORY PATH MD 21401                                                           3624 MARKET STREET
      ANNAPOLIS MD 21401                                                                         PHILADELPHIA PA 19104                                                      ,
!                                                                                          I
     PLAINTIFF'S NAME                                                                          OEFENOANrS NAME
1 JASMINE RIGGINS

I PLAINTIFPS ADDRESS                                                                       i DEFENDANT'S ADDRESS
      312 37TH STREET APT #304
      WASHINGTON, DC DC 20019

I
' PLAINTIFPS NAME                                                                          , DEFENDANT'S NAME
[ ELSA POWELL

     PLAINTIFF'S ADDRESS                                                                       DEFENDANrS ADDRESS
      12705 LIVE OAK PLACE
      UPPER MARLBORO MO 20772

                                                                                           I
i TOTAL NUMBER OF PLAINTIFFS                    TOTAL NUMBER OF DEFENDANTS         COMMENCEMENT OF ACTION

                      4                                          1
                                                                                    I'iJ   Complaint             D   Petition Action              D      Notice of Appeal
                                                                                    D      Writ of Summons       D   Transfer From Other Jurisdictions
     AMOUNT IN CONTROVERSY            I   COURT PROGRAMS

                                      i D Arbitration                      D   Mass Tort                         0   Commerce                    0       Settlement
!D         $50.000.00 or less
                                      l   D     Jwy                        D   Savings Action                    0   Minor Court Appeal          D       Minors
J    !xi   More than $50.000.00           D     Non-Jwy                    D   Petition                          D   Statutory Appeals           D       W/D/Survival
                                          1xJ   Other. _CLASS        ACTION_____________ __
     CASE TYPE ANO CODE

       Cl - CLASS ACTION

! STATUTORY BASIS FOR CAUSE OF ACTION




                                                                                       Al.ED                                      i IS CASE SUBJECT TO
                                                                                                                                  : COORDINATION ORDER?
                                                                                    PRO PROlH'r                                                 YES            NO


                                                                                 NOV 14 2018
                                                                                       C. FORTE

     'FO:'fHe FR0IBOt,i,0'fAA't::'"'·'. ,.,-;,--;;:: :.::. '.
     Kin~y-ent~~·my.appe~~~--on5e~;lf~fP\aintiff/Petitioner/Appellant: MONIQUE RUSSELL, JASMINE RIGGINS,
                                                                       ELSA POWELL, DESIRE EVANS
     Papers may be served at the address set forth below.

     NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S AITORNEY                                     ADDRESS

       NICHOLAS M. CENTRELLA                                                                    CENTRE SQUARE, WEST TOWER
                                                                                                1500 MARKET STREET, SUITE 3900
                                                                                                PHILADELPHIA PA 19102
                                                  l (215) 864-9620
     PHONE NUMBER                                 , FAXNUMBER
       (215)864-8098

     SUPREME COURT IDENTIFICATION NO,                                                      I E·MAIL ADDRESS
I      67666                                                                               I ncentrella@conradobrien.com
                                                                                           I
     SIGNATURE OF FILING ATTORNEY OR PARTY                                                     DATE SUBMITTED
'      NICHOLll.S CENTRELLA                                                                     Wednesday, November 14, 2018, 04:54 pm

                                                                FINAL COPY (Approved by the Prothonotary Clerk)




                                                                                                                                                                                JA91
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COMPLETE LTST OF PLAINTIFFS:
    1. MONIQUE RUSSELL
         1906 BEECHES GLORY PATH MD 21401
         ANNAPOLIS MD 21401
    2. JASMINE RIGGINS
         312 37TH STREET APT #304
         WASHINGTON, DC DC 20019
    3. ELSA POWELL
         12705 LIVE OAK PLACE
         UPPER MARLBORO MD 20772
    4. DESIRE EVANS
         4057 PARKER COURT
         WALDORF MD 20602




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  Nicholas M. Centrella, Esquire (I.D. No. 67666)
  Howard M. Klein, Esquire (I.D. No. 33632)
  Benjamin 0. Present, Esquire (I.D. No. 322682)
  CONRAD O'BRIEN PC
  1500 Market Street, Suite 3900
  Centre Square, West Tower
  Philadelphia, PA 19102-2100
  ncentrella@conradobrien.com
  hklein@conradobrien.com
  bpresent@conradobrien.com
  215.864.9600

MONIQUE RUSSELL                                         IN THE COURT OF
1906 Beeches Glory Path                                 COMMON PLEAS OF
Annapolis, IVID 21401                                   PHILADELPHIA COUNTY
                                                        PENNSYLVANIA
and

JAS:i\llINE RIGGINS
312 37th Street, Apt. #304
Washington, DC 20019

and                                                     Case No._ _ _ _ _ __

ELSAM. POWELL
12705 Live Oak Place
Upper Marlboro, MD 20772

and

DESIRE EVANS                                            CIVIL ACTION --
4057 Parker Comt                                        PERSONAL INJURY
Waldorf, MD 20602                                       CLASS ACTION

        on their own behalf and on behalf of
        all others similarly situated,

                Plaintiffs

               V.

EDUCATIONAL COIVIMISSION FOR                            JURY TRIAL DEMANDED
FOREIGN 1v1EDICAL GRADUATES,
3624 Market Street
Philadelphia, PA 19104




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              Defendant




                                    NOTICE TO DEFEND
                      ~                                                  AVISO
          YOU HAVE BEEN SUED IN COURT. If you       LE HAN DEl!1ANDAD0 A USTED EN LA CORTE. Si
  wish to defend against the claims set forth       usted qUiere defenderse de estas demandas
  in the following pages, you must take             expuestas en las paginas siguientes, usted
  action within twenty (20) days after this         tiene veinte (20) dias de plazo al partir
  Complaint and Notice are served, by               de la fecha de la demanda y la
  entering a written appearance personally or-      notificacion.- Hace falta ascentar una
  by attorney and filing in writing with the        comparencia escrita o en persona o con un
  Court your defenses or objections to the          abogado y entregar a la carte en form
  claims set forth against you. Yuu ".ce            excrita sus defensas o sus objcciones a las
  warned that if you fail to do so the case         demandas en contra de su persona. Sea
  may proceed without you and a judgment may        avisado que si usted nose defiende, la
  be entered against you by the Court wit.bout      carte tomara medidas y puede continuar la
  further notice for any'money claimed in the       demanda en contra suya sin previo·aviso o
  Complaint or for any other claim or relief        notificacion. Ademas, la corte puede
  requested by the Plaintiff.    You may lose       decidir a favor del demandante y requiere
  money or property or other rights important       que used cumpla con todas las provisiones
  to you.                                           de esta demanda. Usted puede perder dinero
                                                    o sus propiedades u otros derechos
          YOU SHOULD TAKE THIS PAPER TO YOUR        importantes para usted.
  LAWYER AT ONCE. IF YOU DO NOT HAVE A                     LLEVE ESTA DEMANDA A UN ABOGADO
  LAWYER OR CANNOT AFFORD ONE, GO TO OR             IMMEDIATEMENTE. SI NO TIENE ABOGADO OSI
  TELEPHONE THE OFFICE SET FORTH BELOW TO           NO TIENE EL DLNERO SUFIC!ENTE DE PAGAR TAL
  FIND OUT WHERE YOU CAN GET LEGAL HELP.            SERVICIO, VAYA EN PERSONA O LLAME POR
  THIS OFFICE CAN PROVIDE YOO WITH                  TELEFONO A LA OFICINA CUYA DIRECCION SE
  INFORMATION ABOUT HIRING A LAWYER.                ENCUENTRA ESCRITA ABAJO PARA. AVERIGUAR
          IF YOU CANNOT AFFORD TO HIRE A            DONDE SE PUEDE CONSEGUIR ASISTENCIA LEGAL.
  LAWYER, THIS OFFICE MAY BE ABLE TO PROVIDE        ASOCIACION DE LICENCIADOS DE FILAOELFIA
  YOU WITH INFORMATION ABOUT AGENCIES THAT                         One Reading Center
  MAY OFFER SERVICES TO ELIGIBLE PERSONS AT A                   Philadelphia, PA 19107
  REDUCED FEE OR NO FEE.                                         Telefono: (215)238-1701
           PHILADEL?HIA BAR ASSOCIATION
     LAWYER REFERRAL AND INFORMATION SERVICE
                   One Reading Center
    Philadelphia, PA 19107     Telephone:(215)
                     238-1701

                           CLASS ACTION CIVIl., COMPLAINT

       Plaintiffs Monique Russell, Jasmine Riggins, Desire Evans and Elsa Powell, on their own

behalf and on behalf of all others similarly situated, through their undersigned attomeys, hereby

submit this Class Action Complaint against Defendant Educational Commission for Foreign

Medical Graduates and state as follows:

                                PARTffiS AND JURISDICTION

       1.      PlaintiffMonique Russell currently resides in Prince George's County, Maryland.

       2.      Plaintiff Jasmine Riggins currently resides in Washington, DC.

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       3.       Plaintiff Elsa Powell currently resides in Prince George's County, Maryland

       4.       Plaintiff Desire Evans currently resides in Charles County, Maryland.

       5.       Defendant Educational Commission for Foreign Medical Graduates ("ECFMG")

is a non-profit corporation organized under the laws of Illinois with its principal office in

Philadelphia, Pennsylvania. Among other things, ECFMG ce1tifies whether international

medical graduates have met the minimum standards of eligibility for accredited residency and

fellowship programs in the United States by verifying the validity of an IMG' s medical school

diploma and fmal medical school transcripts and insuring that the IMG's have taken and passed

certai11 standardized examinations. ECFMG carries out its functions in all or virtually all 50

states and the District of Columbia.

       6.       The matter in controversy exceeds the sum of fifty thousand dollars ($50,000.00)

exclusive of interest and costs and thus is not subject to compulsory arbitration under

Philadelphia Local Rule 1301.

       7.       This Comi has jurisdiction over this case under Pa. C.S.A. § 942.

       8.       This Court has personal jurisdiction over ECFMG as ECFMG has its principal

place of business in Philadelphia and systematically and continually transacts business in

Pennsylvania.

       9.       The Court of Common Pleas of Philadelphia County is the appropriate venue

under Pa. Rule 2179 (a) because ECFMG's p1incipal place of business is located in Philadelphia

and ECFMG regularly conducts business in Philadelphia.

                                  FACTUAL ALLEGATIONS

   A. The Role of the Defendant ECFMG in Certifying Foreign Medical Graduates

       10.      A person who receives their medical education outside of the United States and

Canada is referred to as an international medical graduate ("IMO"). In order for an IMO to

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practice medicine in the United States, the IMG must apply to the ECFMG, which verifies that

the IMG has obtained a diploma from a medical school recognized by the country in which the

school is situated; that the school ls listed in the Intemational Medical Education Directory; that

the curriculum requirement is a minimum of 4 academic years; that the IMG has passed steps I

and 2 of the United States Medical Licensing Examination (USMLE), has passed the Clinical

Skills Assessment Examination and has passed the Test of English as a Foreign Language.

Additionally, the ECFMG verifies the validity of primary source documentation such as diploma,

transcript and other credentials. When all of this is satisfactorily completed, the ECFMG issues

a certification to the IMG.

       11.     To enter programs of graduate medical education in the United States accredited

by the Accreditation Council for Graduate Medical Education ("ACGME"), IMG's must hold a

standard ECFMG certificate without expired examination dates, if applicable. When an Th1G

applies to a residency program using the Electronic Residency Application Service ("ERAS"),

the ECFMG automatically transmits an ECFMG status report to the residency program to which

the IMG applies.

       12.     The ERAS was developed by the Association of American Medical Colleges

("AAMC") to transmit residency applications and supporting documents, such as transcripts,

letters of recommendation and medical student perf0tmance evaluations to residency program

directors over the Internet. The ECFMG acts as "the dean's office" for all IMG's and supports

the ERAS application process for those applicants. The ECFMG provides each IMG applicant

with a unique identification number, known as a token, which allows the IMG applicant to

access the AAJ:vIC's ERAS web site to complete the ERAS application. The IMG applicant also

sends supporting documents to the ECFMG for scanning and transmission. ECFMG transmits


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         an ECFMG status repo1t to the graduate program to which the IMG applies. The ECFMG also

         transmits the IMG applicants' USIYlLE transcript, as requested by the applicant. All documents

         are transmitted to the ERAS post office, where they are accessible to the residency programs.

                13.     Generally speaking, application materials consist of a curriculum vitae,   a copy of

         the universal residency application fo1m, a cover letter addressed to each residency program

         director, evidence of graduation from medical school, ECFMG ce1tification and letters of

         recommendation from U.S. physicians, along with a one-page personal statement detailing the

         unique qualifications of the applicant.

                14.     Foreign national IMG's must obtain an appropriate Visa (or immigration status or

         work authorization) in order to participate in U.S. residency training. There are various visa

         options available for persons who seek entry into U.S. graduate medical programs.

            B. ECFMG Certified Oluwafemi Charles Igberase under Multiple Fictitious Identities.

                15.     In or about October 1991, Oluwafemi Charles Igberase ("Igberase") came to the

         U.S. from Nigeria pursuant to a Nonimmigrant Visa. Igberase purportedly graduated from

         medical school in Nigeria; however, it is alleged that Igberase never attended or graduated from

         a medical school.

                16.     In or about November 1991, lgberase applied for and obtained a social security

         number (XXX-XX-5054) using an Aplil 17, 1962 date of birth and the name Oluwafemi Charles

         Igberase.

                17.     In or about April 1992, Igberase submitted an application for certification by

         ECFMG using the 5054 social security number, an April 17, 1962 date of birth, and the name

         O luwafemi Charles Igberase. On or about October 4, 1993 ECFMG issued Ce1tificate 0-482-

         700-2 to Oluwafemi Charles Igberase.



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        18.    In or about March 1994, lgberase submitted a second application for certification

by ECFMG using a false date of birth and a different name -- lgberase Oluwafemi Charles. On

December 14, 1994 ECFMG issued Certificate 0-519-573-0 to Igberase under the fictitious name

Igberase Oluwafemi Charles.

       19.     In or about January 1995, Igberase applied for and obtained a second social

security number (XXX-:XX-9065) using a false date of birth.

       20.     On November 27, 1995, the ECFMG Committee on Medical Education

Credentials determined that Igberase fraudulentl,Y applied for and obtai'ned two ECFMG

certifications under two different names, thereafter revoking the certification issued to

Oluwafemi Charles Igberase and invalidating the certification under the name Igberase

Oluwafemi Charles.

       21.     In or about August 1996, Igberase submitted yet a third application for

ce1tification to ECFMG, using a false Nigerian passport and a different name-John Charles

Akoda. On August 18, 1997 ECFMG issued Certificate 0-553-258-5 to Igberase under the

fictitious name John Charles Akoda (the "Akoda identity"). In 1998, Igberase using the Akoda

identity, provided ECFMG with social security number 9065.

       22.     In or about 1998, Igberase applied for a residency program at Jersey Shore
Medical Center ('"JSMC") under the Akoda identity. On or about July 1, 1998, he began a

residency program at JSMC under the name Akoda.

       23.     In or about September 1998, Igberase applied for and obtained a third social

security number (XXX-XX-7353) using a false date of birth.

       24.     In or about 1999, an individual applied for and obtained a social security number

(XXX-XX-1623).



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       25.     On or about August 11, 2000, JSMC notified ECFMG that the individual they

knew as Akoda had served as a resident in two other U.S. residency programs under the name

lgberase and that this individual was using a social security number issued to Oluwafemi Charles

Igberase. ECFMG was asked to investigate this matter.

       26.     On or about August 29, 2000 in response to a request from ECFMG that he

respond to the JSMC allegations, Igberase, utilizing the Akoda identity, corresponded to

ECFMG, stating the JSMC allegations were false, representing that 1gberase was his cousin and

admitting to using Igberase's social security number.

       27.     On or about September 27, 2000, lgberase, using the Akoda identity, went to

ECFMG's office and met in person with William C. Kelly, Manager, Medical Education

Credentials Department at ECFMG. Igberase, using the fictitious Akoda identity, told Kelly that

. he and Igberase were cousins and provided an obviously fraudulent passport and Nigerian

international driver's license. Akoda again admitted to using Igberase's social security number.

       28.     On or about December 21, 2000, JSMC advised ECFMG that the individual they

knew as Akoda had been dismissed from its residency program for using a false social secudty

number and false green card. ECFMG, however, took no action to restrict or retract the

certification issued to Igberase under the fictitious Akoda identity.

       29.     In or about 2006 Igberase applied for a residency at Howard University Hospital

under the Akoda identity using the 1623 social security number assigned to another individual.

He completed this program in 2011. He thereafter applied for and received on September 14,

2011 a Maryland medical license using the name "Charles John Nosa Akoda," a fake SSN, a

fake permanent residence card and a fake Nigerian passport.




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        30.     In or about October 2011 Igberase obtained privileges and became a member of

the medical staff at Prince George's Hospital Center under the name "Charles John Nosa

Akoda," using a fake permanent resident card, a fake Maryland driver's license, fake Nigerian

passport and fake letters ofrecommendation. Igberase began seeing patients at Prince George's

Hospital Center under this fraudulent identity on or about November 5, 2011.

        31.     In Match 2012, the Center for Medicare and Medicaid Services("CMS") denied

Igberase's application to enroll for Medicare reimbursement under the Akoda identity, which had

utilized the same documentation used to gain privileges at Prince George's Hospital Center due

to CMS' detennination that he did not provide an accurate social security number.

        32.     From 2008 through 2016, Igberase acted as a doctor practicing obstetrics and

gynecology under the Akoda identity. During that time, Igberase represented to the public and to

the Plaintiffs that he possessed the degree of skill, knowledge and ability ordinarily possessed by

a reasonably prudent OB/GYN practicing under the same or similar circumstances as those

involving the Plaintiffs.

        33.     For some of this time, Igberase, using the Akoda identity, acted as a doctor

practicing obstetrics and gynecology with a medical.practice owned by A. G. Chaudry, M.D.

Between February 20, 2012 and June 4, 2012, lgberase was employed by Dimensions Healthcare

Associates, Inc., which was the corporate entity that operated an ob-gyn practice group lmown as

Dimensions Obstetrics and Gynecology Associates.

    C. Criminal Investigation of Igberase's Conduct

        34.     On June 9, 2016, law enforcement executed search warrants at Igberase's

residence, medical office and vehicle where they found fraudulent or altered documents related

to immigration, medical diplomas, medical transcripts, letters of recommendation and birth

certificates.
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       35.     On or about November 15, 2016 Igberase signed a plea agreement admitting to

misuse of a social security account number.

       36.     On or about December 19, 2016, ECFMG revoked certificate number 0-482-700-

2 issued to "Akoda", based upon his plea agreement with the U.S. -- the same conduct Igberase

had admitted to in 2000.

       37.     On or about March 2, 2017, Igberase was sentenced by the United States District

Court for the District of Maryland to six (6) months incarceration, three (3) years supervised

release, home detention for six (6) months and an assessment of one hundred dollars ($100.00).

       38.     Shortly thereafter in early 2017, Prince George's Hospital Center terminated

Igberase's medical privileges.

       39.     On or about July 10, 2017, the Maryland Board of Physicians revoked Igberase's

medical license on the basis of a fraud and felony conviction.

   D. Medical Treatment Rendered to the Plaintiffs.

       40.     The Plaintiff.Monique Russell was a patient ofigberase on or about May 25,

2016. Igberase delivered Monique Russell's child through unplanned emergency cesarean

section surgery.

       41.     The Plaintiff Jasmine Riggins was a patient oflgberase between August 2012 and

March 2013. Igberase delivered Jasmine Riggins' child through unplanned emergency cesarean

section surgery.

       42.     The Plaintiff Elsa Powell was a patient ofigberase on or about September 17,

2014, and on several occasions thereafter. Igberase delivered Elsa Powell's son on that date at

Price Georges' Hospital Center.

       43.     The Plaintiff Desire Evans was a patient oflgberase on or about March 17, 2016.

Igberase delivered her child on that date at Prince Georges' Hospital Center.
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       44.     The Plaintiffs and other similarly situated chose lgberase, who they knew as

Akoda, as their obstetrician/gynecologist, on the basis of their belief that Akoda had obtained all

necessary credentials and certifications required of physicians practicing in the United States,

including ce1tification from ECFMG.

       45.     None ofigberase's patients, including those at Howard University Hospital,

Prince Georges' Hospital Center, and the medical practice of Abdul G. Chaudry, M.D., knew

Igberase's true identity, but rather knew him as Akoda.

       46.     None of Igberase's patients, including those at Howard University Hospital,

Prince Georges' Hospital Center, and the medical practice of Abdul G. Chaudry, M.D. gave

consent to this physician impersonator to perform examinations, invasive procedures and

surgeries on their persons.

       47.     On many occasions, lgberase penetrated his patients with parts of his body

through the vaginal canal and through the stomach in pe1fonning medical services. Additionally,

Igberase performed inappropriate examinations of a sexual nature while utilizing inappropriate

and explicit sexual language. lgberase's penetrations of his patients were clear boundary

violations.

                      CLASS ACTION ALLEGATIONS-PA RULE 1702

       48.     Named Plaintiffs bring this action on behalf of a Class which consists of:

               Al1 patients examined and/or treated in any manner by Oluwafemi
               Charles Igberase (a/k/a Charles J. Akoda, M.D.).

       49.     The Class as defined above, is identifiable. The Named Plaintiffs are members of

the Class.

        50.    The Class consists of more than one thousand (1,000) patients and is thus so

numerous thatjoinder of all members is clearly impracticable.


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       51.     There are questions of law and fact which are not only common to the Class but

which predominate over any questions affecting only individual Class Members.

       52.     The common and predominating questions include, but are not limited to:

               a. Whether Igberase committed boundary violations on class members.

               b. Whether ECFMG's' actions and/or alleged failures to act, including their

                   alleged negligent failure to certify Igberase and properly investigate and deny

                   or revoke Igberase certification directly and proximately resulted in

                   foreseeable injuries or damages to Class Members

       53.     The Claims or defenses of the Named/Representative Plaintiffs are typical of the

claims or defenses of the respective members of the Class and are based pn and arise out of

similar facts constituting the wrongful conduct ofECFMG.

       54.     Named Plaintiffs will fairly and adequately assert and protect the interests of the

Class under the criteria set forth in Rule 1709. The interests of Named Plaintiffs and of all other

members of the class are identical.

       55.     Named Plaintiffs are cognizant of their duties and responsibilities to the Class.

       56.     Named Plaintiffs are committed to.vigorously litigating this matter.

       57.     Further, Named Plaintiffs have secured counsel experienced in handling class

actions and complex litigation.

       58.     Neither Named Plaintiffs nor their counsel have any interests which might cause

them not to vigorously pursue this claim.

       59.     This action is properly maintained as a class action under Pa. Rule 1700 et seq. in

that separate actions by individual members of the Class could create a risk of inconsistent or




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varying adjudications with respect to individual members of the Class that could establish

incompatible standards of conduct for Class Members as well as ECFMG .

      . 60.     This action is properly maintainable as a class action pursuant to Pa. Rule 1700 et

seq. in that separate actions by individual members of the Class would create a risk of

adjudications with respect to individual members of the Class which would, as a practical matter,

be dispositive of the interests of other members not party to the adjudications, or would

substantially impair or impede their ability to protect themselves.

          61.   This action is also properly maintainable as a Class in that questions of law or fact

common to members of the Class predominate over any questions affecting only individual

members under Pa. Rule 1700 et seq.

          62.   A class action provides a fair and efficient method for adjudication of this

controversy betvveen the class and ECFMG under the criteria set forth in Rule 1708.

          63.   The commonality ofissues oflaw and fact in this case are clear. Many of the

members of the Class are unaware of their rights to prosecute a claim against ECFMG. This

class action can be managed without undue difficulty because Named Plaintiffs will vigorously

pursue the interests of the Class by virtue of the fact that Named Plaintiffs have suffered the

same injuries as other Class Members.

          64.   The difficulties likely to be encountered in the management of a class action in

this litigation are insignificant, especially when weighed against the virtual impossibility of

affording adequate relief to the members of the Class through thousands of separate actions.

          65.   The likelihood that individual members of the Class will prosecute separate

actions is remote also because most class members do not know that a claim against ECFMG

exists.



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       66.     Counsel for Named Plaintiffs and the Class is experienced in class actions and

foresees little difficulty in the management of this case as a class action.

                                             COUNT!
                                            (Negligence)

       67.     Plaintiffs re-allege and incorporate by reference the allegations set forth herein,

and further allege:

       68.     ECFMG holds itself out as protecting the public through its programs and

services, including primary-sot1rce verification of physician credentials. ECFMG undertook to

render certification services and primary source verification services, among others, for Igberase

on multiple occ_asions, under multiple identifies, and to represent to Howard University Hospital,

Prince George's Hospital Center, the Maryland Board of Physicians, among others, that Igberase

was a bona fide medical doctor. See Exhibit A, ECFMG Notice #101, dated March l, 2017.

       69.     ECFMG owed a duty to Plaintiffs and other members of the Class to carefully

review Igberase's multiple applications for certification, appropriately perfonn primary source

verification and to carefully investigate Igberase when it was informed that Igberase was using a

false social security number, potentially a false name, and other false documentation.

       70.     ECFMG, in breach of its duty, failed to detect that Igberase's medical school

diploma was in the name of Jolmbull Enosakhare Akoda, not John Charles Akoda or John

Charles Nosa Akoda or John Nosa Akoda, all names used in documents submitted by Akoda.

       71.     ECFMG was negligent in failing to learn that Akoda was Igberase. Among other

things, ECFMG knew that in August 2000 allegations had been made to the JSMC that Akoda

and Igberase were the same person. The JSMC notified ECFMG of this and told ECFMG that

Akoda was using Igberase's social security number.



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         72.     Igberase appeared at the offices ofECFMG on September 27, 2000 and told

ECFMG that Igberase was his cousin and admitted he had used Igberase's social security number

"pending lNS clearance of his own social security number." Additionally, the passport Igberase

provided to ECFMG at that meeting contained one too few numbers and could not have been

valid.

         73.     There was no effort by ECFMG to authenticate the passport. In breach of its

duty, ECFMG failed to take any action against Igbernse for this misuse of a social security

number.

         74.     Further in breach of its duty, ECFMG failed to compare the photograph of

Igberase in its files with the person claiming to be Akoda who was sitting in ECFMG's office in

Philadelphia. Had ECFMG done so, ECFMG would have known that Akoda and Igberase are

the same person.

         75.     ECFMG, in breach of its duty, failed to advise the Howard University Hospital

residency program, the Maryland Board of Physicians or Prince George's Hospital Center of the

information in its files that Igberase may have had a previous certification tliat was revoked, that

ECFMG had investigated whether Akoda is Igberase or that Igberase was barred under another

certification.

         76.     ECFMG, in breach of its duty, and in breach of its own policies and procedures

regarding irregular behavior, failed to take reasonable steps to verify the truth of the references

submitted by Igberase when he applied for the residency program at Howard University Hospital

under the Akoda identity. In 2006 Igberase submitted three (3) letters ofrecommendations

through ERAS under the Akoda identity. ECFMG sent letters to each of the references, with

copies of their respective alleged letters ofrecommendations, seeking to learn if they were



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authentic. ECFMG did not receive responses from the supposed references. Nevertheless,

ECFMG provided primary source verification to Howard University Hospital about "Akoda" - a

fictitious identity.

        77.      The numerous breaches of duty by ECFMG led to the fraudulent certification of

Igberase, under various names, but for which he would not have been admitted to the Howard

University Hospital residency program, he would not have received a Maryland medical license,

he would not have obtained privileges at Prince George's Hospital Center, he would not have

been able to practice medicine, and he would not have been able to cause the hrums to Plaintiffs.

        78.     ECFMG's numerous breaches of duty increased the risk ofhann to Plaintiffs and

other members of the Class by Igberase's conduct.

        79.     ECFMG committed breaches of the duties owed to Named Plaintiffs and

members of the Class including but not limited to the following:

                a, negligently certifying Igberase under multiple fictitious identities;

                b. negligently failing to properly investigate allegations that John Charles

                       Akoda, Oluwafemi Charles Igberase and Igberase Oluwafemi Charles were

                       the same person;

                c. negligently failing to investigate the references provided by Igberase under tbe

                       Akoda identity;

                 d. negligently failing to advise Howard University Hospital and Prince George's

                       Hospital Center that Igberase had engaged in irregular behavior;

                e. negligently failing to follow its own policies and procedures regarding

                       irregular behavior;




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               f.   (negligently failing to invalidate or revoke Igberase's certification under the

                    Akoda identity; and

                g. otherwise acting negligently.

        &O.    ECFMG's continuing breaches of duty constituted negligence, gross negligence,

careiessness and recklessness, and represented outrageous and egregious conduct in reckless

disregard of the Plaintiffs' safety.

       81.     ECFMG's ongoing breaches of duty proximately caused the Named Plaintiffs and

all class members physical pain, emotional anguish, fear, anxiety, humiliation, embarrassment

and other physical and emotional injuries, damages (both economic and non-economic) and

pennanent disability, in the past, present and future.

        82.     ECFMG's negligence was the sole and proximate cause of the injuries, damages

and pennanent disability ofNamed Plaintiffs and class members with Named Plaintiffs and

Class Members being in no way contributorily negligent.

        83.     As a direct. proximate, immediate and foreseeable result ofECFMG's conduct,

Named Plaintiffs and Class Members have and/or will suffer pennanent economic and non-

economic damages including but not limited to:

                a. Great indignity, humiliation, shame, mortification and other injuries to their

                    physical, mental, emotional and nervous systems;

                b. Unwanted, harmful and offensive physical contact and touching by Igberase;

                c. Severe mental anguish and psychological distress;

                d. The cost past, present and future cost of medical care, including but not

                    limited to therapy and psychological counseling; and

                e. Lost earnings and diminished earnings capacity.


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                                             COUNT II

                          (Negligent Infliction of Emotional Distress)

       84.     Plaintiffs re-allege and incorporate by reference the allegations set forth herein,

and further allege:

       85.     ECFMG owed a duty to Plaintiffs and other members of the Class to carefully

review Igberase's multiple applications for certification, perform primary source verification and

carefully investigate Igberase prior to certifying Igberase as a foreign medical graduate.

       86.     ECFMG also owed a duty to the Plaintiffs and other members of the class to

investigate reports and/or irregularities concerning Igberase's identity and take appropriate steps

to restrict or revoke Igberase's ECFMG Certification after an appropriate investigation.

       87.     ECMFG breached its duties to the Plaintiffs and other members of the Class by

certifying Igeberase and allowing him to continue practicing under the Akoda identity for years

after becoming aware of reports and 9ther information indicating that Igberase was using a

fraudulent identity.

       88.     ECFMG knew, or should have known, that its negligent failure to appropriately

perform primary source verification and carefully investigate Igberase would result in patients

such as the Plaintiffs and other similarly situated coming under the care of persons, such as

Igberase, who lack the appropriate credentials and qualifications to practice medicine, resulting

in unwanted, harmful and offensive touching by Igberase and severe emotional distress to the

Plaintiffs and other members of the Class.

        89.    As a direct, proximate, immediate and foreseeable result ofECFMG's conduct

and negligence, Named Plaintiffs and Class Members have and/or will suffer permanent

economic and non-economic damages including but not limited to:



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           a. Great indignity, hwniliation, shame, mortification and other injuries to their

               physical, mental, emotional and nervous systems;

            b. Unwanted, harmful and offensive physical contact and touching by Igberase;

            c. Severe mental anguish and psychological distress;

           d. cost past, present and future cost of medical care, including but not limited to

               therapy and psychological counseling; and

           e. Lost earnings and diminished earnings capacity.

                                 PRAYER FOR RELIEF

     WHEREFORE, Plaintiffs respectfully pray that this Comt;

     A.     assume jurisdiction of this case;

     B.     enter an order certifying the Class under PA. RULE 1700 et seq.;

     C.     appoint Named Plaintiffs as Class Representatives;

     D.    appoint Named Plaintiffs' Counsel as Class Counsel;

     E.    enter a judgment against ECFMG finding it liable to Named Plaintiffs and each

            Class Member;

     F.     award compensatory damages .to each class member in an amount which exceeds

           seventy-five thousand dollars;

     G.    award the costs and expenses of this case, including attorneys' fees;

     H.    award pre-judgment and post-judgment interest;

     I.    award punitive damages; and

     J.    award such other relief as the court deems appropriate.




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                            Respectfully submitted,

                            CONRAD O'BRIEN



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                            Howard M. Klein, Esquire (l.D. No. 33632)
                            Benjamin 0. Present, Esquire (I.D. No. 322682)
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                            Philadelphia, PA 19102-2100
                            (Tel) 215.864.9600/ (Fax) 215.864.9620
                            ncentrella@conradobrien.com



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                            Phone: (410) 234-1000
                            Fax: (410) 234-1010




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                                 LAW OFFICES OF PETER G. ANGELOS, P.C.

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                                 Baltimore, Maryland 21201
                                 Telephone: (410) 649-2000
                                 Facsimile: (410) 649-2150

Dated: November 14, 2018




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.,
      ECFMG Actions,
      Notification #101
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       November 30, AKODA,JOHN                             Description
       2016               NOSA                             • As part of an October 2016 plea agreement with the United States,
                                                             applicant admitted to previously providing a falsified passport to
                          ECFMG/USMLE                        ECFMG which he used to obtain ECFMG Certification under the alias
                          0-553-258-5                        John Nosa Akoda.

                                 Also Known As:                      Actions Taken & Sanctions
                                 IGBERASE,                           • Permanent revocation of Standard ECFMG Certificate.
                                 OLUWAFEMI                           • Permanent annotatlon Included on reports sent by ECFMG.
                                 CHARLES•

                                 ECFMG/USMLE
                                 0-482-700-2

                                 Also Known As:
                                 OLUWAFEMI,
                                 CHARLES
                                 IGBERASE"

                                 ECFMG/USMLE
                                 0-519-573-0

                                 "Standard ECFMG
                                 Certificate had
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                                 permanently
                                 revoked by
                                 ECFMG.




                                                                                                                                                             ECFMG-000025



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                                             VERIFICATION



             I verify that the statements made in this Complaint are true and correct to the best of my
      knowledge and belief. I understand that false statements herein are made subject to the penalties
      of 18 Pa. C.S. Section 4904 relating to unswom falsification to authorities.




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                                       VERIFICATION.



       I verify that the statements made in this Complaint are true and correct to the best of my
knowledge and belief. I understand that false statements herein are made subject to the penalties
of 18 Pa. C.S. Section 4904 relating to unswom falsification to authorities.



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                 EXHIBITB




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                                                                                                             Entity#: 601879
                                                                                                         Date Fired: 07/27/2018
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    PENNSYLVANIA DEPARTMENT OF STATE
    BUREAU OF CORPORATIONS AND CHARITABLE ORGANIZATIONS
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         ·~toUNTER                                                                        Statement of Domestication

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    Fee: $70
            In compliance with the requirements of lhe eppHcablc provisions of 15. Pa.C.S. § 37S (relating to Statement of
    domestica1ion), the undmigned entity, duiring ID effcet domestic:atio.n. hereby states that:

    A, For the domesticating entity:
   1. The type of association is (check only one):
      Cl Business Corporation               ClLimited Parlru:llhip                     D.auslnwTnlst
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                                                                                                       _ _ __
      Cl Llmlted Liability Company          C]Llmited Liability Limited Plutnership
   2. Tho name of the domesticating eJrti1y fs: Educatlonal Commlsalon for Fonllpn Med!cal Gzaduatea
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   5. Check and complete one of the tollawing addresses.

           If the domcstJcating entity is a domestic filing entity, domestic limited lfablllty partnership or registered
           forelgu association, the current registered office address as on file with the Department of Staie.
           Complete part (a) OR (t,) -not both:                        .
   It}     (a) 3624 Market Street.                                Phllade!J)hla.                   PA            19104        Philad!!ehla
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           0,)c/o:
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           Ir the domesticating entity II a domestic entity that Is Ml a domestic mmg CJ1dty or Umlled llabUlty
           partnership, the address, includlngstteetand number, ifai,y. of its principal office:
   CJ
                 Number andllJcct                                      City                        StalD           Zip           Coiwy

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           any. of it$ registered or similar office, if' any, required to be mafntatnfld by the law of its jurisdilllion of formation:
   D       or ltlt is not required to maintain a registered or similar office, Its prlriclpal office:

                N1llllber a.ad slleet                                  C"ily                        S111e          Zip




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       DSCB: 1S•J7S-2

       B. For tbe domesticated entity:

       1. The name of the domesticated entity is: Educational Commission for Foreign Medical Graduates
       2. The jurisdiction of fonnation of the domesticated entity: _P_e_n_n_sy1va
                                                                             __n_ia_ _ _ _ _ _ _ _ _ _ _ _ _ __

       J, Check and complete one of the following addresses.

             If the domesticated entJty Is a domestic flllng entity, domestic limited llabillty partnership or registered
             foreign association, iis registered offille address; Complete part (a} OR (b)-nc,tl,oth:

       0     (a) 3624 Market Sireet,                                   Philadelphia,                     PA        19104 Philadelphla
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             (b)c/o:
                       Nmne ofCommcn:ial Registered Office l'Jo•ider                                                           County
             If the domesticated entity Is a domestic entity that ls not.a domestic filing entity or limited Jlabllity
             partnership, the address, including meet and number, if any, of its principal office:
       D
                   Number and lllleet                                     City                        Slllhl         Zip            County

             lf the domesticated entity i9' a nonregbtl!red foreign IWll?ttioli, the addiess. lni:luding ~treet and number, if
             eny, of its registered or similar office, if an)",. required to be maintaln.ed ·b)' lhe Jaw of its jurisdiction of formation;
       0     or if ii ls not required to' maintain a regi$tered or similar: office, its principal office:

                  Number and Bll'CCI                                      Ci!>'_                         Stati,      Zip

      C. Effective date of Statement ofDomestlentlo11 (check; enil if appropriate complete, one of the following):
         @ This Statement of Domestication shall be effective upon filing in the Pepai1ment or State.
         CJ This Statement of Domestication shall be eff'cctlve on:                               at _ _ _ _ _ __.
                                                                                    Daill (MMIDDIYYYY)               Hour (ifany)
      D. /\.pproval or domestication by domesticating associnllon (check only one);
         D For a domesticating entity that is a domestic entity-The domestication was approved in accordance wilh 15
              Pa.C.S. Chapter 3, Subchapter B (relating to approval or entity transactions).
           0 For a domesticating entity that is foreign entity -The domestication was approved In accordance with 1S Pa.C.S.
              Chapter 3. Subchapter B, §373(b) (relating to approv'1 or domestication).

      E. Chilek lfnpplicable:
         CJ The domesticating entity is to be a domestio entity in both lhis Commonwealth and the foreignjwisdiction.
      F. Attocbmeot3 (see Imnructions for required ond optional atteclunent:s).

      IN TESTIMONY WHEREOF, the undersigned association has caused this Statement of Domestication to be signed by a.
      duly 8Uthori7.ed Offil:ef thereof this '1     a
                                                 da.y of               Ju!y               I 20 18             ,




                                                                                                      Sign,,ture
                                                                                   Francino H. Katz, Senior VP and General Counsel
                                                                                                         Tille




                                                                                                                                             JA121
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                 EXHIBIT C




                                 -3-




                                                                       JA122
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          PENNSYLVANIA DEPARTMENT OF STATE
          BUREAU OF CORPORATIONS AND CHARITABLE ORGANIZATIONS

                                                                                           Articlea of Incorporation • Nonprolil
                                                                                                   DSCB:.15-5306/7102

            Achlr... ,
                                   I ( 0   j   °I {/ 1      SO ,5
                                                                                                        (rev. 2/2017)


            City                                  swe                                             m1111~11~~1m1~1111
                                                                                                         5300·
           QRetum docomtnl by emall lO?

_ .. ·-·· . . _ •Read all instructions prior to completing. This foi'm may be suh~itted online at https;/Ayww.eomdrationtpa-flOyf:
          Fee: S12S                  D   I qualify for a veteran/reservist-owned small business fee exemption(see instructions)
                         Check one: 18} Domestic Nonprofit Corporation(§ S306)         0 Nonprofit Cooperative Corporation(§ 7102)
                   In complinnce with the requirements of the applicable provisions(relatlng to articles or incorporation or
          cooperative corporations generally), the undersigned, desiring to incorporate a nonprofit/nonprofit cooperative
          corporation, hereby state(s) that:

                   1. The name of the corporation is:
                   Educational Commission for Foreign Medical Graduates

                   2.     Complete part (a) or (b) -not both:
                   (a) The address of this corpora1ion's current registered office in this. Commonwealth Is:
                       (post office box alone u not acceptable)

                   3624 Market Street,                   Philadelpllia,           PA           19104.    Philadelphia
                   Number and Srreet                         City                S~le           Zip        County

                   {b) The name of this corporation's commercial registered office provider and .the county ofvenue is:
                   c/o:
                   Name of Commercial Registered Office Provider                                            County

                   3. The corporation is incorporated underthe Nonprofit Corporelion Law       or 1988 for the following
                      purpose or purposes.
                   See Exhibit A o.ttached hereto



                   4. The corporation does not contemplate pecuni111y gain or profit, incidental or otherwise.


                   S. Check m1d complete one: ixlThe corporation is organized on a nonstock basis.
                                              0The corporation is organized on a stock share basis and the aggregate
                                                 number of shares authorized i s - - - - - - - - - - - - - '




                                                                                                                                     JA123
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    DSCB:15-S306/7102·2

         6. For unincorporated association im:orpororing as a nonprofit corporation only. Check ifapplicable:
            D     The incorporators constitute a majority ofthe members of the committee authorized to
                  incorporate such association by the requisite .vote required by the organic law oflhe
                  association for the amendment of such organic law:

        1. For Nonprofit Corporal/on Only:      .
           Check one: £:2rJThe corporation shall have no members.
                      c::::J The corporation shall have members.

         II. For Nonpro}il t.'ooperalive C:orporallon Only:

            Check and complete one:
           D    The corporation is a cooperative corporation and the common bond of membership among its
                members is:                                               •
           D    The corporation is a cooperative corporation and the common bond of membership among its
                shareholders is:._ _ _ _ _ _ _ _ _ _ _ _ _ _ __


        9. The name(s) and address(es) of each incorporatol(s) is {are) (all lncorporators ,m1111 sign below):
           NPme(s}                                              Addn:ss(es)

        HOWlll'd L. Meyers                                    Morgan, Lewis & Bockius LLP

                                                              1701 Mlllket S1n:ct

                                                              Philadelphia, PA 19103


        10. The specified effective date, ihny, is:

           month          day    year      hour, if any


        11. Additional provisions ofrhe articles, if any, attach an 8~ x 11 sheet.


                                                              IN TESTIMONY WHEREOF, the incorp0rotor(s)
                                                              has/have signed these Anlcles or Incorporation this
                                                               ,qtli day of            July        :m_1_s_ _.


                                                                         ~Meyers

                                                                                       Signature


                                                                                       Signature




                                                                                                                    JA124
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                                                      EXHIBIT"A"
                     EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES


    "(a.) The corporation is organized and shall be operated exclusively for exempt purposes within the
    meaning ofSection 50l(c)(3) of the Internal Revenue Code, as it may be amended. ln furtherance
    thereof, the purpose or purposes for which the corporation is organized are:

              (i.)     To promote quality health care for the pubUc by detennining the readiness of international
                       medical graduates to enter into gnufuate medical education in the United States through an
                       evaluation of their educational qualifi~tions and med~Clll training, including verification of
                       medical education credential~. administration·of examinations and assessment of their
                       ability to serve patients in the United States health care system;

             (ii.)     To provide infonnation and support services to international medical graduates interested
                       in graduate medical education in the United States;

            (iii.)     To verify the. medical education credentials of physicians and .other health care
                       professionals worldwide and to provide research, consul~tion and other services to the
                       medical and health professions educational and regulatory communities nationally and
                       internationally;

            (iv.)      To conduct research, gather data and,disseminate information concerning inteqiational
                       medical education programs, medical stude.nta and graduates of !lledical schools and to
                       facilitate educational exchange programs in medicine and other health professioqs to
                       improve health care worldwide;

             (v.)      To improve international medical and health professions education through consultation
                       and cooperation with medical schools, licensing aurhorities and other institutions relative
                       to program development, standard setting and assessment; and

            {vi.)      To engage in, and do any lawful act concerning, any activities that are incidental to and in
                       pursuit of the foregoing purposes.

    (b.)    No part of the net earnings of the corporation will inure to the benefit ofor be distributable to its
    directors, officers or other private persons, except that the corporation shell be authorized and empowered
    to pay reasonable compensation for service rendered and to make payments and distributions in
    furtherance of the purposes set forth above. No substantial part of the activities of the corporation shall be
    the carrying on of propaganda, or otherwise attempting to influence legislation, and the corporation shall
    not participate in or intervene in (including the pu~lishing or distribution ofstatements) any political
    campaign of any candidate for public office. Notwithstanding any oth1i,r provision of these anicles, the
    corporation shell not carry on any other activities. not permitted to be. carried on (a) by a corporation
    exempt from.Federal income tax under Section 501(c)(3) oflntemal Revenue Code of 1986 (or eny
    corresponding provision of any future United States Internal Revenue. Law) or (b) by a corporation
    contributions to which are deductible under Section 107(c)(2) oflhe lntemal Revenue Code of 1986 (or
    the correspondiPg provision of any future United States Internal Revenue Law)!•




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                     )
    MONIQUE RUSSELL, JASMINE RIGGINS
                                     )
    ELSA M. POWELL, and DESIRE EVANS
                                     )                   Case No. 2:18-cv-05629-WB
                                     )
                     Plaintiffs,
                                     )                   Hon. Wendy Beetlestone
                                     )
    v.
                                     )
                                     )
    EDUCATIONAL COMMISSION FOR
                                     )
    FOREIGN MEDICAL GRADUATES,
                                     )
                                     )
                     Defendant.
                                     )


ANSWER TO CLASS ACTION CIVIL COMPLAINT AND AFFIRMATIVE DEFENSES

       Defendant Educational Commission for Foreign Medical Graduates (“ECFMG”), by and

through its undersigned counsel, hereby answers the Class Action Civil Complaint (the

“Complaint”) filed by Plaintiffs Monique Russell, Jasmine Riggins, Desire Evans and Elsa Powell

in accordance with the numbered paragraphs thereof as follows:



                               PARTIES AND JURISDICTION1

       1.       Plaintiff Monique Russell currently resides in Prince George's County, Maryland.

       ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.



       2.       Plaintiff Jasmine Riggins currently resides in Washington, DC.



1
  The section headings included herein are included only for the purposes of organization and
ease of reference, and ECFMG does not admit, but rather specifically denies, any factual or legal
allegations in the headings used in the Complaint.




                                                                                                    JA126
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       ANSWER:          ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.



       3.       Plaintiff Elsa Powell currently resides in Prince George's County, Maryland

       ANSWER:          ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.



       4.       Plaintiff Desire Evans currently resides in Charles County, Maryland.

       ANSWER:          ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.



       5.       Defendant Educational Commission for Foreign Medical Graduates ("ECFMG") is

a non-profit corporation organized under the laws of Illinois with its principal office in

Philadelphia, Pennsylvania. Among other things, ECFMG certifies whether international medical

graduates have met the minimum standards of eligibility for accredited residency and fellowship

programs in the United States by verifying the validity of an IMG's medical school diploma and

final medical school transcripts and insuring that the IMG's have taken and passed certain

standardized examinations. ECFMG carries out its functions in all or virtually all 50 states and the

District of Columbia.

       ANSWER:          ECFMG admits in part and denies in part the allegations of this paragraph.

ECFMG admits that, among other things, it certifies that foreign medical graduates have met

certain minimum criteria for entry into graduate medical education in the United States. The

minimum criteria have changed over time and have included the primary source verification of




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                                                                                                       JA127
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medical school diplomas and transcripts as well as the passage of certain standardized

examinations. ECFMG admits that it is a non-profit corporation organized under the laws of

Pennsylvania and headquartered in Philadelphia, Pennsylvania. ECFMG denies that it is organized

under the laws of Illinois. ECFMG denies Plaintiffs’ characterization that ECFMG “functions in

all or virtually all 50 states and the District of Columbia.”



       6.       The matter in controversy exceeds the sum of fifty thousand dollars ($50,000.00)

exclusive of interest and costs and thus is not subject to compulsory arbitration under Philadelphia

Local Rule 1301.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required, they are, therefore, denied. To the extent that a response is required, ECFMG

admits that Plaintiffs have alleged claims in excess of $50,000, but ECFMG denies the

characterization that this matter would be subject to Philadelphia Local Rule 1301, because this

matter was removed to the United States District Court of the Eastern District of Pennsylvania on

December 31, 2018.



       7.       This Court has jurisdiction over this case under Pa. C.S.A. § 942.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the characterization that this matter would be subject to Pa. C.S.A. § 942, because

this matter was removed to the United States District Court of the Eastern District of Pennsylvania

on December 31, 2018.




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                                                                                                       JA128
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       8.       This Court has personal jurisdiction over ECFMG as ECFMG has its principal

place of business in Philadelphia and systematically and continually transacts business in

Pennsylvania.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG admits that it is headquartered and regularly conducts business in Philadelphia,

Pennsylvania.



       9.       The Court of Common Pleas of Philadelphia County is the appropriate venue under

Pa. Rule 2179 (a) because ECFMG's principal place of business is located in Philadelphia and

ECFMG regularly conducts business in Philadelphia.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG admits that it is headquartered and regularly conducts business in Philadelphia,

Pennsylvania. ECFMG denies the characterization that this matter would be subject to Pa. Rule

2179(a), because this matter was removed to the United States District Court of the Eastern District

of Pennsylvania on December 31, 2018.



                                  FACTUAL ALLEGATIONS

     A. The Role of the Defendant ECFMG in Certifying Foreign Medical Graduates

       10.      A person who receives their medical education outside of the United States and

Canada is referred to as an international medical graduate ("IMG"). In order for an IMG to practice

medicine in the United States, the IMG must apply to the ECFMG, which verifies that the IMG

has obtained a diploma from a medical school recognized by the country in which the school is


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                                                                                                       JA129
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situated; that the school is listed in the International Medical Education Directory; that the

curriculum requirement is a minimum of 4 academic years; that the IMG has passed steps 1 and 2

of the United States Medical Licensing Examination (USMLE), has passed the Clinical Skills

Assessment Examination and has passed the Test of English as a Foreign Language. Additionally,

the ECFMG verifies the validity of primary source documentation such as diploma, transcript and

other credentials. When all of this is satisfactorily completed, the ECFMG issues a certification to

the IMG.

       ANSWER:         ECFMG admits in part and denies in part the allegations of this paragraph.

ECFMG admits that an international medical graduate (“IMG”) is a physician who received his/her

basic medical degree or qualification from a medical school located outside the United States and

Canada. ECFMG admits that it issues certificates to IMGs who meet certain minimum criteria

and that IMGs must apply to ECFMG to obtain ECFMG certification. The minimum criteria have

changed over time and have included the primary source verification of medical school diplomas

and transcripts as well as the passage of certain standardized examinations. ECFMG admits that

other entities (over which it exerts no control) may choose to require ECFMG certification for

their chosen purposes. ECFMG denies allegations regarding the International Medical Education

Directory as stated because it no longer exists as a stand-alone directory; for graduates of an

international medical school to be eligible for ECFMG certification, there must be a Sponsor Note

so-indicating from ECFMG for that medical school for that IMG’s graduation year in the World

Directory of Medical Schools. ECFMG denies that IMGs “must apply to the ECFMG” to practice

medicine in the United States. ECFMG denies the remaining allegations of this paragraph.




                                                 5



                                                                                                       JA130
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       11.     To enter programs of graduate medical education in the United States accredited by

the Accreditation Council for Graduate Medical Education ("ACGME"), IMG's must hold a

standard ECFMG certificate without expired examination dates, if applicable. When an IMG

applies to a residency program using the Electronic Residency Application Service ("ERAS"), the

ECFMG automatically transmits an ECFMG status report to the residency program to which the

IMG applies.

       ANSWER:        Denied as stated. On information and belief, ECFMG admits that ACGME

chooses to require ECFMG certification for IMGs applying to graduate medical education

programs that are ACGME-accredited. ECFMG admits that when an eligible IMG applies to a

residency program using the ERAS, ECFMG automatically transmits an ECFMG status report to

the residency program to which the eligible IMG applies. ECFMG denies that ECFMG certificates

expire. ECFMG denies the remaining allegations of this paragraph.



       12.     The ERAS was developed by the Association of American Medical Colleges

("AAMC") to transmit residency applications and supporting documents, such as transcripts,

letters of recommendation and medical student performance evaluations to residency program

directors over the Internet. The ECFMG acts as "the dean's office" for all IMG's and supports the

ERAS application process for those applicants. The ECFMG provides each IMG applicant with a

unique identification number, known as a token, which allows the IMG applicant to access the

AAMC's ERAS web site to complete the ERAS application. The IMG applicant also sends

supporting documents to the ECFMG for scanning and transmission. ECFMG transmits an

ECFMG status report to the graduate program to which the IMG applies. The ECFMG also




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                                                                                                    JA131
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transmits the IMG applicants' USMLE transcript, as requested by the applicant. All documents are

transmitted to the ERAS post office, where they are accessible to the residency programs.

       ANSWER:         ECFMG admits in part and denies in part the allegations of this paragraph.

ECFMG admits the allegations of the first three sentences of this paragraph. ECFMG admits that

when an eligible IMG applies to a residency program using the ERAS, ECFMG automatically

transmits an ECFMG status report to the residency program to which the eligible IMG applies and

may transmit the IMG applicant’s USMLE transcript as requested by the IMG applicant. ECFMG

denies that it scans documents for IMGs because that practice has been discontinued. ECFMG

denies that documents are transmitted to the “ERAS post office” because that term is no longer

used. ECFMG denies the remaining allegations of this paragraph.



       13.     Generally speaking, application materials consist of a curriculum vitae, a copy of

the universal residency application form, a cover letter addressed to each residency program

director, evidence of graduation from medical school, ECFMG certification and letters of

recommendation from U.S. physicians, along with a one-page personal statement detailing the

unique qualifications of the applicant.

       ANSWER:         ECFMG admits in part and denies in part the allegations of this paragraph.

ECFMG admits only that in connection with an IMG’s application to a residency program,

ECFMG may upload to ERAS materials that include an IMG’s Medical Student Performance

Evaluation (“MSPE”), medical school transcript, letters of recommendation, and ECFMG status

report. ECFMG admits that an IMG’s common application form may include a personal statement

and a curriculum vitae. ECFMG denies the remaining allegations of this paragraph.




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                                                                                                    JA132
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          14.   Foreign national IMG's must obtain an appropriate Visa (or immigration status or

work authorization) in order to participate in U.S. residency training. There are various visa options

available for persons who seek entry into U.S. graduate medical programs.

          ANSWER:      Admitted.



  B. ECFMG Certified Oluwafemi Charles Igberase under Multiple Fictitious Identities.

          15.   In or about October 1991, Oluwafemi Charles Igberase ("Igberase") came to the

U.S. from Nigeria pursuant to a Nonimmigrant Visa. Igberase purportedly graduated from medical

school in Nigeria; however, it is alleged that Igberase never attended or graduated from a medical

school.

          ANSWER:      ECFMG denies the allegation that Igberase never attended or graduated

from a medical school. ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the remaining allegations of this paragraph and they are, therefore, denied.



          16.   In or about November 1991, Igberase applied for and obtained a social security

number (XXX-XX-5054) using an April 17, 1962 date of birth and the name Oluwafemi Charles

Igberase.

          ANSWER:      ECFMG admits in part and denies in part the allegations of this paragraph.

ECFMG admits only that a social security number ending with 5054 and associated with a birth

date of April 17, 1962 was included in a prior application to ECFMG under the name Oluwafemi

Charles Igberase. ECFMG lacks knowledge or information sufficient to form a belief about the

truth of the remaining allegations of this paragraph and they are, therefore, denied.




                                                  8



                                                                                                         JA133
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       17.     In or about April 1992, Igberase submitted an application for certification by

ECFMG using the 5054 social security number, an April 17, 1962 date of birth, and the name

Oluwafemi Charles Igberase. On or about October 4, 1993 ECFMG issued Certificate 0-482-700-

2 to Oluwafemi Charles Igberase.

       ANSWER:         The allegations in this paragraph refer to an application to ECFMG for

examination and an ECFMG certificate that were not attached to the Complaint and are written

documents that speak for themselves, and Plaintiffs’ characterization of them is, therefore, denied.

To the extent that a response is required, ECFMG admits that a social security number ending with

5054 and associated with a birth date of April 17, 1962 was included in a prior application to

ECFMG for examination under the name Oluwafemi Charles Igberase submitted in April 1992.

ECFMG admits that it issued Certificate 0-482-700-2 to that applicant on October 4, 1993.



       18.     In or about March 1994, Igberase submitted a second application for certification

by ECFMG using a false date of birth and a different name -- Igberase Oluwafemi Charles. On

December 14, 1994 ECFMG issued Certificate 0-519-573-0 to Igberase under the fictitious name

Igberase Oluwafemi Charles.

       ANSWER:         The allegations in this paragraph refer to an application to ECFMG for

examination and an ECFMG certificate that were not attached to the Complaint and are written

documents that speak for themselves, and Plaintiffs’ characterization of them is, therefore, denied.

To the extent that a response is required, ECFMG admits in part and denies in part the allegations

of this paragraph. ECFMG admits that an applicant, using the name Igberase Oluwafemi Charles

and the date of birth April 17, 1961 submitted an application to ECFMG for examination in March

1994. ECFMG admits that it issued Certificate 0-519-573-0 to that applicant on December 14,




                                                 9



                                                                                                       JA134
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1994. ECFMG lacks knowledge or information sufficient to form a belief about the truth of the

remaining allegations of this paragraph, and they are, therefore, denied.



       19.     In or about January 1995, Igberase applied for and obtained a second social security

number (XXX-XX-9065) using a false date of birth.

       ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.



       20.     On November 27, 1995, the ECFMG Committee on Medical Education Credentials

determined that Igberase fraudulently applied for and obtained two ECFMG certifications under

two different names, thereafter revoking the certification issued to Oluwafemi Charles Igberase

and invalidating the certification under the name Igberase Oluwafemi Charles.

       ANSWER:         The allegations in this paragraph refer to a November 27, 1995 decision by

ECFMG’s Medical Education Credentials Committee that was not attached to the Complaint and

is a written document that speaks for itself, and Plaintiffs’ characterization of it is, therefore,

denied. To the extent that a response is required, ECFMG admits that Dr. Igberase Oluwafemi

Charles applied to ECFMG for examination and obtained two ECFMG certifications under an

altered name and changed date of birth. ECFMG further admits that it invalidated Certificate 0-

519-573-0 and revoked Certificate 0-482-700-2. ECFMG denies the remaining allegations of this

paragraph.



       21.     In or about August 1996, Igberase submitted yet a third application for certification

to ECFMG, using a false Nigerian passport and a different name—John Charles Akoda. On August




                                                 10



                                                                                                       JA135
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18, 1997 ECFMG issued Certificate 0-553-258-5 to Igberase under the fictitious name John

Charles Akoda (the "Akoda identity"). In 1998, Igberase using the Akoda identity, provided

ECFMG with social security number 9065.

       ANSWER:         ECFMG admits in part and denies in part the allegations of this paragraph.

ECFMG admits that an applicant, using the name John Nosa Akoda, a social security number

ending with 9065, and the date of birth January 1, 1959, submitted an application to ECFMG for

examination in January 1996. ECFMG denies that the application was submitted in or about

August 1996. ECFMG admits that it issued Certificate 0-553-258-5 to John Nosa Akoda on

August 18, 1997. ECFMG denies that it issued Certificate 0-553-258-5 to John Charles Akoda.

ECFMG lacks knowledge or information sufficient to form a belief about the truth of the remaining

allegations of this paragraph and they are, therefore, denied.



       22.     In or about 1998, Igberase applied for a residency program at Jersey Shore Medical

Center ("JSMC") under the Akoda identity. On or about July 1, 1998, he began a residency

program at JSMC under the name Akoda.

       ANSWER:         ECFMG admits in part and denies in part the allegations of this paragraph.

On information and belief, ECFMG admits only that the ECFMG applicant who received

Certificate 0-553-258-5 participated in a residency program at JSMC. ECFMG lacks knowledge

or information sufficient to form a belief about the truth of the remaining allegations of this

paragraph and they are, therefore, denied.



       23.     In or about September 1998, Igberase applied for and obtained a third social

security number (XXX-XX-7353) using a false date of birth.




                                                 11



                                                                                                    JA136
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        ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the remaining allegations of this paragraph and they are, therefore, denied.



        24.     In or about 1999, an individual applied for and obtained a social security number

(XXX-XX-1623).

        ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the remaining allegations of this paragraph and they are, therefore, denied.



        25.     On or about August 11, 2000, JSMC notified ECFMG that the individual they knew

as Akoda had served as a resident in two other U.S. residency programs under the name Igberase

and that this individual was using a social security number issued to Oluwafemi Charles Igberase.

ECFMG was asked to investigate this matter.

        ANSWER:         The allegations of this paragraph refer to an August 11, 2000

correspondence that was not attached to the Complaint and is a written document that speaks for

itself, and Plaintiffs’ characterization of it is, therefore, denied.



        26.     On or about August 29, 2000 in response to a request from ECFMG that he respond

to the JSMC allegations, Igberase, utilizing the Akoda identity, corresponded to ECFMG, stating

the JSMC allegations were false, representing that Igberase was his cousin and admitting to using

Igberase's social security number.

        ANSWER: The allegations of this paragraph refer to an August 29, 2000 correspondence

that was not attached to the Complaint and is a written document that speaks for itself, and

Plaintiffs’ characterization of it is, therefore, denied.




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       27.     On or about September 27, 2000, Igberase, using the Akoda identity, went to

ECFMG's office and met in person with William C. Kelly, Manager, Medical Education

Credentials Department at ECFMG. Igberase, using the fictitious Akoda identity, told Kelly that

he and Igberase were cousins and provided an obviously fraudulent passport and Nigerian

international driver's license. Akoda again admitted to using Igberase's social security number.

       ANSWER:         ECFMG admits in part and denies in part the allegations of this paragraph.

On information and belief, ECFMG admits that an individual purporting to be Akoda met in person

with ECFMG employee William C. Kelly in September 2000. On information and belief, ECFMG

further admits that the individual purporting to be Akoda provided a Nigerian passport and

international driving permit, and said that Igberase Charles was his cousin and that he used his

cousin’s social security number. ECFMG denies the remaining allegations of this paragraph.



       28.     On or about December 21, 2000, JSMC advised ECFMG that the individual they

knew as Akoda had been dismissed from its residency program for using a false social security

number and false green card. ECFMG, however, took no action to restrict or retract the certification

issued to Igberase under the fictitious Akoda identity.

       ANSWER:         The allegations of this paragraph refer to a December 21, 2000

correspondence that was not attached to the Complaint and is a written document that speaks for

itself, and Plaintiffs’ characterization of it is, therefore, denied. To the extent that a response is

required, ECFMG admits only that JSMC told ECFMG that Akoda had been dismissed for using

a false social security number and providing a green card that was inconsistent with a green card




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Akoda previously provided to the program. ECFMG denies the remaining allegations of this

paragraph.



       29.     In or about 2006 Igberase applied for a residency at Howard University Hospital

under the Akoda identity using the 1623 social security number assigned to another individual. He

completed this program in 2011. He thereafter applied for and received on September 14, 2011 a

Maryland medical license using the name "Charles John Nosa Akoda," a fake SSN, a fake

permanent residence card and a fake Nigerian passport.

       ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.



       30.     In or about October 2011 Igberase obtained privileges and became a member of the

medical staff at Prince George's Hospital Center under the name "Charles John Nosa Akoda,"

using a fake permanent resident card, a fake Maryland driver's license, fake Nigerian passport and

fake letters of recommendation. Igberase began seeing patients at Prince George's Hospital Center

under this fraudulent identity on or about November 5, 2011.

       ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the remaining allegations of this paragraph and they are, therefore, denied.



       31.     In March 2012, the Center for Medicare and Medicaid Services ("CMS") denied

Igberase's application to enroll for Medicare reimbursement under the Akoda identity, which had

utilized the same documentation used to gain privileges at Prince George's Hospital Center due to

CMS' determination that he did not provide an accurate social security number.




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        ANSWER:        ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the remaining allegations of this paragraph and they are, therefore, denied.



        32.     From 2008 through 2016, Igberase acted as a doctor practicing obstetrics and

gynecology under the Akoda identity. During that time, Igberase represented to the public and to

the Plaintiffs that he possessed the degree of skill, knowledge and ability ordinarily possessed by

a reasonably prudent OB/GYN practicing under the same or similar circumstances as those

involving the Plaintiffs.

        ANSWER:        ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.



        33.     For some of this time, Igberase, using the Akoda identity, acted as a doctor

practicing obstetrics and gynecology with a medical practice owned by A. G. Chaudry, M.D.

Between February 20, 2012 and June 4, 2012, Igberase was employed by Dimensions Healthcare

Associates, Inc., which was the corporate entity that operated an ob-gyn practice group known as

Dimensions Obstetrics and Gynecology Associates.

        ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.



                        C. Criminal Investigation of Igberase's Conduct

        34.     On June 9, 2016, law enforcement executed search warrants at Igberase's residence,

medical office and vehicle where they found fraudulent or altered documents related to

immigration, medical diplomas, medical transcripts, letters of recommendation and birth

certificates.


                                                 15



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        ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.



        35.     On or about November 15, 2016 Igberase signed a plea agreement admitting to

misuse of a social security account number.

        ANSWER:         The allegations in this paragraph refer to a “plea agreement” that was not

attached to the Complaint and is a written document that speaks for itself, and Plaintiffs’

characterization of it is, therefore, denied.



        36.     On or about December 19, 2016, ECFMG revoked certificate number 0-482-700-2

issued to "Akoda", based upon his plea agreement with the U.S. -- the same conduct Igberase had

admitted to in 2000.

        ANSWER:         The allegations in this paragraph refer to a decision ECFMG made as

reflected in Notification 101, which is attached to the Complaint and is a written document that

speaks for itself, and Plaintiffs’ characterization of it is, therefore, denied. To the extent that a

response is required, ECFMG denies that it revoked Certificate 0-482-700-2 on December 19,

2016, because this certificate had already been revoked.



        37.     On or about March 2, 2017, Igberase was sentenced by the United States District

Court for the District of Maryland to six (6) months incarceration, three (3) years supervised

release, home detention for six (6) months and an assessment of one hundred dollars ($100.00).

        ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.




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       38.      Shortly thereafter in early 2017, Prince George's Hospital Center terminated

Igberase's medical privileges.

       ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the remaining allegations of this paragraph and they are, therefore, denied.



       39.      On or about July 10, 2017, the Maryland Board of Physicians revoked Igberase's

medical license on the basis of a fraud and felony conviction.

           ANSWER: ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the remaining allegations of this paragraph and they are, therefore, denied.



                       D. Medical Treatment Rendered to the Plaintiffs.

       40.      The Plaintiff Monique Russell was a patient of Igberase on or about May 25, 2016.

Igberase delivered Monique Russells child through unplanned emergency cesarean section

surgery.

       ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.



       41.      The Plaintiff Jasmine Riggins was a patient of Igberase between August 2012 and

March 2013. Igberase delivered Jasmine Riggins' child through unplanned emergency cesarean

section surgery.

       ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.




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       42.     The Plaintiff Elsa Powell was a patient of Igberase on or about September 17, 2014,

and on several occasions thereafter. Igberase delivered Elsa Powell's son on that date at Price

Georges' Hospital Center.

       ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.



       43.     The Plaintiff Desire Evans was a patient of Igberase on or about March 17, 2016.

Igberase delivered her child on that date at Prince Georges' Hospital Center.

       ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.



       44.     The Plaintiffs and other similarly situated chose Igberase, who they knew as Akoda,

as their obstetrician/gynecologist, on the basis of their belief that Akoda had obtained all necessary

credentials and certifications required of physicians practicing in the United States, including

certification from ECFMG.

       ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.



       45.     None of Igberase's patients, including those at Howard University Hospital, Prince

Georges' Hospital Center, and the medical practice of Abdul G. Chaudry, M.D., knew Igberase's

true identity, but rather knew him as Akoda.

       ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.




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       46.      None of Igberase's patients, including those at Howard University Hospital, Prince

Georges' Hospital Center, and the medical practice of Abdul G. Chaudry, M.D. gave consent to

this physician impersonator to perform examinations, invasive procedures and surgeries on their

persons.

       ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.



       47.      On many occasions, Igberase penetrated his patients with parts of his body through

the vaginal canal and through the stomach in performing medical services. Additionally, Igberase

performed inappropriate examinations of a sexual nature while utilizing inappropriate and explicit

sexual language. Igberase's penetrations of his patients were clear boundary violations.

       ANSWER:         ECFMG lacks knowledge or information sufficient to form a belief about

the truth of the allegations of this paragraph and they are, therefore, denied.



                      CLASS ACTION ALLEGATIONS-PA RULE 1702

       48.      Named Plaintiffs bring this action on behalf of a Class which consists of: All

patients examined and/or treated in any manner by Oluwafemi Charles Igberase (a/k/a Charles J.

Akoda, M.D.).

       ANSWER:         ECFMG admits that Plaintiffs purport to bring their claims on behalf of the

proposed class stated in Paragraph 48. ECFMG denies that class certification is appropriate in this

matter. ECFMG denies the remaining allegations of this paragraph.




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       49.     The Class as defined above, is identifiable. The Named Plaintiffs are members of

the Class.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies that class certification is appropriate in this matter. ECFMG denies the remaining

allegations of this paragraph.



       50.     The Class consists of more than one thousand (1,000) patients and is thus so

numerous that joinder of all members is clearly impracticable.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies that class certification is appropriate in this matter. ECFMG denies the remaining

allegations of this paragraph.



       51.     There are questions of law and fact which are not only common to the Class but

which predominate over any questions affecting only individual Class Members.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies that class certification is appropriate in this matter. ECFMG denies the remaining

allegations of this paragraph.



       52.     The common and predominating questions include, but are not limited to:

               a.      Whether Igberase committed boundary violations on class members.




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               b.      Whether ECFMG's' actions and/or alleged failures to act, including their

               alleged negligent failure to certify Igberase and properly investigate and deny or

               revoke Igberase certification directly and proximately resulted in foreseeable

               injuries or damages to Class Members

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies that class certification is appropriate in this matter. ECFMG denies the remaining

allegations of this paragraph.



       53.     The Claims or defenses of the Named/Representative Plaintiffs are typical of the

claims or defenses of the respective members of the Class and are based on and arise out of similar

facts constituting the wrongful conduct of ECFMG.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies that class certification is appropriate in this matter. ECFMG lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations of this paragraph

and they are, therefore, denied.



       54.     Named Plaintiffs will fairly and adequately assert and protect the interests of the

Class under the criteria set forth in Rule 1709. The interests of Named Plaintiffs and of all other

members of the class are identical.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,




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ECFMG denies that class certification is appropriate in this matter. ECFMG also denies the

characterization that this matter would be subject to Pa. Rule 1709, because this matter was

removed to the United States District Court of the Eastern District of Pennsylvania on December

31, 2018. ECFMG lacks knowledge or information sufficient to form a belief about the truth of

the remaining allegations of this paragraph and they are, therefore, denied.



       55.     Named Plaintiffs are cognizant of their duties and responsibilities to the Class.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies that class certification is appropriate in this matter. ECFMG lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations of this paragraph

and they are, therefore, denied.



       56.     Named Plaintiffs are committed to vigorously litigating this matter.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies that class certification is appropriate in this matter. ECFMG lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations of this paragraph

and they are, therefore, denied.




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       57.     Further, Named Plaintiffs have secured counsel experienced in handling class

actions and complex litigation.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies that class certification is appropriate in this matter. ECFMG lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations of this paragraph

and they are, therefore, denied.



       58.     Neither Named Plaintiffs nor their counsel have any interests which might cause

them not to vigorously pursue this claim.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies that class certification is appropriate in this matter. ECFMG lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations of this paragraph

and they are, therefore, denied.



       59.     This action is properly maintained as a class action under Pa. Rule 1700 et seq. in

that separate actions by individual members of the Class could create a risk of inconsistent or

varying adjudications with respect to individual members of the Class that could establish

incompatible standards of conduct for Class Members as well as ECFMG.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies that class certification is appropriate in this matter. ECFMG also denies the




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characterization that this matter would be subject to Pa. Rule 1700 et seq., because this matter was

removed to the United States District Court of the Eastern District of Pennsylvania on December

31, 2018. ECFMG denies the remaining allegations of this paragraph.



       60.     This action is properly maintainable as a class action pursuant to Pa. Rule 1700 et

seq. in that separate actions by individual members of the Class would create a risk of adjudications

with respect to individual members of the Class which would, as a practical matter, be dispositive

of the interests of other members not party to the adjudications, or would substantially impair or

impede their ability to protect themselves.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies that class certification is appropriate in this matter. ECFMG also denies the

characterization that this matter would be subject to Pa. Rule 1700 et seq., because this matter was

removed to the United States District Court of the Eastern District of Pennsylvania on December

31, 2018. ECFMG denies the remaining allegations of this paragraph.



       61.     This action is also properly maintainable as a Class in that questions of law or fact

common to members of the Class predominate over any questions affecting only individual

members under Pa. Rule1700 et seq.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies that class certification is appropriate in this matter. ECFMG also denies the

characterization that this matter would be subject to Pa. Rule 1700 et seq., because this matter was




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removed to the United States District Court of the Eastern District of Pennsylvania on December

31, 2018. ECFMG denies the remaining allegations of this paragraph.



       62.     A class action provides a fair and efficient method for adjudication of this

controversy between the class and ECFMG under the criteria set forth in Rule 1708.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies that class certification is appropriate in this matter. ECFMG also denies the

characterization that this matter would be subject to Pa. Rule 1708, because this matter was

removed to the United States District Court of the Eastern District of Pennsylvania on December

31, 2018. ECFMG denies the remaining allegations of this paragraph.



       63.     The commonality of issues of law and fact in this case are clear. Many of the

members of the Class are unaware of their rights to prosecute a claim against ECFMG. This class

action can be managed without undue difficulty because Named Plaintiffs will vigorously pursue

the interests of the Class by virtue of the fact that Named Plaintiffs have suffered the same injuries

as other Class Members.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies that class certification is appropriate in this matter. ECFMG lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations of this paragraph

and they are, therefore, denied.




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       64.     The difficulties likely to be encountered in the management of a class action in this

litigation are insignificant, especially when weighed against the virtual impossibility of affording

adequate relief to the members of the Class through thousands of separate actions.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies that class certification is appropriate in this matter. ECFMG denies the remaining

allegations of this paragraph.



       65.     The likelihood that individual members of the Class will prosecute separate actions

is remote also because most class members do not know that a claim against ECFMG exists.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies that class certification is appropriate in this matter. ECFMG lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations of this paragraph

and they are, therefore, denied.



       66.     Counsel for Named Plaintiffs and the Class is experienced in class actions and

foresees little difficulty in the management of this case as a class action.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies that class certification is appropriate in this matter. ECFMG lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations of this

paragraph and they are, therefore, denied.




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                                               COUNT I

                                              (Negligence)

        67.       Plaintiffs re-allege and incorporate by reference the allegations set forth herein, and

further allege:

        ANSWER:           ECFMG incorporates its responses to the previous paragraphs as though

fully set forth herein.



        68.       ECFMG holds itself out as protecting the public through its programs and services,

including primary-source verification of physician credentials. ECFMG undertook to render

certification services and primary source verification services, among others, for Igberase on

multiple occasions, under multiple identifies, and to represent to Howard University Hospital,

Prince George's Hospital Center, the Maryland Board of Physicians, among others, that Igberase

was a bona fide medical doctor. See Exhibit A, ECFMG Notice #101, dated March 1, 2017.

        ANSWER:           The allegations of this paragraph refer to the content of ECFMG

Notification #101, which is attached to the Complaint and is a written document that speaks for

itself, and Plaintiffs’ characterization of it is, therefore, denied. Moreover, the allegations of this

paragraph contain conclusions of law to which no response is required and they are, therefore,

denied. To the extent that a response is required, ECFMG lacks knowledge or information

sufficient to form a belief about the truth of the remaining allegations of this paragraph and they

are, therefore, denied.



        69.       ECFMG owed a duty to Plaintiffs and other members of the Class to carefully

review Igberase's multiple applications for certification, appropriately perform primary source


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                                                                                                            JA152
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verification and to carefully investigate Igberase when it was informed that Igberase was using a

false social security number, potentially a false name, and other false documentation.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied.



       70.     ECFMG, in breach of its duty, failed to detect that Igberase's medical school

diploma was in the name of Johnbull Enosakhare Akoda, not John Charles Akoda or John Charles

Nosa Akoda or John Nosa Akoda, all names used in documents submitted by Akoda.

       ANSWER:         The allegations of this paragraph refer to a diploma that was not attached to

the Complaint and is a written document that speaks for itself, and Plaintiffs’ characterization of

it is, therefore, denied. Moreover, the allegations of this paragraph contain conclusions of law to

which no response is required and they are, therefore, denied. To the extent that a response is

required, ECFMG admits only that ECFMG received a diploma in the name of Johnbull

Enosakhare Akoda. ECFMG denies the remaining allegations of this paragraph.



       71.     ECFMG was negligent in failing to learn that Akoda was Igberase. Among other

things, ECFMG knew that in August 2000 allegations had been made to the JSMC that Akoda and

Igberase were the same person. The JSMC notified ECFMG of this and told ECFMG that Akoda

was using Igberase's social security number.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required, the

allegations of this paragraph refer to an August 11, 2000 correspondence that was not attached to




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the Complaint and is a written document that speaks for itself, and Plaintiffs’ characterization of

it is, therefore, denied.



        72.     Igberase appeared at the offices of ECFMG on September 27, 2000 and told

ECFMG that Igberase was his cousin and admitted he had used Igberase's social security number

"pending INS clearance of his own social security number." Additionally, the passport Igberase

provided to ECFMG at that meeting contained one too few numbers and could not have been valid.

        ANSWER:             ECFMG incorporates its response to Paragraph 27 as though fully set forth

herein. Moreover, the allegations of this paragraph refer to a passport that was not attached to the

Complaint and is a written document that speaks for itself, and Plaintiffs’ characterization of it is,

therefore, denied. ECFMG lacks knowledge or information sufficient to form a belief about the

truth of the remaining allegations of this paragraph and they are, therefore, denied.



        73.     There was no effort by ECFMG to authenticate the passport. In breach of its duty,

ECFMG failed to take any action against Igberase for this misuse of a social security number.

        ANSWER:             The allegations of this paragraph refer to a passport that was not attached to

the Complaint and is a written document that speaks for itself, and Plaintiffs’ characterization of

it is, therefore, denied. Moreover, the allegations of this paragraph contain conclusions of law to

which no response is required and they are, therefore, denied. To the extent that a response is

required, ECFMG denies the allegations of this paragraph.



        74.     Further in breach of its duty, ECFMG failed to compare the photograph of Igberase

in its files with the person claiming to be Akoda who was sitting in ECFMG's office in




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Philadelphia. Had ECFMG done so, ECFMG would have known that Akoda and Igberase are the

same person.

        ANSWER:          The allegations of this paragraph refer to a photograph that was not attached

to the Complaint and is a document that speaks for itself, and Plaintiffs’ characterization of it is,

therefore, denied. Moreover, the allegations of this paragraph contain conclusions of law to which

no response is required and they are, therefore, denied. ECFMG lacks knowledge or information

sufficient to form a belief about the truth of the remaining allegations of this paragraph and they

are, therefore, denied. To the extent that a response is required, ECFMG denies the allegations of

this paragraph.



        75.       ECFMG, in breach of its duty, failed to advise the Howard University Hospital

residency program, the Maryland Board of Physicians or Prince George's Hospital Center of the

information in its files that Igberase may have had a previous certification that was revoked, that

ECFMG had investigated whether Akoda is Igberase or that Igberase was barred under another

certification.

        ANSWER:          The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.



        76.       ECFMG, in breach of its duty, and in breach of its own policies and procedures

regarding irregular behavior, failed to take reasonable steps to verify the truth of the references

submitted by Igberase when he applied for the residency program at Howard University Hospital

under the Akoda identity. In 2006 Igberase submitted three (3) letters of recommendations through




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ERAS under the Akoda identity. ECFMG sent letters to each of the references, with copies of their

respective alleged letters of recommendations, seeking to learn if they were authentic. ECFMG

did not receive responses from the supposed references. Nevertheless, ECFMG provided primary

source verification to Howard University Hospital about "Akoda" — a fictitious identity.

       ANSWER:            The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG admits only that in 2006 it sent letters to individuals who had submitted letters of

recommendation in support of Dr. John Nosa Akoda, the individual associated with Certificate 0-

553-258-5. ECFMG lacks knowledge or information sufficient to form a belief about the truth of

the remaining allegations of this paragraph and they are, therefore, denied.



       77.     The numerous breaches of duty by ECFMG led to the fraudulent certification of

Igberase, under various names, but for which he would not have been admitted to the Howard

University Hospital residency program, he would not have received a Maryland medical license,

he would not have obtained privileges at Prince George's Hospital Center, he would not have been

able to practice medicine, and he would not have been able to cause the harms to Plaintiffs.

       ANSWER:            The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. ECFMG lacks knowledge or information

sufficient to form a belief about the truth of the remaining allegations of this paragraph and they

are, therefore, denied.




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       78.     ECFMG's numerous breaches of duty increased the risk of harm to Plaintiffs and

other members of the Class by Igberase's conduct.

       ANSWER:        The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.



       79.     ECFMG committed breaches of the duties owed to Named Plaintiffs and

members of the Class including but not limited to the following:

               a.     negligently certifying Igberase under multiple fictitious identities;

               b.     negligently failing to properly investigate allegations that John Charles

Akoda, Oluwafemi Charles Igberase and Igberase Oluwafemi Charles were the same person;

               c.     negligently failing to investigate the references provided by Igberase

under the Akoda identity;

               d.     negligently failing to advise Howard University Hospital and Prince

George's Hospital Center that Igberase had engaged in irregular behavior;

               e.     negligently failing to follow its own policies and procedures regarding

irregular behavior;

               f.     (negligently failing to invalidate or revoke Igberase's certification under

the Akoda identity; and

               g.     otherwise acting negligently.

       ANSWER:        The allegations of this paragraph and its subparts contain conclusions of law

to which no response is required and they are, therefore, denied. To the extent that a response is

required, ECFMG denies the allegations of this paragraph and its subparts.




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        80.     ECFMG's continuing breaches of duty constituted negligence, gross negligence,

carelessness and recklessness, and represented outrageous and egregious conduct in reckless

disregard of the Plaintiffs' safety.

        ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.



        81.     ECFMG's ongoing breaches of duty proximately caused the Named Plaintiffs and

all class members physical pain, emotional anguish, fear, anxiety, humiliation, embarrassment and

other physical and emotional injuries, damages (both economic and non-economic) and permanent

disability, in the past, present and future.

        ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.



        82.     ECFMG's negligence was the sole and proximate cause of the injuries, damages

and permanent disability of Named Plaintiffs and class members with Named Plaintiffs and Class

Members being in no way contributorily negligent.

        ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.




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        83.       As a direct, proximate, immediate and foreseeable result of ECFMG's conduct,

Named Plaintiffs and Class Members have and/or will suffer permanent economic and non-

economic damages including but not limited to:

                  a.      Great indignity, humiliation, shame, mortification and other injuries to their

physical, mental, emotional and nervous systems;

                  b.      Unwanted, harmful and offensive physical contact and touching by

Igberase;

                  c.      Severe mental anguish and psychological distress;

                  d.      The cost past, present and future cost of medical care, including but not

limited to therapy and psychological counseling; and

                  e.      Lost earnings and diminished earnings capacity.



        ANSWER:           The allegations of this paragraph and its subparts contain conclusions of law

to which no response is required and they are, therefore, denied. To the extent that a response is

required, ECFMG denies the allegations of this paragraph and its subparts.


                                               COUNT II

                             (Negligent Infliction of Emotional Distress)

        84.       Plaintiffs re-allege and incorporate by reference the allegations set forth herein, and

further allege:

        ANSWER:           ECFMG incorporates its responses to the previous paragraphs as though

fully set forth herein.




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       85.     ECFMG owed a duty to Plaintiffs and other members of the Class to carefully

review Igberase's multiple applications for certification, perform primary source verification and

carefully investigate Igberase prior to certifying Igberase as a foreign medical graduate.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph. ECFMG denies that class certification is

appropriate in this matter.



       86.     ECFMG also owed a duty to the Plaintiffs and other members of the class to

investigate reports and/or irregularities concerning Igberase's identity and take appropriate steps

to restrict or revoke Igberase's ECFMG Certification after an appropriate investigation.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph. ECFMG denies that class certification is

appropriate in this matter.



       87.     ECMFG [sic] breached its duties to the Plaintiffs and other members of the Class

by certifying Igeberase and allowing him to continue practicing under the Akoda identity for years

after becoming aware of reports and other information indicating that Igberase was using a

fraudulent identity.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,




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ECFMG denies the allegations of this paragraph. ECFMG denies that class certification is

appropriate in this matter.



       88.     ECFMG knew, or should have known, that its negligent failure to appropriately

perform primary source verification and carefully investigate Igberase would result in patients

such as the Plaintiffs and other similarly situated coming under the care of persons, such as

Igberase, who lack the appropriate credentials and qualifications to practice medicine, resulting in

unwanted, harmful and offensive touching by Igberase and severe emotional distress to the

Plaintiffs and other members of the Class.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph. ECFMG denies that class certification is

appropriate in this matter.



       89.     As a direct, proximate, immediate and foreseeable result of ECFMG's conduct and

negligence, Named Plaintiffs and Class Members have and/or will suffer permanent economic and

non-economic damages including but not limited to:

               a.      Great indignity, humiliation, shame, mortification and other injuries to their

physical, mental, emotional and nervous systems;

               b.      Unwanted, harmful and offensive physical contact and touching by

Igberase;

               c.      Severe mental anguish and psychological distress;




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                d.      cost past, present and future cost of medical care, including but not limited

to therapy and psychological counseling; and

                e.      Lost earnings and diminished earnings capacity

        ANSWER:         The allegations of this paragraph and its subparts contain conclusions of law

to which no response is required and they are, therefore, denied. To the extent that a response is

required, ECFMG denies the allegations of this paragraph and its subparts. ECFMG denies that

class certification is appropriate in this matter.



                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully pray that this Court:

        A.      assume jurisdiction of this case;

        B.      enter an order certifying the Class under PA. RULE 1700 et seq.;

        C.      appoint Named Plaintiffs as Class Representatives;

        D.      appoint Named Plaintiffs' Counsel as Class Counsel;

        E.      enter a judgment against ECFMG finding it liable to Named Plaintiffs and each

                Class Member;

        F.      award compensatory damages to each class member in an amount which exceeds

                seventy-five thousand dollars;

        G.      award the costs and expenses of this case, including attorneys' fees;

        H.      award pre judgment and post-judgment interest;

        I.      award punitive damages; and

        J.      award such other relief as the court deems appropriate.

        ANSWER:         In response to the PRAYER FOR RELIEF, ECFMG denies that Plaintiffs

or any putative class members are entitled to any type of remedy, relief, or damages whatsoever,


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including the relief requested in Plaintiffs’ Prayer for Relief. ECFMG denies the remaining

allegations of this paragraph.



                                  AFFIRMATIVE DEFENSES

          Without assuming the burden of proof on any matters that would otherwise rest with

Plaintiffs and the putative class members, and expressly denying any and all wrongdoing, ECFMG

alleges the following Affirmative Defenses. ECFMG presently has insufficient knowledge or

information to form a belief as to whether there are additional defenses than those stated below.

Therefore, ECFMG expressly reserves the right to assert additional defenses.

          1.    The Complaint fails to state a claim upon which relief may be granted.

          2.    Plaintiffs’ claims, and the claims of each purported class member, are barred, in

whole or in part, by the applicable statute of limitations.

          3.    Plaintiffs’ claims, and the claims of each purported class member, are barred, in

whole or in part, by the economic loss doctrine.

          4.    Plaintiffs’ claims, and the claims of each purported class member, are barred, in

whole or in part, by the doctrines of consent, estoppel, agreement, release, disclosure, and/or

waiver.

          5.    Plaintiffs’ claims, and the claims of each purported class member, are barred, in

whole or in part, by the doctrines of comparative negligence and/or assumption of the risk.

          6.    Plaintiffs’ claims, and the claims of each purported class member, are barred, in

whole or part, to the extent they lack standing.

          7.    Plaintiffs’ claims, and the claims of each purported class member, are barred

because the Plaintiffs have not suffered any actual injury or damage.




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       8.      Any losses alleged by Plaintiffs were not caused by any fault, act, or omission by

ECFMG, but were caused by circumstances, entities or persons, including Plaintiffs, for which

ECFMG is not responsible and cannot be held liable.

       9.      Any losses alleged by Plaintiffs were not caused by any fault, act, or omission by

ECFMG, but were caused by intervening and/or superseding causes.

       10.     The claims of Plaintiffs and/or members of the putative class are barred to the extent

ECFMG owes no duty to Plaintiffs and/or members of the putative class, not did ECFMG breach

any duty.

       11.     The claims of Plaintiffs and/or members of the putative class are barred, in whole

or in part, to the extent the alleged injuries and/or damages, if any, were not caused in fact or

proximately caused by any acts and/or omissions by ECFMG.

       12.     The claims of Plaintiffs and/or members of the putative class are barred, in whole

or in part by the absence of ECFMG committing actions of such an outrageous nature as to

demonstrate willful, wanton, or reckless conduct or with reckless disregard to the rights of others.

       13.     Plaintiffs’ negligent infliction of emotional distress claim, or those claims for

members of the putative class are barred, in whole or part, due to lack of these individuals suffering

severe emotional distress.

       14.     The claims of Plaintiffs and/or members of the putative class are barred, in whole

or in part by the doctrine of charitable immunity.

       15.     Plaintiffs and/or members of the putative class have failed to mitigate their

purported damages.

       16.     Plaintiffs are not entitled to certification of this action as a class action because they

cannot satisfy the requirements of Federal Rule of Civil Procedure 23(a) or (b) in this case.




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                                 Respectfully submitted

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                                CERTIFICATE OF SERVICE

       I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon the following counsel of record via the ECF

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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MONIQUE RUSSELL, JASMINE RIGGINS,                           CIVIL ACTION NO. 18-5629
 ELSA M. POWELL AND DESIRE EVANS,

                        Plaintiffs,

        v.

 EDUCATIONAL COMMISSION FOR
 FOREIGN MEDICAL GRADUATES,

                        Defendant.


                          MOTION FOR CLASS CERTIFICATION

       Plaintiffs Monique Russell, Jasmine Riggins, Elsa Powell, and Desire Evans, on behalf of

themselves and all others similarly situated (collectively, “Plaintiffs”), by and through their

undersigned counsel, respectfully submit this Motion for Class Certification. The Motion is

based upon the accompanying Memorandum of Law in Support of Class Certification and its

attached exhibits, the files, records, and pleadings in this matter, and arguments of counsel.

       Plaintiffs respectfully request a hearing on this Motion.

Dated: October 7, 2019                         Respectfully submitted,

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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,            CIVIL ACTION NO. 18-5629
ELSA M. POWELL AND DESIRE EVANS,

                Plaintiffs,

     v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                Defendant.




MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR CLASS CERTIFICATION




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       Plaintiffs Monique Russell, Jasmine Riggins, Elsa Powell, and Desire Evans, on behalf of

themselves and all others similarly situated (collectively, “Plaintiffs”), by and through their

undersigned counsel, respectfully submit this Memorandum of Law in Support of Motion for

Class Certification.

                                  FACTUAL BACKGROUND

       This action arises from allegations that Defendant Educational Commission for Foreign

Medical Graduates (“ECFMG”) was negligent in failing to properly investigate and provide

certification to Oluwafemi Igberase a/k/a Charles Akoda, which enabled Akoda to enter a

medical residency program in obstetrics and gynecology at Howard University in Washington,

D.C. and go on to treat hundreds of women at Howard and in Prince George’s County,

Maryland—despite the fact that he obtained certification from ECFMG based on identity and

document fraud. As Plaintiffs allege, and as internal memoranda document, ECFMG knew of

Igberase’s fraud, but failed to adequately investigate it or refer Igberase’s conduct to ECFMG’s

Medical Education Credentials Committee. ECFMG failed to inform state medical boards,

residency programs, and hospitals of Igberase’s fraud, even as they submitted reports to these

entities upon request that attested that Igberase was appropriately certified. As a result, hundreds

of women were sexually assaulted by Igberase: they were examined in the most intimate fashion,

without knowing that Igberase had been certified and allowed to practice medicine based on

identity fraud—information that ECFMG clearly knew but chose not to disclose to the health

care entities that relied on it for primary source verification. Many experienced touching and

comments that in and of themselves constituted sexual assault, sexual harassment, a boundary




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violation, or medical malpractice. Plaintiffs never would have consented to being examined or

treated by Igberase had they known the true state of affairs.

       ECFMG’s stated mission is to promote quality health care for the public by certifying

international medical graduates for entry into U.S. graduate medical education. See Ex. 1. To

accomplish its mission, ECFMG, among other things, verifies credentials and provides other

services to healthcare professionals worldwide. Id.

       Persons who receive their medical education outside of the United States and Canada are

referred to as International Medical Graduates (“IMG’s”). See Ex. 2. In order for an IMG to

practice medicine in the United States, the IMG must apply to ECFMG, which verifies that the

IMG has obtained a diploma from a medical school recognized by the country in which the

school is situated; that the school is listed in the International Medical Education Directory; that

the curriculum requirement is a minimum of 4 academic years; that the IMG has passed steps 1

and 2 of the United States Medical Licensing Examination (USMLE), has passed the Clinical

Skills Assessment Examination and has passed the Test of English as a Foreign Language. See

Ex. 3 at 1–2. Additionally, the ECFMG uses primary source verification of the IMG’s diploma.

Id. When all of this is satisfactorily completed, the ECFMG issues a certificate to the IMG. Id.

       To enter programs of graduate medical education in the United States accredited by the

American College of Graduate Medical Education (“ACGME”), IMG’s must hold a valid

ECFMG certificate. See Ex. 3 at 1. When an IMG applies to a residency program using the

Electronic Residency Application Service (“ERAS”), ECFMG automatically transmits an

ECFMG certification status report to the residency program to which the IMG applies. Ex. 4.

ECFMG provides each IMG applicant with a unique identification number, known as a token,

which allows the IMG applicant to access the AAMC’s ERAS web site to complete the ERAS



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application. Id. The IMG applicant also sends supporting documents to the ECFMG for scanning

and transmission. Id. The ECFMG also transmits the IMG applicants’ USMLE transcript, as

requested by the applicant. Id.

       An IMG must have ECFMG certification to enter an accredited residency program and

obtain a state medical license unless the state exercises its authority to make a special exception.

Ex. 45 at 230–31.ECFMG has undertaken to provide hospitals with a service to verify a

physician’s credentials, which fulfills the hospital’s obligation to perform primary-source

verification. Id. at 48–50. As discussed, ECFMG has also undertaken to provide the same service

to residency programs. Id. at 45.

       On April 6, 1992 ECFMG received an application from Oluwafemi Charles Igberase

(“Igberase”) to take the foreign medical graduate examination in Medical Sciences and the

ECFMG English Test. See Ex. 5 at 0000155. He provided ECFMG with a diploma from the

University of Ibadan dated June 19, 1987. See Ex. 6. Igberase failed both the basic medical

science and clinical science components of the FMGEMS and passed the ECFMG English test.

Ex. 7 at 0000075. He failed the Day 1 test again but passed it on the third try. Id. On October 4,

1993, after he successfully completed steps 1 and 2 of the USMLE, ECFMG issued to him

certificate number 0-482-700-2. See Ex. 8 at 0003572.

       On March 30, 1994, ECFMG received an application from “Igberase Oluwafemi

Charles” (“Charles”) to take Steps 1 and 2 of the USMLE examinations. Ex. 9 at 0000407. He

provided a date of birth that was different than the date of birth provided by Igberase. The

diploma he submitted was the identical diploma that had been submitted by Igberase. On

December 14, 1994, after Charles successfully completed the USMLE examinations, ECFMG

issued to him certificate number 0-519-573-0.



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       ECFMG subsequently began to investigate whether Igberase and Charles were the same

person. Ex. 8 at 0003572–73. Igberase/Charles explained his actions in a handwritten letter dated

July 14, 1995 in which he admitted he had lied about not taking the examination previously and

why he rearranged his names. See Ex. 10 at 0000433–37. As Igberase explained, he applied

under a false identity because he had been rejected from residency programs for repeatedly

failing the USMLE examinations. Id. at 0000433–34.

       The ECFMG Committee on Medical Education Credentials found that Igberase/Charles

had engaged in “irregular behavior,” invalidated certificate number 0-519-573-0 issued to

Charles and revoked certificate number 0-482-700-2 issued to Igberase. Ex. 11. 1 Charles

appealed the decision which led to a hearing on July 10, 1996. Ex. 12. The ECFMG Review

Committee for Appeals affirmed the decision of the ECFMG Committee on Medical Education

Credentials to revoke certificate number 0-482-700-2 but limited the length of the revocation to a

period of five years from July 10, 1996, i.e., to July 10, 2001. Ex. 14. Ultimately, ECFMG

revoked permanently this certificate. Ex. 15.

       On January 3, 1996 and again on August 30, 1996, ECFMG received an application from

“John Nosa Akoda” to take Steps 1 and 2 of the USMLE examinations. Ex. 16 at 0000703, Ex.

17 at 0000643. He provided ECFMG with a diploma from the University of Benin dated

February 6, 1998. Ex. 18. On August 18, 1998, after he successfully completed the required

examinations, ECFMG issued to him certificate number 0-553-258-5. See Ex. 19. At some time

in 1998 he provided ECFMG with social security number xxx-xx- 9065. See Ex. 20, 22.




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 Irregular behavior is defined as “all actions … on the part of applicants … that would or could
subvert the … certification … processes of ECFMG ….” Ex. 12.
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       In July 1998, Akoda entered the graduate residency program at Jersey Shore Medical

Center. See Ex. 20. On July 24, 1998, ECFMG received a Request for Permanent Revalidation of

Standard ECFMG Certificate from Akoda due to his having entered this program. On September

2, 1998, ECFMG sent this validated form. See Ex. 20.

        By letter dated August 11, 2000 from Dr. James McCorkel, ECFMG was notified that

the Jersey Shore Medical Center graduate residency program in which Akoda was enrolled was

investigating allegations that Akoda had used a social security number issued to a person named

Oluwafemi Charles Igberase. See Ex. 21. ECFMG advised Dr. McCorkel that Akoda had

provided ECFMG with social security no. xxx-xx-9065. See Ex. 22 at 0000552. This is the same

number Akoda provided to the Jersey Shore Medical Center. See Ex. 21.

       ECFMG sent Akoda a “charge letter” dated August 22, 2000 advising that ECFMG had

received information alleging that Akoda may have engaged in irregular behavior. See Ex. 23 at

0004194–95. Akoda responded by representing to ECFMG that Igberase Oluwafemi Charles was

his cousin and admitting that he had used his cousin’s social security number. See Ex. 24. Akoda

presented a purported Nigerian passport and a Nigerian “international driving permit.” Ex. 25.

       In December 2000, ECFMG learned that Jersey Shore Medical Center dismissed Akoda

from its graduate residency program because he used a false social security number – that of his

cousin Charles Igberase - and because the green card he had provided the hospital was

inconsistent with a subsequent green card he also provided. Ex. 26. In a December 22, 2000

memorandum, William Kelly, Manager of the Medical Education Credentials Department of

ECFMG, advised in a memorandum intentionally not made part of the official file that he and

Dr. McCorkel both believed Igberase and Akoda were the same person. Ex. 27. But he

concluded that he did not think there was enough information to refer the matter to the ECFMG



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Credentials Committee for investigation. Id. Per Kelly, if it had been, “the irregular behavior he

would have been charged with would be providing false information to ECFMG on an

application, among other things.” Ex. 33 at 158:1–3.

       The members of ECFMG’s Board and Credentials Committee had no awareness of the

matter until November 2016. Ex. 45 at 171. This contrasted with ECFMG’s practice of referring

an allegation to the Committee for investigation if a charge letter was sent. Ex. 45 at 82. ECFMG

never notified anyone outside the organization that Akoda had been dismissed from the Jersey

Shore residency program, such as the hospitals and medical boards to which it provided reports

verifying Akoda’s ECFMG certification status. Ex. 45 at 181–82.

       In October 2006, Akoda used the ERAS of ECFMG to apply to Howard University

Medical Center for a graduate residency program, which included three purported letters of

reference. Ex. 28. Although he was not part of the ERAS process (Ex. 33 at 161:22–24), William

Kelly of ECFMG attempted to verify the authenticity of these three letters of reference (Ex. 29)

because he had concerns about Akoda’s credibility (id. at 200:18–23). Kelly did not typically

take this action with regard to residency applicants. Id. at 205:15–20. He never received

responses from the persons passed off as references for Akoda. Id.

       In or about October 2011 Akoda obtained privileges and became a member of the

medical staff at Prince George’s Hospital Center under the name “Charles John Nosa Akoda”

which was different than the name on his ECFMG certification and also using a fake permanent

resident card, a fake Maryland driver’s license, fake Nigerian passport and fake letters of

recommendation. Ex. 30 at 0000019. Akoda began seeing patients at Prince George’s Hospital

Center on or about November 5, 2011. ECF No. 1, Ex. A at ¶ 30.




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       On June 9, 2016, law enforcement executed search warrants at Akoda’s residence,

medical office and vehicle where they found fraudulent or altered immigration documents,

medical diplomas, medical transcripts, letters of recommendation and birth certificates. ECF No.

1, Ex. A at ¶ 34. On November 15, 2016, Akoda signed a plea agreement admitting to misuse of

a social security account number and admitting to being Igberase. Ex. 30 at 0000020. On

December 19, 2016, ECFMG revoked certificate number 0-482-700-2 issued to Akoda, based

upon his plea agreement with the U.S. Ex. 31. In 2017, Akoda was sentenced by the United

States District Court for the District of Maryland to six (6) months incarceration, followed by

probation. ECF No. 1, Ex. A at ¶ 37. Prince George’s Hospital Center then terminated his

privileges and the Maryland Board of Physicians revoked his medical license. Id. at ¶¶ 38–39. In

2017, ECFMG revoked Akoda’s certification (Ex. 45 at 224–225) on the basis of his plea

bargain (id. at 170-171).

       As Plaintiffs allege, none of Igberase’s patients (the Plaintiffs and others similarly

situated) knew his true identity or of his fraudulent background and conduct. ECF No. 1, Ex. A

at ¶¶ 44–45. Moreover, none of Igberase’s patients were capable of giving informed consent to

be touched by him. Id. at ¶ 46. On many occasions, Igberase touched and penetrated his patients

without consent and on false pretenses, constituting battery, and committed ongoing boundary

violations by performing inappropriate examinations of a sexual nature and utilizing

inappropriate language. Id. at ¶ 47.

                              CLASS REPRESENTATIVES

       A.      Monique Russell

       Monique Russell is a 42 year old resident of Annapolis, Maryland. Ex. 33 at 12. Akoda

delivered her son in 2016. Id. at 41. Ms. Russell became aware of Akoda’s and ECFMG’s



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conduct through various sources. Id. at 47–50. She has suffered from emotional distress as a

result of learning about Akoda’s conduct. Id. at 75. Ms. Russell is pursuing the class action in

part because she believes that every woman who has ever been a patient of Akoda should know

that he is not a real doctor. Id.

        B.      Jasmine Riggins

        Ms. Riggins is a 27 year old mother of three children. Ex. 35 at 20. She lives in

Washington, DC. Id. She was a patient of Akoda between August 2012 and March 2013. Id. at

121. Akoda delivered her second child by C-section. Id. As a result of what she learned about

Akoda, she has suffered emotional distress. Id. at 56.

        C.      Elsa Powell

        Ms. Powell is a 32 year old mother of five children. Ex. 36 at 7, 19. Ms. Powell initially

encountered Igberase upon presentation to the medical office of Abdul Chaudry, M.D. in 2014.

Id. at 40, 94. Igberase, claiming to be Akoda, delivered her child at Prince George's Hospital

Center. Id. at 42, 88. Ms. Powell has experienced emotional distress after learning that Igberase

treated her on false pretenses, and is prepared to speak on behalf of others in connection with her

role as a class representative. Id. at 96.

        D.      Desire Evans

        Desire Evans is a 40 year old mother of one child. Ex. 37 at 8, 13. Ms. Evans first

encountered Igberase, whom she knew as Charles Akoda, at Prince George's Hospital Center for

the delivery of her child in March of 2018. Id. at 83. Ms. Evans has suffered emotional distress

upon learning that physician whom she trusted for medical care misrepresented his identity. Id. at

165, 172. Ms. Evans understands her role as a class representative and is willing to speak as a

representative on behalf of others who were treated by Igeberase. Id. at 153, 183.



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                                            EXPERTS

       Plaintiffs have retained six experts to opine on the issues of liability and damages.

       David Samuel Markenson, M.D., MBA, FAAP, FACEP, FCCM, FACHE is a health

care physician executive with experience in leadership roles, including Division Vice President,

Chief Medical Officer, Vice President, Medical Director, Section Chief, Academic Chairman,

Center Director and Designated Institutional Official with a publicly traded national hospital

corporation, large regional health system, academic medical center, medical school, municipal

hospitals and community hospital. Dr. Markenson has issued a report which identifies various

breaches in the standards of care by ECFMG. Dr. Markenson states in his report that these

breaches in the standards of care permitted Igberase to practice medicine under the fictitious

Akoda identity and has caused harm to the Plaintiffs and the members of the class. Ex. 38 at 3.

       John Charles Hyde, II, Ph.D., FACHE, is a health care consultant and retired Professor

in the field of healthcare management. Dr. Hyde provides expertise and advice to hospitals,

healthcare organizations, healthcare trade/professional associations, on topics including

administration, provider credentialing, employee management, and other various healthcare

related needs. Dr. Hyde has issued a report identifying breaches in the standards of care which

have caused harm to the Plaintiffs and the class. See Ex. 39 at 7.

       Jonathan Burroughs, M.D., MBA, FACHE, FAAPL is a physician and healthcare

consultant with experience in various hospital administrative roles. Dr. Burroughs has issued a

report in which he offers his opinion that ECFMG breached its duty to the public, as set forth in

their own mission statement and other publications. See Ex. 40 at 30.

       Jerry Williamson, M.D., FAAP, MJ, CHC, LHRM is a physician and hospital

administrator, having held administrative positions as a Chief Medical Officer, Medical Director,



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and Vice President for Medical Affairs in both the ambulatory and inpatient settings. In these

positions, Dr. Williamson served on and chaired credentialing committees. Dr. Williamson has

offered a report which concludes that ECFMG failed to act in a reasonable and prudent manner

which has directly impacted patient safety. Ex. 41 at 6.

          Christine Tellefsen, M.D. is a psychiatrist affiliated with the Mercy Medical Center in

Baltimore, Maryland and the University of Maryland Medical Center. Dr. Tellefsen's report

summarizes the result of several independent medical examinations performed on the

representative Plaintiffs, and describes the breach of trust suffered by patients associated with

fraudulent conduct on the part of physicians—particularly in the context of obstetric care. Dr.

Tellefsen concludes that each of the representative plaintiffs reported shock, dismay, anger,

recrimination and guilt, and were all distress upon learning of Igberase's conduct. See generally

Ex. 42.

          Annie Steinberg, M.D. is a psychiatrist with a Clinical Professor faculty appointment in

the Department of Psychiatry at The Perelman School of Medicine at the University of

Pennsylvania. Dr. Steinberg has conducted a survey completed by 306 presumed patients of

Igberase. Dr. Steinberg found consistency in terms of damages across the women surveyed, and

concluded that the misconduct of Oluwafemi Charles Igberase has resulted in degrees of

confusion, anxiety, depression, avoidance and fear of medical caregivers, and the loss of trust in

medical providers and health care institutions among those she surveyed. Ex. 43 at 21.

                                             ARGUMENT

          Plaintiffs seek an order providing for class certification as to “all patients examined

and/or treated in any manner by Oluwafemi Charles Igberase (a/k/a Charles J. Akoda, M.D.)”

(ECF No. 1, Ex. A at ¶ 48), on two alternate grounds, both pursuant to Federal Rule of Civil



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Procedure 23(c)(4). The first option (“Option A”) is certification on liability only for the causes

of action of the class members: negligence (ECF No. 1 at 27–30) and negligent infliction of

emotional distress (ECF No. 1 at 31–32). In the alternative, Plaintiffs seek certification of the

following issues classes) (“Option B”):

       1.      Whether ECFMG undertook or otherwise owed a duty to class members
               who were patients of Igberase;
       2.      Whether ECFMG breached its duty to class members;
       3.      Whether ECFMG undertook or otherwise owed a duty to hospitals and
               state medical boards, such that ECFMG may be held liable for foreseeable
               injuries to third persons such as class members pursuant to Restatement
               (Second) of Torts § 324A;
       4.      Whether ECFMG breached its duty to hospitals and state medical boards;
       5.      Whether the emotional distress and other damages alleged by Plaintiffs
               and class members were a foreseeable result of ECFMG’s conduct;
       6.      Whether ECFMG’s conduct involved an unusual risk of causing emotional
               distress to others under Restatement (Second) of Torts § 313;
       7.      Whether ECFMG is subject to liability under Restatement (Second) of
               Torts § 876 for assisting Igberase in committing fraud;
       8.      Whether ECFMG knew or should have known that Akoda was, in fact,
               Igberase;
       9.      Whether it was foreseeable that ECFMG's' actions and/or alleged failures
               to act, including their alleged negligent failure to certify Igberase and
               properly investigate and deny or revoke Igberase certification, could result
               in emotional distress experienced by Class Members.

For the following reasons, Plaintiffs contend that certification under either Option A or Option B

is permitted under Rule 23 and would materially advance the termination of the litigation.

I.     Certifying the common issues satisfies Rule 23(a).

       Rule 23 is “‘designed to assure that courts will identify the common interests of Class

members and evaluate the named plaintiffs' and counsel's ability to fairly and adequately protect

class interests.’” Sullivan v. DB Investments, Inc., 667 F.3d 273, 296 (3d Cir. 2011) (citation

omitted). The class action vehicle allows large numbers of potentially low-value claims

involving the same core issues to proceed in the aggregate. This provides a path to relief where


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otherwise there is none, as the cost to litigate an individual case often exceeds the expected

return for an individual plaintiff. See Amchem Prods. Inc. v. Windsor, 521 U.S. 591, 617 (1997).

Moreover, class certification can benefit a defendant in that resolution of common issues can

dispose of thousands of claims in one stroke. Thus, “[c]lass actions serve an important function

in our system of civil justice.” Gulf Oil Co. v. Bernard, 452 U.S. 89, 99 (1981).

       Both the Supreme Court and Third Circuit have held that the requirements

for class certification are “readily met” in consumer protection cases where common factual

questions necessarily center upon the defendant's course of conduct. See Amchem Prods., 521

U.S. at 625; Sullivan v. DB Investments, Inc., 667 F.3d 273, 298 (3d Cir. 2011) (en banc). For

example, where “liability depends on the conduct of [defendant], and whether it conducted a

nationwide campaign of misrepresentation and deception, [and] does not depend on the conduct

of individual class members,” class certification is appropriate. Sullivan 667 F.3d at 298.

       Courts should not “’put[ ] the cart before the horse’ by allowing their views of the merits

to affect their analysis of the independent question whether a putative class satisfies the

requirements of Rule 23,” which “‘grants courts no license to engage in free-ranging merits

inquiries at the certification stage.’” Gonzalez v. Corning, 885 F.3d 186, 200 (3d Cir. 2018), as

amended (Apr. 4, 2018) (quoting Amgen, Inc. v. Conn. Retirement Plans and Trust Funds, 568

U.S. 455, 460, 466 (2013).

       Rule 23(a) sets forth four “threshold requirements” for all class actions. Sullivan v. DB

Investments, Inc., 667 F.3d 273, 298 (3d Cir. 2011). At class certification, Plaintiffs must

“demonstrate that [those elements are] capable of proof at trial through evidence that is common

to the class rather than individual to its members,” In re Hydrogen Peroxide Antitrust Litig., 552




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F.3d 305 (3d Cir. 2008). The four prerequisites—numerosity, commonality, typicality and

adequacy—are satisfied here.

       A.      The class members are sufficiently numerous.

       Rule 23(a)(1) requires that the proposed class be “so numerous that joinder of all

members is impracticable.” Fed. R. Civ. P. 23(a)(1). Plaintiffs are not required to state the size of

the class with precision. Cannon v. Cherry Hill Toyota, 184 F.R.D. 540, 543 (D.N J, 1999).

There is “[n]o minimum number of plaintiffs is required to maintain a suit as a class action,” and

a plaintiff “can generally satisfy Rule 23(a)(1)'s numerosity requirement by establishing ‘that the

potential number of plaintiffs exceeds 40.’” Mielo v. Steak 'n Shake Operations, Inc., 897 F.3d

467, 486 (3d Cir. 2018) (citation omitted).

       Here, Plaintiffs have alleged that there are over 1,000 members of the class. (ECF No. 41

at ¶ 50.) In a related lawsuit involving Igberase’s conduct, Dimensions Healthcare, which

operated Prince George’s Hospital Center in Cheverly, MD, responded that Igberase had treated

712 patients at its facility. (See Ex. 44 at 12.) Numerosity is satisfied here.

       B.      There are common questions of fact and law.

       Rule 23(a)(2) requires that “there are questions of law or fact common to the class.”

Commonality is satisfied where common questions are capable of generating common answers

apt to drive the resolution of the litigation. Wal-Mart Stores Inc. v. Dukes, 131 S. Ct, 2541, 2551

(2011). “Commonality does not require an identity of claims or facts among Class Members;

instead, [t]he commonality requirement will be satisfied if the named Plaintiffs share at least one

question of fact or law with the grievances of the prospective class.” Johnston v. HBO Film

Mgmt., Inc., 265 F.3d 178, 184 (3d Cir. 2001) (internal quotation marks omitted). The

commonality requirement “is not a high bar” and is satisfied “if the named plaintiffs share at



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least one question of law or fact with the grievances of the prospective class,” Chiang v.

Veneman, 385 F.3d 256, 265 (3d Cir. 2004) (abrog. on other grounds recognized by Marcus v.

BMW of N. Am., LLC, 687 F.3d 583, 597 (3d Cir. 2012)). Importantly, “[c]ases alleging a single

course of wrongful conduct are particularly well-suited to class certification.” Young v.

Nationwide Mut. Ins. Co., 693 F.3d 532, 545 (6th Cir. 2012).

       Here, the representative Plaintiffs all allege injury stemming from a single course of

wrongful conduct by ECFMG, in negligently providing certification to Igberase (as Akoda),

failing to investigate his conduct and identity despite ample knowledge he obtained ECFMG

certification on false pretenses, and failing to warn residency programs, state medical boards, and

the public of their concerns regarding his conduct. The common questions of law and fact

include the following:

       1.      Whether ECFMG undertook or otherwise owed a duty to class members
               who were patients of Igberase;
       2.      Whether ECFMG breached its duty to class members;
       3.      Whether ECFMG undertook or otherwise owed a duty to hospitals and
               state medical boards, such that ECFMG may be held liable for foreseeable
               injuries to third persons such as class members pursuant to Restatement
               (Second) of Torts § 324A;
       4.      Whether ECFMG breached its duty to hospitals and state medical boards;
       5.      Whether the emotional distress and other damages alleged by Plaintiffs
               and class members were a foreseeable result of ECFMG’s conduct;
       6.      Whether ECFMG’s conduct involved an unusual risk of causing emotional
               distress to others under Restatement (Second) of Torts § 313;
       7.      Whether ECFMG is subject to liability under Restatement (Second) of
               Torts § 876 for assisting Igberase in committing fraud;
       8.      Whether ECFMG knew or should have known that Akoda was, in fact,
               Igberase;
       9.      Whether it was foreseeable that ECFMG's' actions and/or alleged failures
               to act, including their alleged negligent failure to certify Igberase and
               properly investigate and deny or revoke Igberase certification, could result
               in emotional distress experienced by Class Members.




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        All of these issues are apt to drive the resolution of the litigation. Resolution of any one

of these common issues will resolve a key issue central to the individuals’ claims in one stroke.

If resolved in Defendants’ favor, Plaintiffs’ claims may be dismissed; if resolved in Plaintiffs’

favor, key issues central to the determination of liability and damages will have been determined.

There are more than enough common issues to support a finding of commonality here.

        Importantly, courts regularly certify common issues that pertain to liability without

certifying the entire issue of liability for class-wide resolution. For example, in Martin v. Behr,

896 F.3d 405 (6th Cir. 2018), a toxic tort class action for property damages caused by

groundwater contamination, the Sixth Circuit affirmed a district court’s certification of seven

issues pertaining to general causation and the defendants’ liability. Likewise, in Adkisson v.

Jacobs Eng'g Grp., Inc., 370 F. Supp. 3d 826 (E.D. Tenn. 2019), a negligence action brought by

workers exposed to fly ash at a coal-ash cleanup project, a federal district court ordered that a

consolidated action first be tried first on issues pertaining to the defendants’ general liability

(“(1) whether defendant owed plaintiffs a legal duty; (2) whether defendant breached that duty;

and (3) whether defendant's breach was capable of causing plaintiffs' alleged injuries.”) Id. at

836–37. If the plaintiffs prevailed, the court ordered that a second trial address issues of specific

liability with respect to individual plaintiffs. (“(1) specific causation with respect to individual

plaintiffs; (2) each plaintiff's alleged injuries; and (3) the extent to which individual plaintiffs are

entitled to damages.”) Id.

        The fact that individualized issues of damages may remain to be resolved following

resolution of the common issues cannot defeat class certification under Rule 23(c)(4). See, e.g.,

Wallace v. Powell, No. 3:09-CV-0291, 2013 WL 2042369, at *20–21 (M.D. Pa. May 14, 2013);

Gunnells v. Healthplan Serv., Inc., 348 F.3d 417, 427-28 (4th Cir. 2003).



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        C.      The claims of the named Plaintiffs are typical of those of the class.

        Federal Rule of Civil Procedure 23(a)(3) requires that the class representatives’ claims be

“typical of the claims . . . of the class.” As the Third Circuit explained, “[t]he typicality inquiry is

intended to assess whether the action can be efficiently maintained as a class and whether the

named Plaintiffs have incentives that align with those of absent Class Members so as to assure

that the absentees’ interests will be fairly represented.” Baby Neal v. Casey, 43 F.3d 48, 57-58

(3d Cir. 1994). The typicality prong is normally met where “claims of representative Plaintiffs

arise from the same alleged wrongful conduct.” In re Warfarin Sodium Antitrust Litig., 391 F.3d

516, 532 (3d Cir. 2004).

        Here, the named Plaintiffs and putative class members all suffered emotional distress by

being treated by a physician who had obtained medical credentials through fraud. Although the

individual plaintiffs suffered injury under different circumstances, the named Plaintiffs’ and

class’s claims “arise from the same alleged wrongful conduct” of ECFMG and are “based on the

same legal theory.” Class members’ interests align with those of the named Plaintiffs. Typicality

is satisfied here.

        D.      The adequacy requirement is satisfied here.

        Both class members and their counsel will adequately and fairly represent the interests of

the class for the same reasons as stated above. The plaintiffs have suffered a common injury. The

interests of the class representatives and the members of the putative class are identical in

resolving the common issues under Option A or Option B.

        Plaintiffs’ counsel have the experience and necessary resources to prosecute this action.

Plaintiffs’ counsel have already engaged in significant document discovery in this action, taken

and defended numerous depositions, and retained six experts. Schochor, Federico and Staton,



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P.A. have successfully led a similar class action previously. In Jane Doe No. 1 v. Johns Hopkins

Hospital, No. 24-C-13-001041 (Balt. City Cir. Ct.), which involved allegations of sexual

misconduct by a physician, Plaintiffs’ counsel Jonathan Schochor chaired the steering committee

for the litigation. That litigation involved over eight thousand (8,000) plaintiffs against Johns

Hopkins Hospital and was resolved successfully for $190 million. Additionally, the Schochor

firm held a leadership role in Jane Doe 30 v. Bradley, 2012 WL 5949216 (Del. Super. Nov. 19,

2012), which involved sexual abuse by a pediatrician, and resulted in a $123 million settlement.

The Schochor firm has been involved in complex litigation for more than thirty years.

       The Law Offices of Peter G. Angelos, P.C. has significant experience in significant

complex litigation. Representative cases include the 1998 tobacco litigation that resulted in $4,2

billion settlement on behalf of the State of Maryland; the Tower Securities litigation that resulted

in a $117,500,000 recovery for the Steamship Trade Association pension fund; a $1 billion

verdict against ExxonMobil on behalf of 466 Baltimore County residents whose water aquifer

was polluted with 26,000 gallons of gasoline; and a class action suit against Dr. Mark Midei and

Catholic Health Initiatives based upon allegations of unnecessary, fraudulent treatment, in which

counsel Paul Vettori appeared on behalf of the firm.

       Karen Evans and The Cochran Firm, a national law firm, also have significant prior class

and mass action experience, including the ongoing Round-Up litigation (No. 3:16-md-02741-

VC, N.D. Cal.) and the aforementioned Johns Hopkins Hospital v. Levy matter.

       The law firm of Janet, Janet and Suggs, LLC have served as lead counsel or on the

steering committee of several major class actions that have resolved successfully, including a

$2.2 billion settlement of claims by one class of residential and commercial electricity ratepayers

against one of the defendants in an ongoing civil RICO lawsuit, Glibowski v. SCANA, No. 9:18-



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cv-00273 (D.S.C.); a $190 million settlement on behalf of patients of Dr. Charles Levy in Jane

Doe No. 1, et al. v. Johns Hopkins Hospital, et al, No. 24-C-13-001041 (Balt. City Cir. Ct.), a

$10 million settlement on behalf of Jersey City, New Jersey property owners in Halley v.

Honeywell, Inc., No. 2:10-cv-3345 (D.N.J.); an ongoing class action on behalf of Dayton, Ohio

property owners in Martin v. Behr Dayton Thermal Products, No. 3:08-cv-00326-WHR (S.D.

Ohio), aff’d, 896 F.3d 405 (6th Cir. 2018), cert. denied, 139 S. Ct. 1319 (2019), in addition to

numerous other complex litigations. Counsel Patrick Thronson has had and maintains significant

responsibilities as counsel in the Glibowski, Halley, and Martin matters.

II.       Plaintiffs Also Satisfy the Requirements of Rule 23(c)(4)

          A.     Certification of liability or the Common Issues satisfies the ascertainability
                 requirement, if that requirement even applies.

          Establishing the implied requirement of ascertainability involves showing (1) the class is

“defined with reference to objective criteria;” and (2) there is “a reliable and administratively

feasible mechanism for determining whether putative class members fall within the class

definition.” Id. at 355 (citing Marcus v. BMW of North Amer., LLC, 687 F.3d 583, 593–94 (3d

Cir. 2012)). Plaintiffs need simply show that “class members can be identified.” Byrd v. Aaron’s

Inc., 784 F.3d 154, 163 (3d Cir. 2015) (citing Carrera v. Bayer Corp., 727 F.3d 300, 306 (3d Cir.

2013)).

          The Third Circuit has not addressed the question of whether the ascertainability

requirement applies to class actions brought pursuant to Rule 23(c)(4). Regardless of its

applicability, Plaintiffs meet this requirement. The class consists of “all patients examined and/or

treated in any manner by Oluwafemi Charles Igberase (a/k/a Charles J. Akoda, M.D.).” ECF No.

1, Ex. A at ¶ 48. One of the health care facilities at which Igberase worked, Prince George’s

Hospital Center, has already identified 712 individuals who were treated by Igberase. Ex. 44 at

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12. Members of the class can be identified through records of medical treatment, which will

show when and how patients were treated by Igberase. Indeed, Plaintiffs have already produced

records corresponding to hundreds of class members to defendants as part of discovery in this

action. Clearly, class members can be identified, which satisfies the ascertainability requirement.

       B.      Certification of the issue of liability or the Common Issues satisfies Rule
               23(c)(4).

       Rule 23(c)(4) provides, “When appropriate, an action may be brought or maintained as a

class action with respect to particular issues.” Under this rule, a court may grant class

certification for litigation of certain issues, while allowing the remaining ones to proceed on an

individual basis. Gates v. Rohm & Haas Co., 655 F.3d 255, 272 (3d Cir. 2011). “The ability to

certify issue classes accords the courts discretion to realize the advantages and efficiencies of

class-wide adjudication of common issues when there also exist individual issues that must be

tried separately.” Lisa v. Saxon Mortgage Servs., Nos. 11-4586, 12-5366, 2016 WL 5930846, at

*3 (quoting Newberg on Class Actions, § 4:89 (5th ed. 2012)); see also In re Chiang, 385 F.3d

256, 267 (3d Cir. 2004) (“[C]ourts commonly use Rule 23(c)(4) to certify some elements of

liability for class determination, while leaving other elements to individual adjudication—or,

perhaps more realistically, settlement.”).

       A question arises as to whether class actions seeking money damages that are certified as

to Rule 23(c)(4) must satisfy the predominance requirement of Rule 23(b)(3). The prevailing

view among federal circuit courts of appeals is that common questions must predominate over

individualized inquiries within the issues proposed for certification, as opposed to the claim as a

whole. See, e.g., Martin, 896 F.3d at 413 (6th Cir. 2018) (collecting cases). Although a panel of

the Fifth Circuit once expressed an opposing view (the “narrow view”) in a footnote (see

Castano v. Am. Tobacco Co., 84 F.3d 734, 745 n.21 (5th Cir. 1996)), which implied that

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predominance must be satisfied as to the action as a whole, it has since aligned with the other

circuits that have considered the issue. 2

       The Third Circuit has taken a different path, and has held that the decision to certify an

issues class under Rule 23(c)(4) is “analytically independent” from Rule 23(b)(3)'s

predominance and superiority inquiry, and a district court must consider a different set of factors

in deciding certification. Gonzalez v. Corning, 885 F.3d 186, 202 (3d Cir. 2018). The Third

Circuit has enumerated those factors as follows:

       [W]hen deciding whether or not to certify an issue class, the trial court should
       consider: [1] the type of claim(s) and issue(s) in question; [2] the overall complexity
       of the case; [3] the efficiencies to be gained by granting partial certification in light
       of realistic procedural alternatives; [4] the substantive law underlying the claim(s),
       including any choice-of-law questions it may present and whether the substantive
       law separates the issue(s) from other issues concerning liability or remedy; [5] the
       impact partial certification will have on the constitutional and statutory rights of
       both the class members and the defendant(s); [6] the potential preclusive effect or
       lack thereof that resolution of the proposed issue class will have; [7] the
       repercussions certification of an issue(s) class will have on the effectiveness and
       fairness of resolution of remaining issues; [8] the impact individual proceedings
       may have upon one another, including whether remedies are indivisible such that
       granting or not granting relief to any claimant as a practical matter determines the
       claims of others; and [8] the kind of evidence presented on the issue(s) certified and
       potentially presented on the remaining issues, including the risk subsequent triers
       of fact will need to reexamine evidence and findings from resolution of the common
       issue(s).

See Gates v. Rohm & Haas Co., 655 F.3d 255, 274 (3d Cir. 2011) (quoting Principles of the Law

of Aggregate Litigation §§ 2.02–05 (2010)); Hohider v. United Parcel Serv., Inc., 574 F.3d 169,

201 (3d Cir. 2009). These factors are non-exclusive and “should guide courts as they apply Fed.

R. Civ. P. 23(c)(4) ‘to treat common things in common and to distinguish the distinguishable.’”


2
 See Steering Comm. v. Exxon Mobil Corp., 461 F.3d 598, 603 (5th Cir. 2006); In re Deepwater
Horizon, 739 F.3d 790, 806, 814, 817 & n.66 (5th Cir. 2014).


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Id. (quoting Chiang, 385 F.3d at 256). The Gates factors have been characterized as a

“functional, superiority like analysis.” Martin, 896 F.3d at 413. Plaintiffs more likely than not

satisfy all of the foregoing Gates factors, both under a liability only issues class (Option A

above) and an issues class certified for resolution of the Common Issues (Option B above).

        1.      The type of claims and issues in question in this action are susceptible to
                efficient class-wide resolution.

        The issues to be certified for class-wide resolution under either Option A or Option B are

focused on ECFMG’s conduct and are common to the entire class. Resolution of liability of the

Common Issues will apply to the claims of all Plaintiffs: issues such as whether ECFMG has a

duty to patients of Igberase and whether Plaintiffs have a legally cognizable claim for damages

are central to the resolution of Plaintiffs’ claims. ECFMG’s conduct, not individual

characteristics of the Plaintiffs or their particular interactions with Igberase, is the subject of the

issue of liability and the Common Issues. Liability and the Common Issues also admit of

common proof. They involve the same underlying conduct of the Defendant in granting Igberase

certification, failing to investigate when they knew or should have known that he had obtained

that certification by fraud, and failing to notify state medical boards, hospitals, and residency

programs to which they provided ECFMG certification reports of the facts that supported the

conclusion that Igberase had achieved certification on false pretenses.

        2.      The complexity of the case warrants certification of common issues.

        Proof of defendants’ conduct centers on common evidence tied to ECFMG’s conduct and

requires extensive document review, deposition testimony, and expert analyses of complex

issues involving ECFMG’s role in the United States medical system, the fraud committed by

Igberase, and the pattern of conduct of ECFMG. For the sake of time and cost, it is in all parties’



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and the Court’s interest that presentation of this evidence be done once. The issues in this case

are complex but are susceptible of being tried with common proof.

       3.      Issue certification of liability or the Common Issues is the most efficient way
               of resolving common issues given realistic procedural alternatives.

       The alternative to certifying liability or the Common Issues for class treatment is to

conduct trials of the issues hundreds of times for each individual plaintiff, necessitating

presentation of each expert witness, fact witness, and documentary evidence in each case. This is

far less efficient than the resolution of common issues by a single class jury and will save scarce

judicial resources. Moreover, the cost of litigating each individual case likely outweighs an

individual award. On the other hand, the resolution of common issues under Options A or B in a

classwide proceeding will either resolve the claims of the class in favor of ECFMG or, if

resolved in Plaintiffs’ favor, permit them to pursue their claims by avoiding the necessity of

expensive presentation of expert evidence. The certification of an issues class here allows for the

final adjudication of common liability issues, in contrast to the attempted application of collateral

estoppel after resolution of an individual case, which would be repeatedly contested by the

parties in each follow-on proceeding.

       4.      The substantive law underlying the claims supports resolution of liability or
               the Common Issues on a class-wide basis.

       There are no impediments in the underlying substantive law to certifying an issues class.

Pennsylvania law will likely apply to all issues in this action—and, at any rate, Plaintiffs are

unaware of meaningful conflicts between the tort law of Pennsylvania applicable to resolution of

liability or the common issues and the tort law of the states in which Igberase interacted with

class members. Even if a conflict existed, it would likely be resolved in favor of Pennsylvania

law. Pennsylvania has long abandoned the lex loci delicti rule for choice of law questions “in


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favor of a more flexible rule which permits analysis of the policies and interests underlying the

particular issue before the court.” Griffith v. United Air Lines, Inc., 203 A.2d 796, 805 (Pa.

1964). Under that framework, “the state in which injury occurred, as such, has relatively little

interest in the measure of damages to be recovered unless it can be said with reasonable certainty

that defendant acted in reliance on that state's rule.” Id. at 806. There is no evidence that ECFMG

relied on the laws of any other state in granting certification to Igberase. And, at any rate, “where

the tort is unintentional,” as is true here, “the reliance argument is almost totally untenable.” Id.

       5.      There are no constitutional or statutory obstacles to issue class certification.

       There are no unique constitutional or statutory issues here and the constitutionality of

class actions is well-established. Certification of liability or the Common Issues will not present

any Seventh Amendment problems, for the reasons discussed under subpoint 8, infra.

       6.      The preclusive effect of resolving common issues on a class-wide basis is
               expedient and provides valuable efficiency to resolving the class claims.

       Resolution of common issues will dispose of the most complex and time-consuming

aspects of the case, allowing individual plaintiffs to proceed with individual damage claims at a

much lower cost. The “remaining issues”—fact of injury and damages—could be proven by

individual plaintiffs in follow-up litigation with evidence of, inter alia, medical records showing

the extent and frequency of treatment by Igberase and testimony by individual plaintiffs on the

impact Igberase’s conduct—made possible by ECFMG’s conduct—has had on their lives. Mini-

trials on damages will also function as bellwether proceedings, facilitating settlement.




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        7.      The resolution of common issues on a class-wide basis and issues of damages
                in individualized proceedings will not result in prejudice or unfairness to a
                plaintiff.

        Individual proceedings to resolve whether an individual plaintiff has been injured and the

damages to which she is entitled will not prejudice any individual. Resolution of one plaintiffs’

injury and damages claim will have no effect on the claims of others or the ability of others to

fairly vindicate their right to a remedy.

        8.      The evidence presented on common issues is common to the class.
                Subsequent juries will not need to reexamine earlier findings of the class jury
                in a manner that violates the Reexamination Clause.

        The Seventh Amendment to the United States Constitution provides, “In Suits at common

law, where the value in controversy shall exceed twenty dollars, the right of trial by jury shall be

preserved, and no fact tried by a jury, shall be otherwise re-examined in any Court of the United

States, than according to the rules of the common law.” The Reexamination Clause “is not

against having two juries review the same evidence, but rather against having two juries decide

the same essential issues.” See In re Paoli R.R. Yard PCB Litig., 113 F.3d 444, 452 (3d Cir.

1997) “Partial certification” or “[t]rying a bifurcated claim before separate juries does not run

afoul of the Seventh Amendment” so long as: [1] the same factual issue is not “‘tried by

different, successive juries’”; [2] “the verdict form for the first jury” is carefully crafted “so that

the second jury knows what has been decided already”; and [3] “the first jury makes sufficiently

detailed findings, [which] are then akin to instructions for the second jury to follow.” Robinson v.

Metro-North Commuter R.R. Co., 267 F.3d 147, 167 (2d Cir. 2001) (citations omitted) (abrog.

on other grounds. “[I]f done properly, bifurcation will not raise any constitutional issues,’”

Martin, 896 F.3d at 417 (citation omitted)—a proposition with which “leading class action

treatises agree,” id. (citing 2 Newberg on Class Actions § 4:92 (5th ed. 2010)).

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        In this case, trying the issue of liability or the Common Issues would result in rulings of

law by the Court and fact-finding pertaining solely to ECFMG’s conduct, pertaining to liability

in negligence or to the Common Issues. The second-round jury or juries will decide issues

pertaining to the existence and extent of an individual plaintiff’s damages. They will not decide

issues pertaining to ECFMG’s conduct. Thus, no Reexamination Clause problem arises under the

framework Plaintiffs propose.

        Issue class certification will aid the Court and the administration of justice in this case.

As the Third Circuit has observed, “[s]everance of the question of liability from other issues can

‘reduce the length of trial, particularly if the severed issue[s] [are] dispositive of the case, and

can also improve comprehension of the issues and evidence.’” In re Paoli R.R. Yard PCB Litig.,

113 F.3d at 452 (3d Cir. 1997) (citation omitted). Issue class certification also provides

advantages to Defendant. For example, if it is determined ECFMG has no liability to the class, or

has no duty to class members, hospitals, or medical boards, then all class members will be bound

by that decision, and Defendant can be assured that the litigation is over.

        Here, “[t]he Court has several viable options at its disposal for resolution of damages

inquiries following the class-wide proceeding of common issues of liability.” In re Titanium

Dioxide Antitrust Litig., 284 F.R.D. 328, 349 (D. Md. 2012). The flexibility of the issue class

certification mechanism will ensure the litigation is resolved efficiently (especially in

comparison with the alternatives) while ensuring fairness to all parties.

                                           CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court grant their Motion

for Class Certification, appoint them as representative plaintiffs, and appoint their counsel as

class counsel. Plaintiffs respectfully request oral argument on this motion.



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Dated: October 7, 2019                    Respectfully submitted,

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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MONIQUE RUSSELL, JASMINE RIGGINS,                          CIVIL ACTION NO. 18-5629
 ELSA M. POWELL AND DESIRE EVANS,

                       Plaintiffs,

        v.

 EDUCATIONAL COMMISSION FOR
 FOREIGN MEDICAL GRADUATES,

                       Defendant.


                                CERTIFICATE OF SERVICE

       I certify that the foregoing Motion for Class Certification and Memorandum in Support

of Motion for Class Certification were served on all counsel of record via the Court’s CM/ECF

electronic filing system on October 7, 2019.

                                               /s/ Nicholas M. Centrella
                                               Nicholas M. Centrella




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1                                                    Volume I             1                             I N D E X
                                                     Pages 1 224               Testimony of:              Direct Cross
2                                                                         2
                IN THE UNITED STATES DISTRICT COURT                            WILLIAM KELLY
3            FOR THE EASTERN DISTRICT OF PENNSYLVANIA                     3         by Mr. Vettori           6
                                                                                    by Mr. Ceryes                      179
4                              Case No. 2:18 cv 05629 JW                  4
5                              Hon. Joshua D. Wolson                      5

6                                                                         6                          E X H I B I T S
7                                                                         7    No.             Description                   For I.D.
8    MONIQUE RUSSELL, JASMINE RIGGINS                                     8    Exhibit 1 Bates ECFMG RUSS 0000982 1032           15
9    ELSA M. POWELL AND DESIRE EVANS,                                     9    Exhibit 2 Bates ECFMG RUSS 0000155 158            27
10         Plaintiffs,                                                    10   Exhibit 3 Bates ECFMG RUSS 0000105                31
11   vs.                                                                  11   Exhibit 4 Bates ECFMG RUSS 0000407 409            35
12   EDUCATIONAL COMMISSION FOR                                           12   Exhibit 5 Bates ECFMG RUSS 0003572 3573           40
13   FOREIGN MEDICAL GRADUATES                                            13   Exhibit 6 Bates ECFMG RUSS 0000433 437            41
14         Defendant.                                                     14   Exhibit 7 Bates ECFMG RUSS 0000167                45
15                                                                        15   Exhibit 8 Bates ECFMG RUSS 0000074 167            47
16                                                                        16   Exhibit 9 Bates ECFMG RUSS 0000440                54

17                  DEPOSITION OF WILLIAM C. KELLY                        17   Exhibit 10 Bates ECFMG RUSS 0003465 3468          55
18             Tuesday, August 20, 2019 at 9:40 a.m.                      18   Exhibit 11 Bates ECFMG RUSS 0003463 3468          58
19         Law Offices of Morgan, Lewis & Bockius, LLP                    19   Exhibit 12 Bates ECFMG RUSS 0000446 447           60
20                        One Federal Street                              20   Exhibit 13 Bates ECFMG RUSS 0000202               61

21                  Boston, Massachusetts 02110 176                       21   Exhibit 14 Bates ECFMG RUSS 0000268 269           63
22                                                                        22   Exhibit 15 Bates ECFMG RUSS 0000116 119           65
23                                                                        23   Exhibit 16 Bates ECFMG RUSS 0000267               67
24                   Jennifer A. Doherty, CSR                             24   Exhibit 17 Bates ECFMG RUSS 0003471 3472          68
25                   Certified Shorthand Reporter                         25   Exhibit 18 Bates ECFMG RUSS 0004007 4014          70



                                                                     2                                                                               4
1    APPEARANCES:                                                         1             E X H IB ITS
2          LAW OFFICE OF PETER G. ANGELOS, P.C.
           BY: Paul M. Vettori, Esq.                                      2 No. Description               For I.D.
3          One Charles Center
           100 North Charles Street                                       3 Exhibit 19 Bates ECFMG 000464-462        78
4          Baltimore, Maryland 21201
           410 649 2000                                                   4 Exhibit 20 Bates ECFMG RUSS 0000348-351      81
5          pvettori@lawpga.com
6
           For the Plaintiffs.                                            5 Exhibit 21 Bates ECFMG RUSS 0000021-22      86
7          JANET, JANET & SUGGS, LLC
                                                                          6 Exhibit 22 Bates ECFMG RUSS 0000023       86
           BY: Patrick A. Thronson, Esq.
8          4 Reservoir Circle, Suite 200                                  7 Exhibit 23 Bates ECFMG RUSS 0000703-706      87
           Baltimore, Maryland 21208
9          410 653 3200                                                   8 Exhibit 24 Bates ECFMG RUSS 0000643       90
           For the unnamed class members.
10                                                                        9 Exhibit 25 Bates ECFMG RUSS 0000586       94
11         SCHORCHOR FEDERICO AND STATON, P.C.
           BY: Brent Ceryes, Esq.
                                                                          10 Exhibit 26 Bates IGBERASE 1908        95
12         1211 St. Paul Street                                           11 Exhibit 27 Bates ECFMG RUSS 0000567      97
           Baltimore, Maryland, 21202
13         310 234 1000                                                      Exhibit 28 Bates ECFMG  RUSS 0000666     99
           bceryes@sfspa.com                                              12
14         For the Plaintiffs.
                                                                          13 Exhibit 29 Bates ECFMG RUSS 0000679      100
15
           MORGAN LEWIS                                                   14 Exhibit 30 Bates ECFMG RUSS 0000568      102
16         BY: Elisa P. McEnroe, Esq. and
17
           Matthew Klayman, Esq
           1701 Market Street
                                                                          15 Exhibit 31 Bates ECFMG RUSS 0000640-641    103
           Philadelphia, Pennyslvania 19103                               16 Exhibit 32 Bates ECFMG RUSS 0000576      105
18         215 963 5917
           elisa.mcenroe@morganlewis.com
19         For the Defendant.                                             17 Exhibit 33 Bates ECFMG RUSS 0000617      106
20                                                                        18 Exhibit 34 Bates ECFMG RUSS 0000559      110
21                                                                        19 Exhibit 35 Bates ECFMG RUSS 0000552-553    112
22                                                                        20 Exhibit 36 Bates ECFMG RUSS 0004194-4195 115
23                                                                        21 Exhibit 37 Bates ECFMG RUSS 0000560      118
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25
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1             E X H IB ITS                                    1    tell me.
2                                                             2         A. I will.
3 No.       Description        For I.D.                       3         Q. Because if you answer the question, I'm
4 Exhibit 42 Bates ECFMG RUSS 0000544                 127     4    going to assume you understood it. Fair enough?
5 Exhibit 43 Bates ECFMG RUSS 0000352-392               132   5         A. Fair enough.
6 Exhibit 44 Bates ECFMG RUSS 0003742                 134     6         Q. Can we have, for the record, your full
7 Exhibit 45 Bates ECFMG RUSS 000671                 137      7    name and address?
8 Exhibit 46 Bates ECFMG RUSS 0000554                 139     8         A. My name is William Kelly, K-E-L-L-Y. My
9 Exhibit 47 Bates ECFMG RUSS 0003905                 140     9    home address is 47 Powerhouse, P-O-W-E-R-H-O-U-S-E,
10 Exhibit 48 Bates ECFMG RUSS 0004160                145     10   Hill, H-I-L-L, Lane. That's in Rockport, Maine
11 Exhibit 49 Bates ECFMG RUSS 0000262-271              159   11   04856.
12 Exhibit 50 Bates ECFMG RUSS 0003899                161     12        Q. So you at one time worked for ECFMG, the
13 Exhibit 51 Bates ECFMG RUSS 0000647-652              164   13   Educational Commission for Foreign Medical
14 Exhibit 52 Bates ECFMG RUSS 0000569                168     14   Graduates?
15 Exhibit 53 Bates ECFMG RUSS 0000594-596              175   15        A. Yes.
16                                                            16        Q. And when did you leave that company's
17                                                            17   employment?
18                                                            18        A. I retired in May 2015.
19                                                            19        Q. So when you left ECFMG, you didn't take
20                                                            20   employment elsewhere?
21                                                            21        A. When I left ECFMG, I worked full-time. I
22                                                            22   worked as a consultant for them for one year
23                                                            23   part-time.
24                                                            24        Q. What years would that be?
25                                                            25        A. That would be May 2015 until I think it
                                                          6                                                              8
1             P ROCEEDINGS                                    1 was June 2016.
2            WILLIAM KELLY, having been                       2     Q. Okay. But since June 2016 you've been
3 satisfactorily identified by the Notary Public was          3 completely retired?
4 duly sworn and testified as follows:                        4     A. No. I do contracting work with the State
5             DIRECT EXAMINATION                              5 Department, their International Visitor Leadership
6  BY   MR.  VETTORI:                                         6 Program. I'm a liaison officer.
7      Q. Good morning, Mr. Kelly.                            7     Q. How much of your time does that take?
8      A. Good morning.                                       8     A. It varies from year to year and this year
9      Q. Again, thank you for appearing. My name             9 it will be a total of maybe ten weeks.
10 is Paul Vettori. As I told you before, I represent         10 Q. What's your educational background?
11 two of the named plaintiffs in this case and I'm           11 A. My undergraduate, I have a Bachelor of
12 going to ask you a series of questions about               12 Arts from LaSalle University in Philadelphia and
13 information we need to learn about the case. Is            13 graduate school I have a Master of Science from the
14 that fair?                                                 14 University of Pennsylvania.
15 A. Yes.                                                    15 Q. Did you work in Pennsylvania?
16 Q. So have you ever had your deposition taken              16 A. Yes.
17 before?                                                    17 Q. When you graduated from college, did you
18 A. Yes.                                                    18 go immediately into your master's program or did you
19 Q. Multiple times, two times, how many                     19 work first?
20 times?                                                     20 A. I worked first.
21 A. Multiple times.                                         21 Q. For how long?
22 Q. So I don't have to go through a lot of                  22 A. About twenty years.
23 rules with you. The only rule I have is I'll try           23 Q. So who did you work for in that twenty
24 not to talk over you, you try not to talk over me.         24 year period?
25 If you don't understand a question I ask you, please       25 A. From when I graduated from college?
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1     Q. Yes, sir.                                          1 John Charles or John Noka Shami Akoda. I'm not
2     A. I first worked for an insurance company,           2 pronouncing it correctly.
3 Liberty Mutual Insurance Company. And then I worked       3     A. Akoda, yes.
4 for ECFMG.                                                4     Q. And did you review any documents with
5     Q. When did you start with ECFMG?                     5 respect to an individual by the name of Charles
6     A. October 1977.                                      6 Oluwafemi Igberase?
7     Q. Is that thirty-eight years you were with           7     A. Yes.
8  the company?                                             8     Q. Did you review any document relating to a
9     A. Almost.                                            9 person by the name of Igberase Oluwafemi Charles?
10 Q. Congratulations.                                      10 A. That could be one of the names.
11 A. Thank you.                                            11 Q. Is there an individual with the last name
12 Q. And congratulations on your                           12 of Oluwafemi sound like someone whom you looked at
13 semi-retirement.                                         13 documents?
14 A. Okay.                                                 14 A. That name was in the documents.
15 Q. I need to ask you, what did you do to                 15 Q. And about how many hours did you spend
16 prepare for this deposition once you learned you         16 preparing for this deposition in either reviewing
17 were coming here for this deposition?                    17 for documents or meeting with counsel?
18 A. On my own?                                            18 A. The four hours.
19 Q. Well, in any way. Did you do anything on              19 Q. Most of the events I'm going to ask you
20 your own? Did you talk with anybody? Did you             20 about, Mr. Kelly, relate to the period from
21 review any documents? I can ask those as separate        21 approximately 1992 through at least 2000 and perhaps
22 questions, but basically I will start with: What         22 some limited documents thereafter.
23 did you do to prepare for this deposition?               23       Do you have independent recollection of
24          MS. MCENROE: Objection to form.                 24 those events?
25 A. Well, I met with counsel.                             25         MS. MCENROE: Objection to form.
                                                        0                                                             2
1 BY MR. VETTORI:                                           1     A. No, not really.
2     Q. And I'm not going to ask you what counsel          2 BY MR. VETTORI:
3 asked you or what you told them, but how many times       3     Q. So I'm going to ask you some general
4 did you meet with counsel?                                4 questions before I ask specific questions about some
5     A. Once.                                              5 of the names I just mentioned. Can you explain to
6     Q. And did you review any documents in                6 us, at least in general terms, how the ECFMG
7 preparation for this deposition?                          7 certification of foreign medical graduates process
8     A. Yes.                                               8 worked?
9     Q. What type of documents did you review?             9           MS. MCENROE: Objection to form.
10          MS. MCENROE: Objection to form.                 10 Calls for a narrative.
11 A. What do you mean by what type?                        11 BY MR. VETTORI:
12 BY MR. VETTORI:                                          12 Q. Do you understand my question?
13 Q. Well, I want to know what it is you                   13 A. Yes. I can only speak at the time I
14 reviewed. Were there certain files that you asked        14 worked there.
15 for or were directed to?                                 15 Q. Fair enough. I don't want to speak over
16          MS. MCENROE: Objection to form.                 16 you. I don't mean to interrupt you, but I'm only
17 A. Paper documents.                                      17 interested in an answer to that question based on
18 BY MR. VETTORI:                                          18 the time period that you were there. I don't want
19 Q. Okay. Of?                                             19 to know anything since you left.
20          MS. MCENROE: Objection to form.                 20 A. Well, they -- so you're talking about the
21 BY MR. VETTORI:                                          21 ECFMG certification program?
22 Q. Of whom or relating to what? Akoda?                   22 Q. Yes. Of --
23 A. ECFMG applicants, yes.                                23 A. -- international --
24 Q. And is one of the -- did you review any               24 Q. I call them IMGs, international medical
25 documents relating to a gentleman by the name of         25 graduates.
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1     A. Could you repeat the question?                     1 me fast-forward. If that same applicant to whom a
2     Q. Could you explain how that certification           2 number had been assigned, when he filed his
3 process works or worked at the time you were              3 application or her application, ultimately became
4 employed at ECFMG?                                        4 certified, would the certification number be the
5           MS. MCENROE: Objection to form.                 5 same as that identification number? Again, I'm
6     A. There was an evaluation and certification          6 talking abut the '92, '93 period.
7 process where international medical graduates passed      7     A. Yes.
8 a series of examinations, documented their education      8            MR. VETTORI: So can you mark
9 and credentials and -- that were verified by              9 Exhibit 1?
10 ECFMG.                                                   10           (Exhibit No. 1 marked for
11 Q. So fair enough. What is the first step in             11 identification.)
12 this process that ultimately leads to certification      12 BY MR. VETTORI:
13 by ECFMG?                                                13 Q. So again, I'm not trying to mislead you.
14          MS. MCENROE: Objection to form.                 14 This is a 1996 booklet, not a 1992 or 1993 booklet.
15 BY MR. VETTORI:                                          15 Okay?
16 Q. Do you understand my question?                        16 A. Okay.
17 A. The first step related to ECFMG?                      17 Q. But do you recognize the document that's
18 Q. Yes, yes.                                             18 been marked as Exhibit 1?
19 A. My recollection is it would be an                     19 A. Yes.
20 application to ECFMG.                                    20 Q. And is this the type -- is this document
21 Q. So is that an application to take steps               21 given to any applicant -- was this document given
22 one and/or two of the USLME? Is that what that           22 to any IMG applicant who applied to take any of the
23 application is all about?                                23 USLME exams in 1996?
24 A. Those were some of the exams. There were              24           MS. MCENROE: Objection to form.
25 different exams over time, but those were some of        25 A. I think they would have had to have it in
                                                        4                                                            6
1 the exams that were administered.                         1 order to apply. That was the sequence.
2     Q. Was the English examination another one of         2 BY MR. VETTORI:
3 those?                                                    3     Q. Would you go about halfway through that?
4     A. There was an English test, yes.                    4 I think attached as part of that document is also
5     Q. So at the time you -- again, all of my             5 the USMLE booklet.
6  questions   are directed to the time period right now,   6            MS. MCENROE: Do you have a specific
7 between 1992 and the end of year 2000. Fair               7 Bates number?
8 enough?                                                   8            MR. VETTORI: I'm looking for it.
9     A. Yes.                                               9            MS. MCENROE: Thank you.
10 Q. And if there is any question in your mind             10           (Discussion off the record.)
11 about the period I'm asking about, please tell me        11 BY MR. VETTORI:
12 and I'll tell you again.                                 12 Q. Do you want me to repeat the question?
13        So in or around 1992 when an applicant, an        13 A. Yeah.
14 IMG applicant filled out a form to take one of the       14 Q. Is the 1996 USMLE bulletin of information
15 USLME exams, was it the practice of ECFMG to assign      15 part of the document that's marked as Exhibit 1?
16 an identification number to that application?            16 A. Yes. That appears to be so, yes.
17            MS. MCENROE: Objection to form.               17 Q. And does this -- would this document be
18 A. First let me circle back. My recollection             18 provided to people who want to apply to take the
19 is in 1992 the USLME exams weren't given. It was a       19 USLME exams in 1996?
20 different exam. But they would submit an                 20           MS. MCENROE: Objection to form.
21 application and an identification number would be        21 A. As with the ECFMG information booklet, I
22 assigned to them.                                        22 think the applicant would have had to have this in
23 Q. Okay. So I know I haven't established yet             23 order to apply.
24 what is required in order to get a certification,        24 BY MR. VETTORI:
25 but for the purposes of my question right now, let       25 Q. And if you'll back up to the end of the
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1 ECFMG document, I guess it's page -- I'm sorry, it's       1     Q. And am I correct also that in that same
2 at the end. Would you please go to -- it's not Bate        2  time  period in order -- I'm sorry, was -- in that
3 stamped. Yeah, they are, sorry. I think it's               3 time period were steps one and two and was the
4 001028. While --                                           4 English exam administered by ECFMG?
5         For the record, all of these documents to          5     A. To the best of my recollection, yes.
6 date will have Bates numbers on them provided by           6     Q. Step three was not administered by ECFMG,
7 counsel for ECFMG. For the most part, I'm just             7 was it?
8 going to use the actual number part as opposed to          8     A. It was not.
9 ECFMG underline Russ underline and the number.             9     Q. It was administered by whom?
10        So is the page that I'm directing you to           10 A. My recollection was that it was
11 the first page of the application that's filled out       11 administered by state medical boards.
12 by the IMG when they want to apply to take the            12 Q. And am I correct in saying that an IMG
13 examinations that are required in order to be             13 applicant could not sit for step three of the USLME
14 certified by ECFMG?                                       14 unless he or she was certified by ECFMG?
15 A. To the best of my recollection, yes.                   15            MS. MCENROE: Objection to form.
16 Q. Do you -- sitting here today, do you                   16 A. I believe that was the process in most, if
17 recall what the step one exams, the step two exams,       17 not all states, yes.
18 the English exam, and the step three exams were in        18 BY MR. VETTORI:
19 the period, say, from 1992 through 1996?                  19 Q. So again, this is just a general question,
20           MS. MCENROE: Objection to form.                 20 Mr. Kelly. And again, we're referring to this time
21 A. I have a good recollection, yes.                       21 period that I framed from 1992 through 2000. Let's
22 BY MR. VETTORI:                                           22 say through 1996.
23 Q. So is it accurate -- would it be correct               23        Is it correct to say that an IMG couldn't
24 for me to say step one is essentially basic science       24 practice medicine in the United States without being
25 material? When I say, "is," "was" is the word I           25 certified by ECFMG?
                                                         8                                                             20
1 meant.                                                     1           MS. MCENROE: Objection to form.
2     A. Yes.                                                2     A. That is not correct.
3     Q. And was step two basic clinical science             3 BY MR. VETTORI:
4 material?                                                  4     Q. How would they practice without a
5     A. Yes.                                                5 certification from ECFMG?
6     Q. And both were, at that time, two-day                6     A. My -- the best of my recollection is that
7 multiple choice tests administered by ECFMG; is that       7 state licenses are granted by the individual state
8 correct?                                                   8 medical boards and there were different pathways,
9     A. My -- that -- I have no independent                 9 for example, the Fifth Pathway program for graduates
10 recollection of that. Just from what's on the form        10 of medical schools in Mexico that were not required
11 the answer would be yes.                                  11 to have ECFMG certificates.
12 Q. So am I correct that in addition to                    12 Q. Are there any other countries where that
13 successfully -- again, I'm in this 1992 to 1996           13 applied?
14 period. Am I correct that in addition to pass --          14 A. I don't recall.
15 successfully completing steps one and two of the          15 Q. How about Nigeria? Did it apply to
16 USLME exams an applicant would also -- an IMG             16 graduates of medical schools in Nigeria?
17 applicant would also have to pass an English test?        17 A. I do not believe so.
18 A. Yes.                                                   18 Q. So with respect to graduates of Nigeria
19 Q. And in addition, before ECFMG would                    19 medical schools in the time period we're talking
20 certify an applicant there had to be primary source       20 about, an IMG couldn't obtain a medical license in
21 verification of that applicant's medical                  21 the United States without being certified by ECFMG,
22 credentials; is that correct?                             22 correct?
23 A. Of their medical diploma, yes.                         23          MS. MCENROE: Objection to form.
24 Q. Nothing more than their diploma?                       24 A. It would have been very, very unlikely,
25 A. Generally not.                                         25 yes.
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1 BY MR. VETTORI:                                             1 ECFMG works on behalf of domestic regulatory
2     Q. Well, can you even sit for the -- at that            2 authorities to protect the public through its
3 time period, could you even sit for step three exams        3 programs and services including primary source
4 without being certified by ECFMG?                           4 verification of physician credentials?
5           MS. MCENROE: Objection to form.                   5           MS. MCENROE: Objection to form.
6     A. A graduate of a Nigerian medical school?             6     A. I would say yes.
7 BY MR. VETTORI:                                             7 BY MR. VETTORI:
8     Q. Yes.                                                 8     Q. Would it be accurate to say that ECFMG
9     A. To best of my recollection, no.                      9 protects the public by, among other ways, seeing
10 Q. And in that same time period a graduate of              10 that foreign medical graduates have completed an
11 a Nigerian medical school wouldn't be permitted to         11 acceptable medical education?
12 take -- wouldn't be licensed by any state in the           12          MS. MCENROE: Objection to form.
13 United States unless he or she successfully                13 A. In that that's part of the certification
14 completed step three of USMLE; isn't that correct?         14 process, yes.
15          MS. MCENROE: Objection to form.                   15 BY MR. VETTORI:
16 A. If they were applying for an initial                    16 Q. And would it be accurate to say that ECFMG
17 license and had not passed the earlier licensing           17 serves to protect the public by seeing to it that
18 examination, yes.                                          18 foreign medical graduates can successfully pass the
19 BY MR. VETTORI:                                            19 requirements of the USLME examinations?
20 Q. So would you agree with me that ECFMG                   20          MS. MCENROE: Objection to form.
21 works on behalf of domestic and international              21 A. Yes.
22 regulatory authorities to protect the public for           22 BY MR. VETTORI:
23 which programs and services, including primary             23 Q. Would it also be accurate to say that
24 source verification, of physician credentials?             24 ECFMG protects the public by ensuring that foreign
25          MS. MCENROE: Objection.                           25 medical graduates meet certain standards of
                                                         22                                                             24
1 BY MR. VETTORI:                                             1 professional conduct, such as honesty?
2     Q. Do you agree with that statement?                    2            MS. MCENROE: Objection to form.
3     A. Would you repeat that for me, please?                3     A. That's difficult for me to say. I don't
4 BY MR. VETTORI:                                             4 know that that's specifically spelled out.
5     Q. ECFMG works on behalf of domestic and                5 BY MR. VETTORI:
6  international regulatory authorities to protect the        6     Q. Well, isn't that what happened in the
7 public through its programs and services, including         7 situation that brings us here today?
8 primary source verification of physician                    8            MS. MCENROE: Objection to form.
9 credentials?                                                9 BY MR. VETTORI:
10          MS. MCENROE: Objection to form.                   10 Q. Do you understand what I'm asking you?
11 A. That appears to be a statement of what it               11 A. Yes.
12 currently does and I really don't have any direct          12 Q. Yes, you understand what I'm asking you or
13 knowledge of that. It appears to be a contemporary         13 yes, that's what happened here?
14 statement.                                                 14 A. Oh, I don't know that that's what happened
15 BY MR. VETTORI:                                            15 here.
16 Q. You don't believe that statement applied                16 Q. So you understand my question?
17 during the period of time you were employed by             17 A. Could you repeat the question?
18 ECFMG?                                                     18 Q. What I'm asking you is, isn't one of the
19 A. During part of that period.                             19 ways that the ECFMG protects the public is to ensure
20 Q. When did that --                                        20 that an IMG reports with certain standards of
21 A. The international part I don't think was                21 conduct including honesty?
22 part of it back in the time frame you're talking           22           MS. MCENROE: Objection to form.
23 about.                                                     23    A.   I don't know if I can say that.
24 Q. Okay. So let me rephrase it, give you --                24 BY MR. VETTORI:
25 ask you if you agree with the following statement.         25 Q. Well, from your review of the material
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                                           Transcript of William C. Kelly                                 7 (25 to 28)

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1 that you reviewed in preparation for this                    1 dishonest?
2 deposition, are you aware that, for example, the             2            MS. MCENROE: Objection to form.
3 person who identified himself with the last name of          3     A. I don't know that it's up to me to make
4 Igberase successfully completed steps one and two            4 that...
5 and the English examination? Were you aware of               5 BY MR. VETTORI:
6 that?                                                        6     Q. All right. So his -- the revocation of
7     A. Independently?                                        7 his certificate had nothing to do with his medical
8     Q. Yes.                                                  8 ability, for want of a better term, correct?
9     A. No.                                                   9     A. That is my recollection.
10 Q. When you say independently -- let me                     10 Q. It had to do with the way in which he made
11 rephrase.                                                   11 applications to ECFMG on multiple occasions and/or
12       From your review of the material that you             12 took examinations on multiple occasions, correct?
13 reviewed in this case, are you aware that this              13           MS. MCENROE: Objection to form.
14 gentleman with the last name Igberase successfully          14    A.  It  was based -- my recollection is it was
15 completed steps one and two of the USLME?                   15 based on providing false information on an
16 A. I don't recall that.                                     16 application.
17 Q. Let me ask you: Do you recall that he was                17 BY MR. VETTORI:
18 certified at one point by ECFMG?                            18 Q. Isn't that equivalent to dishonesty?
19 A. That I recall, yes.                                      19           MS. MCENROE: Objection to form.
20 Q. He couldn't have been certified by ECFMG                 20 Calls for  opinion.
21 unless he met the examination requirements, could he        21 A. It wouldn't be up to me to characterize
22 have been?                                                  22 that.
23 A. Yes, but the examinations could have been                23           (Exhibit No. 2 marked for
24 different examinations.                                     24 identification.)
25 Q. But whatever examinations were required                  25 BY MR. VETTORI:
                                                          26                                                           28
1 for him, he would have had to have successfully              1     Q. So I believe the document that you've been
2 completed them in order to become certified?                 2 handed, Mr. Kelly, begins on the first page with the
3     A. Yes.                                                  3 Bates number 0000155; is that correct?
4     Q. So do you also recall from your review of             4     A. Yes.
5 material in this case that this gentleman by the             5     Q. Have you -- in your preparation for this
6 name of Igberase met all of the medical education            6  deposition  did you review that document?
7 requirements, that is they were verified by ECFMG?           7     A. I don't recall.
8     A. Yes, I recall that.                                   8     Q. You see the number up at the right-hand
9     Q. And do you recall that he was actually                9 corner of the document on the first page?
10 certified? I may have asked that already, but --            10 A. Yes.
11 A. At one point, yes.                                       11 Q. Is that like an incomplete number because
12 Q. And his certification was revoked,                       12 of the way it was copied or for any other reason?
13 correct?                                                    13 A. The long answer is this was printed by
14 A. That is my recollection.                                 14 machine and although the applicant identification
15 Q. And I'm going to get into that detail                    15 numbers were 7 digits, the machine only printed the
16 about that later. For general purposes, I'm asking          16 first six and the seventh was added by hand.
17 that question.                                              17 Q. So I take it that this identification
18       And wasn't his certification revoked                  18 number, the 482-700, whatever the last number is, I
19 because he was dishonest, he lied on his                    19 have the document, I can find it if you need it, was
20 applications?                                               20 assigned to this gentleman by the name of Igberase
21          MS. MCENROE: Objection to form.                    21 when he made, as part of his application, to take
22 A. He answered a question incorrectly is my                 22 certain examinations; is that correct?
23 recollection, yes.                                          23 A. That is my recollection of the process at
24 BY MR. VETTORI:                                             24 that time, yes.
25 Q. You're not willing to concede that he was                25 Q. And as I look at this stamp on the bottom
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1 left, it looks like it was filed, that is received           1 outside.
2 by ECFMG on April 6, 1992; is that correct?                  2      Q. And how about in 1996?
3     A. Yes.                                                  3      A. I don't recall.
4     Q. And do you see in the middle of page 1                4            (Exhibit No. 3 marked for
5 that he submitted a Social Security number ending in         5 identification.)
6 5054?                                                        6 BY MR. VETTORI:
7     A. Yes.                                                  7      Q. As part of your review in preparation for
8     Q. Item four?                                            8  this deposition, did you review this document?
9     A. Yes, I see that.                                      9      A. I don't recall this specific one, but I
10 Q. If you'll turn to page 2, what is the date               10 may have.
11 of birth he provided?                                       11 Q. For the record, this is what purports to
12 A. It looks as though it says the 17th of                   12 be a diploma from the University of Ibadan for
13 April 1962.                                                 13 someone by the name of Charles Olufemi,
14 Q. When ECFMG receives -- I'm sorry. When                   14 O-L-U-F-E-M-I, Igberase, I-G-B-E-R-A-E-S-E. Would
15 ECFMG received this application, was any of the             15 it be the normal practice of ECFMG in 1992 to
16 information contained on this form, I guess it's            16 require someone like Mr. Igberase who filled out the
17 Exhibit 2, inputted into a -- this is a dinosaur            17 application we just reviewed to also submit a
18 talking, I don't know computer terminology -- into a        18 diploma?
19 computer program?                                           19 A. Yes.
20           MS. MCENROE: Objection to form.                   20 Q. But you don't have any specific
21 A. That was the procedure at this time. What                21 recollection about this diploma?
22 happened to this specific one, I could not say for          22 A. No.
23 certain.                                                    23 Q. Do you have an independent recollection or
24 BY MR. VETTORI:                                             24 a recollection that's been refreshed by your review
25 Q. And this may be difficult to answer, but                 25 of documents in this case as to whether ECFMG issued
                                                          30                                                             32
1 just in general terms was there a specific computer          1 a certificate to someone with the last name
2 program set up to deal with IMGs who applied to take         2 Igberase?
3 certain medical examinations?                                3      A. Yes.
4           MS. MCENROE: Objection to form.                    4      Q. Do you have any recollection,
5     A. When you say computer program, I know we              5 independently or as refreshed by your review of
6 captured certain information from the application in         6 records in this case approximately when that was
7 the computer system, yes.                                    7 done?
8 BY MR. VETTORI:                                              8      A. I don't recall.
9     Q. And for the most part -- strike that.                 9      Q. So I think the last digit that's missing
10       Would ECFMG do that, I mean, input the                10 is zero. We'll show that later. It says zero.
11 information on the application any time an IMG              11          MR. VETTORI: Off the record.
12 submitted this application, this type of                    12          (Discussion off the record.)
13 application?                                                13 BY MR. VETTORI:
14          MS. MCENROE: Objection to form.                    14 Q. So accept for the purposes of my next
15 A. The procedure was to enter some, but not                 15 question that he was certified, he being
16 all of the information from the application.                16 Mr. Igberase, on October 4, 1993, okay? I know you
17 BY MR. VETTORI:                                             17 didn't remember that, but accept it for purposes of
18 Q. Was your computer program like a software                18 my next question.
19 package that you either developed internally or             19          Would I be correct in stating that
20 acquired commercially?                                      20 that means he had passed the required medical
21          MS. MCENROE: Objection to form.                    21 examinations and the English examination -- when I
22 A. My recollection is yes.                                  22 say required, either steps one and two of the USMLE
23 BY MR. VETTORI:                                             23 or the equivalent, and you had verified his diploma?
24 Q. Which?                                                   24          MS. MCENROE: Objection to form.
25 A. In 1992 I think it was developed                         25 A. That was the process for certification,
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1 yes.                                                    1     A. As a general rule, yes.
2 BY MR. VETTORI:                                         2  BY  MR. VETTORI:
3     Q. Certification --                                 3     Q. IMGs who applied for certification by
4     A. ECFMG certification.                             4 ECFMG were not required to submit transcripts of
5     Q. To be clear, ECFMG will not issue a              5 their medical school, were they, or were they?
6 certificate to an IMG -- I hate to sound like           6            MS. MCENROE: Objection to form.
7 alphabet soup, but -- unless the applicant passes       7     A. At that time, no.
8 the required medical examinations and the English       8 BY MR. VETTORI:
9 exam and ECFMG is able to verify the medical            9     Q. So when an applicant such as Mr. Igberase
10 credentials, I think you said the diploma; is that     10 provided you -- I'm sorry -- provided ECFMG with a
11 correct?                                               11 diploma, would I be correct in stating that ECFMG
12          MS. MCENROE: Objection to form.               12 would forward that with a form to the medical school
13 A. As a general rule. There are always                 13 for the medical school to verify the accuracy or the
14 exceptions.                                            14 authenticity of that document, the diploma?
15 BY MR. VETTORI:                                        15 A. That was the procedure, yes.
16 Q. So what type of exceptions?                         16           (Exhibit No. 4 marked for
17 A. My recollection was that, for example, for          17 identification.)
18 the diploma verification the board had authorized      18 BY MR. VETTORI:
19 use of sworn affidavits in the case of people who      19 Q. Do you recall reviewing this document as
20 were refugees from certain countries where the         20 part of the review you did in preparation for this
21 schools would not respond to verification or they      21 deposition?
22 had fled their country and couldn't bring out their    22 A. I have no recollection of this specific
23 diploma and there was review by a standing             23 document.
24 committee, the board of credentials committee would    24 Q. I'll represent to you that this is an
25 look at individuals on a case-by-case basis.           25 application filed by someone with the last name
                                                     34                                                             36
1     Q. Thank you. You testified a little earlier        1 Charles, first name Igberase, middle name Oluwafemi,
2 that ECFMG required IMGs to submit diplomas,            2 and this looks like -- I'm going to ask you to
3 correct?                                                3 verify this -- that it was received by ECFMG on
4     A. Yes.                                             4 March 30, 1994?
5     Q. And it was only the diploma that had to be       5     A. I can't make out the date, but it could be
6  verified; is that your testimony?                      6  that, yes. It's difficult to read.
7     A. At that time, yes.                               7     Q. Do you see anywhere -- do you see in item
8     Q. When did that change?                            8 four whether a Social Security number was
9     A. I don't know that it changed. I have no          9 provided?
10 independent knowledge that it changed.                 10 A. I do not see one on this copy.
11 Q. So your recollection is that during the             11 Q. And again, I'm sorry, for the record this
12 entire -- what did we say, thirty-five, thirty-eight   12 is Bates number 0000407, correct?
13 years that you were at ECFMG?                          13 A. Yes.
14 A. Thirty-seven and a half.                            14 Q. So turn to page 408, the next page. What
15 Q. It didn't change, only the diplomas were            15 date of birth is provided?
16 required?                                              16 A. 17th day, fourth month, year '61.
17 A. Not the whole time. And there was a                 17 Q. So I take it since you don't recall
18 period before 1986 -- 1984 or 1986 where we did not    18 reviewing this, you can't tell me whether the
19 require primary source verification directly with      19 medical information -- the medical school
20 the medical school.                                    20 information on that form is almost identical to the
21 Q. But in the period of time that we're                21 information on the form filed by Mr. Igberase,
22 talking about here today, which I've mentioned         22 correct?
23 probably too many times already, the diploma was the   23          MS. MCENROE: Objection to form.
24 only thing that had to be verified?                    24 BY MR. VETTORI:
25           MS. MCENROE: Objection to form.              25 Q. You didn't make that comparison?
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1     A. I don't recall.                                      1           MR. VETTORI: What's the exhibit
2     Q. Do you know, either independently of your            2  number,  I'm sorry?
3 own personal knowledge or from any review you made          3           MS. MCENROE: Four.
4 in this case prior to this deposition, whether a new        4     A. Four.
5 identification number was assigned to a gentleman           5     Q. -- was, quote, inputted into the computer
6 with the last name Charles?                                 6 program?
7     A. On this document I see where there's -- an           7           MS. MCENROE: Objection to form.
8  identification  number has been put on it.                 8     A.  I have no personal knowledge that that was
9     Q. Is that the 51?                                      9 done.
10 A. It looks -- that's what it appears to be,               10 BY MR. VETTORI:
11 519-573.                                                   11 Q. And you don't have any refreshed
12 Q. And that would be consistent with ECFMG's               12 recollection as a result of the review you did in
13 then practice to assign an identification number to        13 this case?
14 an applicant when he or she first applies,                 14 A. No.
15 correct?                                                   15 Q. So is it fair for me to say that within
16 A. Yes.                                                    16 several months of the receipt by ECFMG of the
17 Q. So would you agree with me that ECFMG                   17 application by the gentleman with the last name
18 interpreted this application as coming from someone        18 Charles --
19 other than Mr. Igberase?                                   19 A. Exhibit 4.
20          MS. MCENROE: Objection to form.                   20 Q. Exhibit 4.
21 A. Yeah, I don't know that I understand the                21 A. Right.
22 question.                                                  22 Q. -- ECFMG became suspicious that he and
23 BY MR. VETTORI:                                            23 Mr. Igberase were one and the same person?
24 Q. Okay. So Mr. Igberase, we've looked at                  24          MS. MCENROE: Objection to form.
25 his application. Do you need to look at it again?          25 A. I have no knowledge of that.
                                                         38                                                            40
1      A. No, I recall it.                                    1           (Exhibit No. 5 marked for
2      Q. He's assigned an identification number,             2 identification.)
3 correct?                                                    3 BY MR. VETTORI:
4      A. According to that application, yes.                 4     Q. I know you haven't had time to read it
5      Q. And it's different from the identification          5 because I'm watching you. Did you review this
6  number  assigned to this gentleman by the name of          6 document in preparation for this deposition?
7 Charles, correct?                                           7     A. I may have, I don't recall this specific
8      A. Yes.                                                8 one.
9      Q. ECFMG wouldn't assign a new number if it            9     Q. So this is your letter; is it not?
10 thought these were one and the same person, would          10 A. Yes, it appears to be.
11 it?                                                        11 Q. So I'm prepared for you to take as much as
12          MS. MCENROE: Objection to form.                   12 as you want to read it, if you feel it necessary in
13 A. This number -- the procedure would have                 13 order to answer my questions.
14 been that this number would have been assigned             14          MS. MCENROE: It's a short letter,
15 because we checked that he had not previously              15 why don't we just give him a quick minute to scan
16 applied for an examination.                                16 over it.
17 Q. And that implies that ECFMG didn't think                17          MR. VETTORI: Sure. Fairness to the
18 he was the same person as Mr. Igberase, correct?           18 witness, I'm happy to do that.
19          MS. MCENROE: Objection to form.                   19 A. (Complies.) I finished reading it.
20 A. I don't know that. Just that I think what               20 Q. So wouldn't you agree with me that when
21 we felt was he had not previously applied, yeah.           21 you wrote that letter, ECFMG had decided that there
22 BY MR. VETTORI:                                            22 was a possible connection between Mr. Charles and
23 Q. And consistent with ECFMG's practice at                 23 Mr. Igberase?
24 the time, do you have any personal knowledge as to         24          MS. MCENROE: Objection to form.
25 whether the information on this application --             25 A. That the -- that these two applications
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1 were for the same individual, yes.                         1     Q. Do you have an independent recollection of
2      Q. Correct. Right. And you in fact told him           2  receiving  this letter?
3 that you were conducting an investigation in this          3     A. No.
4 matter, correct?                                           4     Q. As part of your review to prepare for this
5      A. In the letter, yes.                                5 deposition, did you review it?
6      Q. And you told him he needed to write to             6     A. This letter, yes.
7 ECFMG to explain why he certified on his Charles           7     Q. So would you agree with me that this is a
8 application that he had never taken the exams              8  letter in response to the prior exhibit when you
9 before, correct?                                           9 wrote to him saying you were investigating the
10 A. That he had not previously applied for                 10 matter and he should write to you?
11 exams, yes.                                               11 A. Yes.
12 Q. Do you have any independent recollection               12 Q. And would you agree with me that in this
13 of what it is that triggered ECFMG to write -- to         13 letter he confesses to the fact that he's really
14 have you write this letter?                               14 Igberase, that he and Igberase are one and the same
15 A. No.                                                    15 person?
16 Q. How did you catch on to them?                          16 A. Yes.
17 A. I don't recall.                                        17 Q. And would you agree with me that basically
18 Q. That's not an unfair way to characterize               18 he blamed what he did on his friends?
19 it, is it?                                                19           MS. MCENROE: Objection to form.
20            MS. MCENROE: Objection.                        20    A.   I don't  know that I would characterize it
21 BY MR. VETTORI:                                           21 that way.
22 Q. How you caught on to him?                              22 BY MR. VETTORI:
23            MS. MCENROE: Objection.                        23 Q. Well, take a look at the middle of page 2.
24 A. Why we started the investigation, yeah.                24 He says, "As a result of these" -- meaning his
25            (Exhibit No. 6 marked for                      25 inability to get into 150 residency programs, any of
                                                        42                                                             44
1 identification.)                                           1 150 -- "I explained to my friends, who felt I should
2           (Discussion off the record.)                     2 take the test over again to improve on my scores
3 BY MR. VETTORI:                                            3 despite my difficult position, they suggested that
4      Q. So Mr. Kelly, Exhibit 6 is a handwritten           4 since I had already been issued one ECFMG
5 letter, which is dated in the upper right-hand side        5 certificate I could not possibly use that same
6 July 14, 1995, and received at ECFMG on July 20,           6 number again to sit for new tests."
7 1995. Can we agree on that?                                7        Do you see that?
8      A. Yes.                                               8     A. Yes.
9      Q. And it's Bates number 0000433 through 437.         9     Q. Isn't that, in fact, blaming it on his
10 Can we agree on that?                                     10 friends?
11 A. Yes.                                                   11           MS. MCENROE: Objection to form.
12 Q. And it is signed -- well, it says,                     12    A.   To  me they're suggesting a course of
13 "Sincerely, Igberase Oluwafemi Charles" and it has        13 action for him to take.
14 that 519 certification number. Do you see that?           14 BY MR. VETTORI:
15 A. Yes.                                                   15 Q. And he followed that course of action?
16 Q. And is it your understanding -- I'm sorry,             16 A. I don't see that they're telling him to
17 have you had time to look at it?                          17 provide a false response on the application. That's
18 A. Give me a minute. I can look at this,                  18 what he did.
19 yeah.                                                     19 Q. But he did admit to lying on the
20       (Complies.)                                         20 application, correct?
21          MS. MCENROE: I've finished reviewing             21 A. In his letter, yes.
22 it.                                                       22 Q. And would you turn to page 436, page 4 of
23 BY MR. VETTORI:                                           23 the letter?
24 Q. Okay. Do you remember this letter?                     24 A. Yes.
25 A. Remember?                                              25 Q. Isn't it true that he told you that in the
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1 future -- that the future records he was going to           1             MR. VETTORI: It is with me.
2 use the name Igberase Oluwafemi Charles?                    2             MR. KLAYMAN: And with me.
3      A. Yes.                                                3             MS. MCENROE: Thank you. Go back
4      Q. So after receiving this handwritten letter          4 off.
5 in response to your letter, did the committee on            5             (Recess taken at 10:35 a.m.)
6 medical education credentials meet to review the            6             (Back on the record at 10:45 a.m.)
7 matter?                                                     7             (Exhibit No. 8 marked for
8      A. That is my recollection, yes.                       8  identification.)
9            MR. VETTORI: Let me show him the                 9 BY MR. VETTORI:
10 letter and we can stop right here after this.              10 Q. So I'm going to let you read this letter,
11           (Exhibit No. 7 marked for                        11 but let me just point out to you, first of all, it's
12 identification.)                                           12 Bates number 5074 through 5076 with attachments,
13 BY MR. VETTORI:                                            13 okay?
14 Q. It's a short letter. Why don't you read                 14 A. I have --
15 it, please.                                                15 Q. Multiple attachments.
16 A. (Complies.) I finished reading it.                      16 A. My last one is 167.
17 Q. So this letter is signed by you?                        17            MS. MCENROE: You know what, it looks
18 A. Yes.                                                    18 like, just for purposes of the record, that last
19 Q. And this letter is telling, I guess both                19 page looks to have been a duplicate of Exhibit 7
20 Charles and Igberase, what the results are of the          20 stapled to the back of Exhibit 8.
21 meeting of the education -- ECFMG committee on             21 BY MR. VETTORI:
22 medical education credentials; is that correct?            22 Q. Okay. So before you read it, okay, take a
23 A. Yes.                                                    23 look at it. This appears to me to be a letter that
24 Q. And as I understand it, the decision of                 24 you wrote dated December 7, 1995, which, Mr. Kelly,
25 the committee was to invalidate the ECFMG                  25 I'll point out to you is the same date that you
                                                         46                                                             48
1 certificate issued as 0519573-0, correct?                   1 wrote the letter to Igberase, correct?
2     A. Yes.                                                 2     A. Yes.
3     Q. That's the one that was issued to the                3     Q. Which was Exhibit 6 -- no, 7. And this is
4 gentleman by the name of Charles, correct?                  4 a letter that you're writing to a Mr. Kenneth Cotton
5     A. I have no independent knowledge of that.             5 at USLME; is that correct?
6     Q. And also is telling Charles and Igberase             6     A. Yes.
7 that ECFMG was revoking the certificate issued under        7     Q. I want you to take as much time as you
8 0482700-2, correct?                                         8 want to read it, but I would suggest to you at the
9     A. Yes.                                                 9 end I'm going to ask you would you agree with me
10 Q. And isn't that the certificate issued to                10 that this is pretty much summarizing all of the
11 Mr. Igberase?                                              11 events leading up to your December 7th letter.
12 A. That I don't know.                                      12 Okay. So take your time.
13           MR. VETTORI: This is a good time to              13           MS. MCENROE: Objection to form.
14 take a break.                                              14 A. (Complies.) Okay, I finished reading the
15           MS. MCENROE: Off the record.                     15 letter.
16           (Discussion off the record.)                     16 BY MR. VETTORI:
17           MS. MCENROE: So can we hop back on               17 Q. So would you agree with me that this is
18 the record just for two quick things for the               18 pretty much summarizing what's taken place up to and
19 purposes of the record?                                    19 including your December 7th letter?
20           On behalf of ECFMG we are reserving              20 A. It appears to be a well-written summary.
21 the right to review and sign today's transcript.           21 Q. So you know something? I wrote that on
22 And we've also discussed with counsel a stipulation        22 there. It is a very good summary.
23 that all objections, except as to the form, are            23        So I had asked you previously a question
24 reserved for the time of trial, if that is                 24 something like what is it that triggered ECFMG to
25 acceptable with you-all as well.                           25 suspect that Charles and Igberase were the same
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1 person. Do you remember that?                                 1 the diploma and the person whose name is on the
2      A. Yes, I recall you asked.                              2 application are really the same person?
3      Q. And you don't remember?                               3            MS. MCENROE: Objection to form.
4      A. I do not.                                             4     A. Yes.
5      Q. So at the bottom of page 1 of your letter             5 BY MR. VETTORI:
6 you wrote to Mr. Cotton saying "since the name on             6     Q. Okay. When did that policy, practice, or
7 the application was altered" -- I'm going to stop             7 procedure first go into effect?
8 you right there. When you say "altered," do you               8     A. I don't recall the date.
9 mean rearranged?                                              9     Q. Was it effective as of 1995?
10 A. That may be what I meant.                                 10 A. I don't recall it being in effect at that
11 Q. And then you said, "and the year of birth                 11 time.
12 changed."                                                    12 Q. What is that policy, practice, or
13           My recollection is that Igberase had               13 procedure?
14 a 1962  birth date and Charles had a 1961 birth date?        14 A. Okay. And I'm -- again, this is at the
15 A. And that's stated in this letter, yeah.                   15 time it was in place when I was there. I mean,
16 Q. Right. And you say that ECFMG's search of                 16 again, I don't know what it is now, that if there is
17 its database at that time did not show that he had           17 a -- a significant -- a discrepancy between the name
18 previously applied and been assigned an ECFMG                18 on the diploma and the name they're using when they
19 identification number.                                       19 apply for the examination that they provide
20           What search of the database had taken              20 certain -- some sort of documentation to connect
21 place, do you remember?                                      21 that -- to indicate the two names belong to the same
22 A. I can tell you what the procedure or                      22 person.
23 process was at that time.                                    23 Q. But is it your testimony that you don't
24           MR. VETTORI: Objection as to form.                 24 believe that policy was in effect, at least not in
25 Q. Go ahead, please.                                         25 1995?
                                                           50                                                            52
1           MS. MCENROE: You may answer the                     1     A. I don't recall it being in effect.
2 question.                                                     2     Q. Well, is it that it was -- you don't
3     A. Okay. The procedure at that time was any               3 recall whether --
4 individual indicating he or she had not previously            4     A. I don't believe it was in effect.
5 applied and not providing an ID number, part of the           5     Q. Thank you. So will you turn to, again to
6 process was to search the database against certain            6  page -- well, not again. Turn to page 2 of that
7 biographical elements, and I can't remember                   7 letter, that being Exhibit 8, and it's Bates number
8 specifically which ones they were, to see if that             8 5075. Do you see what I call a chart at the bottom
9 individual could potentially already have an                  9 of the page?
10 identification number.                                       10 A. Yes.
11 BY MR. VETTORI:                                              11 Q. And as I understand it, this is a chart of
12 Q. I appreciate the fact that you can't                      12 the examinations, the dates of the examination, and
13 remember, we're going back a long time now. But it           13 the scores taken by, I think it's both Igberase and
14 seems to me, at least implicitly, that by your               14 Charles; am I correct in that?
15 statement at the bottom of page 2, two of the ways           15 A. You keep saying both and I'm -- I don't
16 you would have searched your database would have             16 know that they're two different individuals, but
17 been by the name and by the date of birth; would             17 under one identification number, under the two
18 that be correct?                                             18 different identification numbers.
19 A. Yes, that's fair.                                         19 Q. Under the two identification numbers?
20 Q. So let me ask you this: Has ECFMG ever                    20 A. Right.
21 had a practice, policy, or procedure whereby if a            21 Q. Okay. So these are the examinations,
22 name of an applicant on a diploma is different than          22 dates, and scores for the person who had
23 the name on the application, you required that               23 identification number 04827002 and the person who
24 application to do something to satisfy ECFMG that            24 had identification number 05195730, correct?
25 the name on the -- that the person whose name is on          25 A. Yes.
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1     Q. Okay. And so it looks to me like the                  1 vice president of operations at ECFMG.
2  person  who took the July 1992 day one and day two          2     Q. And would you agree with me that this
3 exams failed; is that correct?                               3 letter is outlining to the gentleman by the name of
4     A. Failed in July 1992.                                  4 Charles the results of the appeal hearing?
5     Q. Correct.                                              5     A. Yes.
6     A. Yes.                                                  6     Q. And do you see where this letter recites
7     Q. And failed step one in September 1992; is             7 that the appeal was considered on July 10, 1996?
8  that correct?                                               8 It's in the middle paragraph.
9     A. Yes.                                                  9     A. Yes.
10 Q. And failed day one in January 1993; is                   10 Q. In Washington, DC?
11 that correct?                                               11 A. Yes.
12 A. Yes.                                                     12 Q. And would you agree with me that the
13 Q. Do you have an independent recollection or               13 decision of the review committee affirmed the
14 a recollection refreshed by any review of documents         14 decision invalidating one certificate and revoking
15 you made prior to this deposition as to whether the         15 the other, but limited the length of the revocation
16 applicant by the name of Charles took an appeal from        16 of certificate 04827002 to five years from July 10,
17 the decision of the committee that's reflected in           17 1996, until July 10, 2001?
18 your December 7, 1995, letter?                              18 A. Yes.
19 A. My recollection is that he took an appeal,               19 Q. Thank you.
20 but I don't know which -- I don't recall which              20           (Exhibit No. 10 marked for
21 decision.                                                   21 identification.)
22 Q. Do you remember whether that appeal                      22 BY MR. VETTORI:
23 resulted in a hearing?                                      23 Q. So Mr. Kelly, what is this document?
24 A. My recollection is that there was a                      24 A. It appears to be a photocopy of an
25 hearing, yes.                                               25 application for USMLE exams.
                                                          54                                                            56
1     Q. And bear with me one second.                          1     Q. Which exams was he applying for?
2        Do you remember when that appeal hearing              2     A. According to the application, the -- both
3 took place?                                                  3 the step one and the step two.
4     A. No.                                                   4     Q. And what is the name of the applicant?
5     Q. I'll come back to that later. Do you                  5     A. On the application it's Femi Charles
6  remember    the outcome of the appeal?                      6  Igberase.
7     A. Yes.                                                  7     Q. Do you see whether any Social Security
8     Q. What was the outcome?                                 8 number was provided?
9     A. My recollection is that the appeal was                9     A. I see no Social Security number on the
10 denied.                                                     10 application.
11 Q. Is that the same thing as saying the                     11 Q. And can you tell from the Bates stamp on
12 decision to invalidate one certificate and revoke           12 the document when it was received by ECFMG?
13 the other was affirmed?                                     13 A. Yes.
14 A. Yes, but that there was a -- a change in I               14 Q. When was it received?
15 believe the length of time of the revocation of the         15 A. October 23, 2000.
16 one certificate, the specification of the date.             16 Q. Do you see the date of birth on the --
17          (Exhibit No. 9 marked for                          17 towards the bottom of Page 1 of that application?
18 identification.)                                            18 A. Yes.
19 BY MR. VETTORI:                                             19 Q. What is the date of birth?
20 Q. It's a one-page letter, sir. If you take                 20 A. 17th day of the fourth month in 1962.
21 your time to read it, I'd appreciate it. Thank you,         21 Q. April 17?
22 Mr. Kelly.                                                  22 A. Yes.
23 A. (Complies.) Yes, I've read it.                           23 Q. Isn't that the same date as on the 1992
24 Q. So who is Marie Shafron?                                 24 application by Igberase?
25 A. At that time Ann Marie Shafron was the                   25 A. I would have to look.
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                                            Transcript of William C. Kelly                               15 (57 to 60)

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1     Q. Please do. It's one of the early -- it's              1 applicant, Femi Charles Igberase, checked no to the
2  the second exhibit, I think.                                2 question, "Have you ever submitted an application to
3     A. Yes, it is.                                           3 ECFMG for an examination" -- I'm sorry. I talk
4     Q. So did you review this document, the                  4 fast -- "even if you did not take the examination?"
5 application, Exhibit 10, in preparation for this             5 Do you see where he checked the no?
6 deposition?                                                  6     A. Yes.
7     A. I don't recall this specific -- no.                   7     Q. Okay. And there is non identification
8     Q. Am I correct that ECFMG pretty quickly                8  number   included on that application, is there?
9 picked up on the fact this is the same Igberase              9     A. I don't see one.
10 whose certificate had been revoked for five years           10 Q. When you wrote to him, your Exhibit 11,
11 through and including July 10, 2001?                        11 you used the ECFMG identification number 0482700-2,
12 A. My recollection is that at some point, I                 12 didn't you?
13 don't know the time period, but I know subsequent to        13 A. Yes.
14 this, there was an allegation that he provided false        14 Q. And isn't it correct that in your letter
15 information on his application, yes.                        15 of November 16, 2000, Exhibit 11, you advised
16 Q. What do you mean by there was an                         16 Mr. Igberase that ECFMG requires an explanation in
17 allegation?                                                 17 writing within fifteen days of receiving this
18 A. My recollection is subsequent to this we                 18 letter?
19 alleged that he had engaged in irregular behavior.          19 A. Yes.
20 Q. Just to help answer this question, I'm                   20 Q. So you addressed your letter to
21 going to show you in a minute your letter dated             21 Mr. Igberase?
22 November 16, 2000, about this application.                  22 A. Dr. Igberase.
23 A. Okay.                                                    23 Q. I'm sorry, Dr. Igberase. Thank you. I
24 Q. So it appears to me that within less than                24 apologize.
25 a month's time ECFMG has concluded that this is the         25        Did you or did anyone at ECFMG ever
                                                          58                                                        60
1 same Igberase who had been told that his                     1 receive an explanation?
2 certification was revoked through July 10, 2001.             2     A. I don't recall.
3 Would you agree with me?                                     3     Q. So do you have a recollection, either
4           MS. MCENROE: Objection.                            4 independently or as a result of the review you did
5     A. We made that allegation, yes.                         5 in your case, whether the ECFMG committee on medical
6 BY MR. VETTORI:                                              6 education credentials met to review this matter?
7     Q. So do you have an independent recollection            7     A. I don't have an independent or I don't
8 as to how you came to that determination?                    8 have a recollection of that, no.
9     A. No.                                                   9           (Exhibit No. 12 marked for
10 Q. So do you remember me reading to you from                10 identification.)
11 Charles's handwritten letter that for future records        11 A. Yes, I've finished reviewing Exhibit 12.
12 he is going to use the name Igberase Oluwafemi              12 BY MR. VETTORI:
13 Charles? Do you recall that?                                13 Q. Okay. So in your first sentence you
14 A. Yes, I do.                                               14 indicate that the committee on -- ECFMG committee on
15 Q. He didn't do that here, did he?                          15 medical education credentials made -- a decision was
16 A. No, he did not.                                          16 made by the ECFMG medical -- committee on medical
17          (Exhibit No. 11 marked for                         17 education credentials on April 18, 2001, correct?
18 identification.)                                            18 A. Yes.
19 BY MR. VETTORI:                                             19 Q. And your writing this letter is being
20 Q. Let me know after you've read it, okay,                  20 written to Dr. Igberase Oluwafemi Charles
21 Mr. Kelly? Thank you.                                       21 referencing the identification number 0482700-2
22 A. (Complies.) I finished reading it.                       22 advising him of the outcome of that -- I'm sorry --
23 Q. Okay. Can we go back to the prior                        23 as to what that decision was?
24 exhibit, No. 10? Put that in front of you, please.          24 A. Yes.
25       Would you agree with me that this                     25 Q. And in this letter you recite many of the
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1 events we've talked about today up to and including        1 somehow, yes.
2 the October 2000 application that was submitted,           2     Q. And he makes a reference to the Social
3 correct?                                                   3 Security number not being applicable because the INS
4     A. Yes.                                                4 was going to discontinue the number due to the
5     Q. And was it the decision of the ECFMG                5 problems involving my, I think it means cousin, Dr.
6 committee to revoke his standard certificate for a         6 Akoda, do you see that?
7 yet to be specified period of time?                        7     A. Yes.
8     A. To extend the length of the revocation,             8     Q. Akoda was not a name that was unfamiliar
9 yes.                                                       9 to you at that time; isn't that correct?
10 Q. For an as yet unspecified period of                    10           MS. MCENROE: Objection to form.
11 time?                                                     11 A. I don't recall.
12 A. Yes.                                                   12 BY MR. VETTORI:
13 Q. And also to refer it to the USMLE                      13 Q. As a result of the review of documents you
14 committee on irregular behavior, correct?                 14 undertook to prepare for this deposition, you don't
15 A. Yes.                                                   15 recall that as of June of 2001 you were familiar
16 Q. And you advised him that ECFMG was going               16 with the name Akoda?
17 to review the matter again after the USMLE                17           MS. MCENROE: Objection.
18 committee's decision, correct?                            18 A. I don't recall the dates.
19 A. Yes.                                                   19           (Exhibit No. 14 marked for
20          (Exhibit No. 13 marked for                       20 identification.)
21 identification.)                                          21           MR. VETTORI: I had that same
22 BY MR. VETTORI:                                           22 question.
23 Q. One-page letter, would you read it,                    23           MS. MCENROE: Is there a question
24 please?                                                   24 pending?
25 A. (Complies.) I finished reading it.                     25           MR. VETTORI: No. He had a quizzical
                                                        62                                                            64
1     Q. Okay. See if you agree with this. It                1 look on his face and I think I had the same one, but
2 appears to me that this is a response letter from          2 I think I got the answer.
3 Igberase to your November 16, 2000, letter. Would          3     A. Okay. I finished reading.
4 you agree with me, even though he says 2001?               4 BY MR. VETTORI:
5     A. That is correct.                                    5     Q. So this is a letter dated May 22, 2002,
6     Q. And it's coming -- I'm sorry, I spoke over          6  this being Exhibit 14, correct?
7 you. I apologize. Did you finish your --                   7     A. Yes.
8     A. Yes, I did.                                         8     Q. And it's your letter?
9     Q. It appears to me that it's actually coming          9     A. It's from me, yes.
10 too late, the committee has already made its              10 Q. This is approximately a year after your
11 decision, correct?                                        11 previous letter, correct?
12 A. This is after the committee had made its               12 A. Yes.
13 decision, yes.                                            13 Q. Can I offer what I think is the
14 Q. So would you agree with me that in this                14 explanation for that period of time and see if you
15 letter he is blaming his application on his               15 agree with me?
16 cousin?                                                   16 A. Yes.
17           MS. MCENROE: Objection to form.                 17 Q. I think in an earlier letter you wrote
18 A. He appears to be doing that, yes.                      18 that you would reconsider the matter after the
19 BY MR. VETTORI:                                           19 decision by the USMLE and their remand to you. Do
20 Q. And I think basically what he's saying is              20 you remember that?
21 the cousin filled out the wrong form?                     21 A. Yes.
22 A. Well, he says, "my childhood friend."                  22 Q. Is that the reason for this letter being
23 Q. Childhood friend, I'm sorry. The                       23 almost a year later?
24 childhood friend filled out the wrong form?               24 A. That would have been the process, yes.
25 A. Filled out the wrong form incorrectly                  25 Q. Thank you.
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1           (Exhibit No. 15 marked for                         1 received April 18th?
2  identification.)                                            2     Q. March 18th.
3     A. I finished reviewing, yes.                            3     A. March 18th, yes, that would have been.
4 BY MR. VETTORI:                                              4           MS. MCENROE: Do you want to take a
5     Q. So what is Exhibit 15?                                5 break?
6     A. It's a photocopy of an application for                6           MR. VETTORI: No.
7 USLME examination.                                           7           (Exhibit No. 16 marked for
8     Q. And this applicant checked no to the                  8  identification.)
9 question, "Have you ever submitted an application to         9 BY MR. VETTORI:
10 ECFMG for any examination even if you did not take          10 Q. Mr. Kelly, Exhibit 16, which is Bates
11 the examination," correct?                                  11 number 0000267, appears to be a copy of something
12 A. Correct.                                                 12 that purports to be a diploma from the University of
13 Q. And would you agree with me that this                    13 Ibadan for a person named Charles Igberase
14 appears to be a different name than the Igberase and        14 Oluwafemi. Do you see that?
15 Charles names that we've been discussing up until           15 A. Yes.
16 now?                                                        16 Q. Do you know whether this was submitted to
17 A. There is a difference, yes.                              17 ECFMG as part of the application we just
18 Q. So the last name is Oluwafemi,                           18 discussed?
19 O-L-U-W-A-F-E-M-I, correct?                                 19 A. I do not know.
20 A. On this application yes.                                 20 Q. You don't have any independent
21 Q. First name Charles?                                      21 recollection of this?
22 A. Yes.                                                     22 A. I do not.
23 Q. Middle initial, Ugberaese,                               23 Q. Do you have any recollection whether this
24 U-G-B-E-R-A-E-S-E, correct?                                 24 diploma was ever verified with the University of
25 A. Yes.                                                     25 Ibadan?
                                                          66                                                             68
1      Q. No Social Security number listed,                    1     A. I have no knowledge.
2 correct?                                                     2     Q. Do you have any knowledge whether any
3      A. That is correct.                                     3 information was inputted into the computer system
4      Q. Date of birth of March 1, 1967, correct?             4 when this application was filed?
5      A. Yes.                                                 5     A. I have no knowledge.
6      Q. There is no identification number on this,           6     Q. Do you have a recollection that ECFMG
7 is there?                                                    7 determined within a short period of time after this
8      A. An ECFMG USLME identification number,                8 application was filed by this gentleman with the
9 no.                                                          9 last name Oluwafemi that it was the same person that
10 Q. And it appears to have been -- I know it's               10 applied as Igberase and as Charles?
11 hard to read, but I think some iteration of this            11 A. I don't recall that, no.
12 I've seen. I think it's March 18, 2002. It's                12          (Exhibit No. 17 marked for
13 clearly --                                                  13 identification.)
14 A. I see 18 and 2002.                                       14 BY MR. VETTORI:
15 Q. Okay, fair enough. And this application                  15 Q. March 18, 2002.
16 is received by ECFMG in the period of time after            16 A. Okay, I finished. I read -- reviewed the
17 Igberase wrote you that letter, which was after the         17 letter.
18 decision had been made. In other words, it was an           18 Q. So does this refresh your recollection
19 untimely response to your earlier letter. Do you            19 that ECFMG realized pretty quickly after the March
20 follow me?                                                  20 18, 2002, application that this person by the name
21 A. Yes.                                                     21 of Oluwafemi is really the same as the person
22 Q. But before May of 2002 when you reviewed                 22 identified as Charles and as Igberase?
23 this matter again upon remand for the USLME,                23 A. It doesn't refresh my recollection, but
24 correct? This falls within that time period?                24 the letter tells me that that is what happened.
25 A. If it were in April. You're saying it was                25 Q. You wouldn't have written that if it
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1 weren't accurate, would you?                                 1 identification.)
2     A. I would hope not.                                     2            MR. VETTORI: Off the record a
3     Q. Again, I know this may sound petty, but               3 minute.
4 I'm doing this for a particular reason so humor me.          4            (Discussion off the record.)
5           We couldn't be sure on the                         5     A. I've reviewed this document, Exhibit 18.
6 application whether it was March 18, 2002, but there         6 BY MR. VETTORI:
7 are several references in your letter to that date;          7     Q. Have you seen these before or do you
8 am I correct?                                                8  recall seeing them before?
9     A. That is correct.                                      9     A. Yes, I do.
10 Q. And you asked for an explanation from him,               10 Q. As part of your preparation for this
11 didn't you?                                                 11 deposition?
12 A. Well, it references several letters that I               12 A. Yes.
13 haven't seen. And it's likely the explanation would         13 Q. This page 1, 4007 -- 4007 appears to me to
14 have been -- request would have been in, for                14 be an ECFMG form; is that correct?
15 example, the May 22 letter.                                 15 A. Yes.
16 Q. Apparently I didn't ask a very good                      16 Q. And if I understand from your prior
17 question. I apologize.                                      17 testimony, the practice would have been for ECFMG to
18        You would agree with me that in this                 18 use this form to forward the diploma provided to it
19 letter you told Oluwafemi that he should write ECFMG        19 by the applicant; is that correct?
20 immediately to explain the reason why he indicated          20 A. That was the process, yes.
21 on his application received on March 18, 2002 that          21 Q. And so I'm just going by the sequence of
22 he had not previously submitted an application to           22 numbers that they were produced to us. Immediately
23 ECFMG when in fact he had previously submitted              23 following 4007 is page 4008 and it's a diploma,
24 applications and taken the examinations, correct?           24 correct?
25          MS. MCENROE: Objection to form.                    25 A. Yes.
                                                          70                                                             72
1     A. This letter does not ask for that. This               1     Q. But it's not a diploma for somebody by the
2 is the decision of the credentials committee. This           2 name of Charles, is it?
3 letter, this November 12, Exhibit 17 letter.                 3           MS. MCENROE: Objection to form.
4 BY MR. VETTORI:                                              4     A. It says Charles right on it.
5     Q. I'm sorry, I apologize, I got out of order            5 BY MR. VETTORI:
6  here.                                                       6     Q. What is the last name?
7        What is -- may I see the letter, the                  7     A. It's Charles Oluwafemi Igberase.
8 original?                                                    8     Q. It's not Igberase Oluwafemi Charles, is
9     A. (Complies.)                                           9 it?
10 Q. Hold that letter. I apologize.                           10          MS. MCENROE: Objection to form.
11          MR. VETTORI: Can we take a quick                   11 A. The names are in a different order.
12 break?                                                      12 BY MR. VETTORI:
13          MS. MCENROE: Sure.                                 13 Q. Correct. And you were treating the person
14          (Recess taken at 11:30 a.m.)                       14 with the name Igberase Oluwafemi Charles as someone
15          (Back on the record at 11:35 a.m.)                 15 different from the person with the name Charles
16 BY MR. VETTORI:                                             16 Oluwafemi Igberase, weren't you?
17 Q. Did you -- do you remember whether in your               17          MS. MCENROE: Objection to form. Are
18 review of documents in preparation for this                 18 you asking --
19 deposition you saw any documents indicating that the        19 BY MR. VETTORI:
20 person named Charles's diploma was verified by his          20 Q. When I say "you," I mean ECFMG for
21 medical school?                                             21 purposes of its certification.
22          MS. MCENROE: Objection to form.                    22 A. I don't recall that.
23    A.  I recall seeing a verification of his                23 Q. Well, you assigned it a separate
24 diploma, but I don't recall whose it was.                   24 identification number to Igberase Oluwafemi Charles
25          (Exhibit No. 18 marked for                         25 than you did to Charles Oluwafemi Igberase. We've
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                                            Transcript of William C. Kelly                               19 (73 to 76)

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1 already established that, Mr. Kelly.                        1 assigned to him the number 0519573-0. ECFMG
2            MS. MCENROE: Objection to form.                  2 certified both of those individuals with different
3 BY MR. VETTORI:                                             3 certification numbers.
4     Q. Isn't that correct?                                  4     A. Yes.
5     A. If that is what we did, then this was a              5     Q. And that's because, isn't it, Mr. Kelly,
6 different applicant, yes.                                   6 that ECFMG thought they were two different people?
7     Q. Correct. Are you aware that this is the              7     A. I don't know that I would have used that
8  identical diploma submitted by the person with the         8  language,   but they were two separate applicants,
9 name Charles Oluwafemi Igberase that you verified           9 yes, yes, individuals, yes.
10 with the school?                                           10 Q. ECFMG would never assign two certification
11 A. I'm not aware of that.                                  11 numbers and -- I'm sorry -- two identification
12 Q. So again, we have a situation where the                 12 numbers and actually certify with two different
13 applicant's name is different than the name on the         13 certification numbers the same person, would it?
14 diploma, correct?                                          14          MS. MCENROE: Objection to form.
15           MS. MCENROE: Objection.                          15 A. Not knowingly.
16 A. The name -- the sequence of names is                    16 BY MR. VETTORI:
17 different, yes.                                            17 Q. So again, ECFMG relied on a verification
18 BY MR. VETTORI:                                            18 of a diploma for a person whose name is different
19 Q. Correct. And is there any documentation                 19 than the name on the application. You would agree
20 to indicate to ECFMG an explanation for that?              20 with that, wouldn't you?
21 A. I see none.                                             21          MS. MCENROE: Objection to form.
22 Q. So as I -- is it correct to say that ECFMG              22 A. The sequence of names on the diploma are
23 relied on a verification of a diploma for someone          23 different than the sequence of names on the
24 whose name is different than the applicant Igberase        24 application.
25 Oluwafemi Charles?                                         25 BY MR. VETTORI:
                                                         74                                                           76
1           MS. MCENROE: Objection to form.                   1     Q. And do you see on the first page at the
2     A. What I can say is I, at this time in 1994,           2 top where those two certificate numbers appear, one
3 I do not believe ECFMG considered them, the name not        3 of which is crossed out?
4 to do -- to belong to this applicant. It was not            4     A. Yes.
5 uncommon for people from different cultures and             5     Q. Do you know why that is? Do you have any
6 certain countries to have their name, you know, in          6  explanation for that?
7 different sequences.                                        7     A. I can -- I know what the process was.
8 BY MR. VETTORI:                                             8     Q. What was the process?
9     Q. Then why did you apply -- I'm sorry. Why             9     A. Okay. At some point after it was
10 did you assign different identification numbers to         10 determined that both numbers belonged to the same
11 these two people?                                          11 individual, all the records that had the second
12          MS. MCENROE: Objection to form.                   12 number, the 05195730, would have been marked with
13 A. Yeah, you have me a little confused.                    13 the original identification number 04827002.
14 My -- I don't know. I don't have the two records in        14 Q. So you -- ECFMG at some point -- we know
15 front of me so I would have to see.                        15 from the record we established, at some point
16 Q. I understand, but let me tell you what the              16 determined that they're one and the same person?
17 record that we developed here today shows. A               17 A. That's correct.
18 gentleman by the name of Charles Oluwafemi Igberase,       18 Q. Did it raise any red flags at ECFMG that
19 a name on a diploma, filed an application with ECFMG       19 the University of Ibadan would verify a diploma for
20 in 1992 and you assigned -- ECFMG assigned to him          20 someone named Charles Oluwafemi Igberase when ECFMG
21 the O482700-2 number. That's established in the            21 was requesting verification of a diploma for
22 record.                                                    22 Igberase Oluwafemi Charles?
23 A. Yes.                                                    23          MS. MCENROE: Objection to form.
24 Q. A gentleman by the name of Igberase                     24 A. At that time it was not uncommon for names
25 Oluwafemi Charles applied to ECFMG in 1994 and ECFMG       25 to be in a different sequence so it would not have
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1 raised a flag.                                               1 stamp, we established from some other letters that
2 BY MR. VETTORI:                                              2 it clearly was March 18, 2002; do you agree?
3     Q. So why then when Igberase Oluwafemi                   3     A. Yes.
4 Charles applied, didn't ECFMG question whether it            4     Q. I think my question to you was, it appears
5 was just a rearrangement of names or not?                    5 to me -- I'm sorry.
6           MS. MCENROE: Objection to form.                    6        Would you agree with me that ECFMG
7     A. I would have to go back to the application            7 realized within a short period of time after this
8 and look.                                                    8 March 18, 2002 application was filed that this
9 BY MR. VETTORI:                                              9 person using the name Charles Igberase Oluwafemi was
10 Q. Well, we know from one of your letters                   10 really the person certified under number
11 that you said the reason why you didn't make that           11 0482700-2?
12 determination when the application, the second              12 A. Yes.
13 application was filed, that is the one by                   13 Q. And so you wrote a letter on July 22,
14 Mr. Charles or Dr. Charles was because his date of          14 2002, to someone by the name of Charles Igberase
15 birth was different and the order of his name was           15 Oluwafemi, correct?
16 different, correct? You remember that letter?               16 A. Yes.
17 A. Yes, yes, yes.                                           17 Q. His application had not referenced any
18 Q. So you thought they were two different                   18 identification or certification number, had it?
19 people, even though the names were similar, they            19 A. Yes.
20 were in a different arrangement; isn't that                 20 Q. Yes, it had not?
21 correct?                                                    21 A. That is correct.
22          MS. MCENROE: Objection to form.                    22 Q. But you referenced the 0482700-2
23 A. That would be correct, yes.                              23 certification number, correct?
24 BY MR. VETTORI:                                             24 A. Correct.
25 Q. I'm just curious why there's not a diploma               25 Q. And that was the one assigned to Igberase
                                                          78                                                             80
1 with the names ordered Igberase Oluwafemi Charles?           1 who had applied in 1992, correct? I think it's
2           MS. MCENROE: Objection to form.                    2 Exhibit 2.
3 Asked and answered.                                          3     A. Yes.
4 BY MR. VETTORI:                                              4     Q. So would I be incorrect in assuming that
5     Q. Can you tell me why?                                  5 that meant that ECFMG had concluded that the person
6     A. I don't.                                              6 holding certificate 0482700-2 and this individual by
7     Q. But that never raised a question with                 7 the name of Charles Igberase Oluwafemi were one and
8 ECFMG?                                                       8 the same?
9           MS. MCENROE: Objection to form.                    9     A. That was our suspicion, yes.
10 Asked and answered.                                         10 Q. Again, in your letter you recite the
11 A. I couldn't answer that.                                  11 history of ECFMG's involvement with Igberase and
12          (Exhibit No. 19 marked for                         12 Charles ad nauseam. I'm sorry, that wasn't a
13 identification.)                                            13 criticism. You recite all that again?
14 A. I completed reviewing this document.                     14 A. There's a history, yes.
15 BY MR. VETTORI:                                             15 Q. Thank you. And then you discussed the
16 Q. Okay. Let me see if I can put this back                  16 application filed by this Charles Igberase Oluwafemi
17 into the context where I was reading from a letter I        17 on March 18, 2002, and you tell him to write ECFMG
18 hadn't shown to you.                                        18 immediately to explain the reason why he indicated
19       So if you recall, Mr. Kelly, someone by               19 on his application received on March 18, 2002, that
20 the name of Charles Igberase Oluwafemi filed an             20 he had not previously submitted an application to
21 application with ECFMG to take certain medical              21 ECFMG when, in fact, he had previously submitted an
22 examinations on March 18, 2002. We've established           22 application and taken examinations, correct?
23 that.                                                       23 A. Yes.
24 A. Yes.                                                     24 Q. I apologize for the confusion, sir. So
25 Q. And although we couldn't read the date                   25 I'm sorry. Can we pull the November 12th letter
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1 now?                                                    1 from the medical licensing authority, and after full
2     A. (Complies.)                                      2 disclosure to such authority of events that led to
3            MS. MCENROE: Exhibit 17.                     3 the bar.
4            MR. VETTORI: Thank you.                      4     Q. Thank you. Do you have any personal
5 BY MR. VETTORI:                                         5 knowledge or is your memory refreshed at all with
6     Q. This is your letter?                             6 respect to whether anybody by the name of Igberase
7     A. Yes.                                             7 or Charles ever received a medical license in
8     Q. It's Bates 0003471-3472; is that                 8 Maryland?
9 correct?                                                9     A. I have no knowledge of that.
10 A. Yes.                                                10           MR. VETTORI: This would be a good
11 Q. And is this advising a gentleman with the           11 time to take a break.
12 last name Charles that he's barred permanently from    12           MS. MCENROE: Great.
13 admission to all ECFMG examinations and from ECFMG     13           (Recess taken at 12:00 p.m.)
14 certification?                                         14           (Back on the record at 12:25 p.m.)
15 A. Yes.                                                15 BY MR. VETTORI:
16 Q. Thank you.                                          16 Q. Just one clean-up question with respect to
17           (Exhibit No. 20 marked for                   17 the subject we've been talking about.
18 identification.)                                       18        I know that when we looked at Exhibit 20,
19 BY MR. VETTORI:                                        19 the last letter you have there, the USMLE discusses
20 Q. Mr. Kelly, I'm going to give an                     20 the fact that any USMLE transcripts or any third
21 opportunity to review it as thoroughly as you want,    21 party submitted to you or any third party will
22 but just for the record let's establish that this      22 include this annotation, in other words, the action
23 letter is Bates number 0000348 through 351. It's a     23 that they have taken.
24 letter dated June 17, 2003, to Charles Igberase        24        But my question is: Would it have been
25 Oluwafemi referencing the number 0482700-2 from        25 ECFMG's practice in this June 2003 period to notify
                                                    82                                                              84
1 Susan Deitch, Office of the USLME secretary, with a     1 any organizations or regulatory authorities about
2 copy to ECFMG. Do you see that?                         2 the action with respect to Igberase and Charles?
3     A. Yes.                                             3     A. All findings of irregular behavior were
4     Q. Do you have any recollection, either             4 reported to a host of different organizations and
5 independently or from your review of records in this    5 agencies.
6 case, of having seen this letter?                       6     Q. So do you remember seeing any documents to
7     A. Yes.                                             7 that effect in your review in preparation for this
8     Q. And now take as much time as you want to         8 deposition?
9 look at it or whenever you're ready my question is      9     A. I remember seeing a notification.
10 going to be: What was the gist of this letter?         10 Q. With respect to Igberase and --
11          MS. MCENROE: Objection to form.               11 A. I don't know who it was for, but I think
12    A.  The  gist of this letter is that the USMLE      12 it's for --
13 had received the information from ECFMG's finding of   13 Q. I'm getting way ahead of myself. So you
14 irregular behavior and specifically July 22, 2002      14 weren't with ECFMG when the individual with the last
15 letter Exhibit 19. They had reviewed that material     15 name Akoda pled guilty to certain criminal offenses,
16 and separately determined that the individual had      16 correct?
17 engaged in irregular behavior and took certain         17 A. I believe I was not, yeah.
18 actions.                                               18 Q. Well, that was October 2016. I think you
19 BY MR. VETTORI:                                        19 told us you had left in 2015?
20 Q. What actions did they take?                         20 A. That is correct.
21 A. They annotated the USMLE record and said            21 Q. And so you weren't with ECFMG in December
22 there was an annotation that he engaged in irregular   22 of 2016 when Karen Corrada -- do you know her?
23 behavior and barred him from taking future             23 A. Yes.
24 administrations of USMLE, suspension of the bar to     24 Q. Was she working at ECFMG when you were
25 be considered at such time as a request is received    25 there?
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1     A. Yes.                                                 1 look at it for a moment and then I'm going to ask
2     Q. So you weren't at ECFMG in December of               2 you a question about it.
3 2016 when Karen Corrada wrote to this gentleman by          3     A. (Complies.) Okay.
4 the name of Akoda and indicated that the report of          4     Q. So this is dated March 1, 2017, and I
5 the revocation of the standard ECFMG certificate --         5 think we've already agreed that you weren't with
6 I'm sorry. That ECFMG would report the revocation           6 ECFMG at the time?
7 of his ECFMG certificate to the Federation of State         7     A. That's correct.
8 Medical Boards, US State and International Medical          8     Q. So you don't know what information is
9 Licensing Authorities, the Records of Graduate              9 contained on the other pages of this document,
10 Medical Education Programs, and to any other               10 obviously?
11 organization or individual who in the judgment of          11 A. That is correct.
12 ECFMG has a legitimate interest in such                    12 Q. Have you even seen this document before?
13 information?                                               13 A. No.
14 A. I was not there.                                        14          MR. VETTORI: Let's mark it as 23
15 Q. Do you know whether the organizations or                15 anyway.
16 bodies that I just referenced in her letter are the        16          (Exhibit No. 23 marked for
17 ones you were talking about with respect to                17 identification.)
18 notification that would have been --                       18 BY MR. VETTORI:
19 A. That was our procedure.                                 19 Q. So tell us what Exhibit 23 is.
20           MS. MCENROE: Let him finish.                     20 A. It is a photocopy of an application for a
21           MR. VETTORI: He's good. That's the               21 USMLE examination.
22 first time it happened.                                    22 Q. By whom?
23 BY MR. VETTORI:                                            23 A. The name on the application is John Nosa
24 Q. Those are the organizations that would                  24 Akoda.
25 have received notice about Igberase?                       25 Q. A-K-O-D-A. It appears to me that it's
                                                         86                                                            88
1      A. Yes.                                                1 dated January 3, 1996. Can you confirm that?
2      Q. But again, do you remember any notices              2     A. That appears to be the receipt date,
3 other than the one I just referenced in your                3 yes.
4 review?                                                     4     Q. Right. Does it list a Social Security
5           MS. MCENROE: Objection to form.                   5 number?
6      A.  No, I don't recall.                                6     A. There is none listed on there.
7 BY MR. VETTORI:                                             7     Q. What is the date of birth? Second page.
8      Q. So let me ask it a little different way.            8     A. January 1, 1959.
9 Did you review this December 19, 2016 letter that           9     Q. And does this applicant, John Nosa Akoda,
10 Karen Corrada wrote?                                       10 indicate what medical school he attended?
11 A. No.                                                     11 A. Yes.
12          MS. MCENROE: Can you mark that or do              12 Q. Which one?
13 you want --                                                13 A. University of Benin, Nigeria.
14          MR. VETTORI: I can, if you want me                14 Q. Does he indicate when he graduated?
15 to.                                                        15 A. He does not list the degree date. He
16          MS. MCENROE: Just for purpose of the              16 lists his attendance dates.
17 record of what it was he did not review.                   17 Q. What are the attendance dates?
18          (Exhibit No. 21 marked for                        18 A. October '81 to October '87.
19 identification.)                                           19 Q. If you look at Bates page 40705, which I
20          (Exhibit No. 22 marked for                        20 think is the third page of the application, part C.
21 identification.)                                           21 A. Yes.
22 BY MR. VETTORI:                                            22 Q. There is a photograph attached or there is
23 Q. So Mr. Kelly, before you look at it I'm                 23 a photograph on that page; is there not?
24 telling you this is an incomplete document. This is        24 A. It appears to be a photograph.
25 just page 1 of a multiple page document. Take a            25 Q. Isn't that a requirement of all
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1 applications, that they attach a photograph?                 1     A. I believe he has it on the wrong line, but
2            MS. MCENROE: Objection to form.                   2  that appears to be what he meant.
3     A. That is, yes.                                         3     Q. And I think this is dated August 30, 1996.
4 BY MR. VETTORI:                                              4 Can you verify or deny that?
5     Q. And doesn't that photograph have to be                5     A. The received date appears to be August 30,
6 verified by the dean of the medical school?                  6 1996, yes.
7            MS. MCENROE: Objection to form.                   7     Q. And on this application he indicates that
8     A.  It does not have to be.                              8  he has applied previously for examination,
9 BY MR. VETTORI:                                              9 correct?
10 Q. What was the procedure in 1996 at ECFMG                  10 A. He has checked the yes box, yes.
11 with respect to the verification of a photograph on         11 Q. Is this identification number the same as
12 an application?                                             12 his identification number on Exhibit 23?
13 A. I don't recall.                                          13 A. I can't say for the last digit, but it
14 Q. So in section B1, down towards the bottom,               14 appears to be, yes.
15 the form says, "Explain in the space below why the          15 Q. Again, no Social Security number,
16 application could not be signed in the presence of          16 correct?
17 your medical school dean, vice dean, or register --         17 A. None listed, correct.
18 any registrar. Any explanation must be acceptable           18 Q. The rest of the information is the same?
19 to ECFMG and must be provided each time you submit          19 A. I would have to compare them.
20 an application to ECFMG."                                   20 Q. Do a quick comparison as of the dates of
21       Do you see that?                                      21 attendance and medical school, the name of the
22 A. Yes.                                                     22 medical school, his birth date.
23 Q. And the handwritten answer was "because                  23          MS. MCENROE: Can we do them one at a
24 the postal system to Nigeria could not be guaranteed        24 time because some of the things are different, his
25 within the available time." Did I read that                 25 address is different. What is it that you want him
                                                          90                                                             92
1 correctly?                                                   1 to compare?
2     A. That's what I read as well.                           2 BY MR. VETTORI:
3     Q. Okay. So when did ECFMG require                       3     Q. So is this the same applicant that applied
4 verification of the photo and when did it not in             4 in Exhibit 23?
5 1996, if you recall?                                         5            MS. MCENROE: Objection to form.
6           MS. MCENROE: Objection to form.                    6  BY  MR.   VETTORI:
7     A. I don't recall.                                       7     Q. If you know.
8 BY MR. VETTORI:                                              8     A. It appears to be, yes.
9     Q. Also on this application John Nosa Akoda              9     Q. And if you look at page 000645, the last
10 indicates that he's never submitted an application          10 page there is a -- I'm sorry, the next to last page,
11 to ECFMG for any examination, correct?                      11 there is a photograph?
12 A. That is correct.                                         12 A. Yes.
13          MR. VETTORI: What number was this?                 13 Q. And does that have a -- some kind of a
14          MS. MCENROE: 23.                                   14 stamp or symbol of the dean of college in
15          MR. VETTORI: Thank you.                            15 medicine?
16          (Exhibit No. 24 marked for                         16 A. It appears to be, yes.
17 identification.)                                            17 Q. And are you familiar with that kind of a
18 A. Okay.                                                    18 stamp or were you then?
19 BY MR. VETTORI:                                             19 A. I don't recall.
20 Q. So what is Exhibit 24?                                   20 Q. So what, if anything, was ECFMG's practice
21 A. It is a photocopy of an application for                  21 in 1996 to verify that the person in effect stamping
22 USMLE.                                                      22 this picture is, in fact, an authorized
23 Q. By the same John Nosa Akoda?                             23 representative of the university?
24 A. John Akoda, yes.                                         24 A. In 1996 I don't recall.
25 Q. Doesn't it say the middle name is Nosa?                  25 Q. Do you recall what the procedure was at
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1 any time while you were employed by ECFMG?                   1     A. Yes.
2     A. Yes.                                                  2     Q. And the middle name on the diploma is
3     Q. What?                                                 3 Enosekhare, E-N-O-S-E-K-H-A-R-E, correct?
4     A. You would check the name and the seal                 4     A. Yes.
5 against samples in the reference library, in the             5     Q. And Akoda is the same on both, correct?
6 credential reference library.                                6     A. Yes.
7     Q. But you don't know when that was?                     7     Q. Do you know if ECFMG verified this
8     A. No.                                                   8  diploma?
9     Q. You don't know if that reference library              9     A. I do not know.
10 was utilized in the 1996 time period?                       10 Q. Do you know whether John Nosa Akoda was
11 A. I don't recall.                                          11 ever certified by ECFMG?
12 Q. Does it appear to you that the dates of                  12 A. My recollection is that he was.
13 attendance at the University of Benin are the same          13          MR. VETTORI: Off the record.
14 on Exhibits 24 and 23?                                      14          (Discussion off the record.)
15 A. Yes.                                                     15          (Exhibit No. 26 marked for
16 Q. From your review of the many records in                  16 identification.)
17 preparation for this deposition or from your                17 BY MR. VETTORI:
18 independent personal knowledge, do you know why this        18 Q. So Mr. Kelly, what is this document?
19 occurred, the individual applied once, didn't take          19 A. It -- to me it's got a photocopy of an
20 any exams and then applied again?                           20 ECFMG certificate.
21 A. No, I don't know.                                        21 Q. Are you familiar with this form of
22 Q. You don't remember?                                      22 document?
23          MS. MCENROE: I'm just going to -- he               23 A. Yes.
24 stated he didn't remember, but I think testified he         24 Q. So would I be correct in stating that when
25 didn't know.                                                25 an applicant is certified, they receive one of
                                                          94                                                         96
1      A. I don't know why.                                    1 those -- a document like this?
2 BY MR. VETTORI:                                              2     A. Yes.
3      Q. Did you ever know why?                               3     Q. So should there be somewhere in the files
4      A. I don't recall.                                      4 of ECFMG a copy of a similar certificate for
5            (Exhibit No. 25 marked for                        5 somebody by the name of Igberase and somebody by the
6  identification.)                                            6 name of Charles, if you know?
7 BY MR. VETTORI:                                              7           MS. MCENROE: Objection.
8      Q. Can you tell us what Exhibit 25 is?                  8     A. It was not our procedure to have physical
9      A. It appears to be a photocopy of a medical            9 copies of certificates, just a record of when it was
10 diploma.                                                    10 issued. We didn't keep actual copies.
11 Q. For whom?                                                11          MR. VETTORI: So off the record.
12 A. The name on it is Johnbull, middle name,                 12          (Discussion off the record.)
13 I'll spell it, E-N-O-S-A-K-H-A-R-E, last name,              13 BY MR. VETTORI:
14 Akoda.                                                      14 Q. So is it your testimony that when ECFMG --
15 Q. And would you agree with me that that name               15 the practice of ECFMG was to issue a certificate
16 is different than the name on Exhibit 24, the               16 like Exhibit 26 to the certified IMG, but not keep a
17 application to take certain exams?                          17 copy of that certificate?
18 A. There is a difference in the name, yes.                  18 A. That is correct.
19 Q. So the application is John, first name,                  19 Q. I think you added something that I sort of
20 correct?                                                    20 didn't pay any attention to and I should have.
21 A. Yes.                                                     21          You would have made some notation in
22 Q. The diploma is Johnbull, correct?                        22 your records that the person had been certified?
23 A. Yes.                                                     23 A. In the person's ECFMG record would be an
24 Q. The middle name on the application is                    24 indication when this certificate was issued and that
25 Nosa, correct?                                              25 they were certified.
                                              PLANET DEPOS
                                 888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                          JA350
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                                         Transcript of William C. Kelly                              25 (97 to 100)

                                         Conducted on August 20, 2019
                                                     97                                                             99
1      Q. When you say, "in the record," you mean as      1 BY MR. VETTORI:
2  part of their computer program, profile, whatever      2     Q. I'm going to ask you about that later
3 you call it?                                            3 again, but thank you very much.
4      A. Yes, and if I can just interject, at this       4           (Exhibit No. 28 marked for
5 time perhaps also in their paper file. We keep          5 identification.)
6 paper file paper records.                               6     A. I reviewed it.
7            (Exhibit No. 27 marked for                   7 BY MR. VETTORI:
8  identification.)                                       8     Q. This is another copy of a portion of the
9 BY MR. VETTORI:                                         9 computer program relating to this guy Akoda?
10 Q. Let me know when you're finished reading            10 A. I'm looking for the name. I don't see the
11 it.                                                    11 name of the candidate on it, but it's a screen, it's
12 A. I'm finished reading it.                            12 a print of a screen print from one of these ECFMG
13 Q. So what is this document?                           13 programs. I don't see a name. I can barely make
14 A. I know what I believe it to be. This is a           14 out an ID number, though.
15 photocopy of a section of one of the ECFMG internal    15 Q. I can tell you, if I'm reading this
16 software applications listing various components of    16 accurately, the user ID number is the same on the
17 an individual's record with ECFMG.                     17 previous exhibit.
18 Q. Part of a computer program?                         18 A. What do you mean user ID?
19 A. Yes, it's a printout of one of the                  19          MS. MCENROE: The USLME.
20 screens.                                               20    A.  The  USMLE ID?
21 Q. So if you wanted to know when someone's             21 BY MR. VETTORI:
22 certificate was issued, you would go into your         22 Q. USMLE ID, the 553 --
23 computer program under his name or his                 23 A. 055332585?
24 identification number or hers and punch in             24 Q. Correct.
25 certificate information?                               25 A. So this would be the exam history.
                                                     98                                                             00
1      A. You can access it a number of different         1     Q. So it's titled -- I'm sorry. The heading
2 ways.                                                   2 on the top of this form is ECFMG applicant
3      Q. But this document confirms that Akoda's         3 information management system V2. What is it? Is
4 certificate was issued August 18, 1987, correct?        4 that the computer program that's used?
5      A. It does have that issue date. Yes.              5     A. Yes.
6      Q. Okay.                                           6     Q. That's like the universal program for all
7      A. 1997.                                           7 of these?
8      Q. And I think I know this answer, but it          8     A. It's one of the programs.
9 will save me asking questions later. So there is a      9     Q. And what this document reflects is when
10 section on here that says English pass date            10 the individual named Akoda passed step one, the
11 8/28/1996. Do you see that?                            11 English exam, and step two, correct?
12 A. Yes.                                                12 A. I don't know when this was -- this screen
13 Q. Valid through 9/1/1998. What does that              13 print was -- you know, when the screen was done, but
14 mean?                                                  14 at the time it was done, that would have been -- it
15 A. At this time a passing performance on the           15 looks like they checked the entire exam history. It
16 English test had a limited period of time of           16 would show, yes.
17 validity during which time the holder of the           17          (Exhibit No. 29 marked for
18 certificate had to start a residency program. And      18 identification.)
19 if he or she then started the residency program and    19 A. Okay, I read it.
20 provided documentation, it would -- that expiration    20 BY MR. VETTORI:
21 date would be removed and it becomes valid             21 Q. This is another screen shot from the same
22 indefinitely. If they did not, they were required      22 program?
23 to take the English test.                              23 A. I actually think it's a different program,
24          MR. VETTORI: Off the record.                  24 but it's an ECFMG program. This one I think is the
25          (Discussion off the record.)                  25 verification information processing of electronic
                                             PLANET DEPOS
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                            Monique

 1               IN THE UNITED STATES DISTRICT COURT
 2          FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 3

 4     - - - - - - - - - - - - - - - - X
 5     MONIQUE RUSSELL, JASMINE                      :
 6     RIGGINS, ELSA M. POWELL                       :
 7     and DESIRE EVANS,                             : Civil Action No.
 8                         Plaintiffs,               :   18-5629
 9     v.                                            :
10     EDUCATIONAL COMMISSION FOR                    :
11     FOREIGN MEDICAL GRADUATES,                    :
12                         Defendant.                :
13     - - - - - - - - - - - - - - - - X
14

15          Videotaped Deposition Of MONIQUE RUSSELL
16                            Washington, D.C.
17                     Monday, September 16, 2019
18                                  1:51 p.m.
19

20

21     Job No. 88394
22     Pages:     1 - 136
23     Reported by:        Dana C. Ryan, RPR, CRR, CSR (GA)
24

25

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 2                                                         2 EXAMINATION OF MONIQUE RUSSELL:                    PAGE:
 3                                                         3 By Mr. Shaffer                        7
 4                                                         4 By Mr. Zajdel                        133
 5                     September 16, 2019                  5
 6                     1:51 p.m.                           6
 7                                                         7
 8                                                         8             EXHIBITS
 9                                                         9       (Attached to the Transcript)
10       Videotaped Deposition of MONIQUE RUSSELL,        10 RUSSELL DEPOSITION                         PAGE:
11   held at the law offices of Morgan, Lewis &           11 Exhibit 1   Screenshot Of A July 2017      16
12   Bockius, LLP, 1111 Pennsylvania Avenue, Northwest,   12         Facebook Messenger Messaging
13   Washington, D.C., before Dana C. Ryan, Registered    13         Stream Between Jasmine
14   Professional Reporter, Certified Realtime            14         Riggins And Monique Russell
15   Reporter, Certified Shorthand Reporter (GA) and      15 Exhibit 2   May 14, 2016 Prince George's    87
16   Notary Public in and for the District of Columbia.   16         Hospital Center Report, Bates
17                                                        17         Stamped Plaintiffs0000001082
18                                                        18 Exhibit 3   May 14, 2016 Prince George's    89
19                                                        19         Hospital Center Social
20                                                        20         History Report Of Monique
21                                                        21         Russell, Bates Stamped
22                                                        22         Plaintiffs0000001123 Through
23                                                        23         0000001131
24                                                        24
25                                                        25

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 1           APPEARANCES                                   1
 2                                                         2       EXHIBITS CONTINUED
 3      ON BEHALF OF THE PLAINTIFFS:                       3        (Attached to the Transcript)
 4        CORY L. ZAJDEL, Esquire                          4   RUSSELL DEPOSITION                     PAGE:
 5        Z Law, LLC                                       5   Exhibit 4 Medical Records From Major       91
 6        2345 York Road, #B-13                            6           Medical, LLC, For Monique
 7        Timonium, Maryland 21093                         7           Russell, Bates Stamped
 8        Telephone: (443) 213-1977                        8           Plaintiffs0000118654 Through
 9        Email: clz@zlawmaryland.com                      9           0000118679
10                                                        10   Exhibit 5 June 27, 2017 Facebook Post    105
11      ON BEHALF OF THE DEFENDANT:                       11           By Monique Russell To The
12        BARRY W. SHAFFER, Esquire                       12           MaMa Sisterhood Of Prince
13        MATTHEW D. KLAYMAN, Esquire                     13           George's County Facebook
14        Morgan, Lewis & Bockius, LLP                    14           Group
15        1701 Market Street                              15   Exhibit 6 Stipulation Of Dismissal    113
16        Philadelphia, Pennsylvania 19103                16           Without Prejudice, Bates
17        Telephone: (215) 963-5100                       17           Stamped Plaintiffs0000118860
18        Email: barry.shaffer@morganlewis.com            18           Through 0000118863
19        Email: matthew.klayman@morganlewis.com          19   Exhibit 7 Plaintiff Monique Russell's  116
20                                                        20           Responses To Defendants'
21      Also present:                                     21           Requests For Admission
22         David Campbell, Videographer                   22
23                                                        23
24                                                        24
25                                                        25


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 1            PROCEEDINGS                                        1           The oath that you just took from the
 2          THE VIDEOGRAPHER: We are now on the                  2   court reporter is the same one that you would take
 3   record. My name is David Campbell, and I am a               3   in a court of law before a judge and a jury.
 4   videographer for Golkow Litigation Services.                4           Do you understand that?
 5   Today's date is September 16th, 2019, and the time          5       A Yes, I do.
 6   is 1:51 p.m. This deposition is being held at               6       Q And the court reporter sitted to my --
 7   1111 Pennsylvania Avenue, Northwest, Washington,            7   seated to my left is taking down my questions and
 8   D.C. 20004.                                                 8   your answers into a little booklet that will be
 9          This is in the matter of Monique                     9   transcribed, and you'll have the opportunity to
10   Russell, et al., versus Educational Commission for         10   review after we complete the deposition today.
11   Foreign Medical Graduates. This is in the United           11           Do you understand that?
12   States District Court for the Eastern District of          12       A Yes.
13   Pennsylvania, number 18-5629.                              13       Q And, so, because she's going to be
14          The deponent is Monique Russell. The                14   taking down the questions and the answers, it's
15   court reporter is Dana Ryan.                               15   important that we try not to talk over top of each
16          Counsel, will you please identify                   16   other because she can't take us both down at the
17   yourselves for the record, and then the court              17   same time.
18   reporter will please swear in the witness and we           18           I'll try to do that on my part. Will
19   can proceed.                                               19   you -- will you do the same?
20          MR. ZAJDEL: Cory Zajdel on behalf of                20       A Yes.
21   the plaintiff.                                             21       Q We also have a videographer here who's
22          MR. SHAFFER: Brian Shaffer on behalf                22   taking the deposition on video so that we'll be
23   of the Educational Commission for Foreign Medical          23   able to see the questions and answers as well.
24   Graduates.                                                 24   But even so, the court reporter -- it's hard for
25          MR. KLAYMAN: And Matthew Klayman for                25   her to take down nonverbal responses. So a shake
                                                       Page 7                                                   Page 9
 1 the defendant the Educational Commission for                  1   of the head, we might be able to see it on the
 2 Foreign Medical Graduates.                                    2   video, but it might not be clear on the
 3     EXAMINATION BY COUNSEL FOR THE DEFENDANT                  3   transcript. And, so, if I ask you for an audible
 4      BY MR. SHAFFER:                                          4   response or if I repeat your answer to make sure
 5      Q     Good afternoon, Ms. Russell.                       5   that I heard it correctly, that's why I'm doing
 6      A     Good afternoon.                                    6   it, so that the court reporter can take down the
 7      Q     We met briefly before we started here              7   questions and answers as best she can.
 8 today. My name is Brian Shaffer, and I'm a lawyer             8            Is that understood?
 9 represent -- representing the Educational                     9       A Yes.
10 Commission for Foreign Medical Graduates,                    10       Q This is not an endurance contest. If
11 sometimes known at ECFMG. We're here to take your            11   you need to take a break at any point in time, use
12 deposition in connection with a lawsuit that you             12   the facilities, talk to your counsel, that's fine.
13 have filed against ECFMG.                                    13   Just let me know and we'll -- we'll go ahead and
14          Will you understand that that's who I'm             14   do that, okay?
15 referring to if I use those initials?                        15       A Okay.
16      A     Yes, I do.                                        16       Q There may be questions that I have to
17      Q     Great.                                            17   ask you today that relate to subjects of a
18          Have you had your deposition taken                  18   personal nature, and I'm not trying to pry or do
19 before?                                                      19   anything other than get facts that I need to have
20      A     I don't think so.                                 20   to understand the basis for the lawsuit, and
21      Q     Okay. I'll give you a few basic ground            21   that's why I'm asking those questions, okay?
22 rules --                                                     22       A Okay.
23      A     Okay.                                             23       Q If at any time you don't understand my
24      Q     -- to hopefully make this go as                   24   question or didn't hear my question and want me to
25 smoothly as possible here today.                             25   repeat it or rephrase it, just let me know, and

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 1   either the court reporter will read it back to you    1   meetings.
 2   or I'll try again to do a better job of asking my     2       Q And when you say the two schools, there
 3   question, okay?                                       3   are two separate schools in Costa Rica?
 4       A Okay.                                           4       A No, they call them schools. Country
 5       Q Are you on any medication today that            5   Day School is a campus that goes from early
 6   would affect your ability to remember things or to    6   childhood to high school, and so there are four
 7   testify truthfully?                                   7   schools, the early childhood, elementary, middle
 8       A No.                                             8   and high school, and I work with the two lower
 9       Q Okay. As you sit here today, can you            9   schools.
10   think of any reason why you couldn't testify         10       Q And are you in Costa Rica by yourself,
11   truthfully and answer questions to the best of       11   or is your family with you?
12   your ability?                                        12       A My family is with me.
13       A No.                                            13       Q And who is that that's with you there?
14       Q Okay. Do you have any questions for me         14       A My husband and my son.
15   before we start?                                     15       Q Okay. And your husband's name is?
16       A Not at this time.                              16       A Christopher William Russell.
17       Q Okay. Can you give me your full name,          17       Q Okay. And how old is he?
18   please?                                              18       A He is -- how old am I? -- 46.
19       A Sure. My name is Monique Melissa               19       Q And your son?
20   Russell.                                             20       A Is Luka.
21       Q Okay. And your date of birth?                  21       Q Okay. And how old is Luka?
22       A July 16th, 1977.                               22       A Three.
23       Q And what's your current address?               23       Q Okay. And was Luka born or May 25th,
24       A In the States, it is 1906 Beeches Glory        24   2016?
25   Path, Annapolis, Maryland 21401, but I am            25       A Yes.
                                               Page 11                                                  Page 13
 1   currently residing in Costa Rica on a two-year        1      Q Okay. Do you have any other children?
 2   contract.                                             2      A No.
 3       Q Okay. And when did you start your time          3      Q And how long have you been married?
 4   in Costa Rica?                                        4      A For five years in October.
 5       A On August of last year.                         5      Q Okay. And you are here in Washington,
 6       Q So August of 2018?                              6   D.C. today having returned from Costa Rica;
 7       A Yes.                                            7   correct?
 8       Q And when are you scheduled to return            8      A Yes, I flew from Costa Rica.
 9   completely from the two-year contract? August of      9      Q Okay. And when did you arrive here in
10   '20?                                                 10   Washington?
11       A I'm in the second year of my two-year          11      A Last night.
12   contract.                                            12      Q Okay. And what, if anything, have you
13       Q And who is the contract with?                  13   done to prepare to come and testify here today in
14       A Country Day School.                            14   this deposition?
15       Q And what job are you doing in Costa            15      A I reviewed my interrogatories and the
16   Rica for them?                                       16   paperwork of the course --
17       A I'm the curriculum coordinator for the         17      Q Uh-huh.
18   early childhood and elementary schools.              18      A -- of the case, but that's about it.
19       Q And what is your responsibilities in           19      Q Okay. You -- you have filed, as I
20   that job?                                            20   understand it, two different lawsuits related to
21       A I work with the principals of both             21   your interactions with a Dr. Charles Akoda;
22   schools on alignment of curriculum from              22   correct?
23   prekindergarten to fifth grade, and provide          23      A Yes.
24   training and professional development to all of      24      Q Did you review materials related to
25   the teachers and work with them in planning          25   both of those cases before coming in to testify

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 1   today, or just the case against ECFMG?                1      A Yes.
 2       A Just this case.                                 2      Q Okay. Let's mark this and just make
 3       Q Okay. And did you talk with your                3   sure we understand what it is.
 4   counsel to prepare for the deposition today?          4          (Russell Deposition Exhibit 1 was
 5       A Yes.                                            5   marked for identification and attached to the
 6       Q When did you do that?                           6   transcript.)
 7       A At lunch.                                       7      BY MR. SHAFFER:
 8       Q Today before coming in; correct?                8      Q I'm going to hand this to you. This is
 9       A Yes.                                            9   a printout of some screenshots, I believe, from
10       Q And that's Mr. -- it's Cory sitting            10   your phone or your computer; is --
11   next to me; correct?                                 11      A Yes.
12       A Yes.                                           12      Q -- that right?
13       Q Did you speak with any other lawyers to        13      A Yes.
14   prepare for your deposition today?                   14      Q And -- well, why don't you tell me in
15       A No. I did email with another lawyer            15   more detail what it is since you -- since you
16   from the team.                                       16   collected it?
17       Q Okay. Did that lawyer provide you any          17      A Sure. These are -- this is the only
18   documents to review or information to review?        18   conversation that I have had with Jasmine Riggins
19           MR. ZAJDEL: Objection. That would be         19   aside from saying hello to each other in the lobby
20   attorney-client privilege.                           20   this morning.
21       BY MR. SHAFFER:                                  21      Q Okay. Ms. Riggins testified on
22       Q Did you review any documents that were         22   Thursday of last week that she believed she had
23   provided to you by your attorneys before coming in   23   conversations or communications with you a month
24   to testify today?                                    24   or so ago.
25       A The same interrogatories that I                25          Is that consistent with your
                                               Page 15                                                      Page 17
 1   mentioned earlier.                                    1   recollection?
 2       Q Okay. Apart from reviewing the                  2      A I don't remember having any
 3   interrogatories, did you do any other research or     3   conversations with her a month ago.
 4   review any other materials before coming in to        4      Q Okay.
 5   testify today?                                        5      A And if I did, then I would think they'd
 6       A No. I'm not sure what . . .                     6   be in this same conversation thread.
 7       Q Like googling Dr. Akoda --                      7      Q Okay. What kind of thread is the
 8       A No.                                             8   document that's Russell 1 in front of you? Is
 9       Q -- or Googling ECFMG or Googling                9   this an app?
10   Dimensions Health Care or anything like that.        10      A This is from Facebook Messenger.
11       A No, I did not.                                 11      Q And I understand from your lawyer that
12       Q Okay. You also provided, I think, to           12   there may be some materials on your Facebook page
13   your lawyers some screenshots of some                13   that relate to Dr. Akoda; is that correct?
14   communications you had with a Jasmine Riggins?       14      A Not on my Facebook page.
15       A Yes, I did.                                    15      Q Okay. A posting of some kind by you
16       Q Okay. And when did you -- when did you         16   that relates to Dr. Russell -- or Dr. Akoda,
17   provide those?                                       17   sorry?
18       A Are you referencing the screenshot             18      A I posted about Akoda in a mommy group
19   that's in front of you?                              19   on Facebook.
20       Q (Indicated affirmative.)                       20      Q Okay. And there is -- what's a mommy
21       A I believe yesterday or the day before.         21   group?
22       Q Okay. And somehow you became aware             22      A A mommy group is a, like, community of
23   that we were asking if there were communications     23   mothers that talk about mom things, like --
24   between you and Ms. Riggins related to any of the    24      Q Uh-huh.
25   allegations regarding Dr. Akoda?                     25      A -- so . . .

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 1       Q And so you posted something on -- on                 1      Q Let's take a quick look at what's been
 2   Facebook in this group and -- about Dr. Akoda, and         2   marked as Russell 1. And I apologize, it's
 3   there have been comments or messages by people             3   oversized, but sometimes when you print
 4   left with respect to this --                               4   screenshots, they get big; and my eyesight is bad
 5       A Yes.                                                 5   anyway.
 6       Q -- posting?                                          6           So does this look to be a complete
 7       A Yes.                                                 7   exchange between you and Ms. Riggins related to
 8       Q And that's what you provided to your                 8   Dr. Akoda?
 9   counsel?                                                   9      A Yes.
10       A Yes.                                                10      Q Okay. Did you have any phone calls
11       Q Okay. And I understand that we're                   11   with Ms. Riggins either as a follow-up to this
12   trying to get a copy of it in here so we can ask          12   exchange or otherwise?
13   you about it.                                             13      A I don't believe so.
14           Apart from that posting in the mommy              14      Q And it looks like the time period here
15   group on Facebook and this (indicating) string            15   for this exchange is July 3rd to July 13th of
16   with Jasmine Riggins, have you had communications         16   2017.
17   in writing with anyone other than your lawyers            17      A Yes, it does look like that.
18   about Dr. Akoda?                                          18      Q And, so, again to just make sure I'm
19       A Only from people who responded to the               19   understanding your testimony, since July 13th of
20   post in the mommy group.                                  20   2017 until this morning, you'd not had any
21       Q Okay. Would you have had similar                    21   communications, interactions, emails,
22   Messenger communications like the one that's              22   messengering, commenting with Ms. Riggins?
23   marked Russell 1 with other women besides                 23      A Not that I know of. This is the only
24   Ms. Riggins?                                              24   way that I would know to communicate with her.
25       A With one other woman.                               25      Q Okay. In your communication with
                                                   Page 19                                                          Page 21
 1       Q Okay. And who is that?                               1   Ms. Riggins, you notified her, among other things,
 2       A I don't know if this is her actual                   2   that you were going to be filing a class action
 3   name --                                                    3   lawsuit against Dimensions Health Care.
 4       Q Uh-huh.                                              4          Do you see that?
 5       A -- but it was Amber -- I think Amber                 5      A Yes.
 6   Loftin.                                                    6      Q And you noted that you have a very
 7       Q And do you still have that                           7   experienced and successful class action lawyer.
 8   communication?                                             8          Do you see that?
 9       A It would be in my inbox -- or in my                  9      A Yes.
10   messages.                                                 10      Q Who were you referring to there?
11       Q Is that something that you could                    11      A I was referring to my counsel, Cory
12   provide to your counsel if we requested it and            12   Zajdel.
13   your counsel agreed to request it from you?               13      Q Okay. And how did you become aware of
14       A Yes.                                                14   Cory?
15           MR. SHAFFER: Counsel, we'll make a                15      A A friend referred me to him.
16   request if the person with whom she's referencing         16      Q Okay. And did you ever have
17   is a putative class member, we'll make a request          17   communications with Ms. Riggins at her Yahoo email
18   for production of that communication.                     18   address that's referenced on the fourth page of
19           MR. ZAJDEL: Yeah. Sure. Do you know               19   your screenshot?
20   how to spell the name that you said?                      20      A No, I did not.
21           THE WITNESS: I believe it would be                21      Q Let me ask a couple more background
22   L-O-F-T-I-N.                                              22   questions. So in Costa Rica, is Lukao in school?
23           MR. ZAJDEL: Okay. We'll take a look               23      A Yes, he is.
24   for it.                                                   24      Q Okay.
25       BY MR. SHAFFER:                                       25      A Luka.

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 1      Q    Luka with an A?                                  1      Q And what kinds of things do you like to
 2      A    Yes.                                             2   do on the weekends?
 3      Q    Okay. I apologize for that.                      3      A Walk, go to parks.
 4          Who takes care of him when he's not in            4      Q And where in -- I should have asked
 5   school?                                                  5   this earlier. Where in Costa Rica do you -- is
 6       A His father.                                        6   the school and where do you live?
 7       Q Okay. And is your father -- is your                7      A We're located just outside of San Jose.
 8   husband working outside of taking care of Luka?          8      Q Is that one of the larger cities in
 9       A He returns to the States to work                   9   Costa Rica?
10   periodically.                                           10      A Yes, it's the capital.
11       Q Okay. What does he do?                            11      Q Okay. And your position is a two-year
12       A He's a musician and a deejay.                     12   contract, you said?
13       Q Okay. Does he go by a name that I                 13      A My position is a one-year contract.
14   would know?                                             14      Q Okay.
15       A Ty Hussell.                                       15      A I'm in the middle of a two-year
16       Q Ty Hussell, I'll have to look that one            16   contract. I was hired as a teacher and promoted.
17   up.                                                     17      Q Great.
18          Do you have help with child care in              18           And how did you find out about this
19   Costa Rica when your husband is traveling for           19   opportunity?
20   work?                                                   20      A Through a job fair.
21       A Yes.                                              21      Q Okay. And approximately when did you
22       Q Who do you use for that?                          22   apply to or -- or learn about this opportunity?
23       A I use either a friend who is also a               23      A I went to the job fair in February of
24   teacher --                                              24   2018.
25       Q Uh-huh.                                           25      Q Okay. And were you working at that
                                                   Page 23                                                 Page 25
 1       A -- or the assistant teachers in the                1   time?
 2   early childhood program.                                 2      A Yes.
 3       Q And how many hours a week do they                  3      Q And where were you working then?
 4   typically help you with Luka?                            4      A For D.C. Public Schools.
 5       A Maybe once a month for a couple of                 5      Q And what was your position?
 6   hours.                                                   6      A Instructional specialist.
 7       Q Otherwise, you and your husband are                7      Q And was there a particular school that
 8   able to -- to manage coverage?                           8   you were assigned to?
 9       A Yes.                                               9      A No, I worked for the department -- for
10       Q What is your typical day like down                10   the division of early childhood, and I was
11   there?                                                  11   assigned anywhere from three to nine schools at a
12       A I typically get up at -- pretty early             12   time.
13   and walk and do some yoga before I go to work. We       13      Q And how long did you work for the D.C.
14   all get ready. Luka attends the school that I           14   Public Schools?
15   teach at now -- or that I work at.                      15      A For nine years.
16       Q Uh-huh.                                           16      Q And did you have the same position the
17       A I'm not a teacher anymore. And I go to            17   entire time?
18   work from 7:30 to 4:30. Luka gets out at 3:00 so        18      A No, for six years I was a classroom
19   his father picks him up, and then they hang out         19   teacher, and for the last three I was an
20   and do something until I get off. And then we go        20   instructional specialist.
21   home and make dinner and maybe take a walk.             21      Q What -- what grades did you teach when
22       Q Okay. And how much sleep do you                   22   you were a teacher?
23   usually get per night?                                  23      A Prekindergarten.
24       A It depends. Say, typically, six to                24      Q And is that mandatory in the District?
25   seven hours.                                            25      A No.

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 1      Q      Okay. So this was an optional --            1   master's?
 2      A      Encouraged.                                 2       A That's terrible. I don't -- when did I
 3      Q      Correct. Strongly encouraged; right?        3   get married? It was the same year. 2015 -- '14.
 4           Did you have to resign from the D.C.          4   2014.
 5   Public Schools to take this position in Costa         5       Q Okay. That would be five years ago
 6   Rica?                                                 6   which is I think what you --
 7      A Yes.                                             7       A Yes.
 8      Q Okay. And when did you do that?                  8       Q -- said earlier, so you were correct
 9      A Probably in -- in the spring. I don't            9   then.
10   know exactly what day.                               10       A I should be better at math as a
11      Q Spring of 2018?                                 11   teacher.
12      A Yes.                                            12       Q What was your subjects that you would
13      Q And my understanding of the claims that         13   teach? I guess if it was early education, did it
14   you're making in the case against ECFMG is that      14   cover a lot of different topics?
15   you are not seeking any economic damages, loss of    15       A Everything.
16   wages, loss of revenue from jobs or anything like    16       Q And the school that you're at now, is
17   that; is that correct?                               17   it an English-speaking or bilingual or Spanish?
18      A That is correct.                                18       A It is -- it's an English-speaking
19      Q Okay. So then I don't need to ask you           19   school.
20   how much you make and all that kind of thing if      20       Q And is it a private school --
21   you're not going to be saying that you have lost     21       A Yes.
22   money related to any of the allegations that         22       Q -- that people pay to go to in Costa
23   you're making.                                       23   Rica?
24           Do you understand that?                      24       A Yes.
25      A Yes.                                            25       Q Okay. And before you moved to Costa
                                               Page 27                                                 Page 29
 1       Q Okay. Can you give me a little bit of           1   Rica, you lived here in Washington, D.C.?
 2   your educational background?                          2       A Yes, and in Maryland.
 3       A Sure. I studied art education at the            3       Q Okay. Where did you live in Maryland?
 4   University of Maryland, and then got a teacher        4       A In Cheverly, Maryland.
 5   certification in early childhood education through    5       Q And where is that?
 6   the Center for Inspired Teaching. And then did a      6       A It's just over the D.C. line, over the
 7   master's in teaching at Trinity Washington            7   northeast section of the D.C. line.
 8   University.                                           8       Q Okay. And did you live -- did you move
 9       Q When did you graduate from University           9   to -- well, strike that.
10   of Maryland?                                         10          Where did you live after you graduated
11       A 2009.                                          11   from University of Maryland and started working?
12       Q And when did you get your teacher              12       A When I graduated from the University of
13   certification?                                       13   Maryland, I first lived in Takoma Park and then
14       A 2009.                                          14   moved into D.C., I believe in the same school
15       Q Was that contemporaneous with your             15   year.
16   graduation or -- or afterwards?                      16       Q And did you go to work immediately upon
17       A No, it happened afterwards.                    17   graduation to the D.C. Public Schools?
18       Q Okay. How long did it take you to get          18       A Yes.
19   the certification?                                   19       Q And did you work in the summertimes?
20       A I don't know. You get a -- like a              20   Is the D.C. public school calendar one that goes
21   temporary certification first, and then I was        21   through the summer, or did you do something
22   involved in a certification program, so when you     22   different in the summers?
23   finish it, then you get a different type of          23       A When I was an instructional specialist,
24   certification.                                       24   I worked year round.
25       Q Okay. And then when did you get your           25       Q Okay. How about when you were a

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 1   teacher?                                                    1           And I went to his Web site to confirm
 2      A When I was a classroom teacher, I                      2   the spelling of his name, and he wasn't on their
 3   worked ten months. I did not work summers.                  3   Web site anymore. So I went and looked at my
 4      Q Okay. And what did you do during the                   4   paperwork, confirmed the spelling, I looked him up
 5   summers?                                                    5   to see like, maybe he moved somewhere else so that
 6      A Some summers I would work; I would wait                6   wouldn't be an issue for this person. And I
 7   tables.                                                     7   discovered a press release from the Department of
 8      Q Uh-huh.                                                8   Justice saying that he had been arrested for
 9      A Or -- I'm trying to think what other --                9   charges of fraud very shortly after he performed a
10   but jobs like that. One summer I traveled.                 10   C-section on me.
11      Q Okay. Recuperated and got ready for                   11       Q And the physician that you mentioned,
12   the next school year?                                      12   Dr. Waltrop?
13      A Yes.                                                  13       A Waldrop.
14      Q I don't blame you.                                    14       Q Waldrop. That was your OB/GYN?
15           I want to talk a little bit about --               15       A Yes.
16   what do I want to talk about? Strike that.                 16       Q How long -- when did you first start
17           Let me ask you some background                     17   going to see Dr. Waldrop?
18   questions about the lawsuit so I understand                18       A I'm not sure. Maybe three months into
19   what -- what you know and what you're familiar             19   my pregnancy.
20   with.                                                      20       Q And how did you come to start visiting
21           When did you first decide to retain                21   Dr. Waldrop?
22   Mr. Zajdel as your -- as your counsel?                     22       A She was recommended by a woman that I
23      A I don't know exactly what month, but it               23   met on the hospital tour.
24   was probably more than a month after I found out           24       Q Okay. And what hospital was that?
25   about Akoda.                                               25       A P.G. County, Dimensions Hospital.
                                                      Page 31                                                  Page 33
 1       Q And if I understand from your discovery               1      Q And did you have a OB/GYN before
 2   responses in the case, you believe that you found           2   Dr. Waldrop?
 3   out about the fact that Dr. Akoda, who I believe            3      A I had a -- I saw a high-risk
 4   helped deliver your son, Luka, you found out he             4   specialist, but I didn't have a regular OB/GYN.
 5   had pled guilty in June of 2017?                            5      Q Okay. And what was the name of the
 6       A I'm not sure if that's the time, but if               6   high-risk specialist?
 7   that's what your record shows, probably.                    7      A I don't remember. I didn't see that
 8       Q We can go through, and we probably will               8   doctor for the most of my pregnancy.
 9   go through, some of the questions. I'm not trying           9           Dr. Footer, I think.
10   to -- to trick you on that, so . . .                       10      Q F-O-O-T-E-R?
11           Why don't you tell me just generally               11      A Yes. But there are two Dr. Footers.
12   how you came to learn about any issues with                12      Q Okay.
13   Dr. Akoda?                                                 13      A The older Dr. Footer.
14       A Sure. So I -- in the neighborhood                    14      Q And that was -- and, again, I'm not
15   where I lived at the time, there was a parent              15   trying to be overly personal on this. I'm just
16   listserv where people would post recommendations           16   trying to get the information.
17   or ask for advice and things like that. And                17           Were you at high risk because of your
18   someone asked for a recommendation for an OB/GYN.          18   age or because of other conditions?
19   And I wanted to recommend my OB/GYN, Dr. Waldrop,          19      A Yes, primarily because of my age, and I
20   but I wanted to make sure that the person knew if          20   had bleeding at the beginning of my pregnancy, and
21   they went to Dr. Waldrop that there was a chance           21   so they wanted to monitor that.
22   that they would end up having their baby delivered         22      Q And, so, who was it that -- if anyone,
23   with Akoda, and I did not have a good experience           23   that directed you to Dr. Footer as the high-risk
24   with him during the delivery, and so I wanted to           24   specialist?
25   make sure the person was aware of that.                    25      A A coworker.

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 1      Q Okay. So this was someone at the D.C.                1       A From Dr. Moore.
 2   Public Schools who said here's someone to -- to go        2       Q When you -- when you decided to go with
 3   see as a high-risk specialist?                            3   Dr. Waldrop of Dr. Moore's practice as your
 4      A Yes.                                                 4   primary OG -- OB/GYN, what type of research did
 5      Q Okay. And I think you were saying that               5   you do on Dr. Waldrop?
 6   you didn't see Dr. Footer for all that long during        6       A I looked up her -- I looked up reviews.
 7   your pregnancy, but within about the first three          7   I looked her up on different sites where they give
 8   months, you had decided to go see Dr. Waldrop?            8   information about credentials and patient reviews.
 9      A Yes.                                                 9       Q Do you remember what any of those were
10      Q And how did you come to see                         10   called?
11   Dr. Waldrop? That was a recommendation on the            11       A I don't know all of them. I know I
12   hospital tour?                                           12   looked on Yelp because they give patient reviews,
13      A Yes, from another -- another woman in               13   and I think they're pretty honest, but I don't
14   the tour was asking a lot of the same questions          14   know where I looked up her affiliations.
15   that I would be asking, and so she seemed to want        15       Q Okay. Do you know whether you went to
16   the same things in her birth, and I asked her who        16   State of Maryland licensing or credential sites to
17   she -- who her doctor was, and she recommended           17   look up Dr. Waldrop?
18   Dr. Waldrop.                                             18       A No, I did not.
19      Q Okay. I saw references in your                      19       Q Do you know whether you went to the
20   discovery responses to a Dr. Moore?                      20   American Medical Association to look up
21      A Yes.                                                21   Dr. Waldrop?
22      Q Who is Dr. Moore?                                   22       A I may have gone to the American Medical
23      A Dr. Moore owns the practice that                    23   Association.
24   Dr. Waldrop works for and Akoda was working for.         24       Q Okay.
25      Q And -- and is that Moore and                        25       A Or the association for gynecologists.
                                                    Page 35                                                  Page 37
 1   Associates; is that --                                    1       Q Okay. And do you know whether there
 2      A Yes.                                                 2   was information on Dr. Waldrop there?
 3      Q -- how they're known as?                             3       A If there was, I didn't find anything
 4      A Yes.                                                 4   negative.
 5      Q Okay. And did you ever meet Dr. Moore                5       Q Okay. And when you went to meet with
 6   during your pregnancy?                                    6   Dr. Waldrop -- I think you mentioned already you
 7      A I did.                                               7   met with Dr. Moore at least once, perhaps, as
 8      Q Okay.                                                8   well -- did you ever meet with Dr. Akoda?
 9      A I may have been seen by Dr. Moore once.              9       A I did not before I was in labor.
10   I met him for sure, like, just to see -- know who        10       Q Okay. But you understood he was a
11   he was in case he were to deliver my baby, and I         11   member of the practice of Dr. Moore; correct?
12   may have been seen by him once when Dr. Waldrop          12       A Yes, but he did not see patients.
13   wasn't available.                                        13       Q How do you know he didn't see patients?
14      Q Okay. Do you know how many other                    14       A They told me that he did not see
15   doctors besides Dr. Akoda and Dr. Waldrop and            15   patients; that he only assisted them at the
16   Dr. Moore that were in the practice when you were        16   hospital.
17   going there?                                             17       Q Okay. Who told you that?
18      A I believe there were only those three.              18       A Dr. Moore.
19      Q Okay. Did you ever hear of a                        19       Q Okay. And was that after you gave
20   Dr. Chaudry?                                             20   birth to Luka or was that in an earlier meeting
21      A I have heard of him.                                21   while you were --
22      Q And how do you know of Dr. Chaudry?                 22       A That was before.
23      A I believe that Akoda was working for                23       Q Okay. Did you understand from
24   him in a separate practice at the time.                  24   Dr. Waldrop that it was possible that she would
25      Q And how did you come to learn that?                 25   not be available to help you in labor and

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 1   delivery, including a C-section if that were              1 I got dizzy.
 2   necessary?                                                2      Q   Uh-huh. And did you get -- I saw some
 3      A Yes, I did.                                          3 reference in your -- your medical records to an
 4      Q How did you know that?                               4 accommodation from D.C. Public Schools where maybe
 5      A Because Dr. Moore told me that there                 5 you were able to work at home for a period of
 6   were three doctors and that if Dr. Waldrop was not        6 time.
 7   available, that Dr. Moore or Akoda would deliver          7          Was that part of this situation?
 8   the baby. And that if Waldrop was not available           8       A Yes.
 9   during the practice, then he could see me --              9       Q Okay. And . . .
10   Dr. Moore could see me but Akoda would not see me        10       A So and --
11   because he only worked at the hospital.                  11       Q I'm sorry. Go ahead.
12      Q And do you recall whether you filled                12       A I could be alone. I couldn't be, like,
13   out a consent with Dr. Waldrop that acknowledged         13   out driving alone or, so I worked from home. But
14   that that could be the case and that you could be        14   if I was going to go out and do things, then I
15   seen by other doctors other than her if she was          15   needed somebody to be with me.
16   not available?                                           16       Q Okay. Did -- did this condition and
17      A I don't recall, but I'm sure that I                 17   having this condition and worrying about it cause
18   did.                                                     18   you stress during the time that you were pregnant?
19      Q Okay.                                               19       A No, not really because I've had the
20           MR. SHAFFER: I'll mark this. Well,               20   condition for most of my life.
21   hold on. We'll get to it.                                21       Q Uh-huh.
22      BY MR. SHAFFER:                                       22       A It was -- once I realized that it
23      Q Did you have any issues with your                   23   wouldn't impact my job, there wasn't much stress
24   pregnancy?                                               24   related to it.
25      A I did have some complications. As I                 25       Q Okay. And -- and I think you said

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 1   mentioned, I had some bleeding early on. I also           1   earlier that -- that Luka was born in May of 2017;
 2   have a -- a uncommon but benign                           2   correct?
 3   cardio-neurological disorder called vasovagal             3       A Yes.
 4   syncope that under everyday conditions is truly           4       Q And was he born by C-section?
 5   benign, but pregnancy exacerbated the condition.          5       A Yes.
 6      Q Uh-huh. And what are some of the risks               6       Q And was that a planned C-section?
 7   or symptoms that go along with that condition?            7       A No, it was not.
 8      A Getting dizzy and passing out.                       8       Q What were the circumstances that led to
 9      Q Okay.                                                9   him being born by C-section?
10      A Which is benign unless you hurt                     10       A I had been in labor for, I believe, 32
11   yourself on the way down.                                11   hours at that point, and after a period of time,
12      Q Right. Or -- or a baby if you have a                12   they recommended that I take a drug called Pitocin
13   baby?                                                    13   that they hoped would -- Akoda recommended it to
14      A Yes.                                                14   speed up contractions so that I would dilate.
15      Q And, so, as a result of that, were you              15       Q Uh-huh.
16   taking any extra precautions while you were              16       A It did not have that effect.
17   pregnant? Were you anticipating the possibility          17           And then after 30, 32 hours, he
18   of having to have medication or anything like            18   recommended an epidural. Immediately after he did
19   that?                                                    19   the epidural, he said that my baby was in distress
20      A I was not anticipating the need for any             20   and that he needed an emergency C-section.
21   medication. I was seeing a cardiologist in               21       Q Okay. And was your original plan for
22   conjunction with my gynecological visits. And            22   birth to go to the hospital and have someone from
23   after seven months, I was put on essentially kind        23   Dr. Moore's practice deliver vaginally?
24   of house arrest where I could do everything. I           24       A Yes, that was my original plan.
25   just couldn't be alone for much unless -- in case        25       Q Okay. I saw a reference in your

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 1   records to a doula or maybe two doulas?               1   contractions when somebody's water breaks, isn't
 2       A Yes.                                            2   it?
 3       Q What role, if any, had you anticipated          3       A That is my understanding.
 4   doulas playing in the birth?                          4       Q Okay. And -- and -- and is it also
 5       A Doulas provide emotional support during         5   your understanding that sometimes it works and
 6   the birth. They also help to give the father a        6   sometimes it doesn't work as well?
 7   break and help the father or partner --               7       A I did not have much -- much
 8       Q Uh-huh.                                         8   understanding of Pitocin.
 9       A -- to be a more supportive partner.             9       Q Okay. Did you receive any information
10       Q And had you planned on having a doula          10   from your husband or either of the doulas that
11   present for your birth?                              11   were in the room with you that -- when Dr. Akoda
12       A I did.                                         12   said a C-section was necessary because of the baby
13       Q Okay. And did that occur?                      13   being in distress, that that wasn't a good idea;
14       A Yes.                                           14   that you shouldn't go ahead with that?
15       Q Okay. And who was that?                        15       A My husband did not agree.
16       A Her name is Emily. I forget her last           16       Q Okay. What did he want to do?
17   name right now. But it was Doulas of Capitol         17       A He had been watching the monitors, and
18   Hill.                                                18   he saw that the stats had gone back up and thought
19       Q Uh-huh.                                        19   that, you know, it looked better; that it should
20       A And in the contract, the doula is              20   be waited out.
21   present for the first 24 hours and then after that   21       Q Okay. And what about the doulas?
22   they can switch to a backup. I believe that Emily    22       A The doulas do not advise on medical
23   was there for maybe 28 hours before she switched     23   decisions.
24   to a backup which was her partner Nicole.            24       Q Okay.
25       Q And did the doula meet you at the              25       A They're there for emotional support.
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 1   hospital or were you with the doula before you        1       Q And ultimately, the decision to have
 2   went to the hospital?                                 2   the C-section was yours then?
 3      A I believe that she met me at the                 3       A Yes.
 4   hospital.                                             4       Q And --
 5      Q And when you were describing the length          5       A I followed Akoda's advice because at
 6   of your labor -- and I'm sorry for that length of     6   the time I believed him to be a real doctor.
 7   labor -- was that all at the hospital, or did it      7       Q And when you say "a real doctor," you
 8   start at home and then continue while you were        8   believe today that he is not a real doctor;
 9   there?                                                9   correct?
10      A It started at Dr. Waldrop's office --           10       A He is a fake doctor.
11      Q Okay.                                           11       Q And what do you mean when you say he's
12      A -- during an examination. My water              12   a fake doctor?
13   broke.                                               13       A That he was not properly trained as a
14      Q And -- and my understanding, because I          14   doctor or credentialed as a doctor.
15   have children, too, is that sometimes when your      15       Q What -- what is it about his training
16   water breaks, the rest of the body may not be        16   that you believe either does or does not make him
17   ready to give birth vaginally, but that once the     17   a doctor?
18   water breaks, there's a certain period of time       18       A That he used fake documents to get into
19   before a baby is supposed to be gotten out.          19   the country and was allowed to take medical boards
20           Is that -- is that a fair summary of         20   without proper credentials.
21   your understanding at the time?                      21       Q As you sit here today, do you know
22      A That is my understanding.                       22   whether or not Dr. Akoda has gone to medical
23      Q Okay. And Pitocin, which you indicated          23   school?
24   Dr. Akoda gave you, is one of the very common        24       A I do not know. The federal trial
25   medicines that they will give to try to move along   25   transcript that I read, the U.S. government said

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 1   that there was no evidence that he ever attended      1   take his -- his medical boards.
 2   or graduated from medical school.                     2           I'm sorry. Can you repeat the
 3      Q Okay. Do you know whether or not                 3   question?
 4   Dr. Akoda's medical school in Nigeria ever            4      Q That -- that's okay. I think you
 5   verified the authenticity of his diploma to           5   answered -- you answered that part of the
 6   anyone?                                               6   question. I'll ask you a different question
 7      A I do not --                                      7   and -- and if it triggers something else, you can
 8           MR. ZAJDEL: Objection. Hold on for a          8   add it.
 9   second.                                               9           I guess I was asking what it was that
10           Objection: The question assumes facts.       10   you knew of that, in your mind, made you say that
11           But you can answer.                          11   he was not a real doctor.
12           THE WITNESS: I don't know.                   12      A That he used multiple different Social
13      BY MR. SHAFFER:                                   13   Security numbers in order to be approved to take
14      Q Do you know whether Dr. Akoda's medical         14   the medical boards; that the U.S. government said
15   school in Nigeria ever verified the authenticity     15   there is no evidence that he ever attended medical
16   of Dr. Akoda's diploma to ECFMG?                     16   school or graduated from med- -- medical school.
17           MR. ZAJDEL: Objection: The question          17   That he was kicked out of a residency program in
18   assumes facts. You can answer it.                    18   New Jersey when they discovered that he did not
19           THE WITNESS: I'll decline.                   19   have the credentials to be in that program; that
20           Should I answer these?                       20   he had been somehow approved by the commission to
21           MR. ZAJDEL: Yeah, you can answer.            21   certify foreign medical graduates. That he took
22           THE WITNESS: I don't know.                   22   the medical board and failed multiple times, so
23           MR. ZAJDEL: Okay.                            23   many times by the time that he passed it nobody
24      BY MR. SHAFFER:                                   24   would hire him, so then he used another Social
25      Q Did -- I take it from your answers that         25   Security number to get approved to take the boards

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 1   you have looked at some of the materials including    1   again under another different name. He used three
 2   a press release and, I guess, a transcript of         2   different names. And that he did practices like
 3   Dr. Akoda's guilty plea with the Department of        3   this in multiple states.
 4   Justice?                                              4           So if you were a real doctor, why would
 5       A Yes.                                            5   you do that?
 6       Q Do you know whether Dr. Akoda pled              6      Q Do you know what steps Dr. Akoda had to
 7   guilty to not having gone to medical school?          7   go through to be able to work in the Prince
 8       A I do not know.                                  8   George's County Hospital where he delivered Luka
 9       Q Okay. Do you know whether or not                9   through C-section?
10   Dr. Akoda pled guilty to falsifying his diploma?     10      A I don't know all of them.
11       A I don't know, but since he was found           11      Q Okay. Which ones do you know?
12   guilty of fraud, I'm not sure what things were       12      A I know that first he'd have to go
13   true and what were not.                              13   through the education commission that certifies
14       Q And the thing that he pled guilty to as        14   foreign medical graduates and have all of his
15   fraud, do you remember what specifically he          15   documents to be approved to be able to take the
16   admitted doing?                                      16   medical boards. He'd have to pass the medical
17       A I don't know.                                  17   boards. He'd have to get into a residency program
18       Q Okay. And I take it from your answer,          18   and be hired and get privileges.
19   then, that -- that having pled guilty to fraud,      19      Q Okay. Have you ever discussed your
20   you don't believe he's a real doctor from your       20   experiences with Dr. Akoda with anyone from the
21   perspective?                                         21   Educational Commission for Foreign Medical
22       A I know that he used three -- at least          22   Graduates?
23   three different Social Security numbers to be        23      A No, I have not.
24   approved by the foreign medical board, the board     24      Q Okay. Have you ever spoken with anyone
25   to certify foreign medical graduates, in order to    25   there?

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 1      A     No, I have not.                             1   looked them up, but that was two years ago.
 2      Q     Not -- for any reason?                      2       Q Okay. Do you know whether or not --
 3      A     No.                                         3   strike that.
 4      Q     No.                                         4           You mentioned that you understood that
 5           Have you -- what information, if any,        5   ECFMG -- I forget what the word is -- verifies
 6   do you have about ECFMG?                             6   documentation of foreign medical students or
 7       A My understanding is that if you are a          7   graduates; correct?
 8   graduate of a medical program from outside of the    8       A Yes.
 9   United States, then that is where you first have     9       Q What documents is it your understanding
10   to get approved to be able to do any next steps.    10   ECFMG is supposed to verify?
11       Q And what's --                                 11       A I don't know exactly, but I would
12       A And your --                                   12   understand a diploma --
13       Q I'm sorry.                                    13       Q Okay.
14       A Your documentation has to be verified         14       A -- for one. From my -- it's been a
15   at that office.                                     15   while since I looked this up, but I remember that
16       Q And how -- what's the basis for that          16   there were schools that were specifically, like,
17   information? How do you know that?                  17   vetted or listed with the commission, and so they
18       A I looked it up when I found out from          18   would have to verify that those diplomas were real
19   the Justice Department that Akoda was a fraud. I    19   or that the person graduated from that
20   looked up what that government agency did.          20   institution.
21       Q And when you say "that government             21       Q Anything else?
22   agency," who are you referring to?                  22       A I don't know.
23       A The educational commission to certify         23       Q Do you know where Dr. Waldrop went to
24   foreign medical graduates.                          24   medical school?
25       Q And what --                                   25       A I believe she did a residency at
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 1      A I think I'm calling them the wrong              1   Howard.
 2   thing, but you know what I mean.                     2       Q Okay. And how about medical school
 3      Q I understood when you were saying that          3   before that?
 4   the commission to certify foreign medical            4       A I don't remember.
 5   graduates --                                         5       Q Okay. And do you know where Dr. Moore
 6      A Okay.                                           6   went to medical school?
 7      Q -- you were meaning --                          7       A I don't remember.
 8      A Yes.                                            8       Q Okay. Do you know whether Dr. Moore is
 9      Q -- the company that you sued in                 9   a -- went to a U.S. medical school or a foreign
10   Philadelphia, the ECFMG; is that --                 10   medical school?
11           We've been saying -- meaning the same       11       A I do not know.
12   thing?                                              12       Q Okay. I'll finish up on -- on the
13      A Yes.                                           13   birth of Luka. You had the C-section after a very
14      Q Okay. Great.                                   14   lengthy labor.
15           And you mentioned it, I think -- we         15          Was -- how was Luka's birth? Was he
16   could check your answer. I'm just trying to make    16   born okay? Any health problems?
17   sure I understand -- that ECFMG is -- is a          17       A Luka has had no health problems.
18   governmental entity of some kind?                   18       Q Great.
19      A That's what I thought. Is that --              19          And did you have any symptoms or
20      Q And what -- what part of the government        20   physical conditions after the C-section?
21   does ECFMG work with?                               21       A No, I did not, nothing atypical.
22      A I don't know.                                  22       Q Right.
23      Q Do you know on what basis you think            23          It's a major abdominal surgery, so
24   that would be the case?                             24   there was probably some recovery; right?
25      A I don't know. I thought that when I            25       A Yes.

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 1       Q Okay.                                         1       Q Okay. And what do you recall about
 2       A Having knowing what -- that Akoda is a        2   that meeting with Dr. Moore?
 3   fraud, I do question whether or not my C-section    3       A Dr. Moore seemed just as surprised, and
 4   was necessary.                                      4   he told me that he had also been working for
 5       Q Okay. And that was something that you         5   another doctor's office, Dr. Chaudry.
 6   started -- you thought of after you found the       6       Q Okay. Did you ask Dr. Moore any
 7   information sometime in 2017 related to             7   questions or express any views to him?
 8   Dr. Akoda's guilty plea?                            8       A I did. I asked him -- I was trying to
 9       A Well, before that because my husband at       9   make sense of what happened, and he told me they
10   the time did not believe that it was necessary,    10   raided his -- Akoda's office, I believe, at
11   and then once I found that information out, it     11   Chaudry's office and his home, and they discovered
12   made me question it more.                          12   machines that make, like things to make diplomas
13       Q Okay. Do you know what the -- did you        13   with and details like that.
14   ever ask Dr. Moore or Dr. Waldrop whether they     14            I asked him why he didn't notify
15   would have had you do a C-section after 32 hours   15   patients.
16   of labor and a baby in distress?                   16       Q Uh-huh.
17       A I did not speak to Dr. Moore --              17       A And he said that wasn't a requirement
18   Dr. Waldrop once I found out Akoda was a fraud.    18   or . . .
19       Q Did you speak with Dr. Moore at any          19       Q How did you feel about that response?
20   point after you learned the information about      20       A It's upsetting because I think every
21   Dr. Akoda?                                         21   woman who has ever been a patient of Akoda should
22       A I did.                                       22   know that he was not a real doctor.
23       Q Okay. Tell me about that.                    23       Q And the response you got from Dr. Moore
24       A I went to him to find out, A, if he          24   who, if I'm understanding it correctly, had hired
25   knew; and why he had not notified patients that    25   Dr. Akoda into his practice, was it wasn't his
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 1   Akoda was a fraud.                                  1   place to do it or he didn't have to do it; it
 2      Q And at this point in time, you were not        2   wasn't a requirement for him to do it?
 3   a patient in that practice anymore; correct?        3       A He felt -- and I don't remember exactly
 4      A No, I was no longer --                         4   how he said it, but he felt that he had been duped
 5      Q Okay. And --                                   5   as well.
 6      A I would have still been, but I wasn't          6       Q Okay. Did you ask him what type of
 7   pregnant or needing women's care.                   7   investigation or vetting he had done of Dr. Akoda
 8      Q Right.                                         8   before hiring him?
 9          So you -- why did you go to Dr. Moore        9       A I did, and he said he had worked with
10   instead of Dr. Waldrop?                            10   him in the residency program at Howard University.
11      A Because Dr. Moore is the head of the          11       Q Did you ask him about doing any kind of
12   practice.                                          12   background check or investigation of him before
13      Q Okay. And how did you make contact to         13   hiring him?
14   go meet with Dr. Moore?                            14       A I did, and he said that he had worked
15      A I set an appointment.                         15   with him in the Howard residency program.
16      Q Okay.                                         16       Q Okay. Did he tell you whether he had
17      A I called the office.                          17   done a background check or not?
18      Q Okay. Did you tell them what you              18       A He did not.
19   wanted to talk about?                              19       Q He did not tell you or he did not do
20      A No. I might have. I don't know.               20   one?
21      Q Okay. And do you remember how long            21       A He said he did not do one.
22   after you had met with -- you had seen the         22       Q Okay. What was your reaction to that
23   information of Dr. Akoda's guilty plea that you    23   answer?
24   went to talk to Dr. Moore?                         24       A I was surprised, but he said that
25      A I don't know, but it was fairly soon.         25   because of all of the certifications and everyone

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 1   who had would have had to do it by contracts, that       1      Q So as of today, you don't have a
 2   he didn't feel it was necessary --                       2   primary care doctor?
 3      Q Okay.                                               3      A No.
 4      A -- because he had been -- he had gotten             4      Q Have you seen -- have you seen any
 5   privileges at P.G. County; he had been approved          5   doctor of any kind since June of 2017?
 6   from these other organizations.                          6      A Yes.
 7      Q Did he tell you whether or not he in                7      Q Who is that?
 8   the future would be considering doing background         8      A I have seen -- I don't know the
 9   checks of people he hired to be doctors in his           9   doctor's name. It was at an urgent care facility
10   practice?                                               10   in Costa Rica called (speaking Spanish).
11      A Yes, he did.                                       11      Q Okay. And why did you go there?
12      Q What did he say?                                   12      A I -- Dr. Waldrop, after my son was
13      A He said he would consider doing that.              13   born --
14      Q And what was your reaction to that?                14      Q Uh-huh.
15      A I thought that that would be a good                15      A -- placed an IUD --
16   idea.                                                   16      Q Uh-huh.
17      Q In your position at D.C. Public                    17      A -- and I was having complications from
18   Schools, did they have to do a background check on      18   the IUD.
19   you before hiring you?                                  19      Q Okay. And, again, just so I get the
20      A Yes, they do.                                      20   timeline correct, Luka was born in May of '16.
21      Q And they're your employer; right?                  21      A Yes.
22      A Yes.                                               22      Q When did you have the IUD implanted?
23           MR. SHAFFER: Let's take a short --              23      A Probably six months after.
24   short five-minute break --                              24      Q Okay. So end of 2016?
25           THE WITNESS: Okay.                              25      A That's pretty -- yes.
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 1           MR. SHAFFER: -- and then we'll pick              1      Q Beginning of 2017, something like that?
 2   back up.                                                 2      A Something around there.
 3           THE VIDEOGRAPHER: Off the record at              3      Q Okay. And when did your contract
 4   2:50.                                                    4   with -- when did you go to Costa Rica?
 5           (Recess -- 2:50 p.m.)                            5      A In the last week of July of 2018.
 6           (After recess -- 3:15 p.m.)                      6      Q And -- and since July of 2018, when
 7           THE VIDEOGRAPHER: We are back on the             7   have you come back to the States?
 8   record at 3:15.                                          8      A I came back for the December break last
 9      BY MR. SHAFFER:                                       9   year.
10      Q Ms. Russell, we're back on the record              10      Q So that would have been December of
11   after a short break. You understand you're still        11   '18?
12   under oath?                                             12      A Yes.
13      A Yes.                                               13           And then I came back this summer in
14      Q Okay. I'm going to talk a little bit               14   July -- essentially the month of July.
15   about some of the doctors that you've seen over         15      Q Okay. And in neither December of
16   your adult life and I'll just make sure I               16   '18 or summer of '19, you didn't see any doctors
17   understand some of the chronology on that.              17   here in the U.S.; correct?
18           Do you currently have a primary care            18      A No.
19   doctor that you see?                                    19      Q Okay. And before going to Costa Rica
20      A Not really.                                        20   in around July of '18, had you seen any doctors
21      Q Do you have a doctor that you've seen              21   between when you got the IUD put in and you went
22   from time to time for general issues, colds or          22   to Costa Rica?
23   antibiotics or anything like that?                      23      A I -- I'm not sure when I last saw
24      A I did, but not since discovering about             24   Dr. Major. Dr. Major was my primary care
25   Akoda. I have not found a primary care doctor.          25   physician for about ten years.

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 1      Q Okay.                                            1       A He was really surprised, and he --
 2      A And I'm not sure when I last saw him,            2   during my pregnancy, he told me that he knew
 3   but it was -- I did see him after I found out         3   Daniel Waldrop, my OB/GYN, and that they had known
 4   about Akoda.                                          4   each other for a number of years, but he didn't
 5      Q Okay. And Dr. Major is his name?                 5   say much about it. He was just really surprised.
 6      A Yes.                                             6           But knowing that he had a close
 7      Q And you said he is a primary care                7   relationship with the office, I did not feel
 8   doctor?                                               8   comfortable seeing him anymore.
 9      A Yes.                                             9       Q Okay. And did you tell him that when
10      Q And where is his office?                        10   you went and met with him?
11      A He has an office in Silver Spring,              11       A No.
12   Maryland, and in Clinton, Maryland, I believe is     12       Q Okay. Did you --
13   the other one.                                       13       A I just stopped going.
14      Q And where did you see him?                      14       Q Okay. And I think you -- you said that
15      A I've seen him at both, but mostly the           15   you don't recall why you went to see Dr. Major?
16   Silver Spring office.                                16       A No, I don't know.
17      Q And you said he's been your primary             17       Q How did you originally start going to
18   care doctor for about ten years?                     18   see Dr. Major?
19      A Yes.                                            19       A I was a teacher. I got sick a lot.
20      Q And you saw him at some point between           20   And the -- my -- the primary care physician I had
21   June of 2017 and today?                              21   at the time, Ms. Shelly something, she could never
22      A Yes.                                            22   see me on the day that I was sick. And, so, I
23      Q How many times?                                 23   went on my insurance Web site and found another
24      A Once.                                           24   doctor, looked up reviews and everything, and this
25      Q Okay. When do you think that was,               25   doctor -- people said that they were able to get

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 1   approximately?                                        1   in quickly and, you know, really positive
 2       A Maybe July. It was shortly after I              2   experiences. And, so, I switched to Dr. Major.
 3   found out.                                            3      Q Okay. And where did Dr. Major go to
 4       Q Okay.                                           4   medical school?
 5       A And I didn't know when I saw him what I         5      A I don't remember.
 6   was -- what I was going to do. I didn't -- so it      6      Q Do you know if Dr. Major has ever been
 7   must have been soon after I found out.                7   convicted to a crime?
 8       Q And did you make an appointment to go           8      A Not to my knowledge. I looked him up
 9   in and see him?                                       9   on a -- a state of Maryland site where you can
10       A Yes.                                           10   look for sanctions and things --
11       Q Okay. And did you get any treatment            11      Q Okay.
12   from him while you were there?                       12      A -- and there was nothing there.
13       A I don't remember why I went to see him.        13      Q Okay. When did you do that?
14       Q Okay. But you think this was probably          14      A I don't remember.
15   shortly after you found out about Dr. Akoda in the   15      Q Was it after you found out about
16   2017 -- summer of 2017?                              16   Dr. Akoda?
17       A Yes, because I told him about it.              17      A Yes. I didn't know that the site
18       Q Okay. And what -- what did you tell            18   existed before then.
19   him?                                                 19      Q Okay. And other than Dr. Major, have
20       A I told him that I found out that the           20   you seen any other doctors since the middle of
21   doctor was a fake.                                   21   2017?
22       Q Okay.                                          22      A Only in Costa Rica and only in urgent
23       A And that he was -- had been charged and        23   care.
24   tried by the U.S. government.                        24      Q Okay. You currently have an OB/GYN?
25       Q Okay. What did Dr. Major say?                  25      A No. I have seen an OB/GYN because of

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 1   the problem with my IUD, but I don't currently        1   I go for urgent care.
 2   have one.                                             2       Q Okay. And, excuse me, what -- what are
 3      Q And was that someone you saw in Costa            3   you doing physical therapy for?
 4   Rica or someone you saw here?                         4       A My back.
 5      A I saw someone in Costa Rica.                     5       Q Okay. And is that -- how long have you
 6      Q Okay. And when was that,                         6   had that condition?
 7   approximately?                                        7       A Probably since my son was about a year
 8      A It was last year. I don't -- I don't             8   old, so about 2017.
 9   remember when last year, but I went to urgent care    9       Q And has it -- has it been diagnosed
10   because I was having pain and bleeding, and they     10   as --
11   did an x-ray and confirmed my IUD was still          11       A Stress related.
12   there --                                             12       Q Okay. And when did the stress start or
13      Q Uh-huh.                                         13   the stress that -- that you've been told relates
14      A -- but were concerned that it had moved         14   to the back injury?
15   or shifted somehow. And, so, they wanted me to       15       A The pain started after my son was about
16   see an OB/GYN.                                       16   a year, which would have been June of 2017.
17      Q Okay. And you went and did that?                17       Q And had you ever suffered from stress
18      A Uh-huh.                                         18   or anxiety prior to June of 2017?
19      Q Okay.                                           19       A Yes.
20      A Yes.                                            20       Q Okay. And what -- what can you tell me
21      Q And were you treated for issues with            21   about that?
22   the IUD?                                             22       A When I lost my sister in 2007, I had
23      A Yes.                                            23   stress-related back pain.
24      Q Okay. And was that successful? Did              24       Q Okay. And that was -- were you treated
25   they --                                              25   for depression or anxiety or stress in -- in 2007?
                                               Page 67                                                   Page 69
 1       A Yes.                                            1       A I was treated for depression, briefly.
 2       Q -- fix it?                                      2       Q Okay.
 3       A Sorry.                                          3       A And for, maybe two weeks, given
 4       Q That's okay. Sure.                              4   medication for my back and then taught breathing
 5       A Yes. I was treated. They removed the            5   exercises to alleviate the pain when stressful
 6   IUD, the doctor did.                                  6   situations occurred.
 7       Q Okay. And that was down in Costa                7       Q Okay. Were you ever provided an
 8   Rica --                                               8   antidepressant or anything like that?
 9       A Yes.                                            9       A I was shortly after my sister's death.
10       Q -- sometime last year?                         10       Q Okay. And do you remember which one?
11       A Yes. It wasn't a surgical procedure.           11       A I think it was Lexapro.
12       Q Uh-huh. Okay. And other than the               12       Q Okay. And for how long did you take
13   urgent care and the doctor in Costa Rica and         13   that?
14   seeing Dr. Major, have you seen any other doctors    14       A Several months, maybe -- no more than
15   or -- or health care providers in -- since the       15   six months.
16   mid-2017?                                            16       Q Okay. Are you on any medications
17       A I get physical therapy, but not from a         17   today?
18   doctor.                                              18       A No.
19       Q Okay. Where do you get that?                   19       Q Okay.
20       A In Costa Rica and in the States. In            20       A Just vitamins.
21   the States, I see a woman that my husband has seen   21       Q In terms of other types of treatment,
22   for 15 years, maybe.                                 22   have you ever in your adult life seen a
23       Q Uh-huh.                                        23   psychologist or a psychiatrist for treatment?
24       A And in Costa Rica, I see a physical            24       A No.
25   therapist that I found through the same place that   25       Q Have you ever gone into therapy at any

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 1   point in your adult life?                           1          How did you come to see Dr. Major?
 2       A No.                                           2      A    I found him through my insurance --
 3       Q And, so, you're not currently being           3      Q    You did say that, okay.
 4   treated by a psychiatrist or psychologist?          4          Do you -- do you ever have to take Luka
 5       A No, I'm not.                                  5   to the doctor?
 6       Q Other than Dr. Major and Dr. Moore's          6       A Yes.
 7   practice, and the doctor at urgent care and the     7       Q Where -- where does he go to the
 8   doctor that you saw in Costa Ricia -- Rica          8   doctors?
 9   regarding the IUD and your physical therapist,      9       A He goes to a doctor in Costa Rica.
10   what other doctors have you seen in your adult     10       Q Okay. Is it a pediatric practice?
11   life?                                              11       A Yes.
12       A I have a cardiologist who helped             12       Q Okay. What -- what's the name of the
13   diagnose my condition.                             13   practice?
14       Q And that's the --                            14       A Dr. Holtermann.
15       A Dr. Howell, Shawn Howell.                    15       Q Okay. And how did you find
16       Q And that's the condition you were            16   Dr. Holtermann?
17   talking about earlier?                             17       A Through the same way they found my
18       A Yes, vasovagal syncope.                      18   physical therapist.
19       Q You said it better than me.                  19       Q Okay.
20       A And I did see her periodically               20       A The -- I don't know what it's called.
21   throughout my pregnancy for monitoring.            21   They call it a hospital, but it's like more than a
22       Q And this is Shawn Howell?                    22   hospital --
23       A Yes.                                         23       Q Sort of a --
24       Q And where is she -- where does she           24       A More of a center.
25   practice?                                          25       Q -- like a clinic provider, something
                                             Page 71                                                   Page 73
 1      A I believe on K Street.                         1   like that?
 2      Q A couple of blocks from us here?               2      A Yes.
 3      A Yes, very close by.                            3      Q A one-stop shop for --
 4      Q Does she have hospital privileges?             4      A Yes.
 5      A I don't know.                                  5      Q -- primary care, pediatrics, maybe a
 6      Q Okay. Do you know where she went to            6   pharmacy, maybe physical therapy?
 7   medical school?                                     7      A It's not all in one place, but it's
 8      A I don't remember. It might have been           8   like a network.
 9   Howard.                                             9      Q Got it. And that is through the school
10      Q Okay. And do you know if she's board          10   that you are with --
11   certified?                                         11      A No.
12      A I believe she is.                             12      Q -- that you were given that? No?
13      Q Okay. Do you know by what board?              13           Okay. Do you have health insurance?
14      A I do not.                                     14      A I do.
15      Q Okay. Any other doctors?                      15      Q Okay. And does the health insurance
16      A In my adult life, certainly. I don't          16   cover Dr. Holtermann and --
17   remember any more than that. I know there are --   17      A The health insurance doesn't cover
18   I know it -- before Dr. Major I had a different    18   much. It doesn't cover my child.
19   primary care physician and a different OB/GYN. I   19      Q Okay. And so when you go to see
20   don't remember their names.                        20   Dr. Holtermann, do you pay for it or --
21      Q Okay. And do you know how you went to         21      A Yes.
22   start seeing Dr. Howell?                           22      Q And --
23      A I was recommended by Dr. Major.               23      A I -- I use a -- in Costa Rica, they
24      Q Okay. And I apologize if I asked you          24   have a medical discount program that -- because
25   this already, but I can't remember the answer.     25   Costa Rica has socialized health care.

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 1       Q Uh-huh.                                         1          And I don't feel equipped to do
 2       A And I have international health                 2   background checks on doctors myself.
 3   insurance because I go back and forth.                3          I feel violated, and it makes it very
 4       Q Uh-huh.                                         4   difficult to -- I'm sorry. It makes it very
 5       A But in the country, I used -- I use             5   difficult to see an OB/GYN.
 6   this medical discount program that feels like what    6      Q And I take it that when you found out
 7   we would think of as insurance --                     7   about Dr. Akoda's guilty plea regarding the use of
 8       Q Uh-huh.                                         8   Social Security numbers, that . . .
 9       A -- but it's not insurance.                      9          MR. SHAFFER: There's some tissues back
10       Q Got it.                                        10   there.
11          Other than Dr. Holtermann, have you had       11      BY MR. SHAFFER:
12   to take your son to see any other doctors?           12      Q Here you go.
13       A I did have to take him to urgent care.         13          I take it when you found out about the
14       Q And what types of things have you taken        14   guilty plea, you -- you were angry with Dr. Moore
15   him to see Dr. Holtermann or urgent care? Typical    15   and Dr. Waldrop who you had seen in connection
16   colds and --                                         16   with that pregnancy; right?
17       A For urgent care, I took him for a              17      A No. I was angry in general, but I
18   fever.                                               18   don't necessarily hold blame or anger towards
19       Q Uh-huh.                                        19   Dr. Waldrop and Dr. Moore because they relied on
20       A And for Holtermann I took him because          20   sources they should have been able to trust. For
21   the school requires an annual wellness check.        21   example, I was a teacher. I had to have
22       Q Okay. And so, you've taken him two             22   background -- extensive background checks done in
23   times now to do that or just once?                   23   order to hold a job within DCPS. So when I rented
24       A And he had hand, foot and mouth.               24   my basement apartment, and as a mother I wanted to
25       Q Also a right of passage probably in the        25   find somebody safe to live in the home with us,
                                               Page 75                                                     Page 77
 1   lower school; right?                                  1   and a teacher applied, I didn't feel like I needed
 2       A Yes.                                            2   to run the full background check on them because I
 3       Q Okay. And I understand that you, as             3   knew that they had gone through that background
 4   you've said in -- in written responses to             4   check with the public school system. So, instead,
 5   interrogatories, that you -- you have suffered        5   I could do -- rely on other sources because I
 6   from emotional distress as a result of learning       6   trusted the school system's background check.
 7   about Dr. Akoda; is that right?                       7           So I didn't hold anger. I was very
 8       A Yes.                                            8   surprised that Dr. Moore hadn't done a background
 9       Q And what in particular is it that you           9   check, but I understood why he relied on
10   are experiencing as a result of what you found out   10   institutions like the commission to certify
11   about Dr. Akoda?                                     11   foreign medical graduates instead of doing it all
12       A I feel violated by Dr. Akoda. I feel a         12   over again himself.
13   sense of distrust in the medical community in        13       Q And your view there is that your
14   general. Like I wouldn't want, for example, to go    14   understanding of ECFMG as a governmental entity,
15   find a therapist to see to talk to about these       15   that it would do background checks on people like
16   things because how do I what their certification     16   Dr. Akoda --
17   is worth or their licensure is worth based on how    17       A Yes.
18   far doctor -- not even a doctor, how far Akoda got   18       Q -- correct?
19   with false papers.                                   19           And I --
20           I don't trust the institutions that are      20       A Yes --
21   in place to -- to check that these doctors are who   21       Q I'm sorry. Go ahead.
22   they say they are, doing the right thing, or have    22       A At least to verify that they had
23   the credentials they do, which makes it very hard    23   attended and graduated school.
24   for me to then use sources I would have used to      24       Q And do you know whether ECFMG tried to
25   check on a doctor.                                   25   do that?

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 1       A I do not know.                                   1      Q Okay. Did it include the other
 2       Q Okay.                                            2   practice with Dr. Chaudry that Dr. Akoda was
 3       A But if they did, they seemed to have             3   apparently associated with?
 4   failed.                                                4      A I don't know.
 5       Q Do you know whether ECFMG ever                   5      Q Okay. What did you understand that you
 6   identified that Dr. Akoda had used multiple names      6   were saying in filing that lawsuit?
 7   to try to come and take examinations with ECFMG?       7      A That I was suing similarly to this suit
 8       A I do not know.                                   8   for emotional distress and representing a class.
 9       Q Do you know whether ECFMG ever helped            9      Q Okay. And -- and you were suing
10   the Department of Justice build a case and            10   Dimensions Health Corporation which you understood
11   prosecute a case against Dr. Akoda?                   11   to be the Prince George's County Hospital, among
12       A I do not know.                                  12   others, because you believed that they should
13       Q Okay. And do you know whether or not            13   have -- they were responsible for the emotional
14   ECFMG ever received verification from Dr. Akoda's     14   distress that you felt from Dr. Akoda's actions?
15   Nigerian medical school as to whether or not his      15      A I believe that they share in the
16   diploma was authentic?                                16   responsibility along with the commission to
17           MR. ZAJDEL: Objection. That assumes           17   certify foreign medical graduates.
18   facts.                                                18      Q Okay. Who else shares in that
19           You can answer.                               19   responsibility?
20           THE WITNESS: I do not know.                   20      A I don't know, but I think they are the
21           MR. SHAFFER:                                  21   two most responsible because the commission to
22       Q You filed a suit against Dimensions             22   certify foreign medical graduates is the first
23   Health Care in Maryland; correct?                     23   gatekeeper, and Dimensions is the -- oversees the
24       A Yes.                                            24   entire hospital.
25       Q When did you do that?                           25      Q Do you know whether ECFMG licenses

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 1      A I don't remember exactly --                       1   physicians to practice in the U.S.?
 2      Q Okay.                                             2       A Not to my knowledge.
 3      A -- but . . .                                      3       Q Okay. Do you know who licenses
 4      Q We probably have a document in all our            4   physicians to practice in hospitals in Maryland?
 5   documents here that --                                 5       A I do not, but I would assume it's a
 6      A Probably --                                       6   state organization.
 7      Q -- says --                                        7       Q Okay. And do you believe that the
 8      A -- so.                                            8   state bears any responsibility for what -- your
 9      Q -- when that occurred.                            9   emotional distress that you feel from Dr. Akoda?
10           You think it was sometime in 2018 or          10       A I think it would depend on the nature
11   earlier than that?                                    11   of the relationship between -- and the process of
12      A I don't know.                                    12   how state licensure is determined based on what
13      Q Okay. And when you were suing                    13   the foreign medical -- the commission to certify
14   Dimensions Health Corporation, who did you            14   foreign medical graduates does.
15   understand that that encompassed? Who was that?       15       Q And, so, if the licensure board has
16      A The company that owns the hospital               16   responsibility to do its own investigation of
17   where my son was born where Akoda performed a         17   anybody it's going to license, would you agree
18   C-section.                                            18   with me that they would share responsibility, in
19      Q Did that include Dr. Moore's practice?           19   your view, for any of the emotional distress that
20      A I don't know. I don't know.                      20   you believe was caused by Dr. Akoda?
21      Q I'm sorry?                                       21       A Yes, I would, but I think it would not
22      A I don't know.                                    22   be possible for them to license if the commission
23      Q Okay. Did it include Dr. Akoda's --              23   to certify foreign medical graduates had stopped
24   personally Dr. Akoda?                                 24   Akoda from being able to enter the country and
25      A I don't know.                                    25   take the medical boards in the first place.

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 1      Q And do you know whether Dr. Akoda ever                1      Q Okay. We're back on the record. You
 2   lied to ECFMG?                                             2   understand you're still under oath?
 3      A To my understanding, he did. He used                  3      A Yes.
 4   three different Social Security numbers and                4      Q Okay. I need to ask you a couple of
 5   multiple names to come through and get approved to         5   questions about some of the statements that are in
 6   take boards multiple times.                                6   your discovery responses.
 7      Q Do you know whether Dr. Akoda did a                   7      A Okay.
 8   residency in the U.S.?                                     8      Q And one of them asks -- and I know you
 9      A My understanding is that he started a                 9   reviewed these in advance of coming in, and I can
10   residency in New Jersey before they discovered            10   show them to you if it would be helpful, but if
11   that he was a fraud and referred back to the              11   not, I'll just ask you some of the questions.
12   commission to certify foreign medical graduates,          12            I think you've described here that you
13   and that he was still then approved again through         13   feel emotional distress as a result of what you
14   the commission and eventually received residency          14   learned about Dr. Akoda; correct?
15   at Howard University.                                     15      A Yes.
16      Q And what's the basis for that                        16      Q Are there any physical conditions that
17   understanding?                                            17   today you attribute to that emotional distress?
18      A The court documents that I read from                 18      A I had not thought of this until you
19   his federal trial.                                        19   asked me about the date that my current back pain
20      Q This is the -- the guilty plea of                    20   started which coincides with when I learned about
21   Dr. Akoda?                                                21   Akoda. And, so, I don't know if they are related
22      A The transcript of the trial.                         22   or not.
23      Q Okay. And do you know whether ECFMG                  23      Q Okay. None of the doctors that you've
24   certification is sufficient to allow a person to          24   seen for that have told you that that's likely
25   obtain a residency in the United States?                  25   related to Dr. Akoda; correct?
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 1       A I don't understand the --                            1       A None of the doctors I've seen of that
 2       Q Well, I -- I -- I've heard you say that              2   know about doctor -- know about Akoda.
 3   you blame ECFMG, at least in part, because I think         3       Q Okay. Well, Dr. Major did; correct?
 4   you've called them the first gatekeeper, and I was         4       A Yes, but I didn't see Dr. Major for my
 5   trying to understand whether you believe that              5   back pain.
 6   ECFMG certification in and of itself is sufficient         6       Q The doctor you saw for back pain was?
 7   to allow a person to be in a residency program.            7       A I saw a physical therapist here, ATI
 8       A I don't think so. I think that it's                  8   Physical Therapy. And I see a physical therapist
 9   required for them to be able to take the medical           9   in Costa Rica named Eduardo Reyes.
10   boards in the first place which is a requirement          10       Q Do you know --
11   for a residency program.                                  11       A And I see a family -- someone my
12       Q And the basis for that understanding                12   husband has seen for a long time who is a
13   is?                                                       13   structural integrationist named Priscilla Soto.
14       A The documents that I read from the                  14       Q Is Priscilla a M.D.?
15   federal trial.                                            15       A No, none of these are M.D.s.
16           MR. SHAFFER: Okay. Let's go ahead and             16       Q And your physical therapists were not
17   mark this. You know what? Off the record a                17   M.D.s --
18   second.                                                   18       A No.
19           THE VIDEOGRAPHER: Off the record at               19       Q -- correct?
20   3:47.                                                     20          Your supplemental answer to
21           (Recess -- 3:47 p.m.)                             21   interrogatory number 2 we asked said that you are
22           (After recess -- 3:50 p.m.)                       22   a survivor of previous sexual abuse --
23           THE VIDEOGRAPHER: Back on the record              23       A Yes.
24   at 3:50.                                                  24       Q -- is that correct?
25       BY MR. SHAFFER:                                       25       A Yes.

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 1      Q When did that occur?                            1      A Yes.
 2      A I was molested as a child, and I was a          2      Q Okay. And I also see a reference to
 3   victim of sexual assault as an adult.                3   Traci Gore, R.N.?
 4      Q Okay. As an adult what year                     4      A Okay. Right. Because Dr. Waldrop was
 5   approximately would that have been?                  5   not at this appointment.
 6      A On multiple -- twice.                           6      Q Okay. And do you think Traci Gore was
 7      Q Okay. Did you ever -- I'm sorry to              7   the person at this appointment?
 8   hear that.                                           8      A Yes. I believe she would be a nurse
 9          Did you ever speak to any of your             9   midwife.
10   doctors about that experience?                      10      Q Okay. It looks like she has R.N. --
11      A No.                                            11      A Okay.
12      Q Why not?                                       12      Q -- so a registered nurse would be
13      A Because it's very difficult to talk            13   consistent.
14   about.                                              14           And I -- again, I'm just trying to make
15      Q Okay. And I apologize for having to            15   sure I understand the facts here. Under sexual
16   ask you those questions, but it was -- it was in    16   detail, it says history of sexual abuse, no.
17   your response.                                      17           So I'm wondering -- you said previously
18          And I take it -- go ahead.                   18   that if you were asked you would have said
19      A I did -- I would have spoken to a              19   something, but it looks like here you responded
20   doctor. I did not tell the doctor that I was        20   no; correct?
21   sexually assaulted, but I did have a STD check --   21      A Or that I wasn't asked. I don't
22      Q Okay.                                          22   remember.
23      A -- afterwards.                                 23      Q Okay. So you think the reference to
24      Q And in seeing doctors even before you          24   "no" means that you weren't asked?
25   heard about Dr. Akoda in June of 2017, would you    25      A I would assume that.
                                              Page 87                                                  Page 89
 1   have mentioned that prior abuse to any of those      1      Q Okay.
 2   doctors?                                             2      A Because it's not a secret.
 3       A No, it wouldn't have been as relevant.         3      Q Okay. And this appointment would have
 4       Q Okay. Do you know whether they asked           4   been well before you heard anything about
 5   those questions when you would go in?                5   Dr. Akoda in 2017; correct?
 6       A I'm sure in some cases and if they had         6      A Yes.
 7   asked I would say, but it's not something I would    7          (Russell Deposition Exhibit 3 was
 8   bring up as a concern.                               8   marked for identification and attached to the
 9       Q Okay.                                          9   transcript.)
10          (Russell Deposition Exhibit 2 was            10      BY MR. SHAFFER:
11   marked for identification and attached to the       11      Q Ms. Russell, I've handed you what's
12   transcript.)                                        12   been marked as Exhibit 3 which is an obstetrical
13       BY MR. SHAFFER:                                 13   form from the Prince George's Hospital Center.
14       Q I've handed you, Ms. Russell, what            14   Again, this one looks like it references a series
15   we've marked as Exhibit 2 which is a report from    15   of medical triage and assessments for May 14th,
16   Prince George's Hospital Center. It looks like it   16   2016.
17   was May 14th, 2016; correct?                        17          Do you see that?
18       A Yes.                                          18      A Yes.
19       Q So that would have been shortly before        19      Q Okay. Do you know whether this was the
20   Luka was born?                                      20   same appointment that we just looked at or a
21       A Yes, I think I remember this                  21   different one?
22   appointment.                                        22      A It appears to be since this marks the
23       Q Okay. And you're seeing, it looks like        23   same date and only minutes apart.
24   attending at the bottom it says Dr. Waldrop;        24      Q And if you turn to the page which has
25   correct? Do you see that?                           25   the Bates number, which is the big number at the

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 1   bottom, 1129, at the top it references questions         1       Q And you had mentioned previously that
 2   about substance abuse, and the answer is none.           2   Dr. Major was someone who's been your primary care
 3            Was that accurate from your perspective         3   or was your primary care physician for about ten
 4   there; that if you were asked about substance            4   years up through sometime in 2018?
 5   abuse, you would say there was none?                     5       A Yes.
 6       A Yes.                                               6       Q Okay. I have some questions about this
 7       Q Okay. And then there's a reference to              7   group of -- of records which I'll represent were
 8   sexual -- a history of sexual abuse, and the             8   provided to us by your lawyers.
 9   answer is, referenced here again, no; correct?           9       A Uh-huh.
10       A Yes.                                              10       Q So the first page which has 118654 at
11       Q In connection with your discovery                 11   the bottom looks like it references a visit from
12   responses, you say that your experiences with           12   2015, 10/8/2015?
13   Dr. Akoda have flowed into your marriage and            13       A That's correct.
14   created intimacy issues; correct?                       14       Q And that would have been, looks like,
15       A Yes.                                              15   in connection with maybe a pregnancy test related
16       Q In what way has that interfered with              16   to Luka?
17   your marital relationship?                              17       A Yes.
18       A It has been difficult to be sexually              18       Q Okay. And then on the second page, you
19   intimate, and it's impacted family planning             19   went to see -- when you were in to see Dr. Major,
20   because we want more children, and that is              20   there were reported findings on the visit. I'm
21   challenging when it is hard to see an OB/GYN. And       21   looking at the box that says ROS up on the top
22   it's -- intimacy with my husband is better now,         22   left-hand side there.
23   but it's -- it's not like it was before. And            23       A Okay.
24   after I found out about this, it was very               24       Q And there's a number of reports, most
25   difficult.                                              25   of -- if not all of them saying no this, no that,

                                                 Page 91                                                         Page 93
 1      Q And have you seen or talked to anyone?              1   no the other thing.
 2   I know you mentioned sort of doing yoga in the           2           And you can look through the whole
 3   morning and doing walks, and things like that.           3   discussion there, but I wanted to turn your
 4          Have you spoken with a therapist or               4   attention to sort of the -- the -- I guess the
 5   anyone in the health care facility, or is this           5   last three sentences. It states that she -- and
 6   something you've handled on your own?                    6   this is referring to you -- reports no depression,
 7      A No, I've not spoken to anybody in the               7   no sleep disturbances, feeling safe in a
 8   health care industry. Just on my own.                    8   relationship, no alcohol abuse, no anxiety, no
 9      Q Okay.                                               9   hallucinations, no sui- -- suicidal thoughts, no
10      A With my husband.                                   10   fatigue and thereon.
11      Q Okay. Did you see a counselor -- a                 11           Does that all sound consistent with how
12   marriage counselor or it's something you've worked      12   you were feeling at that point in time?
13   on together?                                            13       A I don't know when this is from.
14      A No, we just work on it together.                   14       Q This is still from October of 2015?
15      Q Okay.                                              15       A Yes.
16          (Russell Deposition Exhibit 4 was                16       Q Okay. If we keep going, it looks like
17   marked for identification and attached to the           17   there is another visit to see Dr. Major, and this
18   transcript.)                                            18   page is 118664.
19      BY MR. SHAFFER:                                      19           Do you see that one?
20      Q Here's more paper for you.                         20       A Yes.
21          Ms. Russell, I've handed you what's              21       Q It looks like that was from May of
22   been marked as Exhibit 4 which, I think -- and you      22   2017; correct?
23   can tell me if I've got it wrong -- but I think         23           I'm looking --
24   are a series of records from Dr. Major's office.        24       A Where -- okay.
25      A Yes.                                               25       Q -- under the vitals there in the middle

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 1   of the page?                                          1      A I do not.
 2       A Yes.                                            2      Q Do you know what the muscle spasm since
 3       Q Which is the same place we looked at            3   pregnancy is that's referenced under the
 4   the October date from the last report.                4   complaint?
 5           It says up above under chief complaint,       5      A It says since after pregnancy.
 6   patient is here today for physical exam only; had     6      Q Uh-huh.
 7   blood work; eye exam; swelling lymph nodes; and       7      A I would think my back because this is
 8   looks like neck mass?                                 8   about when it started. 6/28. June. After my son
 9       A Uh-huh.                                         9   was a year.
10       Q Do you see that?                               10      Q Well, this, I guess, would actually be
11           Do you recall why you went to see            11   two years; right? June of 20 --
12   Dr. Major in May of 2017?                            12      A This is two years, okay.
13       A For this (indicating).                         13      Q This would have been last summer, I
14       Q Okay. You can see it a little bit              14   guess, before you --
15   there. Still there?                                  15      A This would have been --
16       A Yep, still there.                              16      Q I'm sorry. Go ahead.
17       Q Okay. As part of your examination with         17      A So this would have been after.
18   Dr. Major in May of 2017, and now I'm turning to     18      Q It seems like this would have been
19   the page that has 666 at the bottom of it -- it      19   before you were going to Costa Rica.
20   might be two pages later. It's got a -- it starts    20      A Yes, yes. So I would have already been
21   at the bottom of 65. It's the ROS section?           21   getting -- having trouble with this for a year.
22       A ROS, okay.                                     22      Q And that's your --
23       Q And again, I'm focusing the attention          23      A And I wanted to get physical -- I
24   on the reports in here that she -- that's            24   wanted to get therapy?
25   referring to you -- reports no depression, no        25      Q Got it. And that's your testimony;
                                               Page 95                                                 Page 97
 1   sleep disturbances, feeling safe in a                 1   that you believe it started about a year after
 2   relationship, no alcohol abuse, no anxiety, no        2   your -- his pregnancy. That's not reflected in
 3   hallucinations and no suicidal thoughts.              3   this report; right?
 4          MR. ZAJDEL: Hold on.                           4      A No.
 5       BY MR. SHAFFER:                                   5           MR. ZAJDEL: Objection. I think that
 6       Q And my question is the same as I asked          6   misstates facts. I just think you misspoke.
 7   you on the other report. This would be consistent     7           THE WITNESS: Can you restate?
 8   with how you reported to Dr. Major you were           8      BY MR. SHAFFER:
 9   feeling at that time?                                 9      Q I'll ask you the question again just to
10       A Yes.                                           10   make sure we're clear.
11       Q Okay. If we turn to the next report in         11      A Thank you.
12   here which is the page that starts 668 or ends       12      Q You were -- you were saying that -- I
13   with 668. Sorry.                                     13   think you testified here earlier today that the
14          If you look under the vitals section,         14   back pain that you were experiencing you think
15   it looks like this is a report of June 28th, 2018.   15   started about a year after Luka was born; right?
16       A Uh-huh.                                        16      A Yes.
17       Q Do you see that?                               17      Q Okay. And this report doesn't
18       A Yes.                                           18   reference --
19       Q Okay. And the chief complaint                  19      A It does --
20   referenced here is a follow-up. Patient complains    20      Q -- Monique has had back pain for the
21   of muscle spasm since pregnancy -- since after       21   past year; it just says muscle spasm since after
22   pregnancy. Also complains of right elbow pain and    22   pregnancy. It's not specific as to time.
23   lump on right side of neck.                          23      A Correct.
24          Do you recall what led you to go see          24      Q Okay. It also makes reference to right
25   Dr. Major in June of 2018?                           25   elbow pain. Do you know what that was?

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 1       A It was a pain in my right elbow. I             1          Okay. And you would have gone to see
 2   don't know why.                                      2   Dr. --
 3       Q Okay. Do you recall being treated for          3      A Major.
 4   it?                                                  4      Q -- Major for that?
 5       A The pain in my elbow?                          5      A Yes.
 6       Q Uh-huh.                                        6      Q And, again, looking at the report of
 7       A Yes.                                           7   that visit, if we turn to the page 674, there's
 8       Q Okay.                                          8   the ROS section. Again it reports, No fever, no
 9       A Dr. Major recommended that I get a             9   night sweats, no significant weight gain, no
10   brace -- a compression brace.                       10   significant weight loss, no exercise intolerance,
11       Q Uh-huh.                                       11   a bunch of other negative responses.
12       A That helped.                                  12           And then it again states, She reports
13       Q Okay. Looking again at the report             13   no depression, no sleep disturbances, feeling safe
14   again here from June of 2018, under the ROS         14   in a relationship, no alcohol abuse, no anxiety,
15   section, this is on page 670.                       15   no hallucinations and no suithidal -- suicidal
16          It references that you were reporting        16   thoughts.
17   arthralgias and joint pain.                         17           Correct?
18       A It was a shooting pain up my legs.            18      A It also says that I report no GERD, no
19       Q Okay. And so that was accurate in             19   vomiting blood, no hematuria, which are not things
20   terms of what was reflected there; correct?         20   that I would have been asked.
21       A Yes.                                          21      Q Okay. So you don't believe you were
22       Q Okay. And then later down in the              22   asked about these things?
23   report there, it states that she -- referring to    23      A I do not believe I was asked about
24   you -- reports no depression, no sleep              24   these each visit.
25   disturbances, feeling safe in a relationship, no    25      Q Okay. You were asked about them at
                                              Page 99                                                        Page 101
 1   alcohol abuse, no anxiety, no hallucinations, and    1   some visits?
 2   no suicidal thoughts; correct?                       2       A I don't ever remember being asked if I
 3       A Yes.                                           3   felt safe in a relationship by any doctor in my
 4       Q And that's what you would have reported        4   entire life.
 5   at that time to Dr. Major?                           5       Q Okay.
 6       A If he asked, then I would. But when I          6       A I've never been asked about many of
 7   go see a doctor, they don't ask you all of those     7   these things.
 8   questions every time.                                8       Q Turn to the report that is 676. Do you
 9       Q Okay. If we turn to page 672 are the           9   see that one?
10   last three, this is -- it looks like a visit to     10       A Uh-huh.
11   see Dr. Major again in July of 2018?                11       Q It looks like that's a visit on
12       A Yes.                                          12   July 20th, 2018, again to Dr. Major?
13       Q Do you see that?                              13       A Yes.
14           Okay. So that was an additional time        14       Q And this one says, Follow-up,
15   you went to see Dr. Major, after the June visit?    15   injection, lab review and injection, Tetanus shot.
16       A Yes. I'm looking to see why.                  16           Do you have a recollection of why you
17       Q Under the chief complaint box on 672,         17   went to see Dr. Major for this visit?
18   it says, Patient was seen in office today for a     18       A For my new job in Costa Rica.
19   physical exam only.                                 19       Q Okay. What -- what do you -- do you
20       A That may have been a requirement for my       20   recall either based on being refreshed by the
21   new job.                                            21   report or from your own memory why you went to see
22       Q Okay. You had to get a physical exam          22   Dr. Major on July 20th?
23   before you went to --                               23       A Because I needed a tetanus shot.
24       A Costa Rica.                                   24       Q Okay. Is that the only reason for the
25       Q -- Costa Rica?                                25   visit?

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 1       A I don't know, but I know I did need a           1   of those things with Dr. Major?
 2   tetanus shot for my job, and that's on here.          2       A Correct.
 3       Q If you turn to page 677, which is the           3       Q Do you think you discussed back pain
 4   second page of that report, if you look under some    4   with Dr. Major?
 5   of the boxes on this page, including family           5       A Yes.
 6   history, social history, surgical history,            6       Q Do you think you discussed the
 7   gynecological history, all of those expressly         7   location, quality, severity, alleviating factors
 8   state that history was not reviewed at this visit;    8   and aggravating factors with Dr. Major?
 9   correct?                                              9       A Yes, I did.
10       A Where is this? Reviewed, okay.                 10       Q Okay.
11       Q Sorry. If you look under problems, it          11       A I do believe I did. I was not asked on
12   says, Problems not reviewed, last reviewed           12   every visit that I went to Dr. Major whether or
13   May 2017. Same thing with family history, social     13   not I was experiencing sinus problems or
14   history, surgical history, GYN history, obstetric    14   depression or GERD, and so I doubt that I was
15   history.                                             15   asked about all of these things unless I
16       A Yes.                                           16   specifically said these are my symptoms.
17       Q Okay. On page 8 -- 678 where you've            17       Q Which one of these appointments with
18   got HPI and ROS and physical exam, none of those     18   Dr. Major did you talk about Dr. Akoda?
19   states not reviewed; correct?                        19       A I don't know. It would have been -- I
20       A HPI, ROS, yes.                                 20   don't know.
21       Q Yes. None of those make that same              21       Q Okay.
22   reference?                                           22          MR. SHAFFER: Let's take another short
23       A Correct.                                       23   five-minute break if that's okay.
24       Q Okay.                                          24          THE VIDEOGRAPHER: Off the record at
25       A What does ROS stand for?                       25   4:20.
                                              Page 103                                                     Page 105
 1       Q I guess would be report on symptoms,            1          (Recess -- 4:20 p.m.)
 2   but I'm not a doctor either, so I tried to answer     2          (After recess -- 4:31 p.m.)
 3   it to the best of my ability.                         3          THE VIDEOGRAPHER: We are back on the
 4           And if you look under the ROS                 4   record at 4:31.
 5   section -- well, if you look under the HPI            5       BY MR. SHAFFER:
 6   section, you see a reference to back pain reported    6       Q Okay. Ms. Russell, we're back on the
 7   by patient; correct?                                  7   record. Do you understand you're still under
 8       A Yes.                                            8   oath?
 9       Q And I think you've described that               9       A Yes.
10   before and said that's accurate. At the time last    10       Q Great.
11   summer you were feeling back pain; correct?          11          (Russell Deposition Exhibit 5 was
12       A Yes.                                           12   marked for identification and attached to the
13       Q And under the ROS section you also             13   transcript.)
14   reported back pain; correct?                         14       BY MR. SHAFFER:
15       A Yes, except that it also says no muscle        15       Q I'll hand you what's been marked as
16   aches which is not -- I could not have back pain     16   Russell 5, which I understand to be a screenshot
17   without muscle aches, so this doesn't really make    17   from your posting in the mommy group that we
18   sense.                                               18   talked about this morning.
19       Q Okay. And, so, you think again that            19       A Yes.
20   none of the items that were in the ROS discussion    20       Q And I guess it's not just a mommy
21   which again here in July of 2018 states that she     21   group. It's the MaMa Sisterhood of Prince
22   reports no depression, no sleep disturbances,        22   George's County?
23   feeling safe in a relationship, no alcohol abuse,    23       A Yes.
24   no anxiety, no hallucinations and no suicidal        24       Q Did you name it that?
25   thoughts, you believe that you didn't discuss any    25       A I did not. I did not start the group.

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 1      Q Okay. So this was an existing kind of           1      Q     Understood.
 2   mom's Web site, and you posted this posting --       2           But it sounds like it's all in one
 3      A Yes.                                            3   place and it's a running list of comments like you
 4      Q -- to that group?                               4   would see on Facebook --
 5      A Yes.                                            5      A Yes.
 6      Q Did you have to be invited to join that         6      Q -- in response to any post; right?
 7   group?                                               7      A Yes.
 8      A No, you have to request to join it              8      Q And, so, it is possible for somebody to
 9   which I would have done probably during my           9   take screenshots or send a link or something to be
10   pregnancy.                                          10   able to get those comments; right?
11      Q Uh-huh. And -- and, so, you had been a         11      A It's possible to take screenshots, but
12   part of this group before you posted this?          12   you wouldn't be able to access a link unless you
13      A Yes.                                           13   were a member of the group.
14      Q Okay. And it looks like you posted             14      Q Got it.
15   this around June 27th, 2017; correct?               15           But you could do screenshots even if
16      A Yes.                                           16   you had to piece it together like we did with
17      Q Okay. And looking at Russell 5,                17   your --
18   there's some text underneath your name and the --   18      A Yes.
19   the date and time.                                  19      Q -- text with Ms. Riggins; right?
20           Did you write that?                         20      A Yes.
21      A Yes.                                           21      Q Okay. Is that something that you could
22      Q Okay. And did anybody help you write           22   do if we asked your lawyers for copies of the
23   that or you wrote that yourself?                    23   comments that go along with this post? You'd be
24      A No, I wrote that myself.                       24   physically able to do it?
25      Q Okay. And then you have a link, it             25      A Yes.
                                             Page 107                                                  Page 109
 1   looks like, at the bottom of the post to the         1           MR. SHAFFER: Okay. Counsel, we're
 2   Department of Justice press release for              2   going to make a request for the complete posting
 3   Dr. Akoda's guilty plea?                             3   and comments that are associated with
 4       A Yes.                                           4   Ms. Russell's posting here that is Russell 5 and
 5       Q Okay. What happens in the group once           5   that she indicated are in response to her posting
 6   you post something like this?                        6   about Dr. Akoda. They're -- they're responsive to
 7       A People can comment on it.                      7   numerous of our request for production of
 8       Q Okay. Did anyone comment on this?              8   documents, and so we would -- we would ask for
 9       A Many people did.                               9   those as soon as possible and hopefully don't need
10       Q Okay. And can you see -- do the               10   to ask follow-up questions of Ms. Russell about
11   comments come back to you?                          11   those, but at a minimum, we need to see them.
12       A Anyone in the group can see the               12           MR. ZAJDEL: We'll -- we'll look into
13   comments.                                           13   it. I've never tried to produce something like
14       Q Okay. And did you get -- you were able        14   that, so we'll see what we can come up with.
15   to look at the comments because you're in the       15           MR. SHAFFER: Great.
16   group; correct?                                     16       BY MR. SHAFFER:
17       A Yes.                                          17       Q Is that something that people could
18       Q Okay. Do you have access to the               18   still post to today? It's like a living post?
19   comments that are associated with this?             19   Somebody could add a post today or it closed up at
20       A Yes.                                          20   some point in time?
21       Q Okay. Did you send those comments to          21       A I don't know if it's still open.
22   Cory or any other of your lawyers?                  22       Q Okay. But you were able to go to this
23       A No. They're difficult to -- to                23   either yesterday or over the weekend to be able to
24   screenshot like that because it would be a long     24   screenshot this post at least?
25   list.                                               25       A Yes. You can still find it. I don't

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 1   know if you can still comment on it or not.           1       Q Okay. It is your understanding that in
 2      Q Got it. Okay. All right. Well, we                2   addition to being able to pursue the case in the
 3   made our request and so we'll move on to some         3   future if you want, that you will receive money in
 4   other questions.                                      4   the future in connection with dismissing the case?
 5          We talked a little bit earlier about           5       A No.
 6   the lawsuit that you filed in Maryland. Is that       6       Q Okay. Did you dismiss the case because
 7   case still active today?                              7   any of the facts that you provided in connection
 8      A No, it's not.                                    8   with that litigation you believe now are false?
 9      Q Okay. What's your understanding of the           9       A No.
10   current status of that case?                         10       Q Okay. You believe that the answers,
11      A That it's been dismissed.                       11   for example, to interrogatories that you provided
12      Q Okay. And when did you -- when did you          12   under oath in that litigation are still true and
13   find out that it was dismissed?                      13   correct to the best of your understanding?
14      A I'm not sure.                                   14       A To the best of my knowledge.
15      Q Okay. Do you know whether -- well, you          15       Q Okay. And answers that you gave to
16   were consulted before you filed the case; right?     16   requests for admissions that were asked of you,
17      A Before I filed the case in the first            17   written questions to admit or deny a particular
18   place?                                               18   fact that you answered in that litigation are
19      Q Uh-huh.                                         19   still true and correct to the best of your
20      A Yes.                                            20   knowledge?
21      Q Okay. Were you consulted before you             21       A To the best of my knowledge.
22   dismissed the case?                                  22       Q Okay. And do you know when the case
23      A Yes.                                            23   was dismissed?
24      Q Okay. What's your understanding of the          24       A I don't know exactly.
25   terms on which your case has been dismissed?         25       Q Okay.
                                              Page 111                                                         Page 113
 1       A That it's not active right now, but I           1           (Russell Deposition Exhibit 6 was
 2   intend to pursue it later, and if I want to, then     2   marked for identification and attached to the
 3   I can.                                                3   transcript.)
 4       Q Okay. And what do you mean it's not             4           THE WITNESS: (Reviews document.)
 5   active but you can pursue it later?                   5       BY MR. SHAFFER:
 6       A Like if I want to go back and continue          6       Q Okay. Ms. Russell, I've given you
 7   to sue the hospital, that I can.                      7   what's been marked as Exhibit 6, and it's a
 8       Q Okay. And did you have any discussions          8   stipulation of dismissal without prejudice. That
 9   with anyone other than your lawyers about             9   if you turn to the last page called a certificate
10   dismissing that case?                                10   of service, it says that it was mailed on
11       A No.                                            11   September 3rd, 2019, so about two weeks ago.
12       Q Did you receive any money in connection        12       A Okay.
13   with dismissing that case?                           13       Q Do you see that?
14       A No.                                            14       A Yeah.
15       Q Did you -- did you consult with members        15       Q Does that refresh your recollection as
16   of the putative class you were representing in the   16   to when you dismissed your case against Dimensions
17   case before you dismissed the case?                  17   Health Care in Maryland?
18       A I acted on advice of my counsel.               18       A I guess so, but I'm in Costa Rica, so
19       Q But did you speak with any of those            19   when we discuss things and when things are -- are
20   class members before you dismissed the case?         20   exactly happening or dated, there's -- it's not
21       A No. The only class member that I've            21   always clear or then they -- we talk and then this
22   spoken to is Jasmine Riggins, and you have the       22   happens the next day.
23   conversation that we had.                            23       Q Okay. So it would have been sometime
24       Q Okay. And that was in 2017?                    24   before September 3rd, but might have been earlier
25       A Yes.                                           25   than September 2nd?

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 1       A Yes.                                                 1   you filed you made numerous allegations that
 2       Q Okay. And have you seen this document                2   Dimensions had been negligent in doing all those
 3   itself before I showed it to you now?                      3   things; right?
 4       A I believe I have it in my email.                     4       A Well, if he used three different Social
 5       Q Okay. And do you know who Christina                  5   Security numbers and if he were fingerprinted the
 6   Dews is?                                                   6   way that I am in -- as a D.C. public school
 7       A I do not.                                            7   teacher, then I would assume that they would be
 8       Q Do you know who Latisa Gaymon is?                    8   able to catch that.
 9       A I do not recognize any of the names of               9       Q Right. And, again, I think -- I
10   the other plaintiffs other than Jasmine Riggins.          10   think -- I'm just trying to make sure I understand
11       Q And you've never spoken with any of                 11   it -- your -- your belief was they didn't do that
12   them?                                                     12   and the steps that Dimensions did take were not
13       A Not to my knowledge.                                13   appropriate and, in fact, were below the standard
14       Q In the second paragraph of the first                14   that they should have done; correct?
15   page, it says that the parties further agree and          15       A I believe that of Dimensions and of the
16   stipulate that the filing of case numbers                 16   commission that certifies foreign medical
17   CAL-17-22761, and the other two numbers, the              17   graduates.
18   earliest of which was filed on September 7, 2017,         18       Q And you didn't say the foreign medical
19   had the effect of tolling any applicable statutes         19   graduates piece in your Maryland litigation;
20   of limitations, statutes of repose or other               20   right?
21   time-based defenses on behalf of patients of              21       A I don't know.
22   Oluwafemi Charles Igberase, a/k/a Charles Akoda           22           (Russell Deposition Exhibit 7 was
23   during the pendency of this litigation as to              23   marked for identification and attached to the
24   claims arising out of defendants' credentialing,          24   transcript.)
25   supervising, retaining and employment of Akoda and        25       BY MR. SHAFFER:
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 1   those claims set forth in the class action                 1      Q Ms. Russell, I've handed you what's
 2   complaints.                                                2   been marked as Exhibit 7, and these are Plaintiff
 3          Do you see that?                                    3   Monique Russell's Responses to Defendants'
 4      A Yes.                                                  4   Requests for Admissions in the Dimensions Health
 5      Q What does that mean?                                  5   Corporation lawsuit that you filed in Prince
 6          MR. ZAJDEL: Objection: calls for a                  6   George's County, Maryland.
 7   legal conclusion.                                          7           Do you see that?
 8          You can answer.                                     8      A Yes.
 9          THE WITNESS: I don't know the                       9      Q Have you seen this document before?
10   legalese, but my understanding is that it's               10      A Yes.
11   dismissed, but that I or any of the other class           11      Q And as we were talking before, this is
12   members can continue to pursue it at any time.            12   one of the sets of discovery or information
13      BY MR. SHAFFER:                                        13   requests that were asked of you by Dimensions'
14      Q Do you know who Thomas Bojko is?                     14   lawyers in that case in Maryland; correct?
15      A No.                                                  15      A Yes.
16      Q Did you ever see any documents in                    16      Q And you -- you, under the rules, were
17   connection with your lawsuit in Maryland against          17   to provide written admits or denies in response to
18   Dimensions Health Corp. that related to                   18   these requests and worked with your lawyers to do
19   conclusions about whether Dimensions had been             19   that; correct?
20   negligent in its hiring, supervising,                     20      A Yes.
21   credentialing, background checks of Dr. Akoda?            21      Q And did you, in looking at these, have
22      A Did I ever see any documents --                      22   a chance to review these before they were sent to
23      Q Speaking to that issue.                              23   the lawyers for Dimensions?
24      A Not to my knowledge.                                 24      A Yes.
25      Q You're aware that in the complaint that              25      Q And when you sent them, were they true

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 1   and correct to the best of your knowledge?                1   way through, he faked his way through ECFMG?
 2       A To the best of my knowledge.                        2      A Right. ECFMG accepted fake documents.
 3       Q Okay. And as you sit here today,                    3      Q Or that he submitted fake documents to
 4   when's the last time you looked at these?                 4   ECFMG?
 5       A I looked over all of the documents,                 5      A Which they accepted.
 6   about a hundred pages of documents yesterday.             6      Q Request number 9 says, You did not and
 7       Q Okay.                                               7   have not specifically verified the facts about the
 8       A And looked through a little bit more                8   qualifications to practice medicine of the
 9   earlier today.                                            9   individual known to defendants at Dr. Akoda, which
10       Q Okay. Do you know whether this                     10   were provided to you as the basis of the events
11   particular set of responses was part of that?            11   giving rise to your claim.
12       A I believe so, but I'm not sure.                    12           And you admitted that; correct?
13       Q Okay. I want to ask you about a couple             13      A Right. I did not call his school to
14   of them in particular just to make sure that we're       14   verify.
15   refreshed and that you're not changing your answer       15      Q Any of the qualifications of his to
16   on any of these.                                         16   practice medicine; correct?
17           If we look at request number 6, which            17      A Any of the qualifications? Such as?
18   is on the page 790, it asks that you admit at this       18      Q Such as whether he had applied for,
19   time you are still unaware that the individual           19   been accepted to and completed an accredited
20   known to defendants as Akoda had been certified by       20   residency program at Howard University Hospital.
21   ECFMG to practice medicine, had applied for, was         21           You didn't verify any facts about that?
22   accepted and successfully completed an accredited        22      A I did look up credentials.
23   residency program through Howard University              23      Q How about specifically with respect to
24   Hospital, was licensed to practice medicine in you       24   his application, acceptance and completion of an
25   the state of Maryland, was licensed to practice          25   accredited residency program through Howard
                                                  Page 119                                                     Page 121
 1   medicine in the Commonwealth of Virginia and was          1   University Hospital?
 2   board certified by the American College of                2       A I did not.
 3   Obstetricians and Gynecologists.                          3       Q How about --
 4           In response you said, Denied that Akoda           4       A I saw that he was board certified.
 5   had been certified by ECFMG to practice medicine.         5       Q How about through his licensure to
 6           Do you see that?                                  6   practice medicine in the state of Maryland?
 7      A Uh-huh.                                              7       A I did look to see that he was on the
 8      Q Why did you deny that Akoda had been                 8   Web site for licensed doctors.
 9   certified by ECFMG to practice medicine?                  9       Q How about whether he was licensed to
10      A I don't know, and I don't quite                     10   practice medicine in the Commonwealth of Virginia?
11   understand -- you're unaware that this person is         11       A No.
12   certified. I don't really understand what request        12       Q And how about if he was board certified
13   number 6 is saying.                                      13   by the American College of Obstetricians and
14      Q Do you see that you denied that Akoda               14   Gynecologists?
15   had been certified by ECFMG to practice medicine?        15       A I saw it, but I did not go to the
16      A Yes.                                                16   board.
17      Q Do you -- so is it your position that               17       Q Okay. Request number 12, turning back
18   Dr. Akoda had not been certified by ECFMG to             18   to page 791, says, You claim that you suffer from
19   practice medicine?                                       19   post-traumatic stress disorder as result of
20      A No, I believe that he was -- he faked               20   allegations against defendants.
21   his way through certification.                           21           And you denied that; correct?
22      Q Okay. And that's the reason that you                22       A Yes.
23   denied the request?                                      23       Q You're not claiming post-traumatic
24      A Yes.                                                24   stress disorder?
25      Q Okay. And when you say he faked his                 25       A No.

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 1       Q Request number 18 at the bottom of 792          1       Q Is that true today?
 2   says, You do not suffer depression as a result of     2       A Since you brought up the timeline of
 3   the events giving rise to your claim.                 3   when my back pain started, I'm not sure that it's
 4          And you admit that; correct?                   4   true.
 5       A Correct.                                        5       Q Okay. And this is your reference to
 6       Q You're not claiming that you suffer             6   your testimony that about a year after your son
 7   from depression as a result of the events             7   was born, you started having back pain?
 8   involving Dr. Akoda?                                  8       A Yes.
 9       A No.                                             9       Q And request number 40 says, You have
10       Q And request number 24 -- I'm jumping           10   never been diagnosed with a physical injury
11   ahead a little bit to try to move this along, 794,   11   resulting from your allegations against the
12   question number 24, says, You have never been        12   defendants.
13   formally diagnosed with depression.                  13            And that's admitted; correct?
14          And you admit that; correct?                  14       A Correct.
15       A Correct. I did see a doctor after --           15       Q Is that true today?
16   my family doctor after my sister died who            16       A Again, I don't know if my back pain is
17   prescribed antidepressants --                        17   related to that because of the timeline.
18       Q Uh-huh.                                        18       Q Okay. And no doctor has told you that
19       A -- but I was not formally diagnosed.           19   it is related to that --
20       Q And since June of 2017, no diagnosis or        20       A No.
21   treatment for depression of any kind?                21       Q -- correct?
22       A No.                                            22       A But I've not talked to any doctor I've
23       Q On page 795, request 31 says, You claim        23   seen for my back pain about Akoda.
24   that you suffer from anxiety as a result of your     24       Q Other than Dr. Major?
25   allegations against the defendants.                  25       A Yes, but Dr. Major didn't treat my back
                                              Page 123                                                 Page 125
 1      A Yes.                                             1   pain. He just referred me out to be treated.
 2      Q And you admit that, so you do say you            2        Q Okay. And he did not, in the reports
 3   have anxiety from these issues; correct?              3   that we saw from the summer of 2018, associate
 4      A Yes.                                             4   your back pain with any of the allegations
 5      Q Okay. And 32 says, You claim that                5   regarding Dr. Akoda; correct?
 6   you're alleged anxiety has affected your              6        A The reports that we show don't say
 7   relationship with your family.                        7   anything about what he attributes the pain to at
 8          And you deny that --                           8   all.
 9      A Yes.                                             9        Q And they don't make any reference to
10      Q -- correct?                                     10   Dr. Akoda?
11          So you have anxiety, but it's not             11        A No. Which would not make sense to put
12   affected your relationship with your family?         12   into a medical report.
13      A Correct.                                        13        Q Even if the patient had reported that
14      Q Okay. And 37 on the next page says,             14   was the basis for -- for coming to see the doctor?
15   You have never been formally diagnosed with          15        A I didn't go to see the doctor because
16   anxiety.                                             16   of Akoda. I went to see the doctor because of the
17          That's correct?                               17   back pain. Whether or not the stress from
18      A Correct.                                        18   discovering that my doc -- my baby was delivered
19      Q And 39 says, You claim that you suffer          19   by a fake doctor contributed to my back pain, I
20   from physical pain as a result of your allegations   20   didn't know at the time. I still don't know. And
21   against the defendants.                              21   Dr. Major wouldn't have had any reason to write
22          And that is denied?                           22   that in the report.
23      A That is correct.                                23        Q And who did he refer you out to?
24      Q Okay.                                           24        A To ATI Physical Therapy.
25      A That's what I wrote.                            25        Q Okay. And has ATI Physical Therapy

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 1   attributed your back pain to issues with                1       Q Request number 53 at the bottom of 798
 2   Dr. Akoda?                                              2   says, You have not done any independent research
 3       A They don't know anything about issues             3   to determine the status of ECFMG certification,
 4   with Dr. Akoda.                                         4   residency program completion, licensure or board
 5       Q And so the answer is, no, they have               5   certification for the individual known to
 6   not; correct?                                           6   defendants as Akoda.
 7       A That is correct.                                  7           And you admitted that; correct?
 8       Q Looking at paragraph 45 on page 797,              8       A Yes.
 9   that says that you claim that you suffer                9       Q Is that true today?
10   difficulty sleeping as a result of your                10       A Correct. I've been notified, but I
11   allegations against the defendants.                    11   haven't done any research to find these things.
12           And that's denied; correct?                    12       Q What do you mean you've been notified?
13       A Yes.                                             13       A Like I was notified that -- after he
14       Q So you are not claiming that you suffer          14   was kicked out of the residency program in New
15   difficulty sleeping as a result of the                 15   Jersey, that they reported it to ECFMG, but that's
16   allegations?                                           16   all.
17       A No, I'm not.                                     17       Q And how were you notified of that?
18       Q Okay. In request number 47, you were             18       A In the legal documents.
19   asked whether you suffer from permanent disability     19       Q This is the transcript of the federal
20   as a result of the care you received from              20   court trial or something else?
21   Dr. Akoda, and you said that emotional --              21       A No. I'm not sure.
22   plaintiff's emotional injuries are permanent;          22       Q Okay. Do you believe the competency to
23   correct?                                               23   practice medicine includes honesty and
24       A Correct.                                         24   truthfulness?
25       Q You admit that the last time you saw             25       A Yes, I do.
                                                 Page 127                                                 Page 129
 1   Dr. Akoda was on or about May 28th, 2016; correct?      1       Q And as to what -- and do you believe
 2      A Correct.                                           2   that a physician who lies about anything is not
 3      Q Is that accurate?                                  3   competent to treat patients?
 4      A That would have been when I was                    4       A No, but I believe that a physician who
 5   discharged from the hospital.                           5   lies about his credentials is not competent to
 6      Q Paragraph 49 -- request 49, sorry, it              6   practice medicine.
 7   says, you claim your alleged permanent disability       7       Q Okay. Have you ever reported any
 8   has affected your relationship with your family.        8   concerns about Dr. Akoda's competency to practice
 9          And you denied that; correct?                    9   medicine to any law enforcement or hospital
10      A Correct.                                          10   personnel at any time?
11      Q So your emotional injuries you denied             11       A No. At the time that I discovered,
12   have an affect on your relationship with your          12   Dr. Akoda was in -- awaiting sentencing for fraud.
13   family?                                                13       Q Okay. Do you know what he's doing
14      A Correct.                                          14   today?
15      Q Is that true today?                               15       A I do not.
16      A They had relationship on our sex life             16       Q Jumping ahead to page 807 and request
17   but not our relationship.                              17   number 99, it says, You do not claim that you were
18      Q And request number 50 is that you have            18   abused sexually by Dr. Akoda; correct?
19   never been diagnosed with a permanent disability;      19       A That is correct.
20   correct?                                               20       Q And you admitted -- your answer is an
21      A Correct.                                          21   admittance so you're not claiming that; correct?
22      Q And that is accurate today?                       22       A I'm not claiming that.
23      A Yes.                                              23       Q And request number 101 says, During
24      Q Okay.                                             24   your visits with Dr. Akoda you never felt as if
25      A My ears just popped. Finally.                     25   you were being abused sexually.

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 1           And you admit that; correct?                     1          Are you aware of that?
 2       A I do.                                              2      A Yes.
 3       Q So you did not feel that during your               3      Q And is it fair to say that having
 4   visits with Dr. Akoda that you were being abused         4   reviewed those documents that your experience with
 5   sexually?                                                5   Dr. Akoda is your personal experience; it's
 6       A At the time I did not feel that way.               6   certainly not the same as anyone else's; right?
 7       Q Do you believe -- do you feel that way             7      A I would believe that many of the women
 8   now?                                                     8   have different experiences.
 9       A I feel violated for a fake doctor to be            9      Q And -- and you haven't talked to any of
10   in my vagina, yes. I feel like I'm a victim of          10   them other than what we've talked about with
11   sexual assault now.                                     11   Ms. Riggins to know exactly how different or
12       Q Have you reported that to the                     12   varied they may be; correct?
13   authorities?                                            13      A Right. And I have not talked to
14       A No, that's why I'm doing a class action           14   Ms. Riggins about the details of her experience.
15   lawsuit so that every woman who he has ever seen        15      Q Apart from the comment section of that
16   can be notified.                                        16   Facebook mommy group post, have you posted any
17       Q Do you know whether any of them have              17   other information about Dr. Akoda anywhere on the
18   been notified?                                          18   Internet, Twitter or Instagram or other apps?
19       A I'm sure some have because there have             19      A Not on any other social media or sites,
20   been ads, I understand. I posted where I could          20   and I don't think on any other groups because I
21   notify women. So I know that some have. I don't         21   think that is the only group that would be
22   know how many women there are over the close to         22   relevant.
23   ten years that he's been doing this who would           23      Q And when are you returning to Costa
24   still need to be notified.                              24   Rica?
25           MR. SHAFFER: Let's go off the record            25      A On Wednesday.
                                                  Page 131                                                          Page 133
 1   for a second.                                            1     Q    And have you decided what your plans
 2           THE VIDEOGRAPHER: Off the record at              2 are at the end of your contract year this year?
 3   5:03.                                                    3     A    We have not. My husband and I are
 4           (Recess -- 5:03 p.m.)                            4 still discussing.
 5           (After recess -- 5:06 p.m.)                      5         MR. SHAFFER: I thank you for your time
 6           THE VIDEOGRAPHER: Back on the record             6 this afternoon. I appreciate you coming. I don't
 7   at 5:06.                                                 7 have any questions. We obviously reserve the
 8       BY MR. SHAFFER:                                      8 right to have to ask additional questions related
 9       Q Ms. Russell, we're back on the record.             9 to the documents we don't have, but I appreciate
10   You understand you're still under oath?                 10 the time in answering our questions.
11       A Yes.                                              11         MR. ZAJDEL: I'm going to -- I'm going
12       Q Okay. Apart from the answers you've               12 to ask, if you don't mind.
13   given me today, and I appreciate your willingness       13         MR. SHAFFER: Yeah.
14   to talk about some of those things, are there any       14     EXAMINATION BY COUNSEL FOR THE PLAINTIFFS
15   other emotional experiences or conditions or            15     BY MR. ZAJDEL:
16   impacts from Dr. Akoda that we haven't talked           16     Q    Do you -- is it your belief that Akoda
17   about already that you believe you're experiencing      17 should have touched any of the women who you are
18   from having found out about his guilty plea in          18 trying to represent in this case?
19   2017?                                                   19     A    Absolutely not. If I had known what I
20       A I believe we've covered everything.               20 know about him now, I would have never allowed him
21       Q In some of the all- -- in some of the             21 to touch me.
22   pleadings that you filed whether in Maryland or         22         MR. ZAJDEL: That's all I have.
23   Pennsylvania related to the Dr. Akoda situation,        23         MR. SHAFFER: Nothing further at this
24   you've made references to the circumstances of          24 time.
25   other women who were treated by Dr. Akoda.              25         MR. ZAJDEL: Okay.

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 1        THE VIDEOGRAPHER: All right. That is                      1        ACKNOWLEDGMENT OF DEPONENT
 2 everything. We are off the record at -- on                       2        I, Monique Russell, do hereby
 3 September 16th, 2019, at 5:10 p.m.                               3 acknowledge that I have read and examined the
 4                                                                  4 foregoing testimony, and the same is a true,
 5                                                                  5 correct and complete transcription of the
 6                                                                  6 testimony given by me and any corrections appear
 7        (Signature having not been waived, the                    7 on the attached Errata sheet signed by me.
 8 Videotaped Deposition of MONIQUE RUSSELL ended at                8
 9 5:10 p m.)                                                       9
10                                                                 10
11                                                                 11 _____________________        ______________________
12                                                                 12 (DATE)                 (SIGNATURE)
13                                                                 13
14                                                                 14
15                                                                 15        CERTIFICATE OF NOTARY PUBLIC
16                                                                 16 Sworn and subscribed to before me this
17                                                                 17 _______ day of _______________, _________
18                                                                 18
19                                                                 19
20                                                                 20 _____________________        ______________________
21                                                                 21 NOTARY PUBLIC                MY COMMISSION EXPIRES
22                                                                 22
23                                                                 23
24                                                                 24
25                                                                 25

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 1 CERTIFICATE OF SHORTHAND REPORTER - NOTARY PUBLIC
 2         I, Dana C. Ryan, Registered Professional
 3 Reporter, Certified Realtime Reporter, the officer
 4 before whom the foregoing proceedings were taken
 5 do hereby certify that the foregoing transcript is
 6 a true and correct record to the best of my
 7 ability of the proceedings; that said proceedings
 8 were taken by me stenographically and thereafter
 9 reduced to typewriting under my supervision; and
10 that I am neither counsel for, related to, nor
11 employed by any of the parties to this case and
12 have no interest, financial or otherwise, in its
13 outcome.
14         IN WITNESS WHEREOF, I have hereunto set
15 my hand and affixed my notarial seal this 26th day
16 of September 2019.
17 My Commission expires:
18 July 15, 2020
19
20
21
22 _____________________________
23 NOTARY PUBLIC IN AND FOR THE
24 DISTRICT OF COLUMBIA
25


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                            Jasmine

 1                    IN THE UNITED STATES DISTRICT COURT
 2                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 3

 4     --------------------------------
 5     MONIQUE RUSSELL, JASMINE
       RIGGINS, ELSA M. POWELL, and
 6     DESIRE EVANS,
                         Plaintiffs,                 Case No. 18-5629
 7              v.
       EDUCATIONAL COMMISSION FOR
 8     FOREIGN MEDICAL GRADUATES,
                         Defendants.
 9     --------------------------------
10                                Washington, D.C.
11                           Friday, September 12, 2019
12                   Deposition of JASMINE RIGGINS, a witness
13      herein, called for examination by counsel for the
14      Defendant in the above-entitled matter, pursuant
15      to notice, the witness being duly sworn by Barbara
16      DeVico, a Notary Public in and for the District of
17      Columbia, taken at the offices of MORGAN, LEWIS &
18      BOCKIUS, LLP, 1111 Pennsylvania Avenue,
19      Washington, D.C., at 11:33 a.m.,
20      Thursday,September 12, 2019, and the proceedings
21      being taken down by Stenotype by BARBARA De VICO,
22      CRR, RMR, and transcribed under her direction.
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 1   APPEARANCES:                                          1              PROCEEDINGS
 2    On Behalf of the Plaintiffs                          2             THE VIDEOGRAPHER: This is the
 3      CORY L. ZAJDEL, ESQUIRE                            3        start of the videotaped deposition of
 4      Z LAW, LLC                                         4        Jasmine Riggins in the matter of Monique
 5      2345 York Road, #B-13                              5        Russell et al. versus Educational
 6      Timonium, MD 21093                                 6        Commission for Foreign Medical Graduates
 7                                                         7        in the United States District Court for
 8     On behalf of the Defendant:                         8        the Eastern District of Pennsylvania.
 9       BRIAN W. SHAFFER, ESQUIRE                         9             This deposition is being held at
10       MORGAN, LEWIS & BOCKIUS, LLP                     10        Morgan Lewis, 1111 Pennsylvania Avenue, NW
11       1701 Market Street                               11        about, Washington, D.C. on September 12,
12       Philadelphia, PA 19103-2921                      12        2019, at approximately 11:34 a m.
13       brian.shaffer@morganlewis.com                    13             My name is Nam Ngo from Golkow
14                                                        14        Litigation Services, and I'm the legal
15                                                        15        video specialist. The court reporter is
16                                                        16        Barbara DeVico. Would counsel please
17   Also Present: Nam Ngo, Videographer                  17        introduce yourself.
18                                                        18                  (Attorneys stated their
19                                                        19             appearances for the record.)
20                                                        20             THE VIDEOGRAPHER: Would the court
21                                                        21        reporter please swear in the witness.
22                                                        22             ***********************
23                                                        23
24                                                        24
25                                                        25

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 1           TABLE OF CONTENTS                             1                 JASMINE RIGGINS,
 2             WITNESSES                                   2   having been called as a witness on behalf of the
 3 WITNESS                     PAGE                        3    Plaintiffs and having been first duly sworn, was
 4 BY MR. SHAFFER                   5
                                                           4    examined and testified as follows:
 5
 6
                                                           5   EXAMINATION BY
 7
                                                           6   MR. SHAFFER:
   ______________________EXHIBITS______________________    7         Q. Ms. Riggins, good morning.
 8                                                         8         A. Good morning.
     EXHIBIT        DESCRIPTION         PAGE               9         Q. We met very briefly this morning.
 9                                                        10   My name is Brian Shaffer. I'm an attorney that
     Exhibit 1   Medical records   36                     11   represents the defendant in a lawsuit that you and
10                                                        12   several other plaintiffs have brought. My client
11
12
                                                          13   is the Educational Commission for Foreign Medical
13
                                                          14   Graduates, ECFMG. Do you understand that if I call
14                                                        15   it ECFMG what we're referring to?
15                                                        16         A. Yes.
16                                                        17         Q. Great. We're here to take your
17                                                        18   deposition in connection with the lawsuit that you
18                                                        19   filed in Pennsylvania against ECFMG, correct?
19                                                        20         A. Correct.
20
                                                          21         Q. And have you had your deposition
21
22
                                                          22   taken before?
23
                                                          23         A. Yes.
24                                                        24         Q. How many times?
25                                                        25         A. Once.

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 1         Q. And was that earlier this year?                 1   I'm just trying to make sure there's no confusion
 2         A. Yes.                                            2   as to what you meant when you shake your head.
 3         Q. Okay. Was that in connection with               3         Is that fair?
 4   another lawsuit that you filed?                          4         A. Yes.
 5         A. Yes.                                            5         Q. We'll take a break at any point that
 6         Q. And was that a lawsuit that was                 6   you need to today as long as there's not a question
 7   filed in Maryland against Dimensions Healthcare?         7   that's pending. This isn't an endurance contest.
 8         A. Yes.                                            8   If you need to take a break for any reason, we'll
 9         Q. And that's the only deposition                  9   do that, okay?
10   you've ever given besides this one?                     10         A. Okay.
11         A. Correct.                                       11         Q. There are some topics that we may
12         Q. Okay. A few ground rules just to               12   talk about today about your personal health that
13   remind you about how a deposition works.                13   may be sensitive or uncomfortable, and I apologize
14         The oath that you gave this morning is the        14   for that. I'm not trying to be intrusive. But
15   same one that you would give in a courtroom before      15   there are certain questions that I may need to ask,
16   a judge and a jury.                                     16   and I'm going to try to do that as best I can. If
17         Do you understand that?                           17   you feel uncomfortable about that, will you let me
18         A. Yes.                                           18   know?
19         Q. And we're here to ask you some                 19         A. Yes.
20   questions and get your best answer and                  20         Q. Thank you.
21   understanding as to those questions.                    21         Do you have any questions before we begin
22         Do you understand that?                           22   the deposition?
23         A. Yes.                                           23         A. No.
24         Q. If I ask a question and you don't              24         Q. What did you do to prepare, if
25   understand what I'm asking, will you tell me that?      25   anything, for coming in here today?
                                                   Page 7                                                    Page 9
 1          A. Yes.                                           1        A. Just practiced, talked to my
 2          Q. And I'll be happy to try to correct            2   attorneys.
 3   it. That's what I want you to tell me.                   3        Q. Okay. So you met with your
 4          A. Okay.                                          4   attorney, Mr. Zajdel, who is here with us this
 5          Q. If you don't hear me, the court                5   morning?
 6   reporter can read the question back or I'll repeat       6        A. Yes.
 7   the question for you. Is that fair?                      7        Q. How many times did you meet with him
 8          A. Sure.                                          8   to prepare for the deposition?
 9          Q. We're taking your testimony down               9        A. Just once.
10   both by the court reporter here that will come in a     10        Q. When was that?
11   little booklet on a page as well as on a videotape.     11        A. No. Tuesday. I spoke with Cory,
12          Do you understand that?                          12   I'm sorry. Not Cory, David, my apologies.
13          A. Yes.                                          13        Q. Okay.
14          Q. It's important that you speak as              14        A. I spoke with David on Tuesday.
15   loudly and as clear as you can. We all have little      15        Q. Okay. And David is another one of
16   microphones, but it will still be easier for            16   your lawyers?
17   everyone if you try to speak up. If somebody            17        A. Yes.
18   doesn't hear you, I may ask you to repeat yourself      18        Q. So you spoke with David by the
19   just so everyone can hear you. Is that okay?            19   telephone on Tuesday?
20          A. Yes.                                          20        A. Yes.
21          Q. Same thing, even though on the                21        Q. Okay. For how long did you talk to
22   videotape we might see a nod of the head or a shake     22   David?
23   of the head, the court reporter can't take that         23        A. Not long. A few minutes.
24   down as clearly, so I may ask you for an audible        24        Q. Less than 30 minutes?
25   response. Again I'm not trying to be difficult.         25        A. Yes.

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 1         Q. Did you look at any documents while               1         Q. And what kind of things were they?
 2   you were talking to David? Did David show you any          2   Were they newspaper articles?
 3   documents?                                                 3         A. No.
 4              MR. ZAJDEL: Objection. Don't                    4         Q. Were they court filings?
 5          answer that.                                        5         A. I don't recall.
 6         Q. I'll rephrase.                                    6         Q. Were they -- what do you recall
 7         Did you look at any documents in connection          7   about what they were?
 8   with preparing for the deposition?                         8         A. Just about him being fraudulent. I
 9         A. Yes.                                              9   don't really recall word for word.
10         Q. What documents did you look at?                  10         Q. And you said you looked at those few
11         A. My deposition documents.                         11   weeks ago?
12         Q. So your deposition transcript from               12         A. Uh-huh.
13   the Maryland Dimensions case?                             13         Q. Was that before or after you knew
14         A. Yes.                                             14   you were going to give a deposition in this case?
15         Q. The transcript, the little booklet               15         A. It was before.
16   that had questions and answers, is that what you're       16         Q. And other than talking with your
17   referring to?                                             17   counsel on Tuesday of this week, did you have any
18         A. Yes.                                             18   additional conversations with anyone before coming
19         Q. When did you review that?                        19   in to testify here today?
20         A. A few days ago.                                  20         A. I've spoken to Monique Russell, but
21         Q. What other documents did you review              21   I haven't spoken to her in the past month or so.
22   before coming in to testify today?                        22         Q. When was the last time you spoke
23         A. Just that.                                       23   with Ms. Russell?
24         Q. Okay. Did you do any online                      24         A. I don't recall. It's been a little
25   Internet research or review before coming in to           25   while.
                                                     Page 11                                                    Page 13
 1   testify today?                                             1         Q. Would it be more than a month or
 2         A. Not today.                                        2   less than a month?
 3         Q. Have you done any Internet research               3         A. A little more than a month.
 4   in connection with this lawsuit ever?                      4         Q. Did you ever text with Ms. Russell?
 5         A. Yes.                                              5         A. No.
 6         Q. When was that?                                    6         Q. Did you ever email with Ms. Russell?
 7         A. About a few weeks ago. It's been                  7         A. I have.
 8   ongoing, different times.                                  8         Q. And when was the last time you
 9         Q. What did you look at a few weeks ago              9   emailed Ms. Russell?
10   online in connection with this lawsuit?                   10         A. The last time I spoke with her.
11         A. Just the Akoda case, just about the              11         Q. So the last communication you had
12   case and what was going on with him. Just                 12   with her, more than a month ago, was by email?
13   basically researching him pretty much.                    13         A. Yes.
14         Q. Okay. So you were, for lack of a                 14         Q. And what was the -- did your
15   better word, Googling Dr. Akoda's name and looking        15   communications have anything to do with Dr. Akoda?
16   online for information about him?                         16         A. Yes.
17         A. Something like that, yes.                        17         Q. What was the nature of your
18         Q. You tell me what you did. I wasn't               18   communications with Ms. Russell about Dr. Akoda?
19   there.                                                    19         A. Just about how I felt and how she
20         A. Well, basically I was just looking               20   felt.
21   at, just looking at the things that were posted           21         Q. Okay. Was this a communication that
22   years ago.                                                22   she initiated or that you initiated?
23         Q. Okay.                                            23         A. I initiated it.
24         A. About, you know, the fraud, him                  24         Q. And this is something that you have
25   being a fraud and everything like that.                   25   in your emails?

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 1         A. I should.                                           1 access at this moment, no.
 2         Q. Did you communicate with her through                2         Q. But that's something you can get?
 3   like a Facebook direct message, or this was direct           3         A. Yes. It's a process you have to go
 4   message?                                                     4   through.
 5         A. Just like a Facebook message.                       5         Q. At any point in time were you asked
 6         Q. And this was a Facebook message in                  6   to provide lawyers for ECFMG with any documents you
 7   the last month or so, a little more than a month             7   have related to Dr. Akoda or the lawsuit or your
 8   ago?                                                         8   feelings about Dr. Akoda, anything like that?
 9         A. Yes.                                                9               MR. ZAJDEL: Objection. Form.
10         Q. Okay. And have you spoken with                     10          You can answer.
11   Ms. Russell or communicated with Ms. Russell at any         11         A. So what is your question?
12   time in the last month?                                     12         Q. At any point in time after having
13         A. No.                                                13   filed a lawsuit against ECFMG, did you ever become
14         Q. Have you spoken with Ms. Russell                   14   aware of a request by lawyers for ECFMG for any
15   about your lawsuit against ECFMG?                           15   documents that you might have related to Dr. Akoda?
16         A. I don't recall.                                    16               MR. ZAJDEL: Objection. That's
17         Q. Did you speak with Ms. Russell about               17          attorney-client privilege.
18   your lawsuit against Dimensions Healthcare in               18               MR. SHAFFER: I'm not asking for
19   Maryland?                                                   19          the substance of the communication. I'm
20         A. Yes.                                               20          asking if she was aware.
21         Q. And what did you and Ms. Russell                   21               MR. ZAJDEL: I would suggest that
22   discuss about the lawsuit against Dimensions                22          you ask it differently.
23   Healthcare in Maryland?                                     23   BY MR. SHAFFER:
24         A. We just talked about the lawsuit.                  24         Q. Did you ever collect Facebook direct
25   We didn't really -- I don't recall the full details         25   messages, email communications, text messages that

                                                       Page 15                                                   Page 17
 1   of our conversation. She was asking me about how I           1   you might have in your possession related to
 2   felt about it. Just basically about our feelings.            2   Dr. Akoda and give them to anybody?
 3         Q. And this was by email again, or was                 3         A. No. Did I ever collect it and give
 4   this a phone call?                                           4   it to anyone?
 5         A. I believe this was a phone call. I                  5         Q. Yes.
 6   don't recall. It could have been an email or phone           6         A. No.
 7   call.                                                        7         Q. Did you ever forward it to anybody
 8         Q. As you sit here today, have you had                 8   or pull it all together and provide it to anybody?
 9   discussions with Ms. Russell at any point in time            9         A. No.
10   about your lawsuit against ECFMG?                           10         Q. And I take it you were not asked to
11         A. I don't recall.                                    11   do that?
12         Q. Do you still have a Facebook account               12         A. No.
13   where you and Ms. Russell are connected as friends          13         Q. And I think as you testified, at
14   through Facebook?                                           14   least email communications or direct messaging
15         A. Yes, but I don't have the password.                15   application messages you could still access, you
16   I can't recover the password.                               16   just can't do it while we're sitting here with your
17         Q. Okay. How did you communicate with                 17   new phone; correct?
18   her by Facebook if you couldn't recover the                 18         A. Correct.
19   password?                                                   19         Q. Okay.
20         A. It's a messenger app that I had on                 20               MR. SHAFFER: Counsel, I'm going
21   my old phone, but I have a new phone.                       21          to make a request for the documents that
22         Q. So some time between the last time                 22          are in the possession of Ms. Riggins that
23   you communicated with Ms. Russell and today, you no         23          are responsive to our requests for
24   longer have access to the Facebook directory?               24          production of documents which would
25         A. I can get it, but I don't have                     25          include these types of communications and

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 1          which have not been produced.                   1   as Jasmine Riggins, correct?
 2               MR. ZAJDEL: I would suggest that           2         A. Yes.
 3          you do that in writing so that we can           3         Q. Is your birthday July 4, 1992?
 4          respond in writing.                             4         A. Yes.
 5   BY MR. SHAFFER:                                        5         Q. And how old would that make you?
 6         Q. Ms. Riggins, in preparing for the             6         A. 27.
 7   deposition today, you said you reviewed your           7         Q. Are you currently married?
 8   deposition transcript from your deposition earlier     8         A. No.
 9   this year in the Dimensions Healthcare case;           9         Q. Do you have any children?
10   correct?                                              10         A. Yes.
11         A. Right.                                       11         Q. How many children?
12         Q. In reviewing that deposition                 12         A. Three.
13   transcript, did you identify any answers that you     13         Q. And can you give me their names and
14   gave that you now believe are wrong?                  14   their current ages?
15         A. I'm not sure. Can you ask me that            15         A. Santana is 10, Messiah is 10, Taniya
16   again.                                                16   will be two next month.
17         Q. In reviewing the transcript, you             17         Q. Are Santana and Messiah both boys?
18   were under oath like you are today; right?            18         A. Yes.
19         A. Uh-huh.                                      19         Q. And Taniya is a girl?
20         Q. You've now had a chance to review            20         A. Yes.
21   that transcript before coming in to testify today.    21         Q. And earlier this year in your
22   And my question is whether when you read through      22   deposition in the Dimensions case you indicated
23   the transcript this week you said Oh, boy, I made a   23   that you were engaged. Is that status the same, or
24   mistake. What I testified to wasn't correct in my     24   has it changed?
25   deposition in the Dimension case.                     25         A. It's the same.
                                                Page 19                                                   Page 21
 1         A. No.                                           1        Q. What's your current address?
 2         Q. And part of this is to try to save            2        A. 3699 J Street, Apartment 301, N.E.,
 3   time today. So I guess my question having read the     3   Washington, D.C. 20019.
 4   deposition just a few days ago, as you sit here        4        Q. How long have you lived there?
 5   today do you still believe that everything you         5        A. Almost a year.
 6   testified earlier this year in the Dimensions          6        Q. You have a high school GED, is that
 7   Healthcare deposition is true and accurate to the      7   right?
 8   best of your ability?                                  8        A. Yes.
 9         A. Yes.                                          9        Q. Do you have any other subsequent
10         Q. I'm going to jump around a little            10   education beyond that?
11   bit then and try to hit on some questions just to     11        A. No.
12   make sure I'm correct. But if I jump around too       12        Q. Are you currently employed?
13   quickly and you don't follow where I'm going, just    13        A. Yes.
14   let me know because I'm trying to, again, save some   14        Q. Where is that?
15   time because we won't need to ask every question      15        A. Potbelly Sandwich Shop.
16   that was asked in the Dimensions deposition again     16        Q. When did you start working there?
17   today, okay?                                          17        A. April of this year.
18         A. Okay.                                        18        Q. And you've worked at Potbelly's
19         Q. Are you currently on any medication?         19   since April of this year?
20         A. No.                                          20        A. Yes.
21         Q. Is there any reason that you can             21        Q. And how many hours a week,
22   think of sitting here today that you couldn't         22   approximately, do you work?
23   testify truthfully and to the best of your ability?   23        A. About 22. Slower season.
24         A. No.                                          24        Q. So is this part-time work?
25         Q. You mentioned your full name before          25        A. Yes.

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 1         Q. Prior to working at Potbelly                     1   I went from one to the next.
 2   starting earlier this year, had you worked -- had         2         Q. Again, just to make sure that I'm
 3   you worked anywhere else in 2019, or was there a          3   not missing anything, before coming in to testify
 4   period of time when you weren't working?                  4   today, you didn't review the complaint that was
 5         A. I was working at the Home Depot.                 5   filed against ECFMG in the federal court or the
 6         Q. And how long -- did you leave                    6   court in Pennsylvania; correct?
 7   directly from Home Depot and go to Potbelly, or was       7         A. You said I didn't.
 8   there a break?                                            8         Q. You didn't review that?
 9         A. There was about a month break, a                 9         A. Not that I can recall. I'm sorry.
10   month or so.                                             10   I can't recall.
11         Q. And again for purposes of trying to             11         Q. Okay. As you sit here today, you
12   speed this up, in the Maryland Dimensions                12   don't have a recollection of looking at the
13   Healthcare litigation you gave some written              13   complaint that you filed against ECFMG?
14   response to questions.                                   14         A. Oh, yes. I'm sorry. I'm sorry.
15         Do you recall having done that? We call            15   I'm sorry. I didn't understand what you were
16   them interrogatories.                                    16   asking me.
17         A. Yes.                                            17         Q. That's all right.
18         Q. And one of the interrogatories you              18         A. I did receive that -- did I get that
19   were asked in that case was to list your prior           19   in the email? I believe so. I'm sorry.
20   employment. And you indicated in that case that          20         Q. That's okay. When you say you think
21   you had started working at Home Depot in March of        21   you may have received it in an email, who was the
22   2017. Does that sound correct?                           22   email from?
23         A. Yes.                                            23         A. I'm sure I've seen it. I'm sure
24         Q. And so you worked at Home Depot from            24   I've seen it. Yeah, I'm sure I've seen it.
25   March of 2017 to about February or March of 2019?        25         Q. Do you know when it was filed,
                                                   Page 23                                                    Page 25
 1        A. Yes.                                              1   approximately?
 2        Q. And then you started at Potbelly in               2        A. I don't recall.
 3   April of 2019 and are still working there through         3        Q. Do you know whether it was filed in
 4   today?                                                    4   2019? Since January or earlier than that.
 5        A. Yes.                                              5        A. I'm sorry, I don't recall.
 6        Q. Great. Prior to working at Home                   6        Q. Okay. That's okay. Again, I'm just
 7   Depot starting in March of 2017, was there a period       7   asking for your best understanding and recollection
 8   of time before that that you were not working?            8   as you sit here today without guessing.
 9   Immediately before, I'm looking at the beginning          9        But I take it that since you can't remember
10   part of 2017.                                            10   when you might have seen it but you think you did
11        A. No. No.                                          11   that you didn't review it specifically to come in
12        Q. Where were you working when you                  12   here today. Is that correct?
13   went, before you went to Home Depot?                     13        A. That's correct.
14        A. At Paul Bakery.                                  14        Q. And I take it from your earlier
15        Q. Got it. And how long did you work                15   answers, but I just want to make sure, that when
16   there, approximately?                                    16   you said a couple of weeks ago you went online
17        A. About almost two years.                          17   looking at Dr. Akoda information, you didn't go to
18        Q. And would it be correct then to say              18   the ECFMG website, for example; correct?
19   that you worked at Paul Bakery from about March of       19        A. Correct.
20   2015 to March of 2017?                                   20        Q. Have you ever gone to the ECFMG
21        A. Yes.                                             21   website?
22        Q. Was there a period of time between               22        A. No.
23   Paul Bakery and Home Depot when you weren't              23        Q. And you've not ever reviewed any of
24   working, or did you go right from one to the next?       24   the information that is on the ECFMG website,
25        A. Yes, that's exactly what happened.               25   correct?

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 1         A. No.                                                1         A. Questions, interviews, background
 2         Q. When was the first time you ever                   2   checks.
 3   heard of ECFMG?                                             3         Q. Okay. And your understanding is
 4         A. From my attorneys.                                 4   that among the things that ECFMG does is do
 5         Q. Okay. And approximately when was                   5   background checks on foreigners who want to come
 6   that?                                                       6   and practice medicine in the United States?
 7         A. I don't recall.                                    7         A. Yes.
 8         Q. Is it fair to say that at no point                 8         Q. And what's the basis for that
 9   prior to having spoken with the attorneys that              9   understanding?
10   currently represent you that you had ever heard of         10              MR. ZAJDEL: Objection. You can
11   ECFMG?                                                     11          answer.
12         A. Repeat that again.                                12              MR. SHAFFER: I'll rephrase the
13         Q. Sure. Prior to speaking with your                 13          question.
14   current attorneys who are bringing the lawsuit             14   BY MR. SHAFFER:
15   against ECFMG, you had never even heard of ECFMG?          15         Q. Other than from information told to
16         A. That is correct.                                  16   you by your lawyers, do you have any other source
17         Q. Okay. As you sit here today, what                 17   of information of any kind about what ECFMG is,
18   do you know about ECFMG?                                   18   what it does, what it doesn't do, who can apply,
19         A. I know that they're a business who                19   who can't apply, what types of things ECFMG
20   gives foreigners their certificates or give them           20   requires?
21   permission to practice medicine in the United              21         Do you have any source of information about
22   States.                                                    22   any of that other than your lawyers?
23         Q. Do you know whether or not ECFMG is               23         A. No.
24   a nonprofit organization?                                  24         Q. I'm sorry?
25         A. I do not.                                         25         A. No.
                                                    Page 27                                                     Page 29
 1         Q. Do you know whether people who apply               1        Q. Okay. We asked a couple of
 2   to ECFMG could be U.S. citizens or not?                     2   questions earlier that referenced, and I think your
 3         A. I do not.                                          3   answer might have been the first to reference a
 4         Q. You don't know?                                    4   Dr. Akoda.
 5         A. You said -- no, because it's for                   5        Do you recall mentioning Dr. Akoda?
 6   foreigners; correct?                                        6        A. Not a Dr. Akoda, no.
 7         Q. I'm trying to get your                             7        Q. You understand that there is an
 8   understanding. So your understanding is that a              8   individual who you saw in connection with one of
 9   U.S. citizen could not apply to ECFMG for                   9   the children that you gave birth to, correct?
10   certification or any services by ECFMG. It's only          10        A. I'm sorry?
11   for foreigners?                                            11        Q. Well, I'll rephrase that.
12         A. Correct.                                          12        So you're not aware of a Dr. Akoda. You
13         Q. And is it your understanding, I                   13   never heard that phrase before?
14   think you said that -- and please correct me               14        A. Yes, I've heard that -- I heard that
15   because I'm just trying to remember back what you          15   phrase, yes.
16   said -- that ECFMG is responsible for certifying           16        Q. Okay.
17   you to practice medicine in the United States. Is          17        A. Can I run to the bathroom, please?
18   that correct?                                              18   I'm sorry. You're in the middle of a question. My
19         A. I believe so.                                     19   apologies.
20         Q. Okay. And what is it that you think               20        Q. You answered the question, which was
21   ECFMG does to certify people to practice medicine          21   you've heard reference to a Dr. Akoda. So we'll
22   in the United States?                                      22   take a break and then go ahead to the rest room and
23         A. Give an exam. I'm not -- give an                  23   then we'll come back.
24   exam.                                                      24               THE VIDEOGRAPHER: We are going
25         Q. Okay.                                             25          off the record. The time is 11:53 a.m.

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 1                  (Recess)                                   1   fact that he had fake credentials.
 2               THE VIDEOGRAPHER: We are back on              2         Q. Okay. And the fact that he pled
 3          the record. The time is 11:57 a.m.                 3   guilty, he didn't plead guilty to not going to
 4   BY MR. SHAFFER:                                           4   medical school; correct?
 5         Q. Okay, Ms. Riggins, we're back on the             5         A. Correct.
 6   record, and we were talking before a quick break          6         Q. And do you know whether or not
 7   there about an individual named Dr. Akoda, an             7   Dr. Akoda's medical school in Nigeria ever verified
 8   individual, and I think you took some issue with          8   the authenticity of his diploma to Educational
 9   calling him Dr. Akoda. Why is that?                       9   Commission?
10         A. He's not a doctor.                              10               MR. ZAJDEL: Objection. Assumes
11         Q. And why do you say that?                        11          facts. You can answer that question.
12         A. Because he doesn't have credentials             12         Q. Do you know whether or not?
13   and certifications to be a doctor.                       13         A. No.
14         Q. Do you know -- and just so again I              14         Q. Would it surprise you to learn that
15   want to make sure that we're talking about the same      15   a medical school in Nigeria verified Dr. Akoda's
16   things today so we don't have to go back later on,       16   diploma to ECFMG?
17   when we refer to an individual known as Dr. Akoda        17               MR. ZAJDEL: Objection. Assumes
18   or the person that you believe is not a doctor           18          facts.
19   about, we're talking about the person that you saw       19         Q. You can go ahead and answer.
20   in connection with the birth of your second child;       20         A. Okay. You said would it surprise
21   correct?                                                 21   me?
22         A. Correct.                                        22         Q. Yes.
23         Q. And, at the time that you were being            23         A. Yes.
24   seen by him and actually gave birth with him             24         Q. Why is that?
25   through C-section, correct?                              25         A. Because it would be a surprise to me
                                                  Page 31                                                        Page 33
 1        A. Correct.                                          1   that he had information provided that he's a real
 2        Q. You understood and knew him to be                 2   doctor or went to medical school.
 3   Dr. Akoda? Correct? I'm sorry.                            3         Q. During the time that you were being
 4        A. Correct.                                          4   treated by Dr. Akoda, you never had any reason to
 5        Q. And since that time you've come to                5   question whether or not he had gone to medical
 6   learn that Dr. Akoda pled guilty to using a               6   school; correct?
 7   different Social Security number, correct?                7         A. When I was being seen by him? No.
 8        A. Correct.                                          8   I wouldn't -- had I have known I wouldn't have
 9        Q. Okay. And so based on that                        9   chosen him.
10   information, it's your belief that the person that       10         Q. And there was nothing about his care
11   you knew as Dr. Akoda is not a doctor?                   11   and treatment of you in connection with your
12        A. Correct.                                         12   pregnancy and the birth of Messiah that ever caused
13        Q. Okay. Do you know whether that                   13   you to doubt that he had gone to medical school and
14   individual went to medical school?                       14   was a real medical doctor, correct?
15        A. No, no.                                          15         A. You said during my treatment with
16        Q. He did not go to medical school?                 16   him, no.
17        A. No.                                              17         Q. When was it that you first received
18        Q. How do you know that?                            18   any information that caused you to question whether
19        A. I'm saying no, I don't.                          19   the person you had seen, Dr. Akoda, was not a real
20        Q. You don't know whether he went?                  20   doctor, as you say?
21        A. Yeah.                                            21         A. You said when was --
22        Q. As you sit here today, do you have               22         Q. When did you first, first come to
23   any information or facts that would allow you to         23   have any information where you said everything
24   say he didn't go to medical school?                      24   seemed fine while I was being treated with him but
25        A. The fact that he pled guilty and the             25   now there's a problem? When was that?

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 1         A. Well, there were problems after my              1   correct?
 2   pregnancy, after the delivery, I had issues.             2         A. Correct.
 3         Q. What were those issues?                         3         Q. And I take it that that's because
 4         A. Pain, severe pain in my stomach and             4   immediately following the C-section you were told
 5   my abdominal at work, I would have pain throughout       5   you could have a tubal ligation?
 6   the day. And I couldn't have my tubes tied due to        6         A. No. Correct, correct, I'm sorry.
 7   the damaged tissues on my C-section, which caused a      7         Q. Okay. But then after the second,
 8   lot of pain.                                             8   the birth of your second child and the second
 9         Q. And so this is after the birth of               9   C-section, you were told you couldn't have one?
10   Messiah, and Messiah was born by C-section;             10         A. After the third.
11   correct?                                                11         Q. After the third?
12         A. Correct.                                       12         A. Correct.
13         Q. And you said at a later point in               13         Q. And after the third, you were told
14   time you wanted to have a tubal ligation and were       14   that there was significant scarring from your other
15   told you couldn't have one?                             15   C-section; correct?
16         A. Correct.                                       16         A. Correct.
17         Q. And you were told it was because of            17         Q. If Dr. Akoda had seen significant
18   scarring that was present from earlier C-sections?      18   scarring at the time that he did the second
19         A. Correct.                                       19   C-section, that would suggest that that scarring
20         Q. And was that scarring that you say             20   came from the first C-section; right?
21   precluded you from having the tubal ligation, that      21         A. Correct.
22   was something you attribute to the C-section            22         Q. Because scarring doesn't happen
23   Dr. Akoda did?                                          23   overnight. It takes time to develop. Correct?
24         A. Correct.                                       24         A. Correct.
25         Q. And why do -- why do you do that?              25                  (Exhibit 1, medical records,
                                                 Page 35                                                    Page 37
 1         A. Because it was able to be done                  1               was marked for identification.)
 2   before, but I decided against it.                        2        Q. Ms. Riggins, we're handing you
 3         Q. When was it able to be done before?             3   what's been marked as Riggins-1, which I'll
 4         A. With my first son.                              4   represent to you is medical records that relate to
 5         Q. Do you know whether or not -- and               5   your treatment at Prince George Hospital Center in
 6   your first son, Santana; correct?                        6   2013.
 7         A. Correct.                                        7        Could you take a quick look at that, and
 8         Q. Was born by C-section, correct?                 8   then I'll have some quick questions.
 9         A. Correct.                                        9        A. (Witness complies with request.)
10         Q. And who was the doctor that you saw            10        Q. Just let me know when you're ready.
11   for Santana?                                            11               MR. ZAJDEL: Put it on the record
12         A. I don't recall her name.                       12          that we reserve the right to make
13         Q. Was it at Howard University?                   13          everything confidential after the
14         A. Correct.                                       14          deposition.
15         Q. And do you know whether or not there           15        Q. I'm not going to ask you about every
16   was any scarring that was later identified from the     16   word, but let me focus on a couple of things here.
17   C-section that you received at Howard University?       17        So Riggins-1 is a document Bates labeled
18         A. No, there was not. There wasn't                18   Plaintiff's -2024 and -2025, which again I'll
19   any.                                                    19   represent to you was produced to us in this case,
20         Q. If there had been some, do you think           20   and it appears to be an operative report for you,
21   that's the kind of thing that would be shown in         21   Jasmine Riggins. And it references a date of a
22   medical records of you that would have come later?      22   procedure on 3/18/2013.
23         A. Could you repeat your question.                23        Do you see on the top part of the page?
24         Q. Sure. You told me you don't think              24        A. Yes.
25   there was any scarring from the first C-section,        25        Q. Did you have a procedure at Prince

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 1   George's County on 3/18/2013?                          1        A. Uh-huh.
 2        A. Yes.                                           2        Q. I'm sorry.
 3        Q. What did you have?                             3        A. Yes, yes, yes, yes. My children,
 4        A. A C-section.                                   4   I'm sorry.
 5        Q. That's when Messiah was born?                  5              THE VIDEOGRAPHER: We are going
 6        A. Yes.                                           6         off the record. The time is 12:11 p.m.
 7        Q. And you can see that this is a                 7                  (Recess)
 8   two-page record signed by Charles Akoda, M.D. --       8              THE VIDEOGRAPHER: We are back on
 9   not signed but his name appears at the end of the      9         the record. The time is 12:24 p m.
10   document. Correct?                                    10              MR. SHAFFER: This is Brian
11        A. Yes.                                          11         Shaffer for ECFMG. We're back on the
12        Q. And if you look -- well, the top of           12         record after a short break.
13   the page there's a fax server date and time. It       13              We've had a couple of logistical
14   says, "3/19/2013 at 2:42:42 p.m."                     14         issues come up this morning with respect
15        Do you see that?                                 15         to Ms. Riggins and her child care, and we
16        A. Yes.                                          16         got started a little bit late this morning
17        Q. So does this appear to be a record            17         due to some travel and traffic issues.
18   then that would have been created and sent            18         And so we've been talking offline here to
19   immediately after your C-section with Messiah in      19         try to solve for those things and make
20   March of 2013?                                        20         sure that we get the deposition completed.
21              MR. ZAJDEL: Objection.                     21              And what we've discussed here is
22        A. Yes.                                          22         that we will adjourn the deposition today
23        Q. That's the date you had the                   23         now with the questions that we've gotten
24   C-section, right, 3/18/2013?                          24         asked and answered so far. We will
25        A. Yes.                                          25         reconvene on Monday morning, the 16th,
                                                Page 39                                                        Page 41
 1         Q. If you look at the description here           1         here at the same place starting at 9:30,
 2   of what occurred, and it's a little bit technical      2         and we will pick up with Ms. Riggins'
 3   in medical terms, but if you look at the findings      3         deposition at that point in time.
 4   at the bottom of page 1. So flip back to the first     4              This is being done as an
 5   page of it. Under Findings it says, "Male infant,      5         accommodation to schedules and not for any
 6   encephalic presentation."                              6         other reason, and so for that reason I've
 7         Do you see that?                                 7         discussed with both counsel and
 8         A. Yes.                                          8         Ms. Riggins the understanding that she'll
 9         Q. Do you understand that to be                  9         have no substantive discussions with
10   Messiah, when he went in to do the C-section,         10         anyone, including her counsel, any person,
11   that's the male infant that he saw?                   11         witness, Ms. Russell, anybody else about
12         A. Yes.                                         12         the case, about her testimony here today,
13         Q. Okay. And the next sentence,                 13         her testimony that she'll give on Monday.
14   section of that finding says, "Significant scarring   14         It will be as if we were picking up right
15   and adhesion formation."                              15         now. Instead we will be picking up Monday
16         Do you see that?                                16         at 9:30.
17         A. Yes.                                         17              That will include no text messages,
18         Q. And so does that indicate that in            18         no, emails. She also had agreed that
19   addition to finding Messiah when he went in to do     19         she'll not do any research or go online or
20   the C-section, he also saw significant scarring and   20         look at any documents or do anything other
21   adhesion formation section?                           21         than what she came here today prepared to
22         A. Okay.                                        22         talk about.
23         Q. Right?                                       23              Is that a correct recitation of our
24         A. Okay, yes.                                   24         agreement?
25         Q. That's what it says, right?                  25              MR. ZAJDEL: Yes.

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 1              THE WITNESS: Yes.
 2              MR. ZAJDEL: With the exception
 3         that I'm certainly going to send an email
 4         with a date and the time to be here on
 5         Monday. You said no communication. I
 6         just want to make sure, no substantive
 7         communication about the contents of the
 8         deposition. That's agreed.
 9              MR. SHAFFER: And then we will
10         continue with Ms. Riggins' deposition on
11         Monday at 9:30. After we complete that
12         we'll move forward with the other
13         deposition that's been noticed for 10:30
14         but that we've agreed will start after
15         the completion of Ms. Riggins. Correct?
16              MR. ZAJDEL: Yes, and I will take
17         care of adjusting Ms. Russell to let her
18         know.
19              MR. SHAFFER: I think that is it
20         for the record here today, and we will
21         pick back up on Monday.
22              THE VIDEOGRAPHER: We are going
23         off the record. The time is 12:27 p.m.
24                  (Proceedings adjourned at
25              12:26 p.m.)
                                                Page 43
 1   DISTRICT OF COLUMBIA:                      SS
 2      I, Barbara DeVico, a Registered Court Reporter
 3   of the District of Columbia, do hereby certify
 4   that these proceedings took place before me at the
 5   time and place herein set out, and the proceedings
 6   were recorded stenographically by me and this
 7   transcript is a true record of the proceedings.
 8
 9       I further certify that I am not of counsel to
10    any of the parties, nor an employee of counsel nor
11    related to any of the parties, nor in any way
12    interested in the outcome of this action.
13
14
15
16                 ___________________________
17                 BARBARA DeVICO, CRR, RMR
18
19   _______________________
20   My Commission Expires:
21   July 31, 2023
22
23
24
25


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 1               IN THE UNITED STATES DISTRICT COURT
 2           FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 3

 4     - - - - - - - - - - - - - - - - X
 5     MONIQUE RUSSELL, JASMINE                     :
 6     RIGGINS, ELSA M. POWELL                      :
 7     and DESIRE EVANS,                            : Civil Action No.
 8                         Plaintiffs,              :    18-5629
 9     v.                                           :
10     EDUCATIONAL COMMISSION FOR                   :
11     FOREIGN MEDICAL GRADUATES,                   :
12                         Defendant.               :
13     - - - - - - - - - - - - - - - - X
14

15                                  Volume II
16    Continued Videotaped Deposition Of JASMINE RIGGINS
17                            Washington, D.C.
18                     Monday, September 16, 2019
19                                  9:56 a.m.
20

21

22     Job No. 88391
23     Pages:      44 - 145
24     Reported by:        Dana C. Ryan, RPR, CRR, CSR (GA)
25

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 2                                                         2 EXAMINATION OF JASMINE RIGGINS:                     PAGE:
 3                                                         3 By Mr. Klayman                        51
 4                                                         4 By Mr. Shaffer                       111
 5                      September 16, 2019                 5
 6                      9:56 a.m.                          6
 7                                                         7
 8                                                         8             EXHIBITS
 9                                                         9       (Attached to the Transcript)
10        Continued Videotaped Deposition of JASMINE      10 RIGGINS DEPOSITION                         PAGE:
11    RIGGINS, held at the law offices of Morgan, Lewis   11 Exhibit 2   September 23, 2016 J Unity      71
12    & Bockius, LLP, 1111 Pennsylvania Avenue,           12         Health Care Progress Note
13    Northwest, Washington, D.C., before Dana C. Ryan,   13         For Jasmine Riggins, Bates
14    Registered Professional Reporter, Certified         14         Stamped Plaintiffs0000006408
15    Realtime Reporter, Certified Shorthand Reporter     15         Through 0000006411
16    (GA) and Notary Public in and for the District of   16 Exhibit 3   February 19, 2017 J Unity      78
17    Columbia.                                           17         Health Care Progress Note
18                                                        18         For Jasmine Riggins, Bates
19                                                        19         Stamped Plaintiffs0000007576
20                                                        20         Through 0000007579
21                                                        21
22                                                        22
23                                                        23
24                                                        24
25                                                        25

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 1            APPEARANCES                                  1       EXHIBITS CONTINUED
 2                                                         2        (Attached to the Transcript)
 3       ON BEHALF OF THE PLAINTIFFS:                      3   RIGGINS DEPOSITION                               PAGE:
 4         CORY L. ZAJDEL, Esquire                         4   Exhibit 4 Plaintiff Jasmine Riggins'             82
 5         Z Law, LLC                                      5           Supplemental Answers To First
 6         2345 York Road, #B-13                           6           Set Of Interrogatories And
 7         Timonium, Maryland 21093                        7           Supplemental Responses To
 8         Telephone: (443) 213-1977                       8           First Set Of Requests For
 9         Email: clz@zlawmaryland.com                     9           Production Of Documents
10                                                        10   Exhibit 5 September 7, 2017 J Unity                87
11       ON BEHALF OF THE DEFENDANT:                      11           Health Care Progress Note
12         BARRY W. SHAFFER, Esquire                      12           For Jasmine Riggins, Bates
13         MATTHEW D. KLAYMAN, Esquire                    13           Stamped Plaintiffs0000006442
14         Morgan, Lewis & Bockius, LLP                   14           Through 0000006444
15         1701 Market Street                             15   Exhibit 6 October 13, 2017 J Unity                90
16         Philadelphia, Pennsylvania 19103               16           Health Care Progress Note
17         Telephone: (215) 963-5100                      17           For Jasmine Riggins, Bates
18         Email: barry.shaffer@morganlewis.com           18           Stamped Plaintiffs0000006478
19         Email: matthew.klayman@morganlewis.com         19           Through 000000479
20                                                        20   Exhibit 7 Class Action Complaint                  95
21       Also present:                                    21   Exhibit 8 November 9, 2017 J Unity                 96
22          David Campbell, Videographer                  22           Health Care Progress Note
23                                                        23           For Jasmine Riggins, Bates
24                                                        24           Stamped Plaintiffs0000006480
25                                                        25           Through 0000006482

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 1        EXHIBITS CONTINUED                                    1 for the Educational Commission for Foreign Medical
 2         (Attached to the Transcript)                         2 Graduates, the defendant.
 3    RIGGINS DEPOSITION                            PAGE:       3          (Mr. Shaffer exits the deposition
 4    Exhibit 9 Complaint Filed To Initiate         101         4 proceedings.)
 5            The Lawsuit On November 14,                       5          --------------
 6            2018                                              6             JASMINE RIGGINS,
 7    Exhibit 10 April 18, 2019 J Unity            103          7 having been duly sworn, testified as follows:
 8            Health Care Progress Note                         8          --------------
 9            For Jasmine Riggins, Bates                        9     EXAMINATION BY COUNSEL FOR THE DEFENDANT
10            Stamped Plaintiffs0000006488                     10      BY MR. KLAYMAN:
11            Through 0000006490                               11      Q    Good morning, Ms. Riggins.
12    Exhibit 11 Plaintiff Jasmine Riggins'         105        12      A    Good morning.
13            Responses To Defendants'                         13      Q    We met a moment ago, but I'm Matthew
14            Requests For Admissions,                         14 Klayman. I'm colleagues with Brian Shaffer. I'm
15            Bates Stamped                                    15 going to ask you some questions this morning.
16            Plaintiffs0000006513 Through                     16      A    Okay.
17            0000006537                                       17      Q    We're picking up from a deposition that
18    Exhibit 12 Stipulation Of Dismissal           114        18 began on Thursday; correct?
19            Without Prejudice, Bates                         19      A    Correct.
20            Stamped Plaintiffs0000118860                     20      Q    Now, between Thursday and today, have
21            Through 0000118863                               21 you had any substantive communications about your
22    Exhibit 13 First Amended Class Action            120     22 testimony with anybody?
23            Complaint                                        23      A    No.
24    Exhibit 14 Claimants' Certificate Of          124        24      Q    Have you done any independent research
25            Merit                                            25 about the substance of your testimony or the facts

                                                     Page 50                                                           Page 52
 1              PROCEEDINGS                                     1   or circumstances of the case?
 2            THE VIDEOGRAPHER: We are now on the               2      A No.
 3    record. My name is David Campbell. I am the               3      Q I understand that on Thursday you were
 4    videographer for Golkow Litigation Services.              4   asked about certain communications that you had
 5            Today's date is September 16th, 2019,             5   with Monique Russell.
 6    and the time is 9:56 a.m.                                 6          Do you -- do you remember that?
 7            This video deposition is being held at            7      A Yes.
 8    1111 Pennsylvania Avenue, Northwest, Washington,          8      Q Certain written communications.
 9    D.C. 20004, in the matter of Monique Russell, et          9          And I understand that you are -- that
10    al., versus Educational Commission for Foreign           10   there was some discussion about you going to look
11    Medical Graduates. This is in the United States          11   for them or gather them.
12    District Court for the Eastern District of               12          Do you recall that?
13    Pennsylvania, Number 18-5629.                            13      A Correct.
14            The deponent today is Jasmine Riggins.           14      Q Did you do anything like that?
15            The court reporter is Dana Ryan.                 15      A I have not.
16            Counsel, will you please identify                16      Q Were you asked to do that?
17    yourselves for the record, and then the court            17          MR. ZAJDEL: Objection. That would be
18    reporter will please swear in the witness and we         18   attorney-client privilege.
19    can proceed.                                             19          Well, to the extent you're not asking
20            MR. ZAJDEL: Cory Zajdel on behalf of             20   attorney-client privilege, I could see how that
21    Ms. Riggins.                                             21   would be answerable.
22            MR. SHAFFER: Brian Shaffer on behalf             22          So you can answer the question to the
23    of defendant Educational Commission for Foreign          23   extent he's not asking you about communications
24    Medical Graduates.                                       24   between you or any of your attorneys.
25            MR. KLAYMAN: Matthew Klayman, counsel            25          THE WITNESS: Okay. So could you

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 1    repeat your question?                                   1      A     We didn't have that issue at all.
 2        BY MR. KLAYMAN:                                     2      Q     Just making sure.
 3        Q So were you asked to look for copies of           3      A     No, that was not an issue.
 4    communications you had with Monique Russell?            4      Q     Okay. Great.
 5        A Yes.                                              5           Okay. Now, we're here today because
 6        Q Did you find any communications with              6   you've brought a lawsuit against the Educational
 7    Monique Russell?                                        7   Commission for Foreign Medical Graduates; correct?
 8        A I didn't look for them.                           8       A Correct.
 9        Q Oh, you didn't look for them?                     9       Q I'm going to refer to them as ECFMG, so
10        A No.                                              10   you'll understand what I mean when I say ECFMG?
11        Q Okay. Is that something you would be             11       A Correct.
12    willing to do?                                         12       Q And you allege that you've suffered
13        A Yes.                                             13   emotional distress; correct?
14        Q Okay. Is that -- when do you think               14       A Correct.
15    you'd be able to complete a search for                 15       Q And that distress was the result of
16    communications you had with Monique Russell?           16   learning about Dr. Akoda's guilty plea; is that
17        A I will try to get that done by the end           17   correct?
18    of this week.                                          18       A I'm sorry?
19        Q Okay.                                            19       Q So the -- the emotional distress that's
20        A Yes.                                             20   the subject of the lawsuit --
21        Q Great.                                           21       A Uh-huh.
22            This was the subject of written                22       Q -- when did that start?
23    communications from Mr. Shaffer, my colleague, so      23       A Right when I found out about him being
24    I want to just make sure that we have on the           24   a fake doctor.
25    record that you'll go take a look and that             25       Q And when about was that, if you recall?

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 1    responsive communications would be produced.            1       A A couple of years ago.
 2            MR. ZAJDEL: Well, she testified she             2       Q Was it, you know, talking 2015, 2016?
 3    will look for them and she'll produce them to me,       3       A Yeah, around that time, 2016.
 4    and then we'll decide whether it's discoverable,        4       Q Okay. Now, is emotional distress the
 5    and if they are, we'll produce them.                    5   only injury that you're suing for in this lawsuit?
 6            MR. KLAYMAN: Sure.                              6       A Correct.
 7        BY MR. KLAYMAN:                                     7       Q And you're suing ECFMG because you
 8        Q Now, at the beginning of your                     8   contend that ECFMG is responsible, in whole or in
 9    deposition on Thursday, I understand Mr. Shaffer        9   part, for your emotional distress?
10    went through some -- some ground rules about           10       A Correct.
11    telling the truth, not speaking over one another,      11       Q Do you also contend that Prince
12    that kind of thing.                                    12   George's Hospital Center is responsible, in whole
13            Do you remember that?                          13   or in part, for your emotional distress?
14        A Yes.                                             14       A Correct.
15        Q Is that -- I just want to make sure              15       Q Do you also contend that the Maryland
16    that we're still on the same page, so I don't --       16   Board of Physicians is responsible, in whole or in
17    so if you could, to make sure that the transcript      17   part, for your emotional distress?
18    is clear, I won't speak over you and you won't         18       A Correct.
19    speak over me.                                         19       Q Do you also contend that Dr. Abdul
20        A We didn't --                                     20   Chaudry is responsible, in whole or in part, for
21        Q Do you --                                        21   your emotional distress?
22        A -- have --                                       22       A Correct.
23        Q -- understand?                                   23       Q Do you also contend that the American
24        A -- that issue.                                   24   Board of Obstetricians and Gynecologists are
25        Q Great.                                           25   responsible, in whole or in part, for your

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 1    emotional distress?                                   1   learned about the basis for this lawsuit, you
 2        A Correct.                                        2   learned about it from Facebook; is that correct?
 3        Q So you would say that anyone that you           3       A Correct, from --
 4    contend did anything to enable Dr. Akoda to           4       Q And that was from a post by Monique
 5    practice medicine is responsible, in whole or in      5   Russell?
 6    part, for your emotional distress?                    6       A Correct.
 7        A Correct.                                        7       Q And that's one of the communications
 8        Q Tell me about your emotional distress.          8   that we were talking about this morning; right?
 9        A I feel angry, sad, embarrassed,                 9       A Correct.
10    ashamed. My emotions are, like, all over the         10       Q So -- so you'll go take a look to see
11    place. I can't even put them into as many words      11   if you can find that post that Monique Russell
12    that I can think of. I just can't believe that       12   made that you saw?
13    someone would do that. It's beyond me.               13       A I can try to find that, yes.
14        Q And when you say "that," what are you          14       Q Now, with respect to your emotional
15    referring to?                                        15   distress, do you have anxiety or worry?
16        A To pretend to be someone that they're          16       A When it comes to physicians.
17    not, to practice something that they had no rights   17       Q So not in general?
18    to practice without the proper process of it all.    18       A No, not necessarily.
19        Q And by "proper process of it all," what        19       Q Do you have a depressed mood?
20    do you mean?                                         20       A No.
21        A Going about it the correct way.                21       Q Do you have suicidal thoughts?
22        Q And by "the correct way," you mean             22       A No.
23    what?                                                23       Q Are you able to laugh and see the funny
24        A Receiving proper documents, being              24   side of things?
25    truthful, being honest, doing the things that a      25       A Yes.
                                                Page 58                                                    Page 60
 1    real doctor would do.                                 1      Q Do you look forward with enjoyment to
 2       Q So you're saying that a real doctor              2   things?
 3    would be honest?                                      3      A Yes.
 4       A Correct.                                         4      Q Do you blame yourself unnecessarily
 5       Q And someone who is not honest is not a           5   when things go wrong?
 6    real doctor?                                          6      A No.
 7       A No, not necessarily. But if you're               7      Q Are you anxious or worried for no good
 8    pretending to be something that you're not, that's    8   reason?
 9    not being honest.                                     9      A No.
10       Q And by "something that you're not,"             10      Q Do you feel scared or panicky for no
11    what do you mean?                                    11   good reason?
12       A Not a real doctor. By practicing on             12      A No.
13    women, you have no rights to do that, period, if     13      Q Do you feel that things are getting on
14    you don't have the proper credentials. Just going    14   top of you?
15    through school, anything that you need to do         15          MR. ZAJDEL: Objection. It --
16    properly to become a doctor, you should do that      16          You can answer the question.
17    before you do anything that a doctor does.           17          THE WITNESS: What -- what do you mean?
18       Q Do you know one way or the other if             18      BY MR. KLAYMAN:
19    Dr. Akoda went to medical school?                    19      Q Do you feel that things overwhelm you
20           MR. ZAJDEL: Objection: asked and              20   sometimes?
21    answered.                                            21      A Yes.
22           But you can answer.                           22      Q Do you have difficulty sleeping?
23           THE WITNESS: No, I do not.                    23      A Sometimes.
24       BY MR. KLAYMAN:                                   24      Q How long has that been going on?
25       Q Now, getting back to when you first             25      A For some time -- quite some time.

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 1        Q If you had to give your best estimate,         1   unhappy for -- so far as this case, just knowing
 2    are we talking a few -- a few weeks, many years?     2   what I know about it, the way it makes me feel,
 3        A Yeah, probably like a couple of years.         3   the fact that I had to -- I got a second -- second
 4        Q Couple of years?                               4   C-section, and I didn't have to get that. That
 5        A (Witness nods head.)                           5   makes me very unhappy sometimes, yes.
 6        Q If you had to give your best estimate          6      Q But to your testimony just now, there
 7    about when that began --                             7   are other things going on in your life that also
 8        A I can't.                                       8   make you very unhappy or, as I asked, so unhappy
 9        Q You can't.                                     9   that you cry?
10             Do you feel sad or miserable?              10      A Okay. So there's one thing. My
11        A Not miserable, no. I -- I mean, in            11   grandmother had back surgery and it made me sad.
12    general, no, not sad.                               12   That was about it.
13        Q Are you so unhappy that you cry?              13      Q I'm sorry to hear that. That just --
14        A Are we, like, in general? At times --         14      A Yeah, so . . .
15    I feel like these questions can be -- at times I    15      Q And that's what you were referring to
16    can feel sad to the point where I want to cry, so   16   when you --
17    are you speaking in general, at times?              17      A Correct.
18        Q Sure.                                         18      Q -- said you'd rather not talk about it?
19             Let's say over the last six months,        19          Now, does the thought of harming
20    have you -- have you at any time been so unhappy    20   yourself occur to you?
21    that you've cried?                                  21      A No.
22        A Yes.                                          22      Q Do you have post-traumatic stress
23        Q And do you recall what made you               23   disorder because of the events giving rise to this
24    unhappy?                                            24   lawsuit, sometimes known as PTSD?
25        A Yes.                                          25      A No.
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 1        Q And what was that?                             1      Q Have you suffered any physical distress
 2        A I don't want to talk about it.                 2   after learning about Dr. Akoda in -- from Monique
 3        Q I -- I understand that you might not           3   Russell's Facebook post?
 4    want to talk about it, but you're under oath so      4      A Physically -- no, not necessarily.
 5    I -- I need an answer to the question.               5      Q When you say "not necessarily," is that
 6            MR. ZAJDEL: Objection. If it's               6   a no?
 7    unrelated -- if the question is related to the       7      A No.
 8    case, then I would agree she would have to talk      8      Q Have you ever been diagnosed with
 9    about it. But if it's -- I'm sorry, if she's         9   depression?
10    saying it's unrelated to the case, I don't know     10      A No.
11    why it would be relevant.                           11      Q Have you ever seen a medical
12            MR. KLAYMAN: Well, it's -- she's            12   professional to discuss depression?
13    bringing a claim for emotional distress, so other   13      A No.
14    things going on in her life that might be factors   14      Q Have you ever discussed your emotional
15    in emotional distress that she's suffering is       15   distress with a medical professional?
16    directly relevant to the claim.                     16      A No.
17            MR. ZAJDEL: Well, I wouldn't agree          17      Q If you were asked by a medical
18    with that. I'll have --                             18   professional about your emotional distress, would
19            MR. KLAYMAN: Let me -- maybe I'll --        19   you tell the truth?
20    let me try a question.                              20      A Yes.
21        BY MR. KLAYMAN:                                 21      Q And if you had been asked by a medical
22        Q Is the cause of that unhappiness that         22   professional in the past about your emotional
23    you referred to completely unrelated to the facts   23   distress, you would have told the truth?
24    of this case?                                       24      A Yes.
25        A Sometimes. So the things that make me         25      Q Do you typically tell the truth to

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 1    medical professionals when they ask you questions    1   Dr. King.
 2    in the course of treatment?                          2          Did you do anything to research
 3        A Yes.                                           3   Dr. King before you went to see her for treatment?
 4        Q Have you always told the truth to              4      A Yes.
 5    medical professionals when they're treating you?     5      Q What did you do?
 6        A Yes.                                           6      A I asked my cousin about her. I went to
 7        Q When was the last time you saw a               7   the doctor's office to meet her prior to my visit.
 8    medical professional for treatment, any -- any       8      Q So you met Dr. King once before you
 9    medical professional?                                9   became a patient?
10        A Okay. I went to the doctor last month,        10      A Yes.
11    not -- yeah, last month I had a doctor's            11      Q Did you look at Dr. King's resume?
12    appointment.                                        12      A No.
13        Q So that would be -- I forget what             13      Q Did you ask for references beyond that
14    month -- August?                                    14   of your cousin?
15        A Yes, in August.                               15      A No.
16        Q August of 2019?                               16      Q Did you check to see if Dr. King had
17        A Yes.                                          17   any specific credentials or certificates?
18        Q Okay. And where was that?                     18      A No.
19        A That was Unity Health Care.                   19      Q Did you ask to see Dr. King's test
20        Q What is Unity Health Care?                    20   scores or medical school transcript or anything
21        A It's a doctor's office. It's a clinic.        21   like that?
22        Q If you recall -- do you recall which          22      A No.
23    doctor you were seeing?                             23      Q Have you ever switched doctors?
24        A Dr. King.                                     24      A Yes.
25        Q Dr. King.                                     25      Q So if you don't like a doctor you're
                                               Page 66                                                   Page 68
 1            Do you know Dr. King's first name?           1   seeing, you -- you find a new doctor?
 2       A I don't recall.                                 2       A Yes.
 3       Q Is Dr. King a man or a woman?                   3       Q Now, other than to deliver a child,
 4       A A woman.                                        4   have you ever been hospitalized?
 5       Q What kind of doctor is Dr. King?                5       A Yes.
 6       A She's a physician.                              6       Q And when was that?
 7       Q Is she a specialist or a general                7       A I think it was 2015, I believe.
 8    practitioner, if you know?                           8       Q And what was the reason for the
 9       A I don't recall.                                 9   hospitalization?
10       Q Were you going for a routine physical?         10       A My birth control was giving me some bad
11       A Correct.                                       11   side effects.
12       Q How did you choose Dr. King as your            12       Q Do you remember how long you were in
13    doctor?                                             13   the hospital?
14       A Well, I was referred to her.                   14       A I'm just a -- overnight, maybe a few
15       Q Okay. And referred by whom?                    15   hours.
16       A My cousin.                                     16       Q What was that? I'm sorry.
17       Q Okay. Your cousin.                             17       A It was late morning, and I didn't leave
18            And who is your cousin?                     18   until, like, the next morning, so I don't know if
19       A You need her name?                             19   that's considered overnight or a few hours or --
20       Q Just for the record, yeah.                     20       Q Sure.
21       A Oh, okay. Her name is Davida Limes.            21           But you came in on one date and you
22       Q How do you spell the last name?                22   left on the next date?
23       A L-I-M-E-S.                                     23       A It was the same day I got there, maybe
24       Q L-I-M-E-S.                                     24   midnight; and I left maybe 9:00 in the next
25            So -- so your cousin referred you to        25   morning.

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 1       Q Oh, I see.                                       1   some -- another doctor if you prefer?
 2       A So that's why -- yeah, I didn't know if          2       A Correct.
 3    that was -- just to be technical.                     3       Q Did you have insurance when you were
 4       Q I appreciate that.                               4   treated by Dr. Akoda?
 5            So you got in really late at night or         5       A Yes.
 6    really early in the morning?                          6       Q Do you remember if he was in network or
 7       A Yeah.                                            7   if he -- if he -- if his treatment was covered by
 8       Q Depending on how you're looking at it,           8   insurance?
 9    I guess?                                              9       A Yes.
10       A Yes.                                            10       Q Okay.
11       Q And then you left on the same date; it          11           (Riggins Deposition Exhibit 2 was
12    was just several hours later?                        12   marked for identification and attached to the
13       A Correct.                                        13   transcript.)
14       Q Any other times that you were                   14       BY MR. KLAYMAN:
15    hospitalized that you recall other than child        15       Q So --
16    birth, again?                                        16           THE COURT REPORTER: Wait a minute.
17       A No, not that I can recall.                      17       BY MR. KLAYMAN:
18       Q Have you ever been to an emergency              18       Q The court reporter --
19    room?                                                19           THE COURT REPORTER: Let me give it to
20       A Yes.                                            20   her.
21       Q About how many times?                           21           There you go. Thank you.
22       A A few. I don't recall.                          22       BY MR. KLAYMAN:
23       Q Do you recall what -- what was the              23       Q So you've just been handed a document
24    reason for going to the emergency room?              24   that we've marked Riggins 2. It's a record
25       A Being sick, you know.                           25   produced by the plaintiffs that they received from

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 1       Q A variety of reasons?                            1   Unity Health Care which is the company we were
 2       A Yes. Correct.                                    2   just discussing; right?
 3       Q Anything traumatic like a -- for a car           3       A Yes.
 4    accident, for example, or --                          4       Q Okay. And you see that it's dated
 5       A No.                                              5   September 23rd, 2016?
 6       Q All right. Do you have health                    6       A Yes.
 7    insurance?                                            7       Q And just for the record, it's Bates
 8       A Yes.                                             8   number Plaintiffs, and then a bunch of zeros, and
 9       Q Does insurance play a role in which              9   then 6408. So if I ask you to turn to a
10    medical professionals you use?                       10   particular page as we go through, I'm just going
11       A Yes.                                            11   to refer to the number at the end of --
12       Q Tell me about what role it plays.               12       A Okay.
13       A Because of the insurance, I have these          13       Q -- that stamp. We call it a Bates
14    certain doctors I can go -- certain offices that     14   stamp. I don't know who Mr. Bates was.
15    accepts my insurances, and some doesn't.             15           So I want to ask you a couple of
16       Q What insurance is that, if -- if you            16   questions about this. Do you recall -- how long
17    know?                                                17   have you been a patient at Unity Health Care?
18       A Amerigroup.                                     18       A It's been years. I don't recall the
19       Q Does your insurance company assign you          19   exact year, but I've always been in that area with
20    doctors?                                             20   that doctor, this office.
21       A Yes, but you don't have to stick with           21       Q This office?
22    that doctor.                                         22       A Yeah.
23       Q Okay. So -- so the -- so am I right to          23       Q So -- so this would have been your
24    say that the insurance company will assign you a     24   doctor's office in September 2016?
25    doctor, but then you have the choice to then go to   25       A Correct.

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 1        Q Do you know who Alison Lesht is? Her            1   the first item at the top, in the third line down
 2    name is on the top right next to progress note.       2   all the way on the right, it says, Two sons -
 3        A I don't recall.                                 3   Healthy.
 4        Q From the "NP," I would gather that              4           Is that -- do you see what I'm -- what
 5    she's a nurse practitioner.                           5   I'm referring to?
 6            Does that refresh your recollection           6       A Yes.
 7    or --                                                 7       Q Was that true at the time -- that was
 8        A No.                                             8   true at the time that this was written; right?
 9        Q Now, you see the first bolded language          9       A Yes.
10    at the top of page 6408, it says, Reason for         10       Q All right. Now, under -- moving on to
11    Appointment.                                         11   the next section, which is Social History, we're
12            Do you see that?                             12   going to go through -- the first one is tobacco
13        A Yes.                                           13   use. And it says, Tobacco Use Questions Current
14        Q And it says, Medical - Adult EST               14   or past tobacco use: Current some day smoker.
15    Patient. That was next to 1.                         15           Do you see that?
16            And then 2, Accepted HIV Test - Serum        16       A Yes.
17    Test Needed.                                         17       Q Was that -- and that was true and
18            3, Physical Exam.                            18   correct in September 2016?
19            Do you see that?                             19       A Correct.
20        A Yes.                                           20       Q Skipping ahead to Drug/Alcohol Use, do
21        Q Does that sound like the kinds of              21   you see where I'm --
22    treatment you've gotten from Unity Health Care in    22       A Yes.
23    the past?                                            23       Q Do you see where I am?
24        A Yes.                                           24       A Yes.
25        Q Okay. So next it says, History of              25       Q So it says, Drug Use Questions. Date
                                                Page 74                                                   Page 76
 1    Present Illness. And then it starts, PHQ-2.           1   updated 09/23/2016. Past or current drug use?
 2            Do you know what PHQ-2 means?                 2   Yes - current use. Which drugs used: Marijuana.
 3        A No.                                             3   Current Use/Frequency - Marijuana: occasionally.
 4        Q So in the text underneath it, it says,          4           Alcohol Use Questions. Dated updated:
 5    PHQ-2 Little interest or pleasure in doing things.    5   09/23/2016. Past or current alcohol use: Yes.
 6    And then it again repeats, Little interest or         6   What type of alcohol? Wine. (One drink equals
 7    pleasure in doing things: No. Feeling down,           7   one glass equals five ounces.) How often? Once
 8    depressed or hopeless: No.                            8   or a few times a week. How many drinks in one
 9            Do you see that?                              9   sitting? Four drinks (guideline for max per
10        A Yes.                                           10   sitting, for men).
11        Q Were those questions that you were             11           Did I read that right?
12    asked?                                               12       A Uh-huh.
13        A I don't recall.                                13       Q Was that true and acc- -- and that was
14        Q You don't recall.                              14   true and accurate in September 2016?
15            But in September 2016, were those true       15           MR. ZAJDEL: Objection. And I'm going
16    statements?                                          16   to instruct the witness not to answer the question
17        A Yes.                                           17   with respect to marijuana use.
18        Q And it wouldn't surprise you if you had        18           You can answer the rest of that
19    told that to your treating physician --              19   question.
20        A No.                                            20       BY MR. KLAYMAN:
21        Q -- if asked these questions?                   21       Q So you can -- yeah, you can go ahead.
22        A Right.                                         22       A Okay. So to the drinking, yes.
23            No.                                          23           MR. KLAYMAN: Are you -- are you
24        Q If you could turn to the next page, so         24   instructing her to assert her Fifth Amendment
25    it's Bates 6409. Under Family History, which is      25   privilege?

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 1            MR. ZAJDEL: Yes. You're -- you're             1       Q So the court reporter just handed you
 2    asking a question about -- I've instructed her not    2   the document beginning with Bates number 7576
 3    to answer, and --                                     3   that's been marked Riggins Exhibit 3.
 4            MR. KLAYMAN: I'm just trying to               4           And this, again, is a Unity Health Care
 5    understand the basis. Is it the Fifth Amendment?      5   record; right?
 6            MR. ZAJDEL: Yes.                              6       A Yes.
 7        BY MR. KLAYMAN:                                   7       Q And the date for this one is
 8        Q And you're accepting counsel's                  8   February 19th, 2017. Do you see that --
 9    instruction not to answer?                            9       A Yes.
10        A Yes.                                           10       Q -- on the top left?
11            MR. ZAJDEL: Also, just -- and I'm not        11           And you were still a patient at Unity
12    trying to make a speaking objection. I just want     12   Health Care at this time?
13    to put on the record -- and we did this in the       13       A Yes.
14    previous deposition -- that there's a -- with all    14       Q Have you been a patient at Unity Health
15    these medical records and some testimony will be     15   Care continuously from, I guess, the last record,
16    some information that we think deserves a            16   September 2016, at least until today?
17    confidentiality stamp. We just want to reserve       17       A Correct.
18    the right to mark anything confidential before a     18       Q And, again, next to the progress note,
19    final transcript is released, including any          19   it says Martine H. Tchinda, NP.
20    exhibits.                                            20           Do you know who Martine H. Tchinda, NP
21            MR. KLAYMAN: Okay. That's -- that's          21   is?
22    a -- your comment is noted, and we can -- we can     22       A No.
23    discuss that.                                        23       Q But, again, the "NP" seems to signify
24        BY MR. KLAYMAN:                                  24   nurse practitioner, so it could be someone that
25        Q Now, going down to the section on OB           25   treated you; correct?
                                                Page 78                                                  Page 80
 1    History. If you'll see, it's right in the middle      1           MR. ZAJDEL: Objection.
 2    of that page?                                         2           THE WITNESS: Right.
 3        A Yes.                                            3       BY MR. KLAYMAN:
 4        Q It says, Total pregnancies, four;               4       Q So moving down to the reason for
 5    abortions, two; C-sections, two.                      5   appointment. Do you see where I'm at?
 6            Do you see that?                              6       A Yes.
 7        A Yes.                                            7       Q It says, 1, Medical - Walk-in pregnancy
 8        Q Was that a true -- that was a true and          8   test.
 9    accurate statement in September 2016; correct?        9           Does that sound like a reason you
10        A Correct.                                       10   would -- does that refresh your recollection --
11        Q When, if you recall, were the                  11   let me strike that.
12    abortions? Ballpark time period.                     12           Do you recall why you were going to
13        A I don't recall.                                13   Unity Health Care in February 2017?
14        Q Were they -- do you recall if they were        14       A Yes.
15    before the C-sections?                               15       Q And why was that?
16        A Yes.                                           16       A For a pregnancy test.
17        Q And they -- and they were before the           17       Q If you skip down to the section on
18    C-sections?                                          18   surgical history -- that's still on page 7576.
19        A Yes.                                           19   It's the third bolded section from the bottom.
20        Q Okay. I'm sorry. I just -- I asked a           20           Do you see where it is?
21    bad question, so . . .                               21       A Yes.
22            (Riggins Deposition Exhibit 3 was            22       Q So it says, C-sections times two;
23    marked for identification and attached to the        23   surgical abortion 2/2016.
24    transcript.)                                         24           Do you see that?
25        BY MR. KLAYMAN:                                  25       A Yes.

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 1        Q Does that refresh your recollection at                1   before that, there's a certificate of service, and
 2    all about when the abortions happened?                      2   then the page before that, there's a page called
 3        A Yes.                                                  3   Verification.
 4        Q And when did those happen?                            4       A Oh, yeah.
 5        A 2016.                                                 5       Q It has a 14 at the bottom.
 6        Q 2016.                                                 6           Do you see that?
 7        A About that time somewhat.                             7       A Yes.
 8        Q Now, if you move out -- move on to the                8       Q Okay. And it says, I, Jasmine Riggins,
 9    next page, so 7577. I'm looking at smack in the             9   hereby aver that the factual statements in the
10    middle where it says, Review of Systems.                   10   foregoing answers to interrogatories are true and
11           Do you see that in the bolded language?             11   correct to the best of my knowledge, information
12        A Yes.                                                 12   and belief, and that these answers are made
13        Q So if you go down to the last                        13   subject to the penalties relating to unsworn
14    underlined item in that section where it says,             14   falsification to authorities.
15    Psych, do you see that?                                    15           Right?
16        A Yes.                                                 16       A Yes.
17        Q And it says, Negative for                            17       Q And then it's dated June 13, 2019; is
18    anxiety/worry, depressed mood, suicidal thoughts.          18   that right?
19           Did I read that right?                              19       A Yes.
20        A Yes.                                                 20       Q And then there's a line for -- and a
21        Q And that was a true and accurate --                  21   signature that -- are those your signature for
22    accurate statement of your well-being in                   22   Jasmine Riggins?
23    February 2017?                                             23       A Yes.
24        A Yes.                                                 24       Q Does that refresh your recollection
25           MR. KLAYMAN: That will be 4.                        25   about if whether you've seen this document before?
                                                       Page 82                                                      Page 84
 1            (Riggins Deposition Exhibit 4 was                   1      A Yes.
 2    marked for identification and attached to the               2      Q Earlier today, you testified that you
 3    transcript.)                                                3   weren't sure of when you saw the Facebook post
 4        BY MR. KLAYMAN:                                         4   from Monique Russell.
 5        Q So the court reporter has just handed                 5          Do you recall that?
 6    you the document that's been marked Riggins                 6      A You said that I wasn't sure that --
 7    Exhibit 4.                                                  7      Q Yeah, that you said you weren't sure.
 8            Do you recognize the document?                      8      A Okay.
 9        A I can't say yes or no.                                9      Q Of the date; is that right?
10        Q Are you familiar with -- with                        10      A The date, yes.
11    interrogatories?                                           11      Q Yes.
12        A Yes.                                                 12      A Correct.
13        Q So -- so as you can see from the title               13      Q So if you could turn to page 3 of the
14    there, this document is entitled, Plaintiff                14   interrogatories.
15    Jasmine Riggins' Supplemental Answers to First Set         15      A Okay.
16    of Interrogatories and Supplemental Responses to           16      Q I'll just direct you to the very
17    First Set of Requests for Production of Documents.         17   bottom, the first full line where it says,
18        A Uh-huh.                                              18   Plaintiff began experiencing these injuries when
19        Q Right?                                               19   she learned in July 2017 that Akoda was not really
20        A Yes.                                                 20   a doctor.
21        Q So these are discovery requests that                 21          Do you see that?
22    were served by your counsel on ECFMG in response           22      A Yes.
23    to certain interrogatories and document requests.          23      Q Does that refresh your recollection
24            Does it -- and if you turn to the back,            24   about when you saw Monique Russell's Facebook post
25    let's see, there's a long list of names, but right         25   about Dr. Akoda?

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 1        A Correct.                                      1      A     Correct.
 2        Q And -- and when was that?                     2      Q     -- correct?
 3        A In 2017.                                      3           Have you thought about going to see a
 4        Q In July 2017; right?                          4   health care provider for treatment of your
 5        A Yes.                                          5   injuries?
 6        Q Okay. So all of the medical records           6       A Yeah, I thought about it.
 7    that we've looked at so far -- so that would be     7       Q And you decided against it?
 8    Riggins Exhibit 2 and Exhibit 3 -- were from        8       A It just so -- it was just a thought,
 9    before July of 2017; right?                         9   like -- yeah, you could say I decided against it.
10            You can pull them up again if you want     10   Just wasn't something I really wanted to keep
11    to --                                              11   talking about.
12        A Yeah, they say -- this is 2016.              12           (Riggins Deposition Exhibit 5 was
13            Yes.                                       13   marked for identification and attached to the
14        Q How soon after learning, as you say in       14   transcript.)
15    your interrogatory response, that Akoda was not    15       BY MR. KLAYMAN:
16    really a doctor, did you begin experiencing        16       Q So the court reporter has handed you
17    emotional distress?                                17   the document that's been marked Riggins Exhibit 5
18        A Immediately once I --                        18   which begins on Bates number 6442. And this again
19        Q Immediately?                                 19   looks like a Unity Health Care record; right?
20        A Yeah, once I found out, I just felt          20       A Yes.
21    really bad, yeah.                                  21       Q And in the top left, the date here is
22        Q Did you experience the emotional             22   September 7th, 2017 --
23    distress continuously after that time, or was it   23       A Yes.
24    intermittent?                                      24       Q -- is that right?
25        A Yeah, intermittent.                          25           So that's after the July 2017 date that

                                              Page 86                                                      Page 88
 1        Q Intermittent?                                 1   was referred to in the interrogatories?
 2        A Yeah.                                         2      A Correct.
 3        Q So it would come and it would go, in          3      Q And up in the top right where it says
 4    other words?                                        4   progress note, this time it says, Yolanda E.
 5        A Yes.                                          5   Klemmer, CNM.
 6        Q How frequently would you experience the       6           Do you know who Dr. Klemmer is?
 7    emotional distress?                                 7      A Yes.
 8        A More often than not, yeah. The more I         8      Q And who is Dr. Klemmer?
 9    thought about it, it weighed on me, yeah.           9           MR. ZAJDEL: Objection: misstates
10        Q And how often would you think about it?      10   facts. It says certified nurse --
11        A Almost every day, every other day. I         11           MR. KLAYMAN: Oh, sure. I forgot.
12    tried not to think about it, but it would always   12   Forgive me.
13    come up in my mind.                                13      BY MR. KLAYMAN:
14        Q So on page 3 of the -- of Exhibit 4,         14      Q So do you know who Yolanda Klemmer is?
15    the second line from the bottom says, Plaintiff    15      A Yes.
16    has not seen any health care providers for         16      Q And who is Yolanda Klemmer?
17    treatment of these injuries.                       17      A She was my OB when I was at Unity.
18           Do you see that?                            18      Q Was it your understanding that she was
19        A Yes.                                         19   a medical doctor or that she is a medical doctor?
20        Q And that was a true and accurate             20           Do you still -- strike that. Let me
21    statement when these were -- when you signed the   21   start again.
22    verification in June of 2019; correct?             22           Do you still see Yolanda Klemmer?
23        A Correct.                                     23      A No.
24        Q And that's still a true and accurate         24      Q When was the last time you saw Yolanda
25    statement --                                       25   Klemmer for treatment?

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 1        A Back in 27 -- 2018 after I had my baby.           1   Yolanda E. Klemmer; right?
 2        Q But you're not a current patient of               2       A Yes.
 3    Yolanda Klemmer?                                        3       Q And here it says -- go through again
 4        A No.                                               4   what we did in the last record.
 5        Q And it was your understanding when you            5           So Reason for Appointment, 1, medical,
 6    were a patient that she was a medical doctor?           6   dash, OB visit.
 7        A Yes.                                              7           Do you see that?
 8        Q Would you refer to her as Dr. Klemmer             8       A Yes.
 9    when you saw her?                                       9       Q And that's a true and accurate
10        A Yes.                                             10   statement for why you were seeing Yolanda Klemmer
11        Q Now, if you look at, again, the Reason           11   in October 2017?
12    for Appointment --                                     12       A Yes.
13            That will be the first bolded language.        13       Q Klemmer was treating you in connection
14    Do you say where I'm at?                               14   with your -- with the birth of your third child;
15        A Yeah.                                            15   is that right?
16        Q Okay. So it says, 1, medical - OB                16       A Yes.
17    visit. 2, prenatal care.                               17       Q So again moving down to the PHQ-2,
18            And that's a true and accurate                 18   PHQ-2, little interest or pleasure in doing
19    statement of the treatment you were receiving from     19   things. Little interest or pleasure in doing
20    Klemmer in September 2017?                             20   things, no. Feeling down depressed or hopeless,
21        A Yes.                                             21   no.
22        Q Moving on to the next bolded language            22           Do you see that?
23    where it says History of Present Illness, do you       23       A Yes.
24    see that?                                              24       Q And that's a true and accurate
25        A Yes.                                             25   statement of your well-being in October 2017?

                                                   Page 90                                                       Page 92
 1       Q So here is again that reference to                 1       A Yes.
 2    PHQ-2. And it says PHQ-2, little interest or            2       Q Now, moving down to the next underlined
 3    pleasure in doing things. Little interest or            3   section which is postpartum visit.
 4    pleasure in doing things, no. Feeling down,             4           So I gather from postpartum that this
 5    depressed or hopeless, no.                              5   is after you gave birth?
 6           Did I read that right?                           6       A Yes.
 7       A Yes.                                               7       Q When -- when -- when did you give birth
 8       Q And that's -- and that's a true and                8   for -- in 2017?
 9    accurate statement of your well-being in                9       A It was on October 2nd.
10    September 2017; correct?                               10       Q Okay. So this is within two weeks of
11       A Yes.                                              11   the -- of the birth?
12           (Riggins Deposition Exhibit 6 was               12       A Yes.
13    marked for identification and attached to the          13       Q Okay. We're going to read through it
14    transcript.)                                           14   and I'll ask you a couple of questions.
15       BY MR. KLAYMAN:                                     15           So, Delivery (if not captured in
16       Q So the court reporter just handed you             16   flowsheet), Maternal date of discharge October 4,
17    another document. This one is Riggins Exhibit 6.       17   2017. Newborn date of discharge, October 4, 2017.
18    And it begins on Bates number 6478. And this also      18   Date of delivery, October 2nd, 2017.
19    appears to be a Unity Health Care medical record;      19           So that's the same date you just said;
20    right?                                                 20   right?
21       A Yes.                                              21       A Yes.
22       Q And the date up in the top left is                22       Q Right.
23    October 13, 2017.                                      23           Intrapartum complications, none. Type
24       A Yes.                                              24   of delivery, C/S. That's probably a reference to
25       Q And again, next to Progress Note it has           25   a C-section; is that right?

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 1       A I believe so.                                   1           So you're the named plaintiff in --
 2       Q You delivered your child in 2017                2   strike that.
 3    through a C-section?                                 3           You were a named plaintiff in
 4       A Yes.                                            4   litigation relating to Dr. Akoda in Maryland; is
 5       Q Place of delivery, Washington Hospital          5   that right?
 6    Center; is that right?                               6       A Yes.
 7       A Yes.                                            7       Q Do you recall when that lawsuit was
 8       Q Anesthesia, epidural/spinal. And                8   filed?
 9    that's the correct method of anesthesia that you     9       A No, I don't recall.
10    had during delivery?                                10           MR. KLAYMAN: This is 7.
11       A Correct.                                       11           (Riggins Deposition Exhibit 7 was
12       Q Gender, female. I take it that                 12   marked for identification and attached to the
13    that's -- I take it that's --                       13   transcript.)
14       A Correct.                                       14       BY MR. KLAYMAN:
15       Q -- for your daughter?                          15       Q So the court reporter has just handed
16       A Yes.                                           16   you a document that's been marked Riggins
17       Q Birth weight pounds, 7; birth weight           17   Exhibit 7.
18    ounces, 13.                                         18           Do you recognize the document?
19            So next is postpartum depression            19       A Yes.
20    screening. I have been able to laugh and see the    20       Q And what is it?
21    funny side of things: 0 - As much as I always       21       A It's a class action complaint.
22    could. I have looked forward with enjoyment to      22       Q And it's in the Circuit Court for
23    things: 0 - As much as I ever did. I have blamed    23   Prince George's County, Maryland?
24    myself unnecessarily when things went wrong: 0 -    24       A Correct.
25    No, never. I have been anxious or worried for no    25       Q And your name is in the top left of the
                                               Page 94                                                           Page 96
 1    good reason: 0 - No, not at all. I felt scared or    1   caption, so it says -- right underneath Monique
 2    panicky for no good reason: 0 - No, not at all.      2   Russell, it says Jasmine Riggins, 312 37th Street,
 3    Things have been getting on top of me: 0 - No, I     3   Apartment Number 304, Washington, D.C., 20019?
 4    have been coping as well as ever. I have been so     4      A Yes.
 5    unhappy that I have had difficulty sleeping: 0 -     5      Q And that's you?
 6    No, not at all. I have felt sad or miserable:        6      A Yes.
 7    0 - No, not at all. I've been so unhappy that I      7      Q And then if you look at the stamp
 8    have been crying: 0 - No, never. The thought of      8   that's kind of sideways on the front page, you see
 9    harming myself has occurred to me: 0 - Never.        9   the -- the year is a little fuzzy, I guess, but it
10    Total score: 0. Score is 12 or higher: No.          10   looks like 2000 -- to my eye it looks like 2017,
11    Negative screening result: Yes.                     11   September 11.
12           Did I read that all correctly?               12           Do you see that?
13        A Yes.                                          13      A Yes.
14        Q Now, I know that was a lot of                 14      Q So does that refresh your recollection
15    questions, but was that a true and correct          15   about when the lawsuit was filed in Maryland?
16    statement of your well-being in October 2017?       16      A Yes.
17        A Correct.                                      17      Q And when was that?
18        Q And then name of child, Taniya?               18      A In September of 2017.
19        A Taniya.                                       19      Q Okay.
20        Q Taniya?                                       20           (Riggins Deposition Exhibit 8 was
21        A Yes.                                          21   marked for identification and attached to the
22        Q Oh. Even better. Taniya Richardson.           22   transcript.)
23    Great.                                              23      BY MR. KLAYMAN:
24           Just give me one second while I figure       24      Q So the court reporter has handed you a
25    something out.                                      25   document that's been marked Riggins Exhibit 8, and

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 1    the Bates number on the bottom is 6480. And it             1   difficulty sleeping: 0 - No, not at all. I have
 2    looks like another united -- Unity Health Care             2   felt sad or miserable: 0 - No, not at all. I
 3    medical record; right?                                     3   have been so unhappy that I have been crying: 0 -
 4        A Yes.                                                 4   No, never. The thought of harming myself has
 5        Q And in the top left of this first page,              5   occurred to me: 0 - Never. Total score: 2.
 6    the date on it is November 9th, 2017.                      6   Score is 12 or higher: No. Negative screening
 7            Do you see that?                                   7   result: Yes.
 8        A Yes.                                                 8           Did I read that all correctly?
 9        Q And again, the progress note has                     9       A Yes.
10    Yolanda E. Klemmer; right?                                10       Q And is that a true and accurate
11        A Yes.                                                11   statement of your well-being in November of 2017?
12        Q And this time the Reason for                        12       A Yeah.
13    Appointment is -- you see where I'm at --                 13           MR. ZAJDEL: Objection.
14        A Yes.                                                14           THE WITNESS: Sorry. Sorry.
15        Q -- looking at the top?                              15           MR. ZAJDEL: Objection: compound
16            So 1, Medical - OB visit; 2, Pregnancy            16   question.
17    test; 3, Postpartum exam.                                 17           She can answer it.
18            Is that a true and correct statement of           18           MR. KLAYMAN: Sure. So -- so --
19    the reasons you went to Unity Health Care in              19           MR. ZAJDEL: I think she already did,
20    November 2017?                                            20   but --
21        A Correct.                                            21       BY MR. KLAYMAN:
22        Q Again, under History of Present                     22       Q Yeah. So each of those -- so each of
23    Illness, it says at the first couple of lines,            23   those is a true statement of your well-being in
24    PHQ-2, little interest or pleasure of doing               24   November 2017?
25    things. Little pleasure or interest in doing              25       A Yes.
                                                      Page 98                                                   Page 100
 1    things, no. Feeling down, depressed or hopeless,           1       Q If you recall earlier, I asked you
 2    no.                                                        2   about your difficulty sleeping.
 3            Do you see that?                                   3          Do you remember I asked you that -- a
 4        A Yes.                                                 4   question about that?
 5        Q And that's a true and accurate                       5       A Yes.
 6    statement of your well-being in November of 2017?          6       Q So does the statement here from
 7        A Yes.                                                 7   November 2017, I've been so unhappy that I've had
 8        Q And again if you go down to postpartum               8   difficulty sleeping, 0, no, not at all. Does that
 9    visit, so it's underlined, I'm going to skip the           9   refresh your recollection about when any sleep
10    first couple of lines, but in the fifth line down         10   difficulties you've testified to earlier began?
11    right in the middle, do you see the words                 11       A Yes, but this is -- I haven't been so
12    "postpartum depression screening"?                        12   unhappy that it caused difficulty sleeping.
13        A Yes.                                                13       Q Oh, okay. So the difficulty sleeping
14        Q Okay. I'm just going to read it into                14   is unrelated to your emotional distress?
15    the record. I have been able to laugh and see the         15          MR. ZAJDEL: Objection. The question
16    funny side of things: 0 - As much as I always             16   was asked and answered.
17    could. I have looked forward with enjoyment to            17          You can answer -- you can answer the
18    things: 0 - As much as I ever did. I have blamed          18   question.
19    myself unnecessarily when things went wrong: 2 -          19          THE WITNESS: What was the question?
20    Yes, some of the time. I have been anxious or             20       BY MR. KLAYMAN:
21    worried for no good reason: 0 - No, not at all.           21       Q The question was so is the difficulty
22    I have felt scared or panicky for no good reason:         22   sleeping that you testified to earlier unrelated
23    0 - No, not at all. Things have been getting on           23   to your emotional distress?
24    top of me: 0 - No, I have been coping as well as          24       A Correct. I'd say that.
25    ever. I have been so unhappy that I have had              25          MR. KLAYMAN: I'm sorry. Just give me

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 1    one second.                                               1      Q And -- and when was it filed?
 2         BY MR. KLAYMAN:                                      2      A November of 2018.
 3         Q Do you recall when this lawsuit was                3      Q Okay. You can set that aside for a
 4    filed?                                                    4   moment.
 5         A In 2017? This one?                                 5           (Riggins Deposition Exhibit 10 was
 6         Q So, I'm not talking about the Maryland             6   marked for identification and attached to the
 7    litigation. I'm talking about the litigation              7   transcript.)
 8    that's here against ECFMG that we're here for             8      BY MR. KLAYMAN:
 9    today?                                                    9      Q So the court reporter has handed you a
10         A I believe it was -- I don't recall. I             10   document that's marked Riggins Exhibit 10, and the
11    don't want to give the wrong day.                        11   Bates number is 6488 is where it begins.
12             (Riggins Deposition Exhibit 9 was               12           And again this looks like a Unity
13    marked for identification and attached to the            13   Health Care medical record; right?
14    transcript.)                                             14      A Yes.
15         BY MR. KLAYMAN:                                     15      Q And this time the date is April 18th,
16         Q So the court reporter has just handed             16   2019, in the top left; is that right?
17    you a document that is marked Riggins Exhibit 9.         17      A Yes.
18             Have you seen this document before?             18      Q And next to the progress note, it says,
19             You can flip through it to see if               19   Taisei Suzuki, DO.
20    it . . .                                                 20           Do you know who that is?
21         A (Witness reviews document.)                       21      A Yes.
22             I honestly . . .                                22      Q And who is that?
23             (Witness continues reviewing document.)         23      A He's a doctor at Unity Health Care, but
24             Okay. I'm not honestly sure.                    24   he's a -- he's a doctor at Unity Health Care.
25             Sorry. I don't recall seeing this.              25      Q He's a doctor at Unity Health Care you
                                                    Page 102                                                   Page 104
 1    Some of it looks familiar, but I can't --                 1   said?
 2        Q Okay. Well, on the third page of the                2      A Yeah.
 3    document, which has a -- a case caption, you'll           3      Q I'm sorry. I just couldn't hear you.
 4    see -- or, yeah, right there.                             4      A Yeah. Sorry about that.
 5            Underneath Monique Russell, it says               5      Q Do you know what kind of doctor, like,
 6    Jasmine Riggins, 312 37th Street, Apartment Number        6   an OB or a general practitioner or you're not
 7    304 --                                                    7   sure?
 8        A Yes.                                                8      A I'm not sure.
 9        Q -- Washington, D.C. 20019.                          9      Q Okay. And moving to the first, it
10            Right?                                           10   says, Reason for Appointment, 1, Medical - adult
11        A Yes.                                               11   EST patient, patient request birth control
12        Q And that's you?                                    12   referral; 2, FP - birth control.
13        A Yes.                                               13          Do you see -- did I read that right?
14        Q So this is the complaint that was filed            14      A Yes.
15    to initiate this lawsuit?                                15      Q And that's a true and accurate
16        A (Witness nods head.)                               16   statement of the reasons why you went to Unity
17        Q And on the front page, do you see --               17   Health Care in April of 2019?
18    there's a stamp -- there are two stamps, actually.       18      A Yes.
19            One says -- one in the middle says,              19      Q And moving down, excuse me, to -- under
20    Filed Pro Prothy, November 14, 2018.                     20   History of Present Illness, so the second
21            Do you see that?                                 21   underline is PHQ-2 where it says, PHQ-2, little
22        A Yes.                                               22   interest or pleasure in doing things. Little
23        Q Does that refresh your recollection at             23   interest or pleasure in doing things, no. Feeling
24    all as to when the lawsuit was filed?                    24   down, depressed or hopeless, no.
25        A Yes.                                               25          Do you see that?

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 1       A Yes.                                             1      A Yes.
 2       Q Is that a true and accurate statement            2      Q -- about feeling depressed?
 3    of your well-being in April 2019?                     3      A Uh-huh. I don't recall the dates.
 4       A Yes.                                             4      Q You don't recall the dates, you said?
 5       Q Have you ever testified to feeling               5      A Yeah.
 6    depressed?                                            6      Q Oh, okay.
 7       A I'm sorry?                                       7      A Yeah.
 8       Q Have you ever testified to feeling               8      Q Of -- the dates of what?
 9    depressed?                                            9      A Of the question.
10       A I don't recall.                                 10      Q Oh, of when the -- when you answered
11           MR. KLAYMAN: Is this 11?                      11   this question?
12           THE COURT REPORTER: Uh-huh.                   12      A Yes.
13           (Riggins Deposition Exhibit 11 was            13      Q Okay. But you -- but you do recall
14    marked for identification and attached to the        14   having testified at your deposition --
15    transcript.)                                         15      A Correct.
16       BY MR. KLAYMAN:                                   16      Q -- that you were feeling depressed?
17       Q So the court reporter has just handed           17      A Correct.
18    you what's been marked Russell -- uh, Riggins -- I   18          It's cold in here.
19    get them confused here -- Riggins Exhibit 11.        19      Q So in April 2019, in Riggins
20           Do you recognize this document?               20   Exhibit 10, you told your medical professional
21       A (Witness reviews document.) Yes.                21   that you were not feeling depressed; right?
22           Yes.                                          22      A Yes.
23       Q Yes?                                            23      Q But then at your deposition in the
24           And what is it?                               24   Maryland litigation, you testified that you were
25       A Response to defendants' request for             25   feeling depressed?
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 1    admissions.                                           1       A Correct. I was not feeling depressed
 2        Q And you can see from the top of the             2   at that time of my visit.
 3    first page it's in the Circuit Court for Prince       3       Q At the time of your visit?
 4    George's County, Maryland?                            4       A Yeah, I was not feeling depressed at
 5        A Yes.                                            5   that time.
 6        Q And in the case caption, it's Monique           6       Q Okay. So you're -- and you're talking
 7    Russell, et al. -- there are multiple names,          7   about your visit to Unity Health Care?
 8    but -- versus Dimensions Health Corp.                 8       A Correct.
 9            Do you see that?                              9       Q Okay. Do you recall being asked about
10        A Yes.                                           10   feeling depressed when you visited Unity Health
11        Q Okay. And this is the other lawsuit            11   Care?
12    that you were a plaintiff in?                        12       A Yes. They always ask those questions.
13        A Correct.                                       13       Q Okay. Did you ever think to say to
14        Q So if you turn to request number 21, it        14   them that you had been feeling depressed in
15    says, You claim that you suffer from depression as   15   between visits?
16    a result of your allegations against the             16       A No.
17    defendants.                                          17       Q Did they ever ask if you were feeling
18            And then the response is an objection.       18   depressed in between visits?
19    And then it says, As plaintiff testified at her      19       A No.
20    deposition, she has been depressed.                  20       Q Did they ask these orally or did they
21        A Okay.                                          21   ask them in writing, if you recall?
22        Q Do you see that?                               22       A They asked them orally.
23        A Yes.                                           23       Q Orally.
24        Q So does that refresh your recollection         24           And you gave the same answer from
25    about whether you testified --                       25   Riggins Exhibit 10 in several of the other Unity

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 1    Health Care medical records that we went through;         1 them for a referral to somewhere that could treat
 2    right?                                                    2 your depression?
 3        A Correct. They asked about that day.                 3      A     No.
 4        Q Okay. So each time you -- you went,                 4      Q     Do you think they would be able to
 5    you were answering about that day?                        5 refer you to someone who could treat your -- your
 6        A Correct.                                            6 feeling depressed?
 7        Q And you never thought to tell them that             7      A     I'm not honestly sure.
 8    you were feeling depressed in between your visits?        8          MR. KLAYMAN: We've been going for a
 9        A No.                                                 9 little while, so why don't we take a quick break
10        Q During any of these time periods?                  10 if that's all right.
11        A No.                                                11          THE WITNESS: Okay.
12        Q Why do you think your -- that Unity                12          THE VIDEOGRAPHER: Off the record at
13    Health Care was asking you these questions?              13 11:23.
14        A Because it's just something that they              14          (Recess -- 11:23 a m.)
15    want to know how you feel during that day at the         15          (After recess -- 11:35 a m.)
16    time of visit.                                           16          THE VIDEOGRAPHER: We are back on the
17        Q Do you think they would be interested              17 record at 11:35.
18    to -- in -- in terms of treating you, do you think       18      EXAMINATION BY COUNSEL FOR THE DEFENDANT
19    they would have wanted to know if you had been           19      BY MR. SHAFFER:
20    depressed in between visits?                             20      Q     Ms. Riggins, I want to ask you some
21        A I'm not honestly sure. I don't think               21 questions about the litigation that you initiated
22    there's something -- I didn't think that that was        22 in Maryland state court against Dimensions Health
23    something that they would consider, something that       23 Care, okay?
24    they would deal with. I would think that I would         24      A     Okay.
25    go to another place for that.                            25      Q     When did you file that lawsuit?

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 1        Q Another place?                                      1           MR. ZAJDEL: Objection: asked and
 2        A Yeah.                                               2   answered.
 3        Q What do you mean?                                   3           You can answer.
 4        A Like to see someone else versus this                4           MR. SHAFFER: When? This morning?
 5    Unity Health Care.                                        5           MR. ZAJDEL: (Indicating
 6        Q Where else would you have gone to seek              6   affirmatively.)
 7    treatment?                                                7       BY MR. SHAFFER:
 8        A Other places that help, like a                      8       Q Okay. So you told my colleague that it
 9    therapist or anybody else that has to do with             9   was in September of 2017; is that correct?
10    emotional depression, things like that, how you          10       A Correct.
11    feel.                                                    11       Q Okay. And why did you file that
12        Q Do you know whether Unity Health Care              12   lawsuit?
13    has therapists on staff?                                 13       A I'm sorry.
14        A I do -- no, not really.                            14       Q That's okay.
15        Q Did you ever ask?                                  15           My question was why you filed the
16        A No.                                                16   lawsuit. Was -- was the reason you filed the
17        Q Why not?                                           17   lawsuit because you believed that Dimensions
18        A It just didn't seem like that type of              18   Health Care was responsible for your emotional
19    place.                                                   19   injuries related to your interactions with
20        Q Did you ever ask them for a referral to            20   Dr. Akoda?
21    a -- to a -- a place that would be more equipped         21       A Correct.
22    in your estimation to treat your feeling -- your         22       Q Okay. And you're one of the named
23    intermittent depression, I guess?                        23   plaintiffs in that lawsuit; correct?
24        A You said would I ask them?                         24       A Correct.
25        Q Would you have asked -- or did you ask             25       Q Okay. Is that lawst- -- lawsuit still

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 1    active today?                                         1   page, which has the Bates number ending in 8683,
 2       A Correct.                                         2   you'll see that it's a certificate of service
 3       Q It is?                                           3   dated September 3rd, 2019, which was 13 days ago.
 4       A I believe -- I'm sorry.                          4           Have you ever seen this document
 5       Q If you don't know, just --                       5   before?
 6       A Yeah. I don't recall. I'm sorry.                 6       A No.
 7       Q Okay. Have you gotten any money from             7       Q Do you know what this document is?
 8    Dimensions Health Care in connection with your        8       A A stipulation of dismissal without
 9    lawsuit?                                              9   prejudice in the Circuit Court of Prince George's
10       A No.                                             10   County, Maryland.
11       Q Has anybody told you that you will be           11       Q What's your understanding of what
12    getting money from Dimensions Health Care?           12   this -- what this document does?
13       A No.                                             13       A Dismisses a case.
14       Q Okay. Did anybody tell you whether              14       Q Okay. Do you know whether this is the
15    they were going to dismiss your lawsuit against      15   lawsuit that you held -- you are a plaintiff in
16    Dimensions Health Care?                              16   against Dimensions Health Care?
17           MR. ZAJDEL: Objection. That would be          17       A Yes.
18    attorney-client privilege.                           18       Q It is?
19       BY MR. SHAFFER:                                   19       A Yes, I see my name.
20       Q Well, do you know whether your lawsuit          20       Q Okay. I think you have some exhibits
21    against Dimensions Health Care has been dismissed    21   in front of you. Do you want to look back at
22    or not?                                              22   Exhibit 7 that Mr. Klayman showed you this
23       A I don't recall.                                 23   morning?
24       Q Okay. So it might have been, but it             24           And if you take a look at the first
25    might not have been?                                 25   page of Riggins 7, there's a case number on the
                                               Page 114                                                     Page 116
 1        A Correct. It might have --                       1   right-hand side in the middle, handwritten,
 2        Q Isn't that kind of a big deal, like if          2   CAL17-22761 --
 3    you filed a lawsuit and then it got dismissed, you    3      A Uh-huh.
 4    would know?                                           4      Q Do you see that?
 5        A Correct.                                        5      A Yes.
 6        Q But you -- as you sit here today, you           6      Q And then if you look at Riggins 12 and
 7    don't know?                                           7   look at the top caption on the first page, it
 8        A I don't recall, correct.                        8   says, Monique Russell, et al., versus Dimensions
 9        Q Okay.                                           9   Health Corp., et al., and the number is the same,
10            (Riggins Deposition Exhibit 12 was           10   CAL17-22761?
11    marked for identification and attached to the        11      A Correct.
12    transcript.)                                         12      Q Okay. Looking at Riggins 7 and
13        BY MR. SHAFFER:                                  13   Riggins 12, as you sit here today, do you have an
14        Q Ms. Riggins, I've handed you what's            14   understanding of whether your case against
15    been marked as Exhibit 12 in your deposition.        15   Dimensions Health Care in Maryland has been
16    It's a pleading in the Circuit Court for Prince      16   dismissed?
17    George's County, Maryland, entitled Stipulation of   17      A Yes.
18    Dismissal Without Prejudice.                         18      Q It has; correct?
19            Take a look at that and let me know          19      A Correct.
20    when you're finished.                                20      Q And how do you know that?
21        A (Witness reviews document.) Okay.              21      A From the information.
22        Q Okay. Have you had a chance to look at         22      Q What information?
23    that?                                                23          MR. ZAJDEL: Objection to the extent
24        A Yes.                                           24   you're asking questions about communications
25        Q And if you flip over to the very last          25   between attorney-client.

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 1        BY MR. SHAFFER:                                    1   Care was responsible for what you say are your
 2        Q Well, here's what I'm trying to get at.          2   emotional injuries from Dr. Akoda, but yet you
 3    I asked you a few moments ago if you knew whether      3   dismissed the case against them without getting
 4    the case was dismissed or not, and you said you        4   any money; correct?
 5    didn't remember.                                       5      A Correct.
 6            We had that discussion --                      6      Q Why did you do that?
 7        A Okay.                                            7          MR. ZAJDEL: Objection.
 8        Q -- do you recall that?                           8          To the extent he's asking for
 9        A Yes.                                             9   communications between your attorneys and
10        Q Okay. And now I've showed you these             10   yourself.
11    two documents including a stipulation of dismissal    11          THE WITNESS: So what's the question?
12    from 13 days ago.                                     12      BY MR. SHAFFER:
13            My question is: Do you now recall that        13      Q I don't want to know about your
14    your case has been dismissed against Dimensions       14   communication with your lawyers. I'm just asking
15    Health Care?                                          15   you the question why did you agree to dismiss this
16        A Yes.                                            16   case.
17        Q And how long ago did you learn that             17          Well, let me -- let me back up. Did
18    your case against Dimensions Health Care had been     18   you agree to dismiss the case?
19    dismissed?                                            19      A Correct.
20        A My memory was refreshed today.                  20      Q Why did you agree?
21        Q Okay. Did you know that your case               21      A Something I talked to my attorneys
22    against Dimensions Health Care had been dismissed     22   about.
23    before September 3rd?                                 23      Q Did you agree to dismiss the case
24        A Yes. I don't recall. I'm sorry. I               24   because statements you made in that litigation
25    don't recall.                                         25   against Dimensions Health were not true?
                                                Page 118                                                  Page 120
 1        Q Okay.                                            1       A No.
 2        A I don't recall the dates.                        2       Q Okay. You still believe everything you
 3        Q But you are aware, as you sit here               3   said in that case is true and correct to the best
 4    today, that sometime before today you were aware       4   of your ability; right?
 5    that your case had been dismissed?                     5       A Correct.
 6        A Correct.                                         6       Q Let's take a look at -- at Riggins 7
 7        Q Okay. And what are the terms on which            7   which is the class action complaint that was
 8    you understand that dismissal occurred?                8   filed.
 9        A I'm sorry?                                       9       A Okay.
10        Q Are you getting any money for                   10       Q Actually, I'm going to give you an
11    dismissing the case?                                  11   amended complaint that you filed in that case,
12        A No.                                             12   just because that's the one I have marked up so it
13        Q Did you have to agree to pay any money          13   will be easier if we go through that one. I'm
14    to Dimensions Health Care as part of dismissing       14   going to mark it as exhibit Riggins 13 and give
15    that case?                                            15   you a copy.
16        A No.                                             16           (Riggins Deposition Exhibit 13 was
17        Q Did you have to agree whether the               17   marked for identification and attached to the
18    statute of limitations would or would not be          18   transcript.)
19    impacted by your dismissal of the case?               19       BY MR. SHAFFER:
20        A No.                                             20       Q And, Ms. Riggins, looking at what has
21        Q Did you have any discussions with               21   been marked as Exhibit 13, do you recognize that
22    anyone besides your lawyers about dismissing that     22   as the first amended class action complaint that
23    case?                                                 23   you filed in Prince George's County, Maryland,
24        A No.                                             24   against Dimensions Health Corporation --
25        Q Okay. You believed Dimensions Health            25       A Yes.

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 1       Q -- in December of 2017?                               1   Dimensions knew or should have done to protect you
 2       A Yes.                                                  2   from Dr. Akoda; correct?
 3       Q If we turn to page 3 of that document,                3       A Correct.
 4    paragraph 14, just at the bottom.                          4       Q And those are true and correct to the
 5       A Okay.                                                 5   best of your knowledge?
 6       Q You state, Jasmine Riggins was a                      6       A Correct.
 7    patient of Oluwafemi Charles Igberase between              7       Q Okay. And in paragraph 81, you state
 8    August 2012 and March 2013 at Dimensions, period.          8   that Dimensions' negligence was the sole and
 9    Jasmine Riggins knew Oluwafemi Charles Igberase as         9   proximate cause of the injuries, damages, and
10    Akoda.                                                    10   permanent disability of named plaintiffs and class
11           Is that true to the best of your                   11   members with named plaintiffs and class members
12    knowledge?                                                12   being in no way contributorily negligent.
13       A Yes.                                                 13           Again, that's your statement and true
14       Q Turn to page 11, and look at                         14   and correct to the best of your knowledge?
15    paragraph 66 where you state, Between 2008 and            15       A Correct.
16    2016, Akoda was an actual and/or apparent, duly           16       Q Turning to page 16 of this document,
17    authorized agent, servant and/or employee of              17   you stated, Dimensions is liable and vicariously
18    Dimensions, holding a medical staff position              18   liable for Akoda's conduct.
19    and/or enjoying hospital privileges.                      19           And you believe that to be true and
20           Is that true and correct to the best of            20   correct to the best of your knowledge?
21    your knowledge?                                           21       A Correct.
22       A Yes.                                                 22       Q In paragraph 88 you say that
23       Q I'm sorry?                                           23   Dimensions' negligence was the sole and proximate
24       A Yes.                                                 24   cause of the injuries, damages and permanent
25       Q Okay. Okay. Turn to the next page.                   25   disability of named plaintiffs in the class, with

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 1    Actually, let's -- let's go back to paragraph 67           1   named plaintiffs in the class being in no way
 2    where you state, Between 2008 and 2016, Dimensions         2   contributorily negligent.
 3    was responsible to assure and maintain patient             3          Correct?
 4    safety and privacy for members of the public who           4          MR. ZAJDEL: Okay. Before you answer,
 5    received treatment from its agents, servants               5   what paragraph was --
 6    and/or employees, such as physicians who were              6          MR. SHAFFER: 88.
 7    medical staff members and/or enjoyed hospital              7          MR. ZAJDEL: Okay. You can answer.
 8    privileges, including specifically but not limited         8      BY MR. SHAFFER:
 9    to Akoda.                                                  9      Q I'm going to rephrase the question.
10           Again, true and correct to the best of             10          In paragraph 88 you wrote that
11    your knowledge?                                           11   Dimensions' negligence was the sole and proximate
12        A Yes.                                                12   cause of the injuries, damages and permanent
13        Q Okay. Paragraph 71 on the next page,                13   disability of named plaintiffs in the class, with
14    you wrote, Dimensions knew or should have known,          14   named plaintiffs in the class being in no way
15    that Oluwafemi Charles Igberase had assumed a fake        15   contributorily negligent.
16    identity using the name Charles J. Akoda, M.D.;           16          And you understand and believe that to
17    correct?                                                  17   be true and correct; right?
18        A Correct.                                            18      A Correct.
19        Q And that was true and correct to the                19          (Riggins Deposition Exhibit 14 was
20    best of your knowledge --                                 20   marked for identification and attached to the
21        A Correct.                                            21   transcript.)
22        Q -- correct?                                         22      BY MR. SHAFFER:
23           Okay. If you look at paragraphs 72,                23      Q I'm going to hand you what's been
24    73, 74, 75, 76, 77, 78, 79, 80, all of those              24   marked as Exhibit 14.
25    statements relate to things that you believed             25          Riggins 14 is a document again from the

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 1    matter of Monique Russell versus Dimensions Health         1      Q Okay. Were you aware of these
 2    Corporation entitled Claimants' Certificate of             2   certifications and statements by Mr. Bojko before
 3    Merit.                                                     3   you dismissed your case against Dimensions Health
 4            Take a quick look at this if you would.            4   Corporation?
 5        A (Witness reviews document.)                          5      A No.
 6        Q Ms. Riggins, this document is entitled               6      Q Okay. Turn to the third page of
 7    Claimants' Certificate of Merit, and the first             7   Exhibit 14, which is a letter dated February 26th,
 8    page is a certificate by a gentleman named Thomas          8   2018, to a Paul Vettori.
 9    Bojko.                                                     9           Do you know Mr. Vettori?
10            Do you see that?                                  10      A Yes.
11        A Yes.                                                11      Q Who is he?
12        Q I'm sorry. Just try to keep your voice              12      A He's an attorney.
13    up.                                                       13      Q Okay. Is he one of your attorneys in
14        A Yeah, it's a little cold in here. I'm               14   the lawsuit in Maryland and in Philadelphia?
15    sorry. I'm just trying --                                 15      A Yes.
16        Q That's okay. We'll try to get it                    16      Q Okay. This is a letter to him from
17    warmer.                                                   17   Thomas Bojko, M.D., M.S., J.D., president and
18            Okay. Do you know who Mr. Bojko is?               18   managing partner of Aviva Healthcare Solutions.
19        A I do not.                                           19   And he writes to Mr. Vettori in the first
20        Q Okay. Do you see in the second                      20   paragraph, This is to acknowledge that after a
21    paragraph that he says he has reviewed the                21   review of materials involved in the
22    captioned Class Action Amended Statement of Claim,        22   above-referenced case, I have concluded that there
23    a final decision and order of the Board of                23   have been violations of the applicable standards
24    Maryland Board of Physicians, Department of               24   of administrative care by Dimensions Health
25    Justice materials, proceedings of the criminal            25   Corporation d/b/a Prince George's Hospital Center,
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 1    case against Dr. Charles Akoda/Igberase and other          1   individually and through their duly authorized
 2    related materials regarding the above captioned            2   agents, apparent agents, servants and/or
 3    case?                                                      3   employees, including but not limited to Charles J.
 4       A Yes.                                                  4   Akoda/Oluwafemi Charles Igberase ("Akoda"), which
 5       Q Okay. Do you know whether or not                      5   have directly and proximately resulted in
 6    Mr. Bojko was hired by your lawyers to offer               6   injuries, damages and permanent disability to the
 7    opinions about Dimensions Health Corporation's             7   claimants and others similarly situated.
 8    conduct?                                                   8           Do you see that?
 9       A No.                                                   9      A Yes.
10       Q Okay. Do you see in paragraph 3 of                   10      Q Were you aware of Mr. Bojko's opinions
11    Riggins 14 where Mr. Bojko certifies that there           11   related to the activities of Dimensions Health
12    have been violations of the applicable standards          12   Corporation?
13    of administrative care by Dimensions Health               13      A No.
14    Corporation and Dimensions Health Corporation             14           MR. ZAJDEL: Objection: asked and
15    d/b/a Prince George's Hospital Center,                    15   answered.
16    individually and through their duly authorized            16      BY MR. SHAFFER:
17    agents, apparent agents, servants and/or                  17      Q Okay. Look at the second paragraph of
18    employees, including but not limited to Charles J.        18   this letter. Mr. Bojko states, It is my opinion
19    Akoda/Oluwafemi Charles Igberase which have               19   the defendants, Dimensions Health Corporation,
20    directly and proximately resulted in damages,             20   breached the applicable standards of
21    injuries and permanent disability to the claimants        21   administrative care by negligently failing to use
22    and others situated.                                      22   required and reasonable care to investigate,
23           Do you understand what Mr. Bojko is                23   credential, grant privileges, monitor and
24    saying there?                                             24   supervise their medical personnel, including but
25       A Not really.                                          25   not limited to, Akoda and to discover, stop and

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 1    report any professional misconduct of which they           1       A Correct.
 2    should have known.                                         2       Q Okay. And my question is, if you come
 3            Do you agree with Mr. Bojko?                       3   to trial in this matter, will you agree that
 4       A Yes.                                                  4   because you don't have that information and
 5       Q Okay. Next sentence he writes, As a                   5   anything your lawyers told you isn't something you
 6    direct and proximate result of the defendants'             6   know personally, that you're not going to come to
 7    continuing negligence, the claimants, and others           7   trial and testify about things regarding ECFMG?
 8    similarly situated, suffered physical pain,                8            MR. ZAJDEL: Objection. That's a
 9    emotional anguish, and damages as well as personal         9   decision that's going to be made by her attorneys,
10    disability.                                               10   so I -- don't answer that question. I instruct
11            Do you agree with that?                           11   the witness not to answer that question.
12       A Yes.                                                 12            MR. SHAFFER: On what grounds?
13       Q Is that a yes?                                       13            MR. ZAJDEL: You're asking her about a
14       A Yes.                                                 14   decision that's to be made between her and her
15       Q Thank you.                                           15   counsel. You're going to -- you -- you've
16            And then he writes, Had the defendants            16   propounded discovery. I'm sure we've listed who
17    complied with the applicable standards of                 17   our witnesses are, or whatever the deadline date
18    administrative care the claimants, and others             18   is for discovery closing we'll list who the
19    similarly situated, would not have suffered their         19   witnesses are, and if her name is not there, she
20    injuries, damages and permanent disability.               20   won't be testifying at trial. If her name is
21            Do you agree with that?                           21   there, she'll be testifying at trial.
22            MR. ZAJDEL: Objection: calls for a                22            MR. SHAFFER: And my question was a
23    legal conclusion.                                         23   little -- it was a little more specific.
24            You can answer.                                   24       BY MR. SHAFFER:
25            THE WITNESS: Yes.                                 25       Q I understand you may come testify at
                                                     Page 130                                                       Page 132
 1        BY MR. SHAFFER:                                        1   trial. What I don't want to have happen is
 2        Q Okay. Do you know who hired Dr. Akoda                2   there's a situation where you come and you've
 3    to work at Prince George's?                                3   looked at a whole bunch of documents and materials
 4        A No.                                                  4   that you didn't look at before you came in here
 5        Q I just want to ask a question to make                5   today.
 6    sure that we're on the same page. When we talked           6           MR. SHAFFER: So that's my question.
 7    on Thursday, I think you told me that you did not          7   If the answer is the same, we'll take it up at the
 8    have any information about ECFMG except what you           8   appropriate time.
 9    may have been told by your lawyers; correct?               9           MR. ZAJDEL: Well, I'm still going to
10        A Correct.                                            10   object to that question because I can't confirm or
11        Q Okay. And is it fair for me to then                 11   deny what Ms. Riggins will see or not see before
12    assume that if this matter were to go to a trial,         12   the trial in preparing for a trial.
13    that you would not come to trial and expect to            13           But if what you're trying to find out
14    testify about ECFMG; is that fair?                        14   is is she going to testify to her personal
15        A Could you repeat your question? I'm                 15   knowledge about ECFMG differently than what she
16    sorry.                                                    16   testified to today, then I -- I believe that
17        Q Sure.                                               17   answer is not going to change. Her knowledge as
18            You don't know anything about ECFMG               18   of today was her knowledge as of today.
19    today other than what your lawyers told you;              19           MR. SHAFFER: Right.
20    right?                                                    20       BY MR. SHAFFER:
21        A Correct.                                            21       Q Again, in the interest of trying to
22        Q You don't have any firsthand knowledge,             22   move this along, take a look at Riggins 11 which
23    firsthand interactions, never spoke to anybody at         23   has already been marked this morning.
24    ECFMG, never went to their Web site, never looked         24           And these are Plaintiff Jasmine Riggins
25    at any of their materials; correct?                       25   Responses to Defendants' Requests for Admissions

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 1    that you served on the defendants in the                  1   was something you were not aware of prior to
 2    Dimensions Health Care Corporation case in                2   Thursday; correct?
 3    Maryland, and I think Mr. Klayman asked you a             3      A Correct.
 4    question or two about this?                               4      Q Prior to Thursday, what you had been
 5        A Yes.                                                5   told or assumed was that that scarring had
 6        Q And my question is in responding to                 6   occurred during the second C-section because it
 7    these requests for admissions, were you trying to         7   was noted in your discussions with your third
 8    be as truthful and as accurate as you could be in         8   doctor; correct?
 9    answering the questions that were asked?                  9      A Correct.
10        A Yes.                                               10      Q Okay. I think you also mentioned
11        Q And as you sit here today, do you                  11   briefly on Thursday that following the birth of
12    believe that the answers that you gave in response       12   Messiah -- and it was a good birth; right? He was
13    to these requests for admissions back in the             13   born healthy; correct?
14    Dimensions Health Care case are still true and           14      A Correct.
15    accurate to the best of your ability?                    15      Q -- that you have had some pain
16        A Yes.                                               16   resulting after the birth; is that correct?
17        Q You don't want to change any of these              17      A Correct.
18    answers today based on the dismissal of the              18      Q What -- what exactly were you
19    Dimensions Health Care case; right?                      19   describing there? What was the condition that you
20        A No.                                                20   were describing?
21        Q Okay.                                              21      A The abdominal pains in my stomach.
22            MR. SHAFFER: Let's go off the record             22      Q And do you think that that was the
23    for a minute.                                            23   result of having had the C-section?
24            THE VIDEOGRAPHER: Off the record at              24      A Yes.
25    12:06.                                                   25      Q Okay. And have you had pain following
                                                    Page 134                                                        Page 136
 1            (Recess -- 12:06 p.m.)                            1   each of the C-sections that you've had in your
 2            (After recess -- 12:14 p m.)                      2   abdominal area?
 3            THE VIDEOGRAPHER: We are back on the              3      A No, not as bad, no.
 4    record at 12:14.                                          4      Q Okay. It might not have been as bad,
 5       BY MR. SHAFFER:                                        5   but is it fair to say that C-section is a major
 6       Q Ms. Riggins, we're almost done here. I               6   surgery in your abdominal area?
 7    have a few more questions for you. I want to make         7      A Correct, but I was --
 8    sure I cover a couple of things that we started to        8      Q Okay. Did you have abdominal pain
 9    talk about on Thursday and didn't get to finish.          9   after the first C-section?
10            I think we talked a little bit about             10      A Slight.
11    the different doctors that you have seen in              11      Q And if you were experiencing pain as a
12    connection with your three children. There were          12   result of the C-section, that's something that you
13    three different doctors that you saw, one for each       13   would have reported to your doctors; correct?
14    birth; correct?                                          14      A I'm sorry?
15       A Correct.                                            15      Q If you were experiencing pain --
16       Q And you had a C-section in connection               16   abdominal pain following the C-sections, that's
17    with each of them; correct?                              17   something you would have reported to your doctors?
18       A Correct.                                            18      A Correct.
19       Q And I think we saw in the medical                   19      Q Okay. I saw somewhere in -- in the
20    record that was prepared after your C-section            20   documents we've received reference to Charter
21    involving Messiah reporting the existence of             21   Health Clinic.
22    significant scarring at that time.                       22           Do you know who that is?
23            Do you recall that?                              23      A Yes.
24       A Correct.                                            24      Q Who is that?
25       Q And I think we talked about how that                25      A It's the office -- doctor's office I

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 1    used to go to.                                           1   multiple names?
 2       Q Okay. When did you go there?                        2      A I'm sorry?
 3       A Years ago.                                          3      Q Are you aware of whether or not ECFMG
 4       Q Okay. What kind of doctor's office?                 4   actually identified situations where Dr. Akoda had
 5       A The same as Unity. It was actually                  5   used different names?
 6    Charter before it was Unity.                             6      A Could you rephrase your question? I'm
 7       Q Okay. So it was your general                        7   sorry.
 8    practitioner physician?                                  8           MR. SHAFFER: Can you read it back?
 9       A Correct.                                            9           (The Record was read as requested.)
10       Q Okay. For what reasons would you go to             10           THE WITNESS: I'm not aware.
11    Charter Health Clinic?                                  11           MR. ZAJDEL: I'm sorry. I didn't hear
12       A Regular checkups, if I was feeling ill.            12   that.
13       Q When was the last time you were there?             13           MR. SHAFFER: She said, I think, I'm
14       A I don't recall.                                    14   not aware.
15       Q Do you know whether they still have any            15           THE WITNESS: I -- no. Sorry.
16    medical records from you?                               16           MR. ZAJDEL: Can -- are you answering
17       A I do not know that.                                17   the question no, you're not aware? I want to make
18       Q Okay. And I apologize. I know you                  18   sure --
19    went over this, I think, with Mr. Klayman. But          19           MR. SHAFFER: Yeah.
20    when we talked on Thursday, you had mentioned some      20           MR. ZAJDEL: -- I understand. I'm not
21    communications with Monique Russell a month or so       21   trying to be in the way.
22    ago, and we talked about and made a request at the      22           THE WITNESS: Right.
23    deposition that you bring those with you today.         23           So you're asking if I'm aware -- I'm
24            And you have not done that; correct?            24   sorry.
25       A Correct.                                           25           MR. SHAFFER: That's all right.
                                                 Page 138                                                  Page 140
 1       Q And you have not looked for those;                  1   Let's --
 2    correct?                                                 2           THE WITNESS: I'm --
 3       A Correct.                                            3           MR. SHAFFER: -- try --
 4       Q Why not?                                            4           THE WITNESS: -- having --
 5       A I've had other things going on,                     5           MR. SHAFFER: -- again.
 6    unfortunately.                                           6           THE WITNESS: -- a hard time
 7       Q Is that something that you are still                7   comprehending this question.
 8    willing to collect and provide to your attorneys         8           MR. ZAJDEL: So you haven't answered
 9    to provide to us?                                        9   the question yet?
10       A Yes.                                               10           THE WITNESS: No.
11       Q Okay. And just so I'm clear, the                   11           MR. ZAJDEL: Okay. I didn't know if
12    things that you think Dr. Akoda did that were           12   she was answering your question or.
13    wrong are what?                                         13           MR. SHAFFER: I'm not sure either. So
14       A Performing on women, doing C-sections,             14   we're going to have --
15    looking at women's private parts, violating them,       15           THE WITNESS: Sorry.
16    touching them, not being honest with them.              16           MR. SHAFFER: -- the court reporter --
17       Q And what is it that you think ECFMG                17   that's okay. We're going to have the court
18    should have done?                                       18   reporter read it back and see if -- see if we can
19       A Paid attention to his credentials and              19   get there.
20    actually paid attention to him being interviewed        20           (The Record was read as requested.)
21    under two different names. Just be more careful         21           THE WITNESS: No. I'm sorry. I'm
22    about their job, pretty much. Be more careful           22   having a hard time comprehending that question.
23    about who they certify.                                 23      BY MR. SHAFFER:
24       Q And do you know whether or not they                24      Q Well, let me -- let me ask it again
25    identified instances where Dr. Akoda had used           25   because I don't want there to be any confusion

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 1    about it.                                               1       (Signature having not been waived, the
 2            You said ECFMG should be more careful;          2 Videotaped Deposition of JASMINE RIGGINS ended at
 3    right?                                                  3 12:26 p.m.)
 4        A Uh-huh.                                           4
 5        Q Those were your words?                            5
 6        A Yes.                                              6
 7        Q All right. And my question, you said              7
 8    sort of -- strike that.                                 8
 9            And I guess my question was, do you             9
10    know or would it make a difference in your mind if     10
11    you were to learn that ECFMG actually did find         11
12    situations where Dr. Akoda had tried to use            12
13    different names?                                       13
14        A Would it make a difference in my mind?           14
15            I'm sorry.                                     15
16        Q You don't know?                                  16
17        A No.                                              17
18        Q Would it make a difference in your mind          18
19    if you were to learn that ECFMG had cooperated         19
20    with the U.S. Attorney's Office and helped them        20
21    build a case against Dr. Akoda?                        21
22        A Possibly, you know.                              22
23        Q Okay. And tell me again what you think           23
24    Dimensions Health Care should have done to prevent     24
25    Dr. Akoda from seeing you?                             25

                                                Page 142                                                             Page 144
 1           MR. ZAJDEL: Objection: asked and                 1 CERTIFICATE OF SHORTHAND REPORTER - NOTARY PUBLIC
 2    answered.                                               2          I, Dana C. Ryan, Registered Professional
 3           You can answer.                                  3 Reporter, Certified Realtime Reporter, the officer
 4           THE WITNESS: Okay. Just be more                  4 before whom the foregoing proceedings were taken
 5    careful about who they allow to practice in their       5 do hereby certify that the foregoing transcript is
 6    offices, hospitals; pay more attention; be more --      6 a true and correct record to the best of my
 7    take more pride in what they do, you know what I        7 ability of the proceedings; that said proceedings
 8    mean, like -- just being on top -- being more           8 were taken by me stenographically and thereafter
 9    careful.                                                9 reduced to typewriting under my supervision; and
10           MR. SHAFFER: Okay. I don't -- I don't           10 that I am neither counsel for, related to, nor
11    have any more questions at this time. We reserve       11 employed by any of the parties to this case and
12    the right to -- to requestion Ms. Riggins in light     12 have no interest, financial or otherwise, in its
13    of additional documents that might be produced or      13 outcome.
14    a change in her position regarding the information     14          IN WITNESS WHEREOF, I have hereunto set
15    that she has not been able to speak to from            15 my hand and affixed my notarial seal this 26th day
16    personal knowledge here today, whether regarding       16 of September 2019.
17    ECFMG or something else.                               17 My Commission expires:
18           But subject to those comments, we'll            18 July 15, 2020
19    adjourn the deposition.                                19
20           MR. ZAJDEL: Okay. I don't have any              20
21    questions.                                             21
22           THE VIDEOGRAPHER: If that is                    22 _____________________________
23    everything, we are off the record on                   23 NOTARY PUBLIC IN AND FOR THE
24    September 16th, 2019, at 12:26.                        24 DISTRICT OF COLUMBIA
25                                                           25


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                               Jasmine
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 1         ACKNOWLEDGMENT OF DEPONENT
 2         I, Jasmine Riggins, do hereby
 3 acknowledge that I have read and examined the
 4 foregoing testimony, and the same is a true,
 5 correct and complete transcription of the
 6 testimony given by me and any corrections appear
 7 on the attached Errata sheet signed by me.
 8
 9
10
11 _____________________         ______________________
12 (DATE)                  (SIGNATURE)
13
14
15        CERTIFICATE OF NOTARY PUBLIC
16 Sworn and subscribed to before me this
17 _______ day of _______________, _________
18
19
20 _____________________         ______________________
21 NOTARY PUBLIC                 MY COMMISSION EXPIRES
22
23
24
25




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                                 Elsa M. Powell

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 1    IN THE CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY

 2   MONIQUE RUSSELL, et al.           :

 3       Plaintiffs                    : Case No.:

 4               Vs.                   : CAL17-22761

 5   DIMENSIONS HEALTH CORP., : CAL17-37091

 6   et al.                            : CAL18-07863

 7       Defendants                    :

 8                        --------------------

 9

10               Deposition of ELSA MIGUELINA POWELL, was

11   taken via Videotape on Wednesday, March 27, 2019,

12   commencing at 9:56 a.m., at Schochor, Federico &

13   Staton, P.A., The Paulton, 1211 St. Paul Street,

14   Baltimore, Maryland, before MICHELE D. LAMBIE,

15   Notary Public.

16                          --------------------

17

18

19

20

21   Reported By:       Michele D. Lambie, CSR-RPR




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 1 APPEARANCES:                                                    1           PROCEEDINGS
 2        ON BEHALF OF THE PLAINTIFFS:                             2       THE VIDEOGRAPHER: Good morning. We are
 3     Schochor, Federico & Staton, P.A.                           3 going on the record at 9:56 a.m. on March 27th,
 4       TARA CLARY, ESQUIRE                                       4 2019. This media unit one of the video-recorded
 5       tclary@sfspa.com                                          5 deposition of Elsa Powell taken in the matter of
 6       The Paulton                                               6 Monique Russell, et al. v Dimensions Health Corp,
 7       1211 St. Paul Street                                      7 et al. filed in the Circuit Court for Prince
 8       Baltimore, Maryland 21202                                 8 George's County, Maryland. The Case Number is
 9       (410) 234-1000                                            9 CAL17-22761, and Case Number CAL17-37091, and Case
10                                                                10 Number CAL18-07863.
11        ON BEHALF OF THE DEFENDANTS:                            11       This deposition is being held at
12     Pessin Katz Law, P.A.                                      12 Schochor, Federico and Staton located at 1211
13       BRIAN M. CATHELL, ESQUIRE                                13 St. Paul Street, Baltimore, Maryland 21202.
14       bcathell@pklaw.com                                       14       My name is Curtis Roginski, and I'm the
15       901 Dulaney Valley Road, Suite 400                       15 videographer. The court reporter is Michele
16       Towson, Maryland 21204                                   16 Lambie.
17       (410) 938-8800                                           17       Will counsel please identify yourselves
18                                                                18 and state whom you represent?
19     ALSO PRESENT: Curtis Roginski - Videographer 19                     MS. CLARY: Tara Clary for the
20                                                                20 Plaintiffs.
21                                                                21       MR. CATHELL: Brian Cathell on behalf of
                                                         Page 3                                                           Page 5
 1          EXAMINATION INDEX                                      1 the Defendants.
 2                                                                 2        THE VIDEOGRAPHER: Will the court
     WITNESS: ELSA MIGUELINA POWELL                      PAGE      3 reporter please swear in the witness.
 3    DIRECT BY MR. CATHELL                          5
                                                                   4               ELSA MIGUELINA POWELL
 4
                                                                   5 the Deponent, called for examination by the
 5            EXHIBIT INDEX
                                                                   6 Defendants, being first duly sworn to tell the
 6        (Attached to Transcript.)
                                                                   7 truth, the whole truth, and nothing but the truth,
 7                             MARKED
     ELSA MIGUELINA POWELL                                         8 testified as follows:
 8 Exhibit 1 Answers to Interrogatories         12                 9               DIRECT EXAMINATION
 9 Exhibit 2 Consent Form                  56                     10        BY MR. CATHELL:
10 Exhibit 3 Consent Form                  57                     11     Q. Good morning, Ms. Powell. I introduced
11 Exhibit 4 Consent Form                  58                     12 myself informally off the record. Have you had
12 Exhibit 5 Birth Band                   64                      13 your deposition taken before?
13 Exhibit 6 Consent Form                  67
                                                                  14     A. No.
14
                                                                  15     Q. Okay. So, just a few rules before we get
15
                                                                  16 started, okay? The first rule or -- the first rule
16
                                                                  17 is if you need a break at any time, you're allowed
17
18
                                                                  18 to do so. You can take a break for any reason or
19                                                                19 no reason. Just let one of us know, and we may
20                                                                20 take a break as well.
21                                                                21        So, if -- if you need to go to the
                                                                                                                    JA461
                                                                                                                2 (Pages 2 - 5)
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 1 bathroom or get a drink or something, that's                 1      Q. And what did you assume the new name,
 2 certainly okay, all right?                                   2   take the new name of Powell?
 3     A. (Nodding head yes.)                                   3      A. January 13, 2015.
 4     Q. We're not holding you hostage, fair?                  4      Q. And are you currently married?
 5     A. Fair.                                                 5      A. Yes.
 6     Q. Okay. She is taking down everything that              6      Q. And I assume you've been married
 7 we say. Because of that, your responses need to be           7   continuously since January 13th, 2015?
 8 verbal; yes, no, I don't know. But they can't be             8      A. Correct.
 9 head nods or um-hums or huh-uhs because she has              9      Q. And was that your first marriage?
10 difficulty typing that down, is that fair?                  10      A. Yes.
11     A. Fair.                                                11      Q. And what's the name of your spouse?
12     Q. Okay. If -- if I ask you a question                  12      A. Gregory Lamont Powell, III.
13 today that you don't understand, which is entirely          13      Q. And how many children do you have?
14 possible, please let me know, and I'm happy to              14      A. Five.
15 rephrase it as many times as I need to, okay?               15      Q. Okay. Can you tell me their names and
16     A. Yes, sir.                                            16   ages starting with the oldest?
17     Q. If we're talking about a topic that                  17      A. Lucy, she's 13. Nestor, he's 12.
18 you're confused about, which is likely my fault,            18   Josiah, he's eight. Jaiden, he's four, and
19 just let me know, and I'm happy to try to clarify           19   Tatiana, she's two.
20 my questions and to drill down on what it is I'm            20      Q. Who lives in your home with you now?
21 asking for, okay?                                           21      A. Myself, my husband, and my children.
                                                      Page 7                                                    Page 9
 1     A. Yes, sir.                                             1    Q. All five children?
 2     Q. And, lastly, I think we're going to talk              2    A. Yes.
 3 about some personal and -- and difficult topics              3    Q. And which children do you share in common
 4 today, and it is not my intention to embarrass you.          4 with Mr. Powell?
 5 This is our opportunity to explore the topic of              5    A. Jaiden and Tatiana.
 6 class certification, and so there are certain areas          6    Q. And do Lucy, Nestor, and Josiah share a
 7 that I need to explore with you here today. So,              7 father?
 8 I -- I don't want you to embarrass you, and I                8    A. Lucy and Nestor do.
 9 certainly don't want to upset you, okay?                     9    Q. Okay. What was his name or is his name?
10     A. I understand.                                        10    A. Nestor Mercedes.
11     Q. Okay. What is your name?                             11    Q. Okay. And what is the name of the father
12     A. Elsa Powell.                                         12 of Josiah?
13     Q. And what is your date of birth,                      13    A. Waldemar Rodriguez.
14 Ms. Powell?                                                 14    Q. Can you spell the first part for me?
15     A. April 14, 1987.                                      15    A. W-A-L-D-E-M-A-R.
16     Q. And what is your current address?                    16    Q. Rodriguez?
17     A. 12705 Livo Place, Upper Marlboro,                    17    A. Yes.
18 Maryland 20772.                                             18    Q. Okay. And who was living with you in
19     Q. Okay. And have you gone by any other                 19 September of 2014 when you -- when you were in
20 names or aliases?                                           20 contact with Dr. Akoda or when -- I assume that's
21     A. My maiden name, which is Delvillar-Mejia.            21 when you gave birth to Jaiden, correct?
                                                                                                          JA462
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 1      A. That's correct.                                       1 Answers to Interrogatories, marked for
 2      Q. Okay. Who was living with you at that                 2 identification.)
 3   time?                                                       3 BY MR. CATHELL:
 4      A. My three oldest children.                             4    Q. And if you'll turn to the second to the
 5      Q. And Mr. Powell?                                       5 last page I believe -- the third to the last page.
 6      A. No.                                                   6        MS. CLARY: Are you looking for the
 7      Q. And when did Mr. Powell first start                   7 signature line?
 8   living with you?                                            8        MR. CATHELL: Yes.
 9      A. January 2015.                                         9        MS. CLARY: Do you mind if I grab it for
10      Q. So, after the marriage?                              10 you?
11      A. Yes.                                                 11        (Document tendered.)
12      Q. I'd like to talk about your educational              12        MS. CLARY: I'm not sure I'm doing any
13   background. Do you hold any degrees or                     13 better here. There you go.
14   certifications?                                            14 BY MR. CATHELL:
15      A. Certifications, yes.                                 15    Q. In the top-left portion of the document,
16      Q. Okay. And which certifications do you                16 is that your signature, Ms. Powell?
17   hold?                                                      17    A. That's correct.
18      A. I'm certified in the Spanish language. I             18    Q. Okay. And did you participate or provide
19   also hold a Maryland guard card.                           19 information for your attorneys to draft the Answers
20      Q. Is that National Guard?                              20 to Interrogatories?
21      A. No. It's a security guard card. They                 21    A. That's correct.
                                                      Page 11                                                           Page 13
 1 call it certification card. A CPR certification               1    Q. Okay. If you'll turn to page 12,
 2 card as well.                                                 2 specifically answer to Interrogatory Number 16,
 3     Q. And a certification in Spanish language,               3 your employment history is listed?
 4 I -- I won't go into that too much, but that's a              4    A. Page 12?
 5 certification that you're proficient in --                    5    Q. Yes. If you'll just review that for me
 6     A. In the Spanish language.                               6 briefly. Is that employment history still accurate
 7     Q. -- speaking or teaching Spanish, correct?              7 as we sit here today?
 8     A. Correct.                                               8    A. No. There's been some change.
 9     Q. Are you employed currently?                            9    Q. Okay. And what are those changes?
10     A. Yes.                                                  10    A. MVM, it's partner with Paragon Systems,
11     Q. So, for the sake of brevity, I -- you                 11 and we're contractors for NIH.
12 participate -- I assume you participated in -- in            12    Q. So, the entity title has changed, but
13 drafting Answers to Interrogatories, and in the              13 you're still employed at the same --
14 interrogatories, you include your employment                 14    A. Yes.
15 positions. So, I will show you what I've marked              15    Q. -- in the same position, correct?
16 as -- what I'm going to mark. Instead of us going            16    A. Correct.
17 through all of them, I'm just going to show you the          17    Q. And you started with MVM in June of 2018,
18 interrogatories, and then ask you questions about            18 correct?
19 each, is that fair?                                          19    A. Correct.
20     A. Um-hum. Yes, sir.                                     20    Q. And what are your responsibilities at
21        (Whereupon, Powell Deposition Exhibit 1,              21 MVM?
                                                                                                             JA463
                                                                                                       4 (Pages 10 - 13)
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 1     A. Administrative.                                      1 the time.
 2     Q. Okay. And are you in a particular                    2    Q. And what were the circumstances under
 3 department, or are you just administrative?                 3 which you left VMG Resources in July 2014?
 4     A. Building 31 at NIH.                                  4    A. My other three children needed full-time
 5     Q. And what are your daily roles and                    5 care that I wasn't provided with my schedule at VMG
 6 responsibilities?                                           6 Resources.
 7     A. Answer the phone, do reports, cover                  7    Q. And prior to VMG Resources, you were with
 8 shifts.                                                     8 Little Imaginations Development Center. Is that a
 9     Q. Okay.                                                9 child-care facility?
10     A. It's a lot.                                         10    A. Yes.
11     Q. All right.                                          11    Q. Okay. And you were there from April 2013
12     A. It's --                                             12 to June 2013?
13     Q. I'm sure it is. Are you full time?                  13    A. Correct.
14     A. Yes.                                                14    Q. And what were the circumstances under
15     Q. And is that five days a week?                       15 which you left Little Imaginations in June of 2013?
16     A. Yes.                                                16    A. The pay was not what I expected.
17     Q. Okay. And prior to MVM, you were with               17    Q. And did you work outside of the home
18 Blueline Security Services, correct?                       18 between June 2013 and February of 2014?
19     A. That's correct.                                     19    A. No, I did not.
20     Q. And what were the circumstances under               20    Q. And I assume that was also to care for
21 which you left Blueline Security Ser- -- Services?         21 your children at that time?
                                                    Page 15                                                     Page 17
 1    A. MVM offered a better opportunity for me.              1      A. Yes.
 2    Q. And what did you do between April of                  2      Q. I notice in your Answers to
 3 18 -- 2018 and June of 2018?                                3   Interrogatories, you listed George Washington
 4    A. I was taking care of my two-year-old                  4   Hospital special police officer. Are you still
 5 daughter, who was born with a kidney issue.                 5   credentialed as a police officer?
 6    Q. Okay. And would that have been Tatiana?               6      A. No. I'm credentialed as a security
 7    A. Yes.                                                  7   guard.
 8    Q. Okay. Prior to Blueline Security                      8      Q. Okay. Were you credentialed as a special
 9 Services, you were a front-desk agent at VMG                9   police officer?
10 Resources, correct?                                        10      A. Yes, I was.
11    A. That's correct.                                      11      Q. And it's my understanding that that is a
12    Q. And you were there from February 2014 to             12   certification that you have to maintain as the
13 July 2014?                                                 13   years pass; is that correct?
14    A. That's correct.                                      14      A. Correct.
15    Q. What employment outside of the                       15      Q. And I assume you just, for whatever
16 home -- understanding that employment inside of the        16   reason, didn't maintain that certification?
17 home is much more rigorous than employment outside         17      A. That's correct.
18 of the home. What employment, if any, did you hold         18      Q. So, this is a question that we're -- that
19 outside of the home between July 2014 and November         19   I have to ask everybody, so it's not particular to
20 2017?                                                      20   you.
21    A. I was not working outside of the home at             21          Have you since your 18th birthday, while
                                                                                                       JA464
                                                                                                 5 (Pages 14 - 17)
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 1   you were represented by counsel, ever pleaded             1    Q. When -- when you say you bled out, did
 2   guilty to or have been convicted of any crime,            2 you -- were you hospitalized as a result of
 3   other than a minor traffic violation?                     3 the -- the -- taking the aspirin?
 4         MS. CLARY: Objection, but you can                   4    A. Not hospitalized. They let me go the
 5   answer.                                                   5 same day, but it kind of pushed the miscarriage.
 6         THE WITNESS: Never.                                 6    Q. I'm sorry. Did you have any lasting or
 7   BY MR. CATHELL:                                           7 permanent injury as a result of the medication
 8     Q. I didn't -- I didn't suspect so. And                 8 error?
 9   you've never had your deposition taken before,            9    A. No.
10   correct?                                                 10    Q. Did you make a claim for that same
11     A. Correct.                                            11 scenario for any mental health damages, --
12     Q. Have you ever been a Plaintiff or a                 12    A. No.
13   defendant in any lawsuit?                                13    Q. -- such as depression or anxiety?
14     A. No.                                                 14    A. No.
15     Q. Have you ever made a claim for injury               15    Q. Is that the only claim you've made?
16   against any individual, business, or other entity?       16 Other than the current lawsuit, is that the only
17     A. Yes.                                                17 claim you've made against a healthcare provider?
18     Q. Okay. And tell me about that claim.                 18    A. Yes.
19     A. CVS about nine years ago gave me the                19    Q. Have you ever made a Workers'
20   wrong medication.                                        20 Compensation claim?
21     Q. And was that in Baltimore?                          21    A. No.
                                                    Page 19                                                         Page 21
 1     A. No.                                                  1    Q. Have you ever suffered physical,
 2     Q. Or in Maryland?                                      2 emotional, or sexual abuse of any kind by any
 3     A. Maryland, yes.                                       3 person at any time in your life?
 4     Q. Okay. And what type of claim did                     4    A. No.
 5 you -- did you make?                                        5    Q. Have you ever been injured physically,
 6     A. I do not recall. I -- my lawyer handled              6 mentally, or emotionally in any way by any other
 7 everything. I know there was a settlement for               7 person at any time?
 8 10,000.                                                     8    A. No.
 9     Q. Okay. Do you know if a lawsuit was ever              9    Q. Have you ever been hospitalized, other
10 filed on your behalf?                                      10 than to deliver one of your children?
11     A. I do not recall.                                    11    A. No.
12     Q. And the medication error, did it cause              12    Q. I know you have five children.
13 you injury?                                                13 How -- how many times have you been pregnant?
14     A. Yes.                                                14    A. Six.
15     Q. And tell me about the injury it caused              15    Q. Have you ever been diagnosed with a
16 you.                                                       16 condition that affects or limits your activities in
17     A. It caused me to bleed out.                          17 any way?
18     Q. Can you describe that for me?                       18    A. No.
19     A. I was in the process of having a                    19    Q. And that would include a mental or a
20 miscarriage, and CVS gave me aspirin, which led for 20 physical condition?
21 me to bleed out.                                           21    A. No.
                                                                                                           JA465
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 1     Q. Have you ever been diagnosed with a                1 respiratory infection, so she prescribed some cough
 2 mental illness of any kind?                               2 pills and an inhaler.
 3     A. No.                                                3    Q. Do you currently have an OB/GYN?
 4     Q. Have you taken any medications at any              4    A. Yes, I do.
 5 time in your life for a mental illness, which would       5    Q. And who is that? What is that person's
 6 also include depression or anxiety?                       6 name?
 7     A. No.                                                7    A. I do not know his name.
 8     Q. Have you ever been diagnosed with                  8    Q. And the doctor is a male?
 9 posttraumatic stress disorder?                            9    A. Yes.
10     A. No.                                               10    Q. Do you know where his office is located?
11     Q. Talking about your prior medical history,         11    A. Kaiser Permanente', Marlton.
12 who is -- starting with your current primary care        12    Q. Are you saying --
13 provider. Do you have a current primary care             13    A. Marlton.
14 provider?                                                14    Q. -- Marlton?
15     A. Yes, I do.                                        15    A. Yes. It's -- it's in Marlton,
16     Q. And what is his or her name?                      16 and --
17     A. Emily Lo, L-O.                                    17    Q. Marlton as -- as in the city of Marlton?
18     Q. And where is Dr. Lo located?                      18    A. In Maryland. Well, it's considered
19     A. Kaiser Permanente', Camp Springs,                 19 Temple Hills as well.
20 Maryland.                                                20    Q. Okay.
21     Q. And how long have you been a patient of           21       MS. CLARY: M-A-R-L-T-O-N.
                                                  Page 23                                                       Page 25
 1   Dr. Lo, if you know?                                    1       MR. CATHELL: Thank you. I had not heard
 2      A. Three to four years.                              2 of that.
 3      Q. And how often do you see Dr. Lo?                  3       MS. CLARY: I had not either, but I have
 4      A. Not often.                                        4 an IPad in front of me, so I looked it up.
 5      Q. Do you see her once a year, once every            5 BY MR. CATHELL:
 6   six months, once every two years?                       6    Q. Do you have any other identifying
 7      A. Unless I'm really sick and I can't take           7 information that I could use to try to find
 8   it any more, then I'll go see her. Other than           8 this -- this doctor? It's a male at Kaiser
 9   that, I don't see her.                                  9 Perm -- Permanente' in Marlton. Do you know, is he
10      Q. When is the last time you saw Dr. Lo, if         10 part of a practice group?
11   you can recall?                                        11    A. I just know that he's with Kaiser.
12      A. The last time I saw her was some time in         12    Q. Okay. Is he -- do you know, is he
13   February.                                              13 Caucasian or African American?
14      Q. Of 2019?                                         14    A. I haven't -- I haven't -- I haven't seen
15      A. Yes.                                             15 him yet. They told me to make an appointment, and
16      Q. Okay. And what was that for?                     16 I haven't -- I haven't gone and seen him.
17      A. I had a terrible cough, so I went to see         17    Q. So, you haven't actually received
18   her.                                                   18 treatment from this doctor, correct?
19      Q. And did she prescribe you medication or          19    A. No.
20   offer other treatment for the cough?                   20    Q. Prior to deciding that you would see
21      A. Yeah. She said I had an upper-body               21 the -- this -- the male doctor at Kaiser
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 1 Permanente', did you have an OB/GYN?                            1 first three children?
 2     A. Yes, when I was pregnant with my youngest                2     A. No. She was my OB/GYN with Jaiden, my
 3 daughter.                                                       3 four-year-old. I started with her. Her
 4     Q. And who was that doctor?                                 4 practice -- at her office, you only could go a
 5     A. I had Dr. Kingsley. The same location.                   5 certain amount of months, and then she would refer
 6     Q. Kingsley?                                                6 you.
 7     A. Yes, and it was -- it was another female                 7     Q. And I assume she referred you in 2014 to
 8 doctor. I can't remember her name.                              8 Dr. Akoda, correct?
 9     Q. And how often did you say or                             9     A. Not him, per se.
10 what -- strike that.                                           10     Q. Fair enough. To Dr. -- to Dr. Chaudry's
11        What years did you see Dr. Kingsley?                    11 practice, correct?
12     A. I saw Dr. Kingsley from 2015 till 2016.                 12     A. Correct.
13     Q. So, from 2016 until making arrangements                 13     Q. Who was the OB/GYN that -- if there -- if
14 with the unidentified male physician at Kaiser                 14 there was one single doctor, who was the OB/GYN
15 Permanente', did you see any other OB/GYNs?                    15 that cared for you and delivered the first three
16     A. No.                                                     16 children, if you -- if there is one specific
17     Q. Would your primary care provider during                 17 person?
18 that time perform yearly wellness checks, or did               18     A. It was in Virginia. Arlington Hospital.
19 you just not get the yearly wellness checks?                   19 It's a prac- -- an office -- a doctor's office,
20     A. I did not get them.                                     20 OB/GYN. I do not remember his name. It's so long
21     Q. Prior to Dr. Kingsley, who was your                     21 ago.
                                                        Page 27                                                         Page 29
 1 OB/GYN?                                                         1     Q. Have you since your involvement with
 2    A. Prior to Dr. Kingsley?                                    2 Dr. Akoda seen any healthcare provider of any kind
 3    Q. Yes.                                                      3 for any issue you claim is related to your
 4    A. Dr. Akoda.                                                4 involvement with Dr. Akoda?
 5    Q. And we're going to explore that in detail                 5     A. No.
 6 in a couple of minutes, but what years did you see              6     Q. What medications do you currently take?
 7 Dr. Akoda, if you recall?                                       7     A. Ibuprofen.
 8    A. I saw Dr. Akoda from 2014 to 2015.                        8     Q. So, you don't have any prescription
 9    Q. And prior to Dr. Akoda in -- do you                       9 medications, is that fair?
10 remember the specific month, by chance, that you               10     A. Besides the cough medicine,
11 first came into contact with Dr. Akoda?                        11 that's -- that's it.
12    A. If I'm not mistaken, it was around April                 12     Q. Okay. Have you at any time had an OB/GYN
13 or May of 2014.                                                13 or primary care provider that we have not already
14    Q. And prior to Dr. Akoda, who was your                     14 discussed?
15 OB/GYN?                                                        15     A. No.
16    A. I do not remember her name.                              16     Q. So, Dr. Lo, who you began working with
17    Q. Had that OB/GYN -- you said her, so I                    17 three to four years ago, would have been your first
18 assume it was a female, correct?                               18 primary care provider?
19    A. It was a female, yes.                                    19     A. Yes.
20    Q. Had that OB/GYN been the OB/GYN who cared                20     Q. What evidence do you have regarding
21 for you during your pregnancies and delivered your             21 Dr. Akoda's background?
                                                                                                                JA467
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 1    A. What evidence do I have?                                1 doctors.
 2       MS. CLARY: Let me --                                    2    Q. Do you know what goes into successfully
 3 BY MR. CATHELL:                                               3 completing a medical residency?
 4    Q. If any. If any.                                         4    A. Years of training and hard dedication.
 5       MS. CLARY: I'm just going to object to                  5    Q. Do you know whether Dr. Akoda
 6 the overbroad nature, but you can answer as best              6 successfully completed a medical residency?
 7 you can.                                                      7    A. No.
 8       THE WITNESS: I don't -- I'm not                         8    Q. Do you know if Dr. Akoda passed all
 9 understanding the question.                                   9 national examinations in order to complete his
10 BY MR. CATHELL:                                              10 residency?
11    Q. Okay. Do you have any evidence                         11    A. No.
12 regarding -- you yourself -- let me strike that.             12    Q. Do you know whether Dr. Akoda passed or
13       These questions pertain only to you, not               13 failed any medical examinations?
14 what you've learned from your attorneys. But just            14    A. No.
15 I'm trying to explore what you personally have               15    Q. Do you know whether Dr. Akoda was board
16 either in your possession or your knowledge, is              16 certified by the American Board of Obstetrics and
17 that fair?                                                   17 Gyn -- and Gynecology?
18    A. That's fair.                                           18    A. No.
19    Q. Okay. Do you have any evidence yourself                19    Q. Do you know what is entailed with -- in
20 regarding Dr. Akoda's background?                            20 order for a physician to become board certified?
21    A. No.                                                    21    A. No, I do not.
                                                      Page 31                                                     Page 33
 1    Q. It's not a trick question. I'm just -- I                1    Q. Were you aware that Dr. Akoda took a
 2 want to make sure I cover everything.                         2 written board examination and passed?
 3       Do you have any evidence regarding                      3    A. No, I do not.
 4 whether Dr. Akoda was licensed to practice medicine 4              Q. Were you aware that Dr. Akoda took an
 5 in Maryland?                                                  5 oral examination and passed?
 6    A. No.                                                     6    A. No.
 7    Q. Do you have any evidence regarding                      7    Q. What do you know about how Dr. Akoda
 8 whether Dr. Akoda was licensed to practice medicine 8 began using the name Akoda?
 9 in Virginia?                                                  9    A. Nothing. I thought he was born with it.
10    A. No.                                                    10    Q. Do you know when Dr. Akoda began using
11    Q. What evidence do you have regarding                    11 the name Akoda?
12 Dr. Akoda's training as a doctor?                            12    A. No.
13    A. None.                                                  13    Q. Do you know why he began using the name
14    Q. Do you know where Dr. Akoda went to                    14 Akoda?
15 medical school?                                              15    A. No.
16    A. No.                                                    16    Q. Do you know what ECFMG certification
17    Q. Do you know where Dr. Akoda did his                    17 stands for?
18 residency?                                                   18    A. Yes.
19    A. No.                                                    19    Q. What is that?
20    Q. Do you know what a residency is?                       20    A. It's -- it's where they decide who's
21    A. I'm assuming it's a medical school for                 21 qualified, which -- which foreign doctor is
                                                                                                          JA468
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 1 qualified to practice.                                       1       MS. CLARY: I'm going to object, and she
 2    Q. The acronym stands for Educational                     2 can certainly answer just yes or no.
 3 Commission for Foreign Med- -- Medical Graduates? 3                  MR. CATHELL: Right.
 4    A. (Nodding head yes.)                                    4       THE WITNESS: Yes.
 5    Q. Were you aware that to be certified a                  5 BY MR. CATHELL:
 6 foreign medical graduate takes an examination                6    Q. And are you a -- to your knowledge, are
 7 administered by ECFMG?                                       7 you a class Plaintiff in that lawsuit?
 8    A. No.                                                    8    A. Yes.
 9    Q. Do you know whether Dr. Akoda took such                9    Q. Have you been deposed in that lawsuit?
10 an examination?                                             10    A. I'm sorry?
11    A. No.                                                   11    Q. I assume -- you told me earlier you
12    Q. Do you know how many times Dr. Akoda                  12 haven't sat for a deposition, but -- so I assume
13 successfully passed the ECFMG examinations?                 13 you have not been deposed in that lawsuit
14    A. No.                                                   14 yet, --
15    Q. Do you know under which names Dr. Akoda               15    A. No.
16 took the ECFMG examinations?                                16    Q. -- correct? Is what you know about
17    A. No.                                                   17 Dr. Akoda limited to what information your Counsel
18    Q. Do you know whether Dr. Akoda was                     18 has provided you?
19 certified by ECFMG?                                         19    A. Yes.
20    A. No.                                                   20    Q. Do you have any evidence outside of what
21    Q. Do you have any information regarding                 21 your Counsel has advised you about Dr. Akoda?
                                                     Page 35                                                         Page 37
 1 what occurred with Dr. Akoda's ECFMG                         1    A. No.
 2 certifications?                                              2    Q. How did you -- and, again, no discussions
 3    A. No.                                                    3 with your attorneys. How did you come to be a
 4    Q. Are you aware of a lawsuit pending in the              4 client of the Schochor, Federico and Staton law
 5 United States Federal District Court in                      5 firm regarding this claim and the Philadelphia
 6 Philadelphia against ECFMG regarding their                   6 claim?
 7 certification of Dr. Akoda?                                  7       MS. CLARY: I'm going to object and
 8    A. Yes.                                                   8 instruct her not to answer anything with respect to
 9    Q. Okay. What is your knowledge of that                   9 not just discussions that we had, but contacts that
10 lawsuit?                                                    10 she had with our office.
11    A. What is my knowledge of that lawsuit?                 11       In terms of any discussions that she may
12    Q. I can rephrase. Are you -- are you a                  12 have had with others not involved or people who are
13 Plaintiff in that lawsuit?                                  13 not employed by our law firm who may have -- I
14    A. Yes.                                                  14 don't want to make a speaking objection. I just
15    Q. And we're not -- I'm not going to get                 15 want her to be clear as to what she can talk about
16 into what you know as a result of conversations             16 and what I'm instructing her not to answer.
17 with your attorneys, but I just want to explore             17       I don't have a problem, and you're -- I
18 peripherally.                                               18 want you to answer the question with respect to how
19       Are you represented by the law                        19 somebody told you about Dr. Akoda and how you
20 firm -- law firm, Schochor, Federico and Staton, in         20 were -- how you got in touch with us, but once the
21 that lawsuit?                                               21 phone call or whatever that first contact was with
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 1 us, anything from that point forward, I'm going to           1 she was talking about. So, she said, if you don't
 2 instruct you not to answer.                                  2 believe me, you can look it up. That's when I
 3       THE WITNESS: Okay.                                     3 Googled it, and that's when I read everything that
 4       MR. CATHELL: So, one second. Note our                  4 the news had provided.
 5 response from the prior depositions.                         5    Q. Do you know how Ms. Gaymon knew that you
 6 BY MR. CATHELL:                                              6 had been a patient of Dr. Akoda's?
 7    Q. Let me ask you a more pointed question,                7    A. We met at the patient's -- at the office.
 8 understanding Counsel's objection, which we needed           8    Q. Okay. So, you met at the office in 2014
 9 to get on the record.                                        9 and remained friends, or at least acquaintances,
10       What caused you to first reach out to the             10 since --
11 Schochor, Federico and Staton law firm?                     11    A. Yes.
12    A. Well, a friend of mine called me and told             12    Q. -- that time? And do you recall what you
13 me about the situation. So, she gave me the                 13 saw when you Googled the allegations? Was it a
14 number. She said, I need you to call this number.           14 specific website, a video, or advertisement?
15 So, I asked her why? Whose number is this? So,              15    A. It was the news. It was FOX, NBC. They
16 she said, you just need to know that Dr. Akoda is           16 had different links about how Dr. Akoda wasn't a
17 not a doctor. Call this number. So, that's when I           17 real doctor, and his name wasn't really Akoda.
18 called the number.                                          18    Q. How long between the time Ms. Gaymon
19    Q. Okay. You can stop there based on                     19 called you did you call the number that she gave
20 Counsel's objection. Who was -- what's the name of 20 you?
21 your friend that called you?                                21    A. Two days after.
                                                     Page 39                                                        Page 41
 1       THE WITNESS: Am I allowed to say it?                   1    Q. Prior to this statement from your friend,
 2       MS. CLARY: Yes.                                        2 or the telephone call from your friend, you had no
 3       THE WITNESS: Latisa.                                   3 prior -- you had no -- strike all of that.
 4 BY MR. CATHELL:                                              4        Prior to the statement or the telephone
 5    Q. Is that Latisa Gaymon?                                 5 call by your friend, you had no prior complaints
 6    A. Yes.                                                   6 about Dr. Akoda; is that correct?
 7    Q. Are you aware that Ms. Gaymon is also a                7    A. Complaints? Like how complaints? Like
 8 Plaintiff in this lawsuit?                                   8 formal complaints?
 9    A. Yes.                                                   9    Q. How -- how do you define complaints?
10    Q. And when did Dr. -- Ms. Gaymon call you,              10        MS. CLARY: I'm going to object to the
11 if you recall?                                              11 form of the question. You can answer as best you
12    A. Some time in late 2018.                               12 can.
13    Q. Late 2018?                                            13        THE WITNESS: Okay. I did have a couple
14    A. Some time in 2018. I can't really                     14 of -- of complaints and concern. When I was being
15 remember the exact month.                                   15 seen by him, he was flirtatious and inappropriate.
16    Q. And I know you told me that she said that             16 BY MR. CATHELL:
17 you needed to call a certain telephone number and           17    Q. And we'll explore this more in a bit.
18 that she told you about the situation. Can you be           18 Anything other than being flirtatious or being
19 more specific as to what she told you?                      19 inappropriate?
20    A. She told me that Dr. Akoda wasn't a real              20    A. No.
21 doctor, and I was confused, and I didn't know what          21    Q. Had you -- had you made those formal
                                                                                                           JA470
                                                                                                    11 (Pages 38 - 41)
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 1   complaints to anybody?                                      1 breasts?
 2     A. To one of the nurses at the -- the                     2    A. Two occasions.
 3   doctor's office.                                            3    Q. And do you remember the date of those
 4     Q. And which doctor's office was that?                    4 statements?
 5   Dr. Chaudry's?                                              5    A. No, I do not remember the dates.
 6     A. Dr. Chaudry's.                                         6    Q. And on how many occasions was he very
 7     Q. And do you remember the identity of the                7 flirtatious, what you've described as telling you,
 8   nurse?                                                      8 you look nice or that he wants to marry you or
 9     A. She was an African American.                           9 other flirtatious behavior?
10     Q. Older? Younger?                                       10    A. It was two or three times.
11     A. Older.                                                11    Q. Were those on the same dates as when he
12     Q. Short hair? Long hair?                                12 told you you had very nice breasts?
13     A. Older.                                                13    A. A week apart.
14     Q. Older.                                                14    Q. And when did you bring this to the
15     A. Short hair.                                           15 attention of the nurse in Dr. Chaudry's office?
16     Q. Did she speak with an accent, do you                  16    A. The first time that he said that I had
17   know?                                                      17 nice breasts, I brought it to her attention. I
18     A. No, she did not.                                      18 also requested a female nurse while I was getting
19     Q. Did she have glasses?                                 19 my check-ups.
20     A. No, she did not.                                      20    Q. Do you recall the date that you told the
21     Q. And what was your specific complaint to               21 nurse?
                                                      Page 43                                                        Page 45
 1 this nurse?                                                   1    A. No, I do not recall the date.
 2    A. That he was very flirtatious, and when I                2    Q. After telling the nurse in Dr. Chaudry's
 3 was getting my breasts examined, he would make                3 office of the statement, what happened?
 4 comments and say that I have wonderful breasts.               4 Did -- were you given a female nurse while being
 5    Q. Can you describe what you mean by                       5 examined?
 6 flirtatious?                                                  6    A. Yes. She would be in the -- in the room.
 7        MS. CLARY: Objection to the extent I                   7    Q. And is it fair to say that your only
 8 think she covered that, but go ahead.                         8 involvement with this specific nurse would have
 9 BY MR. CATHELL:                                               9 been in Dr. Chaudry's office?
10    Q. To the extent you haven't covered it, do               10    A. Yes.
11 you have anything else to further describe what you          11    Q. Did you report the inappropriate behavior
12 mean by very flirtatious?                                    12 to anyone other than the nurse in Dr. Chaudry's
13    A. He would be very flirtatious as in, oh,                13 office?
14 you look very nice today. You should marry me one 14               A. No.
15 day. At first, I thought it was like a joke, but             15    Q. Did the in- -- alleged inappropriate
16 then, you know, he would constantly say comments             16 touching or statements occur in the presence of any
17 like that. And when he said, oh, you have really             17 other individual? Bless you.
18 nice breasts, that's when I was like, okay,                  18    A. No. Bless you.
19 this -- this is not professional.                            19       MS. CLARY: Sorry.
20    Q. On how many occasions -- on how many                   20 BY MR. CATHELL:
21 occasions did he tell you you had very nice                  21    Q. And did they occur in the examination
                                                                                                           JA471
                                                                                                    12 (Pages 42 - 45)
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 1 room?                                                       1        MR. CATHELL: And our -- our response,
 2    A. Yes.                                                  2 just for the record, I don't think we've covered
 3    Q. At -- at Dr. Chaudry's office?                        3 this one, is that it is just soliciting counsel.
 4    A. That's correct.                                       4 I'm not trying to get into the specific initial
 5    Q. So, it's fair to say there were no                    5 conversation, just the action of deciding to retain
 6 witnesses to the inappropriate statements or                6 counsel or to investigate a potential claim, but I
 7 touching?                                                   7 note your objection, and we'll move on.
 8    A. No.                                                   8 BY MR. CATHELL:
 9    Q. Do you know whether there was any type of             9    Q. Were you ever -- strike that.
10 recording, whether it's an audio recording or video        10        Did you ever make a claim for the alleged
11 recording, of the inappropriate statements or              11 inappropriate statement or contact of any kind?
12 touching?                                                  12        MS. CLARY: Objection. Outside of this
13    A. I'm not -- I'm not sure.                             13 litigation?
14    Q. You've told me that you reported that                14 BY MR. CATHELL:
15 Dr. Akoda commented on your breasts, and the first         15    Q. Outside of this litigation?
16 time you told the nurse in Dr. Chaudry's office; is        16    A. No.
17 that correct?                                              17    Q. And I believe I asked you this, but --
18    A. That's correct.                                      18 so, I apologize if I'm asking it again. Do you
19    Q. And you also told me that that behavior              19 know the name of the nurse?
20 continued, I believe, two to three times; is that          20    A. No, I do not.
21 correct?                                                   21    Q. Do you have any evidence that Dr. Akoda
                                                    Page 47                                                         Page 49
 1    A. That's correct.                                       1 lacked OB/GYN training or skills?
 2    Q. Did you continue to report the                        2       MS. CLARY: Objection to the extent I
 3 inappropriate conduct to the nurse or to anyone             3 think it's been asked and answered, but go ahead
 4 else?                                                       4 again.
 5    A. Well, the nurse wasn't always there every             5       THE WITNESS: No.
 6 time I saw Dr. Akoda. Sometimes she would be                6 BY MR. CATHELL:
 7 there; sometimes she would not be there.                    7    Q. How did you become aware of Dr. Akoda as
 8    Q. Did any of the alleged inappropriate                  8 an OB/GYN?
 9 behavior -- behavior occur while the nurse was in           9    A. I was referred to Dr. Chaudry's office.
10 the examination room?                                      10    Q. And what were the circumstances under
11    A. No.                                                  11 which you were referred to Dr. Chaudry's office?
12    Q. Again, without discussing specific                   12       MS. CLARY: Objection to the extent I
13 conversations that you may or may not have had with 13 think she has talked about it, but you can go ahead
14 an attorney, did you make an effort to reach out to        14 again.
15 an attorney to investigate the -- what you've              15       THE WITNESS: The female OB/GYN that I
16 described as the inappropriate statements or               16 was seeing at first, she only covered the first few
17 touching?                                                  17 months of the pregnancy, so she referred me to
18         MS. CLARY: I'm going to object and                 18 Dr. Chaudry's office. I thought I was going to see
19 instruct her not to answer to the extent I believe         19 Dr. Chaudry, but that's when all of my visits were
20 that's covered by the attorney/client privilege and        20 with Dr. Akoda.
21 work product doctrine.                                     21 BY MR. CATHELL:
                                                                                                           JA472
                                                                                                    13 (Pages 46 - 49)
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 1    Q. Okay. And did you ever see Dr. Chaudry                 1       MR. CATHELL: Any.
 2 during that time?                                            2       MS. CLARY: Okay. Thank you.
 3    A. No.                                                    3       THE WITNESS: Any? Geez, it was a few,
 4    Q. I should ask a better question. Were you               4 because after I had my son, I went for my
 5 ever cared for or treated by Dr. Chaudry during              5 six -- six-week check-up with Dr. Akoda.
 6 that time?                                                   6 BY MR. CATHELL:
 7    A. Once at the hospital, after I had my                   7    Q. Do you recall what Dr. Akoda looked like?
 8 emergency surgery, he came to remove the bandages. 8              A. Yes. African male. He was about I will
 9    Q. And that would have been the postpartum                9 say 6'1", older, glasses.
10 surgical procedure that you underwent?                      10    Q. Okay. Thank you. Do you -- do you
11    A. No. It was complications after I had my               11 recall what Dr. Akoda sounded like?
12 son.                                                        12    A. Strong accent.
13    Q. I know you told me your first contact                 13    Q. Other than what you've told me about as
14 with Dr. Akoda would have been in April or May of 14 far as the inappropriate statements or touching, do
15 2014, correct?                                              15 you have any inter- -- are there any interactions
16    A. (Nodding head yes.)                                   16 with Dr. Akoda that we -- that you have a specific
17    Q. And I -- may I assume that that first                 17 memory of that we haven't discussed?
18 contact occurred at the office of Dr. Chaudry?              18    A. No. Not including the delivery, right?
19    A. Correct.                                              19    Q. Well, just including everything.
20    Q. And on the first date that you presented              20    A. Okay.
21 to Dr. Chaudry, after being referred by your prior          21    Q. I guess what I'm -- I', trying to get at,
                                                     Page 51                                                        Page 53
 1 OB/GYN, were you seen by Dr. Akoda?                          1 are there any interactions that you had with
 2    A. I was.                                                 2 Dr. Akoda prior to delivery of Jaiden that we have
 3    Q. And how often, following that initial                  3 not discussed?
 4 visit, were you seen by Dr. Akoda?                           4    A. My six-week check-up, he did a procedure
 5    A. It started every month, and then it was                5 at Dr. Chaudry's office. He said I had an ovarian
 6 every week.                                                  6 cyst, and he did a procedure right there at the
 7    Q. When did it become every week, if you                  7 office where he burned it.
 8 recall?                                                      8    Q. And this would have been your six-week
 9    A. Around August/October.                                 9 postpartum check-up?
10    Q. So, leading up to as you became -- as it              10    A. Yeah. Yes, sir. That's the last time I
11 became closer to delivery time, that's when you             11 saw him.
12 started seeing Dr. Akoda every week, is that fair?          12    Q. Had you been having symptoms or signs of
13    A. That's correct.                                       13 an ovarian cyst?
14    Q. And it's my understanding from your                   14    A. No.
15 medical records that all of your contacts with              15    Q. What evidence do you have that Dr. Akoda
16 Dr. Akoda, prior to the actual birth of Jaiden,             16 was affiliated with the Prince George's County
17 were at Dr. Chaudry's office; is that correct?              17 Hospital Center?
18    A. That's correct.                                       18    A. My birth band. The band they give you at
19    Q. Do you know approximately how many times 19 the hospital.
20 you received treatment from Dr. Akoda?                      20    Q. And do you still have that?
21        MS. CLARY: Prenatally?                               21    A. I sure do.
                                                                                                          JA473
                                                                                                   14 (Pages 50 - 53)
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 1    Q. And if it's possible, I would ask that                1 Consent Form, marked for identification.)
 2 we -- you provide that to your Counsel so we can            2 BY MR. CATHELL:
 3 have a copy of it, okay?                                    3    Q. Okay. I'm showing you a two-page
 4    A. Okay.                                                 4 document that is dated September 16, 2014, and the
 5          MS. CLARY: Okay. That's fine. We'll                5 exhibit sticker is on the first page. If you'll
 6 make a copy of it so she can keep it for                    6 take a look at that document for me.
 7 sentimental reasons.                                        7       MS. CLARY: That's the first page.
 8          MR. CATHELL: Yes. That's what I said,              8 That's the second page.
 9 copy.                                                       9       (Whereupon, there was a pause for
10          MS. CLARY: Sure.                                  10 document examination.)
11          MR. CATHELL: I know we have ours framed 11 BY MR. CATHELL:
12 and the whole nine yards.                                  12    Q. And --
13 BY MR. CATHELL:                                            13    A. Okay.
14    Q. What about -- what information was on the            14    Q. Could I have that back real quick?
15 birth band that led you to believe Dr. Akoda was           15       (Document tendered.)
16 affiliated with the hospital?                              16 BY MR. CATHELL:
17    A. Well, his name was on it. His name was               17    Q. I couldn't see from where I'm sitting.
18 on it.                                                     18 Is the -- is this your signature on the document
19    Q. And do you recall the specific date that             19 towards the bottom left of the second page?
20 you presented to Prince George's County Hospital to 20           A. Yes.
21 deliver Jaiden?                                            21    Q. And on the first page, there's a
                                                    Page 55                                                        Page 57
 1    A. September 13, 2014.                                   1 paragraph at top -- at the top that is titled
 2    Q. And what caused you to go to the hospital             2 Physicians Not as Employees, is that -- are those
 3 at that time?                                               3 your initials at the end of that paragraph?
 4    A. I was getting induced.                                4    A. Yes.
 5    Q. And, to your knowledge, who made the                  5    Q. And did you read through this document
 6 decision -- the medical decision to induce you?             6 and understand its consents prior to signing it?
 7    A. Dr. Akoda.                                            7    A. No. I'm not even going to lie. I did
 8    Q. And did Dr. Akoda, in fact, induce you on             8 not read it. They just said without it, if you
 9 September 13, 2014?                                         9 didn't sign it, they can't -- they couldn't give me
10    A. Yes.                                                 10 the -- the care that I needed. And I was just
11    Q. And when you presented to the hospital,              11 thinking about the care, and I needed to deliver my
12 throughout the course of your care, do you recall          12 baby, so I just signed it.
13 being presented with various consent forms that you 13              (Whereupon, Deposition Exhibit Number 3,
14 ultimately read and signed?                                14 Consent Form, marked for identification.)
15    A. Yes, I remember them.                                15 BY MR. CATHELL:
16          MR. CATHELL: Can I see your Answers to            16    Q. I'm handing you a three-page document
17 Interrogatories?                                           17 that is labeled Exhibit 3. On the first page, you
18          (Document tendered.)                              18 would agree those are your initials on the
19          MR. CATHELL: I want to make sure my               19 left-hand column of that document?
20 Exhibit Numbers are correct.                               20    A. Okay.
21          (Whereupon, Powell Deposition Exhibit 2,          21    Q. Is that a yes or no?
                                                                                                          JA474
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 1    A. Yes. That's a yes.                                       1 County Hospital Center, okay?
 2    Q. On the second page, you would agree those                2    A. Yes.
 3 are your initials and your signature in two                    3       THE VIDEOGRAPHER: Brian, your mic.
 4 locations on the document?                                     4 BY MR. CATHELL:
 5    A. Yes.                                                     5    Q. We had just been talking about what
 6    Q. And the third page I'm just putting in                   6 evidence you had, if any, regarding Dr. Akoda's
 7 for completeness, but it doesn't have your                     7 affiliation with the Prince George's County
 8 signature.                                                     8 Hospital Center, correct?
 9        And, again, I apologize for all of the                  9    A. Correct.
10 exhibits, but Exhibit Number 4 is a three-page                10    Q. And you mentioned the birth band that you
11 document labeled Deposition Exhibit 4.                        11 were given when you first presented to deliver
12        (Whereupon, Powell Deposition Exhibit 4,               12 Jaiden?
13 Consent Form, marked for identification.)                     13    A. Correct.
14 BY MR. CATHELL:                                               14    Q. Do you have any additional evidence
15    Q. It's a three-page document, and you would               15 regarding Dr. Akoda's affiliation with Prince
16 agree that it is your signature on the third page             16 George's County Hospital Center?
17 in the upper right-hand corner?                               17    A. Besides the band, that is it.
18        MS. CLARY: I'm sorry, it's on the third                18    Q. Was Dr. Akoda the first doctor you came
19 page?                                                         19 in contact with when you first made it to Prince
20        MR. CATHELL: Yes.                                      20 George's County Hospital Center on the 13th of
21        THE WITNESS: Yes.                                      21 September?
                                                       Page 59                                                      Page 61
 1 BY MR. CATHELL:                                                1    A. Yes.
 2    Q. Are you okay? Do you need a break?                       2    Q. And I assume that was because it was a
 3    A. No. I'm good.                                            3 planned induction, correct?
 4       MS. CLARY: I might need one in a few                     4    A. Correct.
 5 minutes. I don't want to interrupt you.                        5    Q. When you were seen by Dr. Akoda in
 6       MR. CATHELL: Now would be perfect.                       6 Dr. Chaudry's office, was there anything in the
 7       MS. CLARY: If you get -- have a good                     7 office that led you to believe that Dr. Akoda was
 8 stopping point.                                                8 affiliated with the hospital?
 9       MR. CATHELL: Now would be perfect.                       9    A. No.
10       THE VIDEOGRAPHER: This marks the end of                 10    Q. So, you understood that Dr. Akoda was in
11 media unit number one. Going off record. The time             11 private practice, correct?
12 is 10:59 a m.                                                 12       MS. CLARY: Objection. You can answer.
13       (Recess taken -- 10:59 a m.)                            13       THE WITNESS: No, I did not know.
14       (After recess -- 11:07 a m.)                            14 BY MR. CATHELL:
15       THE VIDEOGRAPHER: This marks the                        15    Q. Following the first alleged inappropriate
16 beginning of media unit number two. Going back on             16 action by Dr. Akoda when you were seeing him at
17 record. The time is 11:07 a m.                                17 Dr. Chaudry's office, how many times did
18 BY MR. CATHELL:                                               18 you -- approximately how many times did you see
19    Q. Ms. Powell, do you have -- we had just                  19 Dr. Akoda after that?
20 been talking about what evidence you have that                20    A. After that, it's a few -- a few times
21 Dr. Akoda was affiliated with the Prince George's             21 after that.
                                                                                                           JA475
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 1      Q. Is it fair to classify those visits as      1          coming to Prince George's County Hospital Center on
 2   prenatal visits?                                  2          September 13, 2014?
 3      A. Yes.                                        3            A. No.
 4      Q. Did Dr. Akoda perform vaginal               4            Q. And tell me why not, if it's a reason
 5   examinations during those visits?                 5          that we haven't already discussed.
 6      A. Yes.                                        6            A. The reason we discussed.
 7      Q. Did you find those examinations             7            Q. And that would be -- I assume that would
 8   inappropriate in any way?                         8          be the alleged inappropriate statements and
 9      A. No. I believed they were normal routine. 9             touching?
10      Q. Is it fair to say that you never           10            A. Correct.
11   discussed with Dr. Akoda the subject of hospital 11            Q. Putting those aside, but not intending to
12   privileges?                                      12          mitigate those in any way or minimize those, were
13      A. No.                                        13          you satisfied with the medical services that
14      Q. That was a bad question. Did you ever 14               Dr. Akoda provided to you prior to September 2014?
15   discuss with Dr. Akoda the subject of hospital 15              A. Yes.
16   privileges?                                      16               (Whereupon, Powell Deposition Exhibit 5,
17      A. No.                                        17          Birth Band, marked for identification.)
18      Q. Did you ever ask to see Dr. Akoda's        18          BY MR. CATHELL:
19   driver's license?                                19            Q. And you've been kind enough to provide us
20      A. No.                                        20          with a color picture of the birth band that you
21      Q. Or his passport?                           21          described. I've marked it as Exhibit 5. If I can
                                                   Page 63                                                            Page 65
 1     A. No.                                                 1 show it to you, and you can just briefly tell us
 2     Q. I assume you never asked Dr. Akoda if he            2 what it is for the record?
 3 had any other names?                                       3      A. It's my hospital band of when I went to
 4     A. No.                                                 4 deliver Jaiden.
 5     Q. Did you see Dr. Akoda interact with staff           5      Q. All right. I was asking you about the
 6 in any inappropriate way?                                  6 delivery, and you started to tell me that you
 7     A. No. I didn't pay attention.                         7 were -- you may have had a complication following
 8     Q. You would agree that the delivery of                8 the delivery. Can you tell us what that was?
 9 Jaiden was performed successfully?                         9      A. After I had Jaiden, I noticed that I was
10     A. The delivery, yes. After the delivery,             10 bleeding out of the normal. So, I panicked, and I
11 no.                                                       11 asked the nurse if she could please get the doctor,
12     Q. I'm going to get there. I've looked                12 Dr. Akoda.
13 through your medical records, and I promise that          13         So, she got him, and when he -- when he
14 I'll get there, okay?                                     14 came in, I explained to him that I was gushing out.
15     A. (Nodding head yes.)                                15 It was going through the sheets and in the hospital
16     Q. Were you satisfied with the medical                16 bed, and I also had big blood clots.
17 services that Dr. Akoda provided to you in                17         So, he examined me, and he kept saying,
18 delivering Jaiden?                                        18 I'm sorry. I should have detected it sooner. I'm
19     A. Yes.                                               19 so sorry. I'm so sorry. So, I was confused of
20     Q. Were you satisfied with the medical                20 what was going on, and he told me he was going to
21 services that Dr. Akoda provided to you prior to          21 rush me to the OR. I was going to get surgery. I
                                                                                                              JA476
                                                                                                       17 (Pages 62 - 65)
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 1 was crying, devastated because I didn't know what          1 correct.
 2 was going to happen with my son, and I didn't know         2    Q. And it's my understanding from reading
 3 what was going to happen to me. I didn't know -- I         3 the medical records that when you were discharged,
 4 didn't know what was going on.                             4 you had no ongoing signs or symptoms of -- of
 5       So, then there was this hospital employee            5 hemorrhage or of any other injury; is that correct?
 6 pushing me in the bed down to the OR, and I was put 6           A. That's correct.
 7 to sleep. When I woke up, I had tubes everywhere.          7    Q. Has a medical provider, meaning a doctor,
 8 I couldn't talk. I was crying.                             8 nurse, P.A., what have you, ever told you that
 9       Then -- probably like 30 minutes after,              9 Dr. Akoda performed the delivery of Jaiden in a
10 then they took me to my room, and I remember the          10 manner that did not comply with the standard of
11 same guy that rode me down to the OR told me that I 11 care?
12 had lost a lot of blood and that they had -- they         12    A. No.
13 did remove all of the blood clots, that they were         13    Q. Did Dr. -- has any medical provider ever
14 big, and that they did remove them all, but I did         14 told you that Dr. Akoda's postpartum care, so in
15 lose a lot of blood.                                      15 the days after you gave birth to Jaiden, but before
16    Q. And if I told you the name of that                  16 you were discharged, has any medical provider told
17 medical procedure was the suction curettage, would 17 you that Dr. Akoda's care of you during that time
18 that -- does that ring a bell?                            18 did not comply with the standard of care?
19    A. No.                                                 19    A. No.
20    Q. And do you recall what date that occurred           20    Q. You would agree that you did not have any
21 on?                                                       21 permanent injury as a result of the care provided
                                                   Page 67                                                         Page 69
 1    A. It was the same day I delivered.                     1 to you by Dr. Akoda during your admission to Prince
 2    Q. The same day or the next day?                        2 George's County Hospital Center in September of
 3    A. September -- I believe it was the same               3 2014?
 4 day, September 14.                                         4    A. No.
 5    Q. Just for completeness, I'll hand you                 5    Q. You would not agree?
 6 the -- what I'll proffer are the consent forms for         6    A. I -- besides trust issues, no, nothing
 7 the curettage, which I have marked as Exhibit 6.           7 medical.
 8        (Whereupon, Powell Deposition Exhibit 6,            8    Q. Between the time you were discharged in
 9 Consent Form, marked for identification.)                  9 September of 2014 and the time you received the
10 BY MR. CATHELL:                                           10 telephone call from Latisa Gaymon, had you
11    Q. It's a two-page document. Will you agree            11 sustained any injury as a result of the care
12 or would you agree that in the middle of both             12 provided to you by Dr. Akoda?
13 pages, it -- that is your signature, please?              13    A. No, no injuries.
14    A. Yes.                                                14    Q. So, it's my understanding, just so the
15    Q. Yes as to both pages?                               15 record is clear, that it is your claim that when
16    A. Yes as to both pages.                               16 you learned of the allegations regarding
17    Q. Thank you. And it's my understanding                17 Dr. Akoda's license or credentialing from Latisa
18 from your medical record that, despite what you've        18 Gaymon is when you first occurred -- incurred the
19 just described, you made a full recovery and were         19 injury, correct?
20 discharged on September 19th; is that correct?            20    A. I'm sorry?
21    A. The 19th? Yes, that's correct. That is              21    Q. It's my understanding that the -- the
                                                                                                        JA477
                                                                                                 18 (Pages 66 - 69)
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 1 telephone call to you from Latisa Gaymon is when              1    Q. There is an -- a medical doctor involved
 2 you first suffered the injury as a result of the              2 in this litigation named Dr. Susan Fiester. Are
 3 allegations surrounding Dr. Akoda?                            3 you familiar with Dr. Fiester?
 4     A. Yes.                                                   4    A. Yes.
 5     Q. When you first chose him as your                       5    Q. Okay. And did you meet with Dr. Fiester?
 6 physician or when you -- strike that.                         6    A. Phone.
 7        When you continued to see Dr. Akoda, were              7    Q. Meaning a telephone call?
 8 you aware of his privileging status?                          8    A. Yes.
 9     A. No.                                                    9    Q. And do you recall when that occurred?
10     Q. Did you do any research on his skills and             10    A. February.
11 abilities?                                                   11    Q. Of 2019?
12     A. No.                                                   12    A. 2019.
13     Q. Nothing he did during his care made you               13    Q. Are you okay?
14 feel he was not qualified or cared for you or                14    A. Yes. February or January 2019.
15 qualified to care for you appropriately, correct?            15    Q. And do you recall how long the telephone
16     A. No. Correct.                                          16 call was?
17     Q. At no time did you fire him as a                      17    A. I do not recall.
18 physician, correct?                                          18    Q. Was it hours, minutes? You just have no
19     A. That's correct.                                       19 recollection?
20     Q. Do you accuse Dr. Akoda of any failure to             20    A. No recollection.
21 properly render medical care to you or your baby?            21    Q. Where were you when you made the -- when
                                                      Page 71                                                    Page 73
 1 I think we covered that. You would agree your         1           you talked to Dr. Fiester on the call?
 2   answer to that would be no?                         2              A. Home.
 3      A. No. No.                                       3              Q. Was anyone else present with you?
 4          MS. CLARY: She said no.                      4              A. My two-year-old daughter.
 5   BY MR. CATHELL:                                     5              Q. Were you and Dr. Fiester the only two
 6      Q. I'm sorry. I thought you said oh.             6           people on the -- on the telephone call?
 7          MS. CLARY: You didn't get that nnh in        7              A. Yes.
 8   there.                                              8              Q. And did she initiate the call to you?
 9   BY MR. CATHELL:                                     9              A. Yes.
10      Q. Do you know of anyone else accusing          10              Q. Do you consider Dr. Fiester to be your
11   Dr. Akoda of any sexual -- of any sexual           11           doctor?
12   impropriety or have any information of any kind on 12              A. No.
13   that subject, other than what we've discussed?     13              Q. Did Dr. Fiester provide you with any
14      A. No.                                          14           treatment recommendations?
15      Q. And you -- I believe you told me your        15              A. No.
16   last visit with Dr. Akoda was your six-week        16              Q. Did she refer you to any other healthcare
17   postpartum visit, correct?                         17           providers for treatment?
18      A. Correct.                                     18              A. No.
19      Q. Have we discussed all of your claims         19              Q. And I assume she didn't prescribe to you
20   against Dr. Akoda for sexual misconduct?           20           any medication, correct?
21      A. Yes.                                         21              A. Correct. She did not.
                                                                                                           JA478
                                                                                                    19 (Pages 70 - 73)
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 1    Q. Can you tell me what you recall about the                 1    A. That's correct.
 2 telephone interview with Dr. Fiester?                           2    Q. Okay. And what did you tell her in
 3    A. We talked about the situation. She                        3 response to that question?
 4 mainly asked me how did I feel. She asked me to                 4    A. That I don't -- I don't trust these
 5 give her a rundown of how was my delivery and                   5 doctors any more. I have a hard time trusting. I
 6 everything I experienced through the whole process              6 have a hard time even going to my OB/GYN myself.
 7 when I was under Dr. Akoda's care.                              7    Q. Anything else?
 8    Q. Did she share with you what any of the                    8    A. And that I feel kind of violated.
 9 other Plaintiffs that she had identified -- strike              9    Q. Anything else? Any other -- strike that.
10 that.                                                          10       Has this impacted you in any other way?
11         Did she share with you what any of the                 11    A. No.
12 other Plaintiffs that she had interviewed had                  12    Q. I don't believe Dr. Fiester diagnosed you
13 shared with her?                                               13 with any physical or mental illness; is that
14    A. No.                                                      14 correct?
15    Q. And in response to the question of how                   15    A. That's correct.
16 did you feel about the situation, which I assume,              16    Q. Have you read the -- strike that.
17 for the record, is the -- are the allegations                  17       A Complaint in litigation are the papers
18 surrounding Dr. Akoda, correct?                                18 that your attorneys file with the court to start
19    A. That's correct.                                          19 the proceedings. With that understanding, have you
20    Q. What did you tell her in response to the                 20 read the Complaint in this case?
21 question of how do you feel?                                   21    A. Yes.
                                                        Page 75                                                         Page 77
 1    A. I feel betrayed. I feel like I can't                      1    Q. Do you know whether you read the
 2 trust any OB/GYNs any more, or doctors.                         2 Complaint before it was filed?
 3         Every time I even take my oldest                        3    A. No.
 4 daughter, I have to ask questions, check                        4    Q. Did you read the Complaint before it was
 5 credentials.                                                    5 filed?
 6         I trusted Dr. Akoda. I trusted him with                 6    A. What do you mean?
 7 my life. I believed he was real. I was very                     7    Q. So, to start the litigation, your
 8 disappointed, and I feel violated.                              8 attorneys would prepare a Complaint, and then to
 9    Q. And I'm certainly not going to get into                   9 actually start the lawsuit, they filed the
10 any specifics regarding your -- your daughter. You             10 Complaint.
11 said you take your daughter to an OB/GYN. Is that              11    A. Yes. Yes.
12 the same person that -- that you have -- that                  12    Q. Okay. So, prior to them actually filing
13 you're scheduled to see?                                       13 it -- and you might not know, but prior to them
14    A. No. Her -- her doctor.                                   14 actually filing it, did you read the Complaint?
15    Q. Okay.                                                    15    A. Yes.
16    A. I'm scared to go to an OB/GYN.                           16    Q. You did read it?
17    Q. And I believe the other general question                 17    A. I looked at it, yes.
18 that Dr. Fiester was asking, based on her report               18    Q. Did you meet with your attorneys before
19 and other information, is -- was how that -- how               19 the Complaint was filed?
20 you have been affected as a result of the                      20        MS. CLARY: I'm going to object and
21 allegations; is that correct?                                  21 instruct her not to answer that question as it's
                                                                                                              JA479
                                                                                                       20 (Pages 74 - 77)
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 1 violative of the attorney/client privilege and work           1    Q. Do you plan on going to court in terms of
 2 product doctrine.                                             2 any of the remaining hearings in this case?
 3          MR. CATHELL: Since the -- understanding              3    A. If my lawyers find it that I need to be
 4 that, and our response is noted.                              4 there, then, yes.
 5          MS. CLARY: Sure.                                     5    Q. Do you know what class certification is?
 6 BY MR. CATHELL:                                               6    A. Yes.
 7    Q. I would also ask you questions about how                7    Q. What is it?
 8 frequently you had met with your attorneys and how            8    A. The class action, it's a lawsuit with a
 9 many -- what you discussed as far as filing the               9 group that's been going through the same situation.
10 Complaint and those allegations.                             10    Q. Do you know what causes of action are
11          It's my understanding that your Counsel             11 being asserted in the Complaint?
12 would instruct you not to answer, so I respect --            12       MS. CLARY: I'm going to object to the
13 I -- I won't go through all of those questions,              13 extent that it's calling, the way you phrased it,
14 but --                                                       14 for a legal conclusion. You can answer the best
15          MS. CLARY: I understand that those are              15 you can.
16 questions you would pose. I do have the same                 16 BY MR. CATHELL:
17 objections, and I understand your response is as we          17    Q. If you know. Do you know what the causes
18 have discussed.                                              18 of action are being -- are being asserted in the
19          MR. CATHELL: Thank you.                             19 Complaint?
20 BY MR. CATHELL:                                              20       MS. CLARY: Same objection. Go ahead.
21    Q. Understanding your attorney's objections               21       THE WITNESS: Yes.
                                                      Page 79                                                          Page 81
 1 about your contact with them, I'm going to ask you            1 BY MR. CATHELL:
 2 questions about your contact with other Plaintiffs,           2    Q. What are those?
 3 okay?                                                         3    A. I don't recall right now. I'm sorry.
 4    A. Okay.                                                   4    Q. Do you know what damages the Complaint is
 5    Q. Have you at any time -- I know you talked               5 seeking?
 6 to Latisa Gaymon. Have you at any time talked to              6       MS. CLARY: Same objection as before.
 7 any of the other Plaintiffs?                                  7 You can go ahead and answer if you can.
 8    A. No.                                                     8       THE WITNESS: No, I don't.
 9    Q. Okay. Do you know any of the -- the                     9 BY MR. CATHELL:
10 names of any of the other Plaintiffs?                        10    Q. Do you know -- know the names of the
11    A. No.                                                    11 Defendants that you are suing in the case?
12    Q. Have you read any of the other papers                  12    A. Yes, I do know the name.
13 that have been filed in this court case?                     13    Q. And what is the name of the Defendants?
14    A. No, I have not.                                        14    A. Well, I know because I heard you say it
15    Q. Have you gone to court to any of the                   15 earlier, but I don't -- I don't remember them.
16 hearings that have occurred?                                 16    Q. Have -- have you met with any of the
17    A. No.                                                    17 other Plaintiffs?
18    Q. And why not?                                           18    A. No.
19    A. I haven't gone.                                        19    Q. Including Latisa Gaymon?
20    Q. Were you made aware of the hearings?                   20    A. Besides social, if -- that's it.
21    A. Yes.                                                   21    Q. When was the last time you were at a
                                                                                                            JA480
                                                                                                     21 (Pages 78 - 81)
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 1 social event with Latisa?                                     1    Q. I'm assuming you are aware that you've
 2    A. It was last Thanksgiving.                               2 been designated as a class representative in this
 3    Q. How would you describe the -- the                       3 lawsuit?
 4 relationship between you and Latisa? Are you                  4    A. Yes.
 5 friends, acquaintances, family?                               5    Q. You're also aware that you've been
 6    A. Friends.                                                6 des- -- actually, I believe you told me you do not
 7    Q. Are you aware that the Complaint is                     7 know if you were designated as a class
 8 asking the court to certify this case as a class              8 representative in the federal lawsuit, correct?
 9 action?                                                       9        MS. CLARY: Objection. I don't think you
10    A. Yes.                                                   10 asked her that.
11    Q. Do you know what it means to proceed as a              11 BY MR. CATHELL:
12 class action?                                                12    Q. Have you been designated as a class
13    A. Yes.                                                   13 representative in the federal suit against ECFMG?
14    Q. And I think you already described your                 14    A. Yes.
15 understanding, so I'll spare you the follow-up               15        MS. CLARY: Hence, why I thought you did
16 question.                                                    16 not ask.
17        Do you know how many proposed class                   17 BY MR. CATHELL:
18 members there are?                                           18    Q. Do you know what it means to be
19    A. No.                                                    19 a -- strike that.
20    Q. Do you know which law firms represent the              20        What is your role as a class
21 proposed class members?                                      21 representative?
                                                      Page 83                                                        Page 85
 1    A. Yes.                                                    1    A. To be the voice of all of the ladies that
 2    Q. And which firms are those?                              2 can't speak.
 3    A. Well, I know this law firm, the one that                3    Q. Why can't they speak?
 4 represents me.                                                4    A. They could speak, but they can't speak
 5    Q. Any others?                                             5 right here right now. They can't tell you guys how
 6    A. Other than that, no, I don't know of any                6 disgusted they feel, how violated, how hurt to
 7 others.                                                       7 trust somebody who they called their doctor, and
 8    Q. Do you know whether each member of the                  8 come to find out, that doctor, who we put our life
 9 proposed class is asserting the same claims as you            9 in his hands, was a fraud.
10 are?                                                         10    Q. Do you know whether there was a mediation
11    A. No, I do not know.                                     11 in this matter?
12    Q. Have you tried to learn about the claims               12    A. No.
13 of the other proposed class members in this case?            13    Q. Have you --
14    A. No.                                                    14        MS. CLARY: I'm sorry. It's belated, but
15    Q. Have you determined whether your claims                15 I'd just object to the term mediation. As a
16 are different than theirs in any way?                        16 nonlawyer, she may not know what that is.
17    A. No.                                                    17 BY MR. CATHELL:
18    Q. Do you know whether each member of the                 18    Q. Do you know whether the parties in this
19 proposed class is seeking the same damages as you            19 case engaged in settlement talks in an effort to
20 in this case?                                                20 settle the case?
21    A. No.                                                    21    A. Yes.
                                                                                                           JA481
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 1    Q. You do know that?                                    1 take it up later.
 2    A. Yes, I do.                                           2 BY MR. CATHELL:
 3    Q. Okay. And what is -- did you at any time             3    Q. Have you seen any of the documents that
 4 talk or correspond with the other Plaintiffs               4 have been produced by the Defendants in this case?
 5 regarding those settlement discussions?                    5    A. Yes, I did.
 6    A. No.                                                  6    Q. Okay. What did you review?
 7    Q. Are you aware that a settlement offer was            7    A. There's been so many documents. I do not
 8 made --                                                    8 remember.
 9    A. Yes.                                                 9    Q. Do you know whether Dr. -- I'm sorry,
10    Q. -- on behalf of the Defendants?                     10 were you finished?
11    A. Yes.                                                11    A. Yes.
12    Q. Okay. And what is your understanding as             12    Q. Okay. Do you know whether Dr. Akoda is a
13 to what that settlement offer was?                        13 defendant in this lawsuit or not?
14    A. A thousand.                                         14    A. No, I do not know.
15    Q. And did you decline that settlement                 15    Q. What is your understanding as to what the
16 offer?                                                    16 allegations are in the federal suit against ECFMG?
17    A. Yes.                                                17       MS. CLARY: Objection to the extent I do
18    Q. And Ms. Clary is going to object, so if             18 think that was covered, but go ahead again.
19 you'll give her a second before answering. Do you         19       THE WITNESS: They allowed him to
20 know whether you're responsible for paying any of         20 continue to practice without him having the proper
21 the costs and expenses of this litigation?                21 credentials that is needed.
                                                   Page 87                                                       Page 89
 1       MS. CLARY: Objection. I'm going to                   1 BY MR. CATHELL:
 2 instruct her not to answer for the reasons we've           2    Q. What is your understanding of ECFMG's
 3 discussed already.                                         3 role in certifying Dr. Akoda?
 4 BY MR. CATHELL:                                            4    A. Could you repeat that?
 5    Q. Did you --                                           5    Q. Sure. What is your understanding -- and
 6       MR. CATHELL: Thank you.                              6 I'm asking you this as a result of your being in
 7 BY MR. CATHELL:                                            7 that lawsuit.
 8    Q. Did you sign a retainer agreement with               8       What is your understanding of ECFMG's
 9 Schochor, Federico and Staton?                             9 role in certifying Dr. Akoda?
10       MS. CLARY: I'm going to let you answer              10    A. I do not recall. I don't remember.
11 yes or no, but I don't want you to disclose               11    Q. Do you have any knowledge as to what type
12 anything further beyond a yes or a no answer.             12 of background checks ECFMG conducts?
13       THE WITNESS: Yes.                                   13    A. Birth certificate, Social Security,
14 BY MR. CATHELL:                                           14 passport.
15    Q. And we would ask -- we will be asking               15    Q. Other than the call you received from
16 your attorney to provide it I know they object.           16 Latisa Gaymon -- strike that.
17       MR. CATHELL: But just, for the record, I            17       You received a telephone call from
18 want to indicate that we are requesting the               18 Ms. Gaymon. You then proceeded to Google the
19 retainer agreement.                                       19 allegations against Dr. Akoda.
20       MS. CLARY: I object. I think we've                  20       Did you at any time see any advertising,
21 covered the objection and your response, and we'll        21 such as TV commercials, or social media links, or
                                                                                                        JA482
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 1 radio commercials regarding the all- -- sorry,                 1     Q. And you did not care about the OB/GYN's
 2 regarding the allegations?                                     2 race?
 3     A. After the fact.                                         3     A. No.
 4     Q. After what fact?                                        4     Q. Or nationality?
 5     A. After I already had contacted my lawyers.               5     A. No.
 6     Q. And what do you recall -- again, not                    6     Q. And you did not care about the exact
 7 anything related to them, but what do you recall               7 location of the OB/GYN, beyond being local,
 8 see -- recall seeing or hearing?                               8 correct?
 9     A. On the radio, if you were a patient of                  9     A. Well, at first, I didn't want to deliver
10 Dr. Akoda, please contact, and they said a phone              10 my child at PGH, but I didn't have no choice.
11 number. You have been a victim of a scam.                     11     Q. And why did you not have a choice?
12     Q. Anything else?                                         12     A. Because the doctor's office, that was the
13     A. No.                                                    13 only hospital they were associated with.
14     Q. And do you remember specifically, was it               14     Q. Is it fair to say that you not -- did not
15 a TV advertisement or -- I'm sorry, you said it was           15 care about the name of your physician?
16 a radio advertisement?                                        16     A. The name, no.
17     A. Radio.                                                 17     Q. You agree that Dr. Akoda delivered your
18     Q. And do you recall specifically which law               18 baby safe -- safe and healthy?
19 firm was sponsoring that advertisement?                       19         MS. CLARY: Objection. I think it's been
20     A. I do not remember. I don't recall which                20 covered, but go ahead.
21 firm it was.                                                  21         THE WITNESS: Yes.
                                                       Page 91                                                           Page 93

 1    Q. And hearing that advertisement -- strike                 1 BY MR. CATHELL:
 2 that.                                                          2    Q. And it's my understanding that Jaiden is
 3         Did you participate in any interview with              3 four now, correct?
 4 any media person or organization about your                    4    A. Correct.
 5 involvement with Dr. Akoda?                                    5    Q. And I'm hopeful that Jaiden is currently
 6    A. No.                                                      6 healthy; is that correct?
 7    Q. Did you go on The Dr. Oz Show?                           7    A. Yes.
 8    A. No.                                                      8    Q. And was Jaiden the only baby you
 9    Q. Were you contacted to go on The Dr. Oz                   9 delivered with Dr. Akoda?
10 Show?                                                         10    A. Yes.
11    A. No.                                                     11    Q. At any time during any care and treatment
12    Q. Is it fair to say that when you were                    12 that Dr. Akoda provided to -- to you, did you ever
13 choosing your OB/GYN, you selected an OB/GYN based            13 ask for a different doctor?
14 upon the skill set of the physician?                          14    A. No.
15    A. Yes.                                                    15    Q. We talked briefly about the six-week
16    Q. And your concern was that he or she could               16 check -- postpartum check-up where you came back in
17 deliver your baby safely and healthy, correct?                17 to see Dr. Akoda, and you mentioned that he
18    A. Yes.                                                    18 diagnosed you with a cyst at that time and had
19    Q. And you did not care if your OB/GYN was a               19 removed that cyst, is that an accurate
20 man or a woman?                                               20 representation of your testimony?
21    A. No.                                                     21    A. That's correct.
                                                                                                               JA483
                                                                                                        24 (Pages 90 - 93)
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 1    Q. And, to your knowledge, was the cyst, in                 1 she mentioned earlier. She talked about the -- an
 2 fact, removed at that time?                                    2 employment change.
 3    A. I don't have -- he claimed he -- he                      3       MR. CATHELL: Right.
 4 burned it. I don't know.                                       4 BY MR. CATHELL:
 5    Q. Okay. Fair enough. If -- do you have                     5    Q. Other than that?
 6 any ongoing signs or symptoms or injuries related              6    A. Other than that, no.
 7 to the cyst?                                                   7    Q. Okay.
 8    A. I had pain. I went to the emergency room                 8       (Whereupon, there was a pause for
 9 at Southern Maryland Hospital, and they said I had             9 document examination.)
10 an ovarian cyst still. And this is recently, last             10       MR. CATHELL: That's all I have, ma'am.
11 year recently. I also have cyst in my kidneys.                11 Thank you very much.
12    Q. Okay.                                                   12       MS. CLARY: She'll read and sign.
13    A. This is recently. So, if it was removed,                13       THE WITNESS: Thank you.
14 I'm -- I don't know.                                          14       THE VIDEOGRAPHER: This concludes today's
15    Q. As -- okay. Is -- has anyone -- strike                  15 videotape deposition of Elsa Powell. This is media
16 that.                                                         16 unit number two of two. Going off the record. The
17         Has any doctor told you that Dr. Akoda                17 time is 11:49 a m.
18 didn't effectively remove the ovarian cyst at your            18       (Whereupon, the deposition of Elsa
19 six-week postpartum appointment?                              19 Miguelina Powell was concluded at 11:49 a m., and
20    A. No.                                                     20 the reading and signing of the transcript was not
21    Q. Do you have any reason to believe that                  21 waived.)
                                                       Page 95                                                           Page 97
 1 the ovarian cyst that was discovered at Southern               1         Russell v. Dimensions
 2 Maryland is the same cyst or is related to the cyst            2            Elsa Miguelina Powell
 3 that Dr. Akoda removed?                                        3         INSTRUCTIONS TO THE WITNESS
 4    A. I -- I wouldn't be able to tell you. I                   4        Please read your deposition over
 5 don't -- I don't know.                                         5 carefully and make any necessary corrections. You
 6         MR. CATHELL: I think we're finished, if                6 should state the reason in the appropriate space on
 7 I could just look through my notes briefly.                    7 the errata sheet for any corrections that are made.
 8         THE WITNESS: Okay.                                     8        After doing so, please sign the errata
 9         MS. CLARY: Sure.                                       9 sheet and date it.
10         MR. CATHELL: You'll definitely be on the              10        You are signing same subject to the
11 road by 12.                                                   11 changes you have noted on the errata sheet, what
12         (Whereupon, there was a pause for                     12 will be attached to the deposition.
13 document examination.)                                        13        It is imperative that you return the
14 BY MR. CATHELL:                                               14 original errata sheet to the deposing attorney
15    Q. I showed you your Answers to                            15 thirty (30) days of receipt of the deposition
16 Interrogatories and marked them an exhibit, but I             16 transcript by you. If you fail to do so, the
17 don't think I asked you the question of whether               17 deposition transcript may be deemed to be accurate
18 they are accurate sitting here today or whether you           18 and may be used in court.
19 would want to make any additions or revisions to              19
20 the answers?                                                  20
21         MS. CLARY: Other than the one revision                21 Job #3269933
                                                                                                              JA484
                                                                                                       25 (Pages 94 - 97)
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                     Maryland Rules of Procedure

                 Title 2, Chapter 400, Rule 2-415



    (D) Signature and Changes

    Unless changes and signing are waived by the

    deponent and the parties, the officer shall submit

    the transcript to the deponent, accompanied by a

    notice in substantially the following form:

    [Caption of case], NOTICE TO [name of deponent].

    The enclosed transcript of your deposition in the

    above-captioned case is submitted to you on [date

    of submission of the transcript to the deponent]

    for your signature and any corrections or other

    changes you wish to make. All corrections and other

    changes will become part of your sworn testimony.

    After you have read the transcript, sign it and, if

    you are making changes, attach to the transcript a

    separate correction sheet stating the changes and

    the reason why each change is being made. Return

    the signed transcript and any correction sheet to

    [name and address of officer before whom the

    deposition was taken] no later than 30 days after

    the date stated above. If you fail to return the

    signed transcript and any correction sheet within

    the time allowed, the transcript may be used




                                                                    JA486
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    As if signed by you. See Rules 2-415 and 2-501 of

    the Maryland Rules of Procedure.



    Within 30 days after the date the officer mails or

    otherwise submits the transcript to the

    Deponent, the deponent shall (1) sign the

    transcript and (2) note any changes to the form or

    substance of the testimony in the transcript on a

    separate correction sheet, stating the reason why

    each change is being made. The officer promptly

    shall serve a copy of the correction sheet on the

    parties and attach the correction sheet to the

    transcript. The changes contained on the correction

    sheet become part of the transcript. If the

    deponent does not timely sign the transcript, the

    officer shall sign the transcript, certifying the

    date that the transcript was submitted to the

    deponent with the notice required by this section

    and that the transcript was not signed and returned

    within the time allowed. The transcript may then be

    used as if signed by the deponent, unless the court

    finds, on a motion to suppress under section (i)

    (j) of this Rule, that the reason for the failure

    to sign requires rejection of all or part of the

    transcript.




                                                                    JA487
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    (I) Further Deposition Upon Substantive Changes to

    Transcript

    If a correction sheet contains substantive changes,

    any party may serve notice of a further deposition

    of the deponent limited to the subject matter of

    the substantive changes made by the deponent unless

    the court, on motion of a party pursuant to

    Rule 2-403, enters a protective order precluding

    the further deposition.




    DISCLAIMER:      THE FOREGOING CIVIL PROCEDURE RULES

    ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

    THE ABOVE RULES ARE CURRENT AS OF SEPTEMBER 1,

    2016.    PLEASE REFER TO THE APPLICABLE STATE RULES

    OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.




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               VERITEXT LEGAL SOLUTIONS
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Veritext Legal Solutions represents that the
foregoing transcript is a true, correct and complete
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as submitted by the court reporter. Veritext Legal
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 1    IN THE CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY

 2   MONIQUE RUSSELL, et al.            :

 3       Plaintiffs                     : Case No.:

 4               Vs.                    : CAL17-22761

 5   DIMENSIONS HEALTH CORP., : CAL17-37091

 6   et al.                             : CAL18-07863

 7       Defendants                     :

 8                        --------------------

 9

10               Deposition of DESIRE N. EVANS, was taken

11   via videotape on Thursday, March 28, 2019,

12   commencing at 10:04 a.m., at Schochor, Federico &

13   Staton, P.A., The Paulton, 1211 St. Paul Street,

14   Baltimore, Maryland, before MICHELE D. LAMBIE,

15   Notary Public.

16                           --------------------

17

18

19

20

21    Reported By:        Michele D. Lambie, CSR-RPR




                                 Veritext Legal Solutions                   JA491
                              202-803-8830 -- 410-494-8300
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                                                          Page 2                                                            Page 4
 1 APPEARANCES:                                                     1             PROCEEDINGS
 2        ON BEHALF OF THE PLAINTIFFS:                              2       (Whereupon, Evans Deposition Exhibit 1,
 3     Schochor, Federico & Staton, P.A.                            3 Answers to Interrogatories, marked for
 4       TARA CLARY, ESQUIRE                                        4 identification.)
 5       tclary@sfspa.com                                           5       THE VIDEOGRAPHER: Good morning. We are
 6       The Paulton                                                6 now on the record at 10:04 a m., March 28, 2019.
 7       1211 St. Paul Street                                       7       This is media unit number one in the
 8       Baltimore, Maryland 21202                                  8 video-recorded deposition of Desire Evans taken in
 9       (410) 234-1000                                             9 the matter of Monique Russell, et al v. Dimensions
10                                                                 10 Health Corp., et al. filed in the Circuit Court for
11        ON BEHALF OF THE DEFENDANTS:                             11 Prince George's County, Case Numbers CAL17-22761,
12     Pessin Katz Law, P.A.                                       12 CAL17-37091, and CAL 18-07863.
13       BRIAN M. CATHELL, ESQUIRE                                 13       This deposition is being held at the
14       bcathell@pklaw.com                                        14 office of Schochor, Federico and Staton located at
15       901 Dulaney Valley Road, Suite 400                        15 1211 St. Paul Street, Baltimore, Maryland.
16       Towson, Maryland 21204                                    16       My name is Sam Varipapa on behalf of
17       (410) 938-8800                                            17 Veritext, and I'm today's videographer. The court
18                                                                 18 reporter is Michele Lambie, also on behalf of
19                                                                 19 Veritext.
20     ALSO PRESENT: Sam Varipapa - Videographer 20                         At this time, will Counsel now state
21                                                                 21 their appearances and affiliations for the record
                                                          Page 3                                                            Page 5
 1           EXAMINATION INDEX                                      1 beginning with the party that noticed this
 2                                                                  2 proceeding?
     WITNESS: DESIRE N. EVANS               PAGE
                                                                    3        MR. CATHELL: Brian Cathell on behalf of
 3     DIRECT BY MR. CATHELL                          5
                                                                    4 the Defendants.
       CROSS BY MS. CLARY                       122
 4     REDIRECT BY MR. CATHELL                        124           5        MS. CLARY: Tara Clary on behalf of the
 5                                                                  6 Plaintiff.
 6            EXHIBIT INDEX                                         7        THE VIDEOGRAPHER: Michele, would you
 7        (Attached to Transcript.)                                 8 administer oath?
 8                              MARKED                              9              DESIRE N. EVANS
     DESIRE N. EVANS
                                                                   10 the Deponent, called for examination by the
 9 Exhibit 1 Answers to Interrogatories         4
                                                                   11 Defendants, being first duly sworn to tell the
10 Exhibit 2 Consent Form                  85
11                                                                 12 truth, the whole truth, and nothing but the truth,
12                                                                 13 testified as follows:
13                                                                 14              DIRECT EXAMINATION
14                                                                 15        BY MR. CATHELL:
15                                                                 16     Q. Good morning, Ms. Evans. I introduced
16
                                                                   17 myself off the -- off the record. My name is
17
                                                                   18 Brian. Have you given a deposition before today?
18
19                                                                 19     A. No, sir.
20                                                                 20     Q. Okay. So, just a few ground rules. The
21                                                                 21 first is if you feed a break today for any reason
                                                                                                                    JA492
                                                                                                                2 (Pages 2 - 5)
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 1 or no reason, that is okay, and you can just let us            1   A. Desire Nicole Evans.
 2 know. We're happy to take a break for you to go to             2   Q. And what is your current address?
 3 the bathroom, to get more water, or just to get                3   A. 4057 Parker Court, Waldorf, Maryland
 4 some fresh air, okay? So, we're not holding you                4 20602.
 5 hostage, all right?                                            5   Q. And how long have you lived at that
 6     A. Okay.                                                   6 address?
 7     Q. The second is she is taking down                        7   A. About one year.
 8 everything that we say, and she can't take down                8   Q. And what is your date of birth?
 9 non-verbal responses, such as head nods or um-hums 9               A. March 25th, 1979.
10 or huh-uhs, things like that, so the responses                10   Q. And have you gone by any other names or
11 should be yes, no, I don't know, or another verbal            11 aliases?
12 response, --                                                  12   A. No, sir.
13     A. Okay.                                                  13   Q. And it's my understanding that you are
14     Q. -- is that fair?                                       14 married?
15     A. Yes.                                                   15   A. Yes, and this is actually my married
16     Q. Okay. If I ask you a question that you                 16 name. Sorry.
17 don't understand, which is entirely possible,                 17   Q. Okay. That's all right. Prior to being
18 please let me know, and I am happy to rephrase it             18 married, what was your maiden name?
19 as many times as I need to so that you can                    19   A. Clifton.
20 understand it, okay?                                          20   Q. And how many times have you been married?
21     A. Yes.                                                   21   A. Once.
                                                        Page 7                                                      Page 9
 1     Q. If we're talking about times or a                       1    Q. And on what date were you married to
 2 situation that is confusing, please let me know                2 Mr. Evans?
 3 that, because I don't want you to answer questions             3    A. December 31st, 2015.
 4 that you don't fully understand, and I'm happy to              4    Q. And you've remained married and living in
 5 clarify to the best -- to the extent that I can to             5 the same home since that time?
 6 get the specific question out that you understand              6    A. Yes.
 7 so that you can provide an answer, okay?                       7    Q. Okay. How many children do you have?
 8     A. Yes.                                                    8    A. One.
 9     Q. Lastly, I know that we are going to be                  9    Q. And what is the child's name?
10 talking about some sensitive topics today, and I              10    A. Peyton.
11 assure you it's not my goal, it's not my intent,              11    Q. With an A or an E?
12 and I don't take any pleasure in asking you about             12    A. E.
13 those things.                                                 13    Q. And I assume Peyton was born in March of
14        This is our opportunity to explore class               14 2016?
15 certification, and so there are certain issues                15    A. Yes. March 17th, 2016.
16 that -- in -- in our investigation that I need to             16    Q. And is Peyton a healthy child?
17 explore with you, --                                          17    A. Yes.
18     A. Okay.                                                  18    Q. And has Peyton lived with you since his
19     Q. -- okay?                                               19 birth on March 17th, --
20     A. Yes.                                                   20    A. Yes.
21     Q. Okay. And what is your full name?                      21    Q. -- 2016?
                                                                                                          JA493
                                                                                                      3 (Pages 6 - 9)
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 1     A. Yes.                                            1             MS. CLARY: Sure.
 2      Q. So, living in your home is, it's you,          2      BY MR. CATHELL:
 3   Peyton, and Mr. Evans, correct?                      3         Q. Do you hold any degrees or
 4      A. And Piper, our dog.                            4      certifications?
 5      Q. Okay. Dogs count nowadays.                     5         A. No, not currently.
 6         MS. CLARY: Absolutely.                         6         Q. And what is your highest level of
 7   BY MR. CATHELL:                                      7      education?
 8      Q. And at the time you became involved with       8         A. I graduated high school, and I'm
 9   Dr. Akoda, and we're going to explore that in depth  9      currently in college now.
10   in a few minutes, but in December of 2015, who was 10          Q. And what year did you graduate high
11   living in your home?                                11      school?
12      A. It was my husband and I.                      12         A. '97.
13      Q. Okay. And you worked with your attorneys 13              Q. Okay. And where are you in college?
14   in this case to provide information or to draft     14         A. Strayer University.
15   Answers to Interrogatories, do you recall doing     15         Q. And what are you studying?
16   that?                                               16         A. Cyber security.
17      A. Yes.                                          17         Q. We might need to retain you. Our firm
18      Q. Okay. And I have a copy of your signed        18      was just attacked by ransom-ware.
19   Answers to Interrogatories, which include, among    19             MS. CLARY: I heard this. You were off
20   other information, a, a list of your residential    20      line for a week. Was it like bliss or hell?
21   history, so I'm going to show you that. I'll ask    21             MR. CATHELL: It was terrible.
                                                  Page 11                                                    Page 13
 1 you if you signed the document, and then if you'll        1          MS. CLARY: Okay.
 2 just look at answer to Interrogatory Number 1, that       2          MR. CATHELL: No phones, no email.
 3 will save me the time of having to go through each        3          THE WITNESS: Wow.
 4 place that you lived, --                                  4          MS. CLARY: I would have called that
 5     A. Um-hum.                                            5   bliss, but, you know, the other side of the table
 6     Q. -- is that fair?                                   6   here.
 7     A. Yes.                                               7   BY MR. CATHELL:
 8         MS. CLARY: Do you want the first                  8      Q. Are you currently employed?
 9 signature?                                                9      A. Yes.
10         MR. CATHELL: The second. The last page,          10      Q. And where are you employed?
11 please, or it may be the third.                          11      A. Blue Cross Blue Shield.
12 BY MR. CATHELL:                                          12      Q. When do you -- when do you anticipate
13     Q. Is that your signature?                           13   receiving a degree from Strayer University?
14     A. Yes.                                              14      A. I should have my -- I won't have my
15     Q. And reviewing answer to Interrogatory             15   degree until 2021, but my first certification I'll
16 Number 1, is your residential history accurate as        16   have in December.
17 you sit here today?                                      17      Q. And is -- are you working to obtain a
18     A. Yes.                                              18   bachelor's --
19         MS. CLARY: Do you want her to keep this?         19      A. Yes.
20         MR. CATHELL: Sure. We'll get back to             20      Q. -- or -- okay. Bachelor's of Science?
21 that.                                                    21      A. Yes, sir.
                                                                                                      JA494
                                                                                                4 (Pages 10 - 13)
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 1     Q. And what certification will you get in                   1    Q. And since 2015, have you missed any
 2 December?                                                       2 significant period of time from work for any
 3     A. My Comptiaa. C-O-M-P-T-I-A-A.                            3 reason, other than a vacation?
 4     Q. And is that a cyber security                             4    A. Yes.
 5 related --                                                      5    Q. Okay.
 6     A. Yes.                                                     6    A. Currently, Sundays, since -- since this
 7     Q. -- certification? Good for you. In your                  7 has happened, I've been on FMLA. I have 24 hours a
 8 Answers to Interrogatories -- we're going to just               8 week to where I can, I guess, call out or if I have
 9 briefly talk about your employment history.                     9 to go to the doctors or I have a video appointment
10         I believe in Interrogatory Number 16, if               10 with my doctors or whatever the case may be, so
11 you'll look, you listed out your past employment               11 I've missed a significant amount of work in the
12 positions?                                                     12 past year and a half.
13     A. That would be page 16? Is that what that                13    Q. Okay. Let's -- let's explore that more
14 means, Number 16?                                              14 when I -- when we get --
15     Q. Yeah. And I just realized I marked my                   15    A. Okay.
16 copy, so let me mark this copy. That might                     16    Q. -- determine specific dates of -- of when
17 be --                                                          17 you learned about certain things.
18     A. Oh, I see it. I see, Number 16.                         18    A. Um-hum.
19         MS. CLARY: You got it?                                 19    Q. And I promise, I'll come back to it.
20         THE WITNESS: Um-hum.                                   20 Other than the FMLA --
21         MR. CATHELL: Let me switch the copies.                 21    A. No.
                                                        Page 15                                                      Page 17
 1         (Document tendered.)                                    1    Q. -- time off, have you missed any
 2 BY MR. CATHELL:                                                 2 significant time for work -- from work for any
 3     Q. Thank you.                                               3 reason, other than a vacation?
 4     A. Yes, sir.                                                4    A. Well, having my child. Does that count?
 5     Q. Is your employment history as listed                     5    Q. Fair enough.
 6 accurate as you sit here today?                                 6    A. Okay.
 7     A. Yes.                                                     7    Q. Other than a child or FMLA?
 8     Q. Okay. You've been with CareFirst Blue                    8    A. No.
 9 Cross Blue Shield since 2015, correct?                          9    Q. And you said you have 24 hours per week.
10     A. Yes.                                                    10 Does that mean you're working 24 hours per
11     Q. And you're a senior customer service                    11 week, --
12 advisor?                                                       12    A. No.
13     A. Yes.                                                    13    Q. -- or you're missing 24 hours a week?
14     Q. Briefly describe for me your roles and                  14    A. I'm missing 24 hours a week.
15 responsibilities there, please.                                15    Q. Okay. And is that 24 hours per week that
16     A. I deal with customer issues, customer                   16 you're missing reimbursed to you through FMLA?
17 complaints, benefit questions, resolving issues, or            17    A. No.
18 escalation of iss- -- issues, and that's about it.             18    Q. Is FMLA permitting you to miss 24 hours
19     Q. And have you been full time there since                 19 per week?
20 2015?                                                          20    A. Yes. If I have PTO, I can use that, but
21     A. Yes.                                                    21 I don't have -- you don't get paid for FMLA.
                                                                                                               JA495
                                                                                                         5 (Pages 14 - 17)
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                                                        Page 18                                                           Page 20
 1     Q. Have you -- have you used PTO to satisfy                 1         MS. CLARY: I'm just going to object to
 2 the 24 hours per week that you're missing?                      2 the extent I'm not sure it's an either/or. I don't
 3     A. Sometimes, if I have it available.                       3 want to make a speaking objection, but PTO, if
 4     Q. Here today, do you have any PTO                          4 accrued, may be used sporadically, and FMLA is
 5 available?                                                      5 used -- being used FMLA.
 6     A. No.                                                      6         So, I'm assuming you're asking her when
 7     Q. When will you next have PTO available?                   7 she first started to need to use FMLA for the first
 8     A. January 1st of 2020.                                     8 time?
 9     Q. So, in January of each year, you're given                9         MR. CATHELL: Let me back up. I
10 a, a certain amount of PTO time; is that correct?              10 appreciate the clarification.
11     A. Yes.                                                    11 BY MR. CATHELL:
12     Q. In 2019, you were given a certain amount                12    Q. When did you first -- let's explore that
13 of PTO time; is that correct?                                  13 in a little bit when I -- when I bring in some
14     A. Yes.                                                    14 different timelines, okay? I'll come back to it.
15     Q. And is it your testimony that you have                  15         Prior to CareFirst Blue Cross Blue
16 used your yearly allotment of PTO for 2019?                    16 Shield, you were employed with Arbitron --
17     A. Yes.                                                    17    A. Um-hum.
18     Q. And how many hours or days, however it's                18    Q. -- correct?
19 broken down, were you given in January of 2019 in              19    A. Yes.
20 PTO?                                                           20    Q. As a customer service interviewer?
21     A. One hundred and 20 hours.                               21    A. Yes.
                                                        Page 19                                                           Page 21
 1    Q. So, that's approximately 15 workdays?                     1    Q. And what were your roles and
 2    A. (Nodding head yes.)                                       2 responsibilities there?
 3       THE COURT REPORTER: You have to answer                    3    A. Making outbound calls to -- for Neilson
 4 out loud.                                                       4 Ratings.
 5       MS. CLARY: You have to answer.                            5    Q. Okay. And do you remember which month
 6       THE WITNESS: I'm sorry. Yes. I'm sorry                    6 you left Arbitron in 2015?
 7 about that, ma'am.                                              7    A. September.
 8       MS. CLARY: You're doing fine.                             8    Q. And why did you leave Arbitron?
 9       THE WITNESS: Yes.                                         9    A. They closed.
10       MS. CLARY: Everybody does it. You just                   10    Q. The company closed?
11 have to answer verbally so that when we look at the            11    A. Yeah. Nielsen bought it out.
12 transcript later, we don't see um-hum and huh-uh               12    Q. And do you remember when you started with
13 and wonder what you meant.                                     13 CareFirst Blue Cross Blue Shield?
14       THE WITNESS: What, okay.                                 14    A. June of 2015.
15 BY MR. CATHELL:                                                15    Q. So, while you -- so, there was a period
16    Q. Prior to using -- well, I don't want to                  16 of time where you were working for both Arbitron
17 get into yet specifically when you learned about               17 and CareFirst Blue Cross Blue Shield?
18 the allegations surrounding Dr. Akoda, because I               18    A. Correct. We were aware that Arbitron was
19 want to explore those fully, but how long have you             19 closing ahead of time.
20 been using FMLA to support you in taking off the 24            20    Q. Prior to Arbitron, you were employed with
21 hours per week?                                                21 HealthStream Research as a medical interviewer?
                                                                                                              JA496
                                                                                                        6 (Pages 18 - 21)
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 1     A. Correct.                                              1 mentally, or emotionally in any way by any other
 2     Q. And what were your roles and                          2 person at any time?
 3 responsibilities there?                                      3     A. No.
 4     A. Outbound calls, conducting healthcare                 4     Q. Have you ever been hospitalized, other
 5 surveys for local hospitals.                                 5 than to deliver a child?
 6     Q. And do you recall which hospitals you                 6     A. No.
 7 were calling on behalf of?                                   7     Q. Have you ever been diagnosed with a
 8     A. It was several.                                       8 condition that affects or limits your activities in
 9     Q. Do you recall the names of the hospitals?             9 any way?
10     A. No.                                                  10     A. No.
11     Q. And why did you leave HealthStream                   11     Q. Have you ever been diagnosed with a
12 Research?                                                   12 men- -- a mental illness of any kind at any time in
13     A. I don't -- I don't recall.                           13 your life?
14     Q. So, I ask this question to everyone, so              14     A. No.
15 it's not directed to you specifically. Have you             15     Q. Have you taken any medications at any
16 since your 18th birthday, while represented by              16 time in your life for mental illness of any kind?
17 counsel, ever pleaded guilty to or been convicted           17     A. Does that count now? Current?
18 of any crime, other than a minor traffic violation?         18        MS. CLARY: At any time.
19     A. No.                                                  19        THE WITNESS: Yes.
20        MS. CLARY: Objection, but you can                    20 BY MR. CATHELL:
21 answer.                                                     21     Q. Correct.
                                                     Page 23                                                       Page 25
 1         THE WITNESS: Oh, sorry.                      1              A. Yes.
 2         MS. CLARY: That's okay.                      2              Q. Okay. And which medications have you
 3   BY MR. CATHELL:                                    3           taken?
 4      Q. Have you ever been a plaintiff or a          4              A. Express -- Expressor -- Effexor.
 5   defendant in any other lawsuit?                    5           Effexor. Effexor, Ativan, Trazodone, Prozac. I
 6      A. No.                                          6           think that's it. I think.
 7      Q. Have you ever made a claim for injury        7              Q. Okay. And are you currently taking all
 8   against any individual, business, or other entity? 8           four of those medications at the current time?
 9      A. No.                                          9              A. Everything except for the Prozac, yes.
10      Q. Have you ever made a claim or complaint 10                  Q. Okay. So, you're taking Afexa, Ativan,
11   of any kind against a healthcare provider, other 11            and Trazodone at the current time?
12   than the current lawsuit?                         12              A. Yes.
13      A. No.                                         13              Q. And --
14      Q. Have you ever made a Workers'               14                 MS. CLARY: I think it's Effexor.
15   Compensation claim?                               15                 THE WITNESS: Effexor. Yes, I'm sorry.
16      A. No.                                         16           BY MR. CATHELL:
17      Q. Have you ever suffered physical,            17              Q. Effexor. How long have you been taking
18   emotional, or sexual abuse of any kind by any 18               these med- -- those three medications?
19   person at any time in your life?                  19              A. I've been taking those three
20      A. No.                                         20           medications -- one moment. Feb -- February of
21      Q. Have you ever been injured physically, 21                200- -- I don't remember if it was '17 or '18. Can
                                                                                                           JA497
                                                                                                     7 (Pages 22 - 25)
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 1 you -- is that in my answer?                                1 the name one more time so I can at least write it
 2        MS. CLARY: It may or may not be. If you              2 down so I can ask you questions?
 3 know, you can answer.                                       3       A. Igim -- Igenmino. Igemino. I don't
 4        THE WITNESS: Okay.                                   4 know. Igemial Nanamuju -- Nanmiju. I literally
 5        MS. CLARY: If you don't know, tell him               5 had to call Mr. Ceryes back yesterday with the
 6 you don't know.                                             6 spelling of her name because I couldn't pronounce
 7        THE WITNESS: I don't remember.                       7 it.
 8 BY MR. CATHELL:                                             8       Q. All right. So, first, you were seeing
 9     Q. And you also mentioned that you had taken            9 Dr. Smith?
10 Prozac in the past, correct?                               10       A. Yes.
11     A. Yes.                                                11       Q. And it's my understanding Dr. Smith is a
12     Q. And when did you take Prozac?                       12 psychiatrist --
13     A. Well, Prozac, I was -- I was prescribed             13       A. Yes.
14 Prozac, along with the Trazodone and the Ativan, at 14              Q. -- with Kaiser Permanente'?
15 first, and then they switched it to Effexor. So,           15       A. Yes.
16 it's been around the same amount of time I've been         16       Q. And from what -- what time period were
17 taking all of them. They just switched my                  17 you seeing Dr. Smith?
18 medications to something else.                             18       A. From February of -- I want to say
19     Q. Okay. And who prescribed those                      19 February of '18 to June of '18 or July of '18.
20 medications?                                               20       Q. February of 2018 to July of 2018?
21     A. My first -- the first one was Shanda                21       A. Yeah.
                                                    Page 27                                                       Page 29
 1   Smith at Kaiser, and then now I'm seeing Elumi 1                  Q. And --
 2   Neuwamini (sic).                                 2                A. Wait. I don't remember when
 3      Q. All right. That one is definitely going    3            I -- when I stopped seeing her. My husband -- we
 4   to need to be spelled. Do you know how to spell 4             had to switch insurances, so I had to get another
 5   it?                                              5            doctor. But we switched insurances in October, so
 6      A. I don't. I sent it -- I sent it to you     6            I'm thinking it was more October of '18.
 7   all yesterday, the name.                         7                Q. And when you stopped seeing Dr. Smith in
 8          MS. CLARY: I will -- I'm going to look    8            October of '18, is that when you went to see
 9   it up.                                           9            Dr. Namamichu?
10          THE WITNESS: I'm sorry.                  10                A. Yes.
11          MS. CLARY: No.                           11                Q. Is Dr. Namamichu also a psychiatrist?
12   BY MR. CATHELL:                                 12                A. Yes.
13      Q. So, in your answers -- and I'm happy to 13                  Q. And have you continuously seen
14   show them to you, --                            14            Dr. Namamichu since October of 2018?
15      A. Um-hum.                                   15                A. Yes.
16      Q. -- you're -- the last physician or        16                Q. And when you were seeing Dr. Smith
17   medical provider you report seeing was Shanda 17              starting in February of 2018, were you seeing her
18   Smith.                                          18            continuously until October of 2018?
19      A. Correct.                                  19                A. Yeah. Well, not seeing -- we -- we have
20      Q. So, I don't believe the last individual   20            video calls or phone calls, yes.
21   that you mentioned is -- is listed. Can you say 21                Q. And how often would you see Dr. Smith?
                                                                                                            JA498
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 1      A. On an as-needed basis, but usually                 1        MR. CATHELL: Sure.
 2   scheduled about twice a week.                            2        MS. CLARY: Dr. Nnamani.
 3      Q. And were those by weekly video                     3        THE WITNESS: Nnamani.
 4   conference?                                              4        MS. CLARY: The first name is
 5      A. No. We video conferenced every time,               5 I-G-E-O-M-A, last name is N-N-A-M-A-N-I.
 6   except for the first consultation.                       6        MR. CATHELL: Okay.
 7      Q. So, you saw Dr. Smith in the office one            7        MS. CLARY: Igeoma Nnamani -- excuse me,
 8   time, and then the remainder of the interactions         8 Nnamani.
 9   were by video conference, --                             9        MR. CATHELL: Nnamani?
10      A. Yes.                                              10        MS. CLARY: Yes. I have mad skills.
11      Q. -- correct?                                       11 You're welcome.
12      A. Yes.                                              12        MR. CATHELL: Thank you very much.
13      Q. Did you see Dr. Namamichu in his office           13 BY MR. CATHELL:
14   at any time?                                            14    Q. We can agree that -- that the
15      A. Yes. I saw her in the office.                     15 psychologist -- the psychiatrist I've been
16      Q. It is a her?                                      16 referring to as Dr. Namamichu is Dr. Nnamani,
17      A. Um-hum.                                           17 correct?
18      Q. I'm sorry.                                        18    A. Yes. Namamichu, yes.
19      A. That's okay.                                      19    Q. You've been seeing psychologist
20      Q. And how often have you been seeing                20 Dr. -- strike that.
21   Dr. Namamichu?                                          21        You've been seeing Psychologist Donato
                                                   Page 31                                                        Page 33
 1     A. I only see her for medication                       1 since June of 2018, correct?
 2 maintenance, so it's a phone interview once a              2    A. Yes.
 3 month.                                                     3    Q. And do you currently see Mr. Donato?
 4     Q. And how did you find Dr. Namamichu?                 4    A. Not in the office, but we converse; yeah.
 5     A. Through my -- my goodness. What's the               5    Q. And how often do you receive treatment
 6 other name of that person that's not a                     6 from Mr. Donato?
 7 psychiatrist? The one that can't prescribe                 7    A. Also on an as-needed basis, but scheduled
 8 medicine.                                                  8 twice a week.
 9     Q. A psychologist?                                     9    Q. Are those video conferences?
10     A. A psychologist. Through my psychologist.           10    A. Just phone conferences. He doesn't have
11 I couldn't think of it.                                   11 video. He's kind of old schooled.
12     Q. Okay. And who is your psychologist?                12    Q. Does Dr. Nnamani participate in video or
13     A. Paul Donato.                                       13 telephone conferences with you?
14     Q. Do you know how to spell his last name?            14    A. Telephone, yes.
15     A. D-O-N-A-T-O, I'm assuming.                         15    Q. And how often do you speak to
16     Q. And how long have you been seeing                  16 Dr. -- speak or see on video Dr. Nnamani?
17 Psychiatrist Donato or Psychologist Donato?               17    A. Once a month for medication maintenance.
18     A. Since about March -- no, no, no. June of           18    Q. So, a typical week for you would have you
19 '18.                                                      19 speaking to Psychologist Donato two times per week
20        MS. CLARY: I have a name and a spelling.           20 on the telephone and Dr. Nnamani one time per month
21 Do you want me to jump in with it?                        21 on the telephone for medication maintenance?
                                                                                                           JA499
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 1    A. Yes.                                                 1     Q. Prior to February of 2018, had you ever
 2    Q. Did I miss anything regarding the                    2 been diagnosed with anxiety?
 3 treatment you're receiving for any mental illness          3     A. No.
 4 as far as providers?                                       4     Q. Prior to 2018, had you ever been
 5    A. No.                                                  5 diagnosed with posttraumatic stress disorder?
 6    Q. And when Dr. Smith prescribed to you the             6     A. No.
 7 four medications, understanding you were only              7     Q. Prior to February of 2018, had you taken
 8 taking three at a time, did she make a diagnosis of        8 any medications at any time in your life for mental
 9 you at that time?                                          9 illness of any kind?
10    A. Yes.                                                10     A. No.
11    Q. And what was the diagnosis?                         11     Q. Prior to 2018, had you felt depressed?
12    A. The diagnosis was, or is, depression,               12     A. No.
13 anxiety, and PTSD.                                        13     Q. Prior to 2018, had you ever felt
14    Q. And in -- was it Dr. Smith who diagnosed            14 anx- -- anxious?
15 you with those conditions?                                15     A. No.
16    A. Yes.                                                16     Q. Since beginning your medication regimen
17    Q. And do you recall when she diagnosed you            17 in February of 2018, have you seen an improvement
18 with those conditions?                                    18 in your depression?
19    A. I don't. It was during her -- our first             19     A. Some days, but for the most part, no.
20 visit.                                                    20     Q. And can you describe for me which days
21    Q. So, that would have been in February                21 or -- you see improvement and which days you don't?
                                                   Page 35                                                          Page 37
 1 2018, correct?                                             1    A. It's kind of hard to say which days, but
 2    A. (Nodding head yes.)                                  2 sometimes I wake up, and I feel like I can go on
 3    Q. Yes?                                                 3 through my day and go to work just fine; some days
 4    A. Yes. I'm sorry. Yes.                                 4 I can't get out of bed at all.
 5    Q. That's okay.                                         5    Q. Since 200- -- since February of 2018,
 6    A. Yes.                                                 6 have you seen an improvement in your anxiety?
 7          THE WITNESS: I'm sorry, ma'am.                    7    A. No.
 8          MS. CLARY: You're doing fine.                     8    Q. So, it's fair to say the medications you
 9          THE WITNESS: Okay.                                9 you've been taking since February 2018 have not
10 BY MR. CATHELL:                                           10 improved or reduced your anxiety, correct?
11    Q. To your knowledge, has Dr. Nnamani                  11    A. Yes.
12 diagnosed you with either the same conditions or          12    Q. Since February 2018, when you began
13 anything additional?                                      13 taking the medications you've described, have you
14    A. Not that I'm aware of.                              14 seen an improvement or reduction in the symptoms of
15    Q. Has Dr. Nnamani recommended any                     15 posttraumatic stress disorder?
16 additional prescription medication for you?               16    A. No.
17    A. No. She's actually the one who changed              17    Q. What is posttraumatic stress disorder, if
18 my medication from Prozac to Effexor.                     18 you know?
19    Q. Okay. Prior to February of 2018, had you            19       MS. CLARY: Objection to the extent I
20 ever been diagnosed with depression?                      20 think it calls for psychiatric expertise, but you
21    A. No.                                                 21 can go ahead as best you can.
                                                                                                            JA500
                                                                                                     10 (Pages 34 - 37)
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 1       THE WITNESS: From my understanding, it's               1 conditions that she testified to.
 2 a -- it's a -- it's me having -- it's me having              2       MR. CATHELL: Right.
 3 stress or -- for something that happened to me in            3 BY MR. CATHELL:
 4 my past or anxiety or social anxiety. That's it.             4    Q. My -- my question was, did Dr. Smith
 5 BY MR. CATHELL:                                              5 share with you her opinion as to the cause of your
 6    Q. Did Dr. Smith ever give you her opinion                6 depression?
 7 that your depression -- strike that.                         7       MS. CLARY: I'm going to object to the
 8       Did Dr. -- Dr. Smith ever share with you               8 form for the reasons I stated. You can answer as
 9 an opinion regarding the cause of your depression?           9 best you can.
10    A. No.                                                   10       THE WITNESS: Okay. So, I'm still going
11    Q. Did Dr. Smith ever share with you an                  11 to say, no, I think.
12 opinion regarding the cause of your anxiety?                12 BY MR. CATHELL:
13    A. No.                                                   13    Q. For the sake of going through the rest of
14    Q. Did Dr. Smith ever share with you her                 14 those, is the answer -- do your -- did Dr. Smith
15 opinion regarding the cause of your posttraumatic           15 share with you her opinion regarding the cause of
16 stress disorder?                                            16 your anxiety?
17    A. No.                                                   17       MS. CLARY: Same objection. You can go
18    Q. Is this -- is your answer to all three of             18 ahead.
19 those questions the same for Dr. Nnamani?                   19       THE WITNESS: No.
20    A. Yes. Can I ask a question? Are you                    20 BY MR. CATHELL:
21 asking me if they gave me a reason for diagnosing           21    Q. Did Dr. Smith -- Smith share with you her
                                                     Page 39                                                      Page 41
 1 me with those things?                                        1 opinion regarding the cause of your posttraumatic
 2    Q. So, I'm not allowed to ask you -- answer               2 stress disorder?
 3 your question, --                                            3       MS. CLARY: Same objection. You can go
 4    A. Oh.                                                    4 ahead.
 5    Q. -- but I'm happy to rephrase it if you                 5       THE WITNESS: No.
 6 don't understand. I'm -- it's not a trick                    6 BY MR. CATHELL:
 7 question.                                                    7    Q. Did Dr. Nnamani share with you her
 8    A. Can I ask my lawyer?                                   8 opinion regarding the cause of your depression?
 9    Q. What -- what -- let me -- let me                       9       MS. CLARY: Same objection.
10 ask -- kind of ask -- did you not understand the            10       THE WITNESS: No.
11 question?                                                   11 BY MR. CATHELL:
12    A. Well, I'm just making sure I answered it              12    Q. Did Dr. Nnamani share with you her
13 correctly.                                                  13 opinion regarding the cause of your anxiety?
14    Q. I -- I mean --                                        14       MS. CLARY: Same objection. Go ahead.
15        MS. CLARY: If you don't ask her now, I               15       THE WITNESS: No.
16 will later. So, you might want to ask her now,              16       MS. CLARY: Can I have a continuing
17 because the word "causation or cause" can have a            17 objection?
18 legal significance. And, again, I'm not                     18       MR. CATHELL: Sure.
19 trying -- I'm trying my very best not to make a             19       MS. CLARY: Thank you.
20 speaking objection, but I think what you're asking          20 BY MR. CATHELL:
21 her is, has anybody told her why she has the                21    Q. Did Dr. Nnamani share with you her
                                                                                                             JA501
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 1 opinion regarding the cause of your posttraumatic          1 OB/GYN?
 2 stress disorder?                                           2    A. J-A-V-A-K-A, Moore, M-O-O-R-E.
 3    A. No.                                                  3    Q. Prior to Dr. Moore, who was serving as
 4    Q. Have you ever been seen by a healthcare              4 your OB/GYN?
 5 specialist, other than an OB/GYN, other than               5    A. I went to -- I went to Moore OB/GYN, but
 6 routine check-up care, such as mammography or              6 I just saw any. I didn't have a, a particular
 7 dermatologic screening?                                    7 OB/GYN.
 8    A. No.                                                  8    Q. What years were -- did Dr. Moore or his
 9    Q. Who is your primary care provider?                   9 office serve as your OB/GYN?
10    A. I don't have a primary care provider.               10    A. I moved to Maryland in -- I think I moved
11    Q. When did you last have a primary care               11 to Maryland in 2013, so maybe about 2014 until I
12 provider?                                                 12 had my son.
13    A. Before I had my son. In 2016, I                     13    Q. And did you have a -- have an OB/GYN
14 guess -- 2015.                                            14 prior to 2014?
15    Q. And who was your primary care provider at           15    A. No. Not a regular OB/GYN, no.
16 that time?                                                16    Q. When you say not a regular OB/GYN, were
17    A. Dainty Jackson.                                     17 you seeing OB/GYNs as needed?
18    Q. Dainty?                                             18    A. As needed, yeah. I wasn't going for like
19    A. (Nodding head yes.)                                 19 regular check-ups or anything.
20    Q. Is that a female?                                   20    Q. When was the last time you saw a
21    A. Yes.                                                21 healthcare provider of any kind?
                                                   Page 43                                                      Page 45
 1    Q. And do you know where Dr. Jackson was                1    A. Like physically? Like went into their
 2 located?                                                   2 office?
 3    A. Waldorf, Maryland. I don't know the                  3    Q. Yes.
 4 exact address.                                             4    A. September of 2018.
 5    Q. And how long had Dr. Jackson been your               5    Q. And who was that?
 6 primary care provider?                                     6    A. Dr. Nnamani. October of 2018,
 7    A. I seen her one time. She was assigned by             7 Dr. Nnamani.
 8 insurance.                                                 8    Q. Prior to seeing Dr. Nnamani, who was the
 9    Q. Prior to seeing Dr. Jackson, did you have            9 healthcare provider that you saw most recently?
10 a primary care provider?                                  10    A. Shanda.
11    A. No.                                                 11    Q. Is that Dr. Smith?
12    Q. Should I understand your answer to mean             12    A. Yes, and Dr. Donato as well.
13 you have never had a primary care provider prior to       13    Q. Other than Dr. Nnamani, Dr. Smith, and
14 seeing Dr. Jackson on the one occasion?                   14 Dr. Donato, have you seen any other healthcare
15    A. Correct. I didn't have insurance.                   15 providers since your child was born in March of
16    Q. Do you currently have an OB/GYN?                    16 2016?
17    A. Nope. No. Sorry.                                    17    A. No.
18    Q. That's all right. And when did you last             18    Q. Have you gone to any hospitals, emergency
19 have an OB/GYN?                                           19 departments, or urgent care centers since March of
20    A. When I had my son.                                  20 2016 to receive care or treatment?
21    Q. And what was the name of your last                  21    A. I did go to the emergency room, yes.
                                                                                                        JA502
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 1    Q. And when was that?                                         1   understanding you're taking three at the current
 2    A. December, maybe.                                           2   time, are there any other medications that you
 3    Q. Of 2018?                                                   3   currently take that we have not discussed?
 4    A. '18. Um-hum.                                               4      A. No.
 5    Q. And what caused you to go to the                           5      Q. What pharmacy or pharmacies have you
 6 emergency department in December of 2018?                        6   filled prescriptions at in the last three years?
 7    A. I had a rup- -- ruptured cyst on my                        7      A. Walmart, CVS, and Walgreens.
 8 ovary.                                                           8      Q. And are those in La Plata?
 9    Q. And which hospital did you go to?                          9      A. Waldorf.
10    A. Charles County. La Plata, I believe.                      10      Q. All are in Waldorf?
11    Q. And I assume you were seen by healthcare                  11      A. Um-hum. Yes. Sorry.
12 providers there?                                                12      Q. That's okay. Prior to March of
13    A. Yes.                                                      13   2016 -- well, strike that.
14    Q. Okay. And what did those healthcare                       14          I recall reading in your Answers to
15 providers do regarding the ruptured cyst on your                15   Interrogatories that you had been hospitalized in
16 ovary?                                                          16   2015 for a slip and fall; is that corr- -- is that
17    A. Gave me antibiotics.                                      17   accurate?
18    Q. And did the antibiotics have their                        18      A. Oh, yeah. I'm sorry.
19 intended effect and resolve the cyst?                           19      Q. And you described that incident as you
20    A. Well, I'm no longer in pain. I never                      20   lost your footing and fell resulting in
21 went to a follow-up appointment to find out.                    21   hospital -- hospitalization for approximately one
                                                         Page 47                                                       Page 49
 1    Q. Do you happen to recall the names of any                   1 week at Washington Hospital Center, correct?
 2 of the healthcare providers who saw you at the                   2     A. Yes.
 3 emergency department?                                            3     Q. And any injuries you sustained as a
 4    A. No.                                                        4 result of the slip and fall, have those since
 5    Q. Have you at any time been seen by a                        5 resolved?
 6 primary care provider that we haven't otherwise                  6     A. Yes.
 7 discussed?                                                       7     Q. So, you don't have any lingering back
 8    A. No.                                                        8 issues or bone issues?
 9    Q. Other than Dr. Moore and Dr. Akoda, who                    9     A. Not that I can contribute to that.
10 we're going to talk about, have you been seen by                10 That -- I mean, I'm not a medical professional, so
11 any other OGB -- OB/GYN that we have not otherwise              11 I wouldn't know why my back was hurting.
12 discussed?                                                      12     Q. The next series of questions I'm asking
13    A. No.                                                       13 for information just known by you or evidence that
14    Q. I know you've told me about the mental                    14 you have, not information that was shared by your
15 health treatment you've been receiving. Other than              15 attorney or that has been provided by your
16 that, have you -- since your alleged involvement                16 attorney; is that fair?
17 with Dr. Akoda -- seen any healthcare provider of               17     A. Yes.
18 any kind for any issue you claim is related to your             18     Q. Okay. What evidence do you have
19 involvement with Dr. Akoda?                                     19 regarding Dr. Akoda's background?
20    A. No.                                                       20     A. None.
21    Q. And the four medications we discussed,                    21     Q. What evidence do you have regarding
                                                                                                              JA503
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 1   whether Dr. Akoda was licensed in Maryland?            1    Q. Do you know what ECFMG certification
 2      A. None.                                            2 stands for?
 3      Q. What evidence -- evidence do you have            3    A. No.
 4   regarding whether Dr. Akoda was licensed to            4    Q. It stands for the Educational Commission
 5   practice medicine in Virginia?                         5 for Foreign Medical Graduates. Were you aware that
 6      A. None.                                            6 to be certified a foreign medical graduate takes
 7      Q. What evidence do you have regarding              7 an -- an examination administered by ECFMG?
 8   Dr. Akoda's training as a medical doctor?              8    A. No.
 9      A. None.                                            9    Q. Do you know whether Dr. Akoda took such
10      Q. Do you know whether Dr. Akoda went to           10 an examination?
11   medical school?                                       11    A. No.
12      A. I'm not aware. I don't -- I'm not aware         12    Q. How many times he successfully passed the
13   if he went to medical school.                         13 examination?
14      Q. Do you know where Dr. Akoda did his             14    A. No.
15   residency?                                            15    Q. Do you have any evidence regarding how
16      A. No.                                             16 many times Dr. Akoda took the examination?
17      Q. Do you know what a residency is?                17    A. No.
18      A. I think so. To become a -- it's like an         18    Q. Do you have any evidence regarding under
19   internship for doctors.                               19 which what names Dr. Akoda took the examination?
20      Q. Do you know whether Dr. Akoda                   20    A. No.
21   successfully completed a residency?                   21    Q. Do you know whether Dr. Akoda was
                                                 Page 51                                                     Page 53
 1    A. No.                                                1 certified by ECFMG?
 2    Q. Do you know if he passed all national              2    A. No.
 3 examinations to complete a residency?                    3    Q. Is all of the information you have
 4    A. No.                                                4 regarding Dr. Akoda limited to that information
 5    Q. Do you know whether Dr. Akoda was board            5 which has been provided to you by your counsel?
 6 certified by the American Board of Obstetrics and        6    A. Yes.
 7 Gynecology?                                              7    Q. The next series of questions, if you will
 8    A. No.                                                8 just give your attorney time to object, I want to
 9    Q. Do you know what is entailed in becoming           9 be fair.
10 board certified?                                        10       How did you come to be a client of
11    A. No.                                               11 Schochor, Federico and Staton?
12    Q. Were you aware that Dr. Akoda took                12       MS. CLARY: I'm going to object. I'm
13 written and oral examinations and passed them to        13 going to let you answer up to the point that you
14 become board certified?                                 14 made first contact with us.
15    A. No.                                               15       I assume what you're asking her is to
16    Q. What do you know about when Dr. Akoda             16 talk about how she got -- made her way here?
17 began using the name Akoda?                             17       MR. CATHELL: Let me -- let me rephrase
18    A. Nothing.                                          18 the question.
19    Q. Do you know why Dr. Akoda began using the 19 BY MR. CATHELL:
20 name Akoda?                                             20    Q. What -- when was the first you learned of
21    A. No.                                               21 allegations surrounding Dr. Akoda?
                                                                                                     JA504
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 1    A. On the radio.                                           1       MS. CLARY: I'm going to object to the
 2    Q. And do you recall when that was?                        2 extent I think that now is going into discussions
 3    A. Maybe fall of '18, but I can't be sure.                 3 that she would have had with counsel.
 4    Q. Do you recall which radio station you                   4       So, you can answer if you have an
 5 were listening to?                                            5 understanding outside of any conversation you've
 6    A. 93.9.                                                   6 had with anybody here at this law firm. Do you
 7    Q. And do you recall what the advertisement                7 understand what -- how I'm directing you? He
 8 said?                                                         8 wants --
 9    A. Not verbatim, of course, but something to               9       MR. CATHELL: Let me try to ask a better
10 the effect of, Doc -- Dr. Akoda -- if you were seen          10 question.
11 by Dr. Akoda or something to that effect.                    11       MS. CLARY: Okay.
12    Q. If you were seen by Dr. Akoda?                         12 BY MR. CATHELL:
13    A. Contact -- I -- I -- I can't remember                  13    Q. Prior to making the telephone call to
14 exactly.                                                     14 this law firm, --
15    Q. And what did you do based on that                      15    A. Um-hum.
16 advertisement?                                               16    Q. -- did you have an understanding of what
17    A. I discussed it with my husband, and then               17 the lawsuit was about?
18 we contacted the lawyer's office.                            18    A. No.
19    Q. How long between the time you heard the                19    Q. Is any information you have regarding
20 radio advertisement did you wait before calling the          20 what the lawsuit about -- lawsuit is about
21 number that was on the advertisement?                        21 information that was provided to you by your
                                                      Page 55                                                      Page 57
 1         MS. CLARY: You can answer that.                       1 attorney as compared to information you saw on TV
 2         THE WITNESS: The next day.                            2 or the Internet?
 3 BY MR. CATHELL:                                               3       MS. CLARY: I'm going to object. Just
 4    Q. And do you recall which law firm you                    4 by the way you've phrased this, it's soliciting her
 5 spoke to when you made that initial call?                     5 testifying about what information she got from us.
 6    A. This law firm.                                          6 So, I'm not sure that she can parse that out with
 7    Q. Do you recall whether the radio                         7 the way that you phrased the question, so --
 8 advertisement said anything, other than if you were           8 BY MR. CATHELL:
 9 a patient of Dr. Akoda, you should call this                  9    Q. Since -- since hearing the radio
10 certain telephone number? In other words, did it             10 advertisement, have you seen -- have you heard any
11 say, state any allegations regarding Dr. Akoda?              11 other radio advertisements regarding Dr. Akoda?
12    A. I really can't recall.                                 12    A. Like from other law firms? Just in
13    Q. Other than the radio advertisement we've               13 general?
14 discussed, did you --                                        14    Q. Just any radio advertisements.
15    A. Can I go back? It didn't say anything                  15    A. Oh, yes.
16 about allegations, because I wasn't sure. I                  16    Q. Okay. And what did those radio
17 thought that it was like for a sexual assault or             17 advertisements say?
18 something. I wasn't exactly sure what the -- the             18    A. They -- a class action suit against
19 lawsuit was about.                                           19 Charles Akoda, if you saw this doctor, give us a
20    Q. When did you first become aware of what                20 call type situation.
21 the lawsuit was about?                                       21    Q. Did any of the radio advertisements state
                                                                                                           JA505
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 1 the substance of the allegations surrounding                1    Q. Do you have any evidence that Dr. Akoda
 2 Dr. Akoda?                                                  2 lacked OB/GYN training or skills?
 3    A. No.                                                   3    A. No.
 4    Q. Have you at any time seen any television              4    Q. How did you become aware of Dr. Akoda as
 5 advertisements regarding the allegations pertaining         5 an OB/GYN?
 6 to Dr. Akoda?                                               6    A. He came into my room as I was about to
 7    A. No.                                                   7 deliver my son.
 8    Q. Did you at any time conduct an Internet               8    Q. And it's my understanding from your
 9 search regarding the allegations involving                  9 medical chart that you had been receiving prenatal
10 Dr. Akoda?                                                 10 care from Dr. Moore; is that correct?
11    A. Yes.                                                 11    A. Correct.
12    Q. Okay. And tell me what you did.                      12    Q. And it's my understanding from your
13    A. Well, I -- once I found out what                     13 medical chart, and other information, that your
14 the -- you know, what the allegations were, I              14 first, and only, contact with Dr. Akoda occurred
15 looked him up, and I just wanted to see what the           15 immediately prior to and during the birth of your
16 story was behind it and what his real name was.            16 child; is that correct?
17 You know, I was just doing my own research on the 17             A. Correct.
18 person who --                                              18    Q. And do you recall when you presented to
19    Q. And what did you discover?                           19 the Prince George's County Hospital Center to
20    A. I didn't discover anything new that                  20 deliver your child?
21 wasn't -- that I didn't know already. I just               21    A. On March 16th.
                                                    Page 59                                                      Page 61
 1 discovered that he wasn't who he said he was when           1    Q. When you first presented to Prince
 2 he told me who he said he was -- who he was what he 2 George's County Hospital Center, you were seen by
 3 said he was.                                                3 Dr. Moore, correct?
 4    Q. Anything else?                                        4    A. No.
 5    A. No.                                                   5    Q. If your medical records -- are you sure
 6    Q. Other than the radio advertisements that              6 you returned to PG County Hospital Center for
 7 we've talked about and your Internet search and any         7 delivery on March 16th compared to March 14, 2016,
 8 communications from your attorneys, have you                8 for example?
 9 received any additional information regarding the           9    A. Yeah.
10 substance of the allegations against Dr. Akoda?            10    Q. Who was the first healthcare provider
11    A. No.                                                  11 that you came into contact with on March 16?
12    Q. I asked you earlier if Dr. Akoda -- if               12    A. A nurse. I don't -- it was a nurse up
13 you knew whether Dr. Akoda had gone to                     13 until my water broke.
14 medical -- medical school or residency. Do you             14       THE WITNESS: I'm sorry, am I doing that
15 have an understanding or belief whether he had             15 to your computer? I was shaking it. I'm sorry.
16 gone -- undergone any medical training?                    16 BY MR. CATHELL:
17    A. No. I just assumed that if he was at the             17    Q. And when did you first come into contact
18 hospital, he would have training.                          18 with Dr. Akoda? Immediately after your water
19    Q. Do you know whether Dr. Akoda was trained 19 broke?
20 as an OB/GYN?                                              20    A. About that, yes.
21    A. No.                                                  21    Q. And did you know that Dr. Moore would not
                                                                                                       JA506
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 1 be present?                                                 1    A. That was it. He was in and out of the
 2    A. No.                                                   2 room a lot up until I actually started pushing.
 3    Q. And describe for me your interaction with             3 So, he was just in and out a lot, so it really
 4 Dr. Akoda on --                                             4 wasn't a lot of him explaining or introducing
 5    A. And it was 3-17 at this point.                        5 himself.
 6    Q. March -- right, on March 17, 2016.                    6    Q. Okay. What happened next?
 7    A. He came in the room, and they set the                 7    A. So, then it's time for delivery. So, I
 8 room up for delivery. What else do you need to              8 was pushing. It was only -- it wasn't a nurse in
 9 know? What else are you asking? I'm sorry.                  9 the room at the time. It was just the doctor and
10    Q. Describe your interaction with Dr. Akoda.            10 my husband and my mom, and we were -- I'm pushing
11 Tell me what happened when he came in the room             11 and pushing, but my son wasn't coming out. That
12 and -- and the care and treatment he provided to           12 went on for several hours. And in the process, he
13 you.                                                       13 started -- I don't know how to say it. I don't
14    A. He just said that he would be delivering             14 know how to say it.
15 my baby, that he was the doctor on call. He had            15       MS. CLARY: Do the best you can.
16 been there at the hospital for 16, 18 hours at that        16       THE WITNESS: Just say it?
17 time, and he would just be in charge of delivery.          17       MS. CLARY: Just say it.
18    Q. Did you have an understanding as to                  18 BY MR. CATHELL:
19 whether Dr. Akoda and Dr. Moore had a professional 19            Q. We're -- we're all adults here.
20 relationship?                                              20    A. I know, but it's just weird. He started
21    A. No. My understanding was that he was                 21 like fondling with my lady parts, and my husband
                                                    Page 63                                                          Page 65
 1 there on behalf of the hospital.                            1 was asking him, like, why are you doing that? And
 2    Q. And what led you to -- to arrive at that              2 he said that it was to stim- -- stimulate the baby
 3 understanding?                                              3 coming out, because my son wasn't coming out.
 4    A. Because he had said he had already been               4        MS. CLARY: Do you need a break?
 5 there for hours, which means that he wasn't there           5        THE WITNESS: (Shaking head no.)
 6 for me.                                                     6        MS. CLARY: Okay. Brian, I am going to
 7    Q. Did you have any indication as to whether             7 need a break at some point.
 8 Dr. Akoda and Dr. Moore worked together?                    8        MR. CATHELL: Let's -- let's take a
 9    A. No.                                                   9 break.
10    Q. Was March 17, 2016 your only interaction             10        MS. CLARY: -- so --
11 with Dr. Akoda?                                            11        MR. CATHELL: And then -- and then we can
12    A. Yes.                                                 12 just pick up where we've left off.
13    Q. What evidence, other than the statement              13        MS. CLARY: If you want to finish like a
14 you told me that Dr. Akoda made, do you have that          14 section, I can wait, but I just do need a bathroom
15 Dr. Akoda was affiliated with the hospital?                15 break, and I apologize.
16    A. None. That's just my assumption when you             16        MR. CATHELL: Okay.
17 go to a hospital.                                          17        MS. CLARY: Do you want to finish?
18    Q. I believe we left off Dr. -- when                    18        MR. CATHELL: Yeah.
19 Dr. Akoda said that he would be performing your            19        THE VIDEOGRAPHER: Off the record.
20 delivery. Can you tell me what happened next,              20        MS. CLARY: Well, hold on one second just
21 please?                                                    21 while we decide.
                                                                                                              JA507
                                                                                                       17 (Pages 62 - 65)
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 1        MR. CATHELL: Yes, let me finish up just                1 the room? Healthcare providers meaning nurses,
 2 this area.                                                    2 aides, --
 3        MS. CLARY: Okay.                                       3    A. No.
 4 BY MR. CATHELL:                                               4    Q. -- what have you in the
 5    Q. So, understanding that it's                             5 five-to-six-minute period?
 6 difficult --                                                  6    A. No.
 7    A. Um-hum.                                                 7    Q. When your husband asked Dr. Akoda what he
 8    Q. -- or, frankly, not understanding                       8 was doing, and Dr. Akoda allegedly explained why he
 9 actually, but -- and I'm certainly not trying to              9 was doing that, did Dr. Akoda continue to touch you
10 embarrass you, --                                            10 in that way?
11    A. Um-hum.                                                11    A. Not as frequently. So, it was like
12    Q. -- but it's a claim that you're making in              12 before he just kept -- you know, it was like every
13 the case.                                                    13 few seconds he was doing that, and then once my
14    A. I understand.                                          14 husband said something, it wasn't -- he still did
15    Q. And so I would ask you to describe for me              15 it, but it was like maybe one or two times after
16 when you say -- I think you said fuddling with your          16 that.
17 lady parts. Is there any better description you              17    Q. Did Dr. Akoda say anything to you during
18 can give us --                                               18 that time while he was touching you in that manner?
19    A. He --                                                  19    A. Like telling me to, push, push. He
20    Q. -- as to what he was doing?                            20 was -- and he was calling me Baby and Momma, which
21    A. -- he was fingering my clitoris, I                     21 also was uncomfortable.
                                                      Page 67                                                           Page 69
 1 guess, --                                                     1    Q. Did he say anything else to you?
 2    Q. Okay.                                                   2    A. No.
 3    A. -- if that makes sense.                                 3    Q. Did Dr. -- strike that.
 4    Q. And how -- how long was he doing that                   4         Are you alleging any additional sexual
 5 for?                                                          5 impropriety on behalf of Dr. Akoda, other than what
 6    A. He would do it for like a few seconds,                  6 you've described for me?
 7 and then stop, and then go back and do it again for           7    A. No.
 8 a few -- a few seconds, and then stop.                        8    Q. To your knowledge, are there any audio
 9    Q. And --                                                  9 recordings of the statements or video recordings of
10    A. And that lasted for maybe five or six                  10 the acts that you've described?
11 minutes, I guess. I'm just -- I'm just throwing a            11    A. No.
12 number out there, before my husband was like, Yo,            12    Q. Did you -- did you report Dr. Akoda's
13 like, what are you doing, Man? And then that's               13 behavior to anyone?
14 when he said that he -- my son wasn't coming out,            14    A. I didn't.
15 so he had -- that was a way for him to                       15    Q. To your knowledge, did your husband or
16 stim- -- stimulate; lubrication I guess. I don't             16 your mother report Dr. Akoda's behavior to anyone?
17 know.                                                        17    A. No, sir.
18    Q. And present in the room during this time               18    Q. Did -- I think we covered it in the last
19 were your husband and your mother?                           19 question, but I just want to be clear for the
20    A. My mom. Um-hum.                                        20 record. Did you make any type of claim arising
21    Q. Were any other healthcare providers in                 21 from Dr. Akoda's behavior that you've just
                                                                                                              JA508
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 1 described?                                                       1       MS. CLARY: That's okay.
 2    A. No.                                                        2 BY MR. CATHELL:
 3    Q. Did you contact, you or your husband or                    3    Q. And we had talked earlier about time that
 4 your mother, to your knowledge, contact any police               4 you had been missing from work?
 5 department or law enforcement department regarding               5    A. Yes.
 6 the alleged sexual contact?                                      6    Q. And I wanted to come back to that, and
 7    A. No.                                                        7 now that we know, generally, when you started
 8    Q. To your knowledge, were there any                          8 seeing Dr. Smith, I'd like to try to nail down time
 9 additional witnesses to any of the alleged                       9 frames, as best we can, as to when you started
10 inappropriate contact, other than those that you've             10 missing work.
11 told me about?                                                  11    A. Okay.
12    A. Not to my knowledge, no.                                  12    Q. Okay. When -- and I -- I believe you
13    Q. Did any other healthcare provider or                      13 told us that you heard the radio advertisement in
14 person that was around at the same time that you                14 either the fall of 2017 or the fall of 2018. Can I
15 and Dr. Akoda were together make any statements                 15 assume that because you started seeing Dr. Smith in
16 regarding Dr. Akoda?                                            16 February of 2018, you would have heard the radio
17    A. No, not that I can recall.                                17 advertisement in the fall of 2017?
18        MR. CATHELL: Do you want to take a                       18    A. No. I was seeing Dr. Smith before I
19 break?                                                          19 heard the advertisement.
20        MS. CLARY: If you don't mind.                            20    Q. Okay. And what caused you to go see
21        THE VIDEOGRAPHER: Stand by. The time is                  21 Dr. Smith?
                                                         Page 71                                                         Page 73
 1 now 11:14, and we are off the record.                            1    A. I was -- I was very sad and depressed and
 2        (Recess taken -- 11:14 a m.)                              2 anxious and having a hard time working. I was
 3        (After recess -- 11:23 a m.)                              3 missing a lot -- starting to miss a lot of time
 4        THE VIDEOGRAPHER: The time is now 11:23,                  4 from work, and I went to go see her to see if I
 5 and we are back on the record.                                   5 could get treatment and also to see if I can get
 6        You lost your microphone. The clip is                     6 FMLA to help with the time that I was missing from
 7 still there. The mic fell off.                                   7 work.
 8        MS. CLARY: We had a clip problem                          8    Q. And how long had you felt depressed,
 9 yesterday, and I'm just wondering if he's just                   9 anxious, and been missing work prior to seeing her
10 trying to steal a clip.                                         10 in February of 2018?
11        MR. CATHELL: It's just what I need,                      11    A. Maybe like a year.
12 right?                                                          12    Q. So, starting approximately in February
13        MS. CLARY: That's right.                                 13 2017, you began feeling depressed, anxious, and
14 BY MR. CATHELL:                                                 14 missing time from work?
15    Q. All right. So, we established -- I want                   15    A. Yes.
16 to back up just a few topics, Ms. Evans. We                     16    Q. And can you describe for us what it was
17 established that you started seeing Dr. Smith in                17 that was making you feel anxious and depressed?
18 February of 2018, correct?                                      18    A. No. Just every day life. Like any
19    A. Um-hum.                                                   19 things that didn't bother me before, like started
20        MS. CLARY: Yes?                                          20 bothering me. I started noticing a decline in my
21        THE WITNESS: Yes. Sorry.                                 21 social interaction with people and not -- just not
                                                                                                              JA509
                                                                                                       19 (Pages 70 - 73)
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 1 wanting to be bothered.                                      1 out to someone beforehand to discuss what had
 2    Q. Do you know what was causing those                     2 happened to me. So, it declined significantly.
 3 symptoms at that time?                                       3    Q. And tell me how it declined
 4    A. No. No.                                                4 significantly.
 5    Q. Were you working full-time at that time?               5    A. I became more withdrawn, more anxious,
 6    A. Yes.                                                   6 and definitely I don't want -- I didn't want to see
 7    Q. Was your husband working full time at                  7 a doctor after that.
 8 that time?                                                   8    Q. And how many days from work did you miss
 9    A. Yes.                                                   9 in 2017, given your testimony that in February of
10    Q. And what was happening with --                        10 2017 you began feeling depressed, anxious, and
11        MS. CLARY: Peyton?                                   11 started missing time from work?
12 BY MR. CATHELL:                                             12    A. I don't know how many days. It was
13    Q. -- Peyton while you both were working                 13 enough for me to use my PTO to where my job had to
14 full time?                                                  14 extend an additional ten unpaid days for me.
15    A. Peyton has always stayed home with me. I              15    Q. Now, I assume that was accommodated
16 work from home.                                             16 without the use of FMLA?
17    Q. Do you currently still work from home?                17    A. Correct.
18    A. I do.                                                 18    Q. In 2018, how many days did you miss from
19    Q. And have you worked from home at all                  19 work, if you recall?
20 times since March of 2016?                                  20    A. I don't know how many days, but I do know
21    A. Yes.                                                  21 that my PTO was just used before the end of the
                                                     Page 75                                                       Page 77
 1    Q. So, you had been seeing Dr. Smith prior                1 year -- before September.
 2 to learning of the allegations surrounding                   2    Q. And tell me what happened in September.
 3 Dr. Akoda?                                                   3    A. Well, I'm just saying before September it
 4    A. Correct.                                               4 was done. I'm just giving you a timeline of how
 5    Q. Had you been prescribed medication by                  5 much -- how fast I used it.
 6 Dr. Smith prior to learning of the allegations               6    Q. Sure. Did there come a point in time
 7 surrounding Dr. Akoda?                                       7 after you had extinguished your PTO that you needed
 8    A. Yes.                                                   8 additional days?
 9    Q. Once learning of the allegations                       9    A. Um-hum.
10 involving Dr. Akoda, how did your mental health             10    Q. Okay. And --
11 change at all, if it did?                                   11       MS. CLARY: You have to say yes.
12    A. I want to say it got worse, because I                 12       THE WITNESS: Oh, I'm sorry. Yes.
13 started to understand why I was feeling the way             13 BY MR. CATHELL:
14 that I was feeling, and also, I felt stupid                 14    Q. And how did your employer accomplish
15 because -- because at first, I didn't know what the         15 that, if they did?
16 allegations were. I just knew that it was                   16    A. They -- they don't. They don't. So,
17 Dr. Akoda, and I knew what he had done to me. So, 17 that's -- that's -- they were able to extend me an
18 I was assuming that that's what the allegations             18 additional ten days of unpaid time off.
19 were about.                                                 19    Q. Also in 2018?
20        So, it made me feel -- before contacting             20    A. Um-hum, (Nodding head yes.)
21 them, it made me feel stupid that I didn't reach            21       MS. CLARY: Yes?
                                                                                                          JA510
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 1 BY MR. CATHELL:                                                1    A. Yes.
 2       Q. Okay.                                                 2    Q. And is there a certain amount of time
 3       A. Yes. Sorry.                                           3 that your employer, in complying with FMLA, has
 4          MS. CLARY: That's okay. Everybody does                4 ensured you that you can miss per year without
 5 it.                                                            5 losing your position or suffering another demerit,
 6          THE WITNESS: I'm old. I keep                          6 if you will?
 7 forgetting.                                                    7    A. No. I have to renew my FMLA every six
 8          MS. CLARY: Everybody does it, young and               8 months, and I'm also on ADA.
 9 old.                                                           9    Q. And how is that assisting you?
10 BY MR. CATHELL:                                               10    A. Well, it -- that's how I'm able to work
11       Q. So, in your Answers to Interrogatories,              11 from home, and it assists with my anxiety a lot
12 as well as potentially in the Complaint, I can't              12 being around people.
13 represent that I know the specific part of the                13    Q. Prior to giving birth in March of 2016,
14 Complaint attributed to you, but there's a, a                 14 were you working from home?
15 discussion of a lost wages claim. So, that's what             15    A. No.
16 I'm trying to understand is, how much time you're             16    Q. Did you ever work from home prior to
17 missing from work. You're using your PTO and then             17 March of 2016?
18 any accommodations your -- your employer is making,           18    A. No.
19 as well as actual time off --                                 19    Q. So, following the birth of your
20       A. Um-hum.                                              20 first -- of your child, Peyton, is when you began
21       Q. -- okay?                                             21 staying home, correct?
                                                       Page 79                                                      Page 81
 1       A. Um-hum. Yes.                                          1    A. Yes.
 2       Q. All right. So, you used your PTO in                   2    Q. Or working from home?
 3 2018. You were then extended ten additional unpaid             3    A. Yes.
 4 days in 2018?                                                  4    Q. So, as I understand your testimony, in
 5       A. Yes.                                                  5 2018, you're claiming lost wages for approximately
 6       Q. Did you miss any time, in addition to                 6 25 unpaid days; is that correct?
 7 your PTO and those ten unpaid days?                            7    A. Yes.
 8       A. Yes.                                                  8    Q. And carrying over into 2019, we talked
 9       Q. How many days did you miss in addition?               9 earlier that you've used your paid time off?
10       A. I'm going to say an additional 15 days,              10    A. Yes.
11 maybe. I can't really say what for sure, but it's             11    Q. Have you also been extended ten
12 quite often.                                                  12 additional days of unpaid leave?
13       Q. And I assume those days were unpaid?                 13    A. No. They don't do that any more.
14       A. Yes.                                                 14    Q. How many days in addition to
15       Q. And as a result of missing that time, has            15 your -- strike that.
16 your employer taken any adverse action regarding              16       How many days over your PTO have you
17 your employment status?                                       17 taken off in 2019?
18       A. No. That's why I needed to get FMLA.                 18    A. What is this, March? Give me a second.
19       Q. And when did you get FMLA?                           19 Maybe 24 days. I'm just -- I'm doing an
20       A. February of '18.                                     20 approximate six days a month times four.
21       Q. February of 2018?                                    21    Q. Okay. So, it's March --
                                                                                                              JA511
                                                                                                       21 (Pages 78 - 81)
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 1    A. So, three -- so 18.                                    1 opinion that you cannot work because of your
 2    Q. So, if -- are -- the 18 or 24 days, is                 2 anxiety?
 3 that including the PTO that you told me I think was          3       A. Yes.
 4 15 days?                                                     4       Q. Okay. And which healthcare provider was
 5    A. Um-hum, (Nodding head yes.)                            5 that?
 6       MS. CLARY: Yes.                                        6       A. Dr. Donato.
 7 BY MR. CATHELL:                                              7       Q. And he was your psychologist?
 8    Q. Okay.                                                  8       A. Yes.
 9    A. Yes.                                                   9       Q. And did he also offer the opinion that
10       THE WITNESS: Sorry.                                   10 you couldn't work because of your depression?
11       MS. CLARY: That's okay.                               11       A. Yes.
12 BY MR. CATHELL:                                             12       Q. And has he declared that you can't work
13    Q. All right. So, in that scenario,                      13 as a result of any other condition?
14 understanding that you're estimating, we would be           14       A. No.
15 talking about three unpaid days to nine unpaid              15       Q. Do you recall what Dr. Akoda looked like?
16 days; is that correct?                                      16       A. Yeah.
17    A. Yes.                                                  17       Q. Can you just briefly describe his
18    Q. Okay. And what is -- what is causing you              18 appearance for me?
19 to take that time off?                                      19       A. Tall, African with glasses.
20    A. Sometimes -- sometimes I just can't get               20       Q. Did he speak with an accent, do you know?
21 out of bed; other times I actually get to work and          21       A. Yes.
                                                     Page 83                                                         Page 85
 1 can't focus on what's going on. Other days I                 1       Q. And it's my understanding from your
 2 just -- I don't feel well enough to get up. I                2 records that your child was delivered successfully,
 3 just -- I'm depressed or my anxiety -- or I'm not            3 and healthy, and without complication; is that
 4 sleeping at night, so I can't get up in the                  4 correct?
 5 morning. And a lot of times if I deal with a                 5       A. Yes.
 6 person over the phone -- if I deal with a person             6       Q. Did you have any additional interactions
 7 over the phone, it can -- in a -- in a negative              7 with Dr. Akoda that we haven't otherwise discussed?
 8 way, it affects me emotionally like for the rest of          8       A. No.
 9 the day. So, I can't go back to work sometimes.              9       Q. Do you recall when you were admitted to
10       I mean, it really just depends because                10 the OB service at PG County Hospital Center on
11 anything can trigger me feeling sad or depressed or         11 March 16, 2016 that you were --
12 worthless.                                                  12          MS. CLARY: Excuse me.
13    Q. And if you were -- so, because you're                 13 BY MR. CATHELL:
14 working from home, I assume when you were talking 14                 Q. -- that you executed a consent form?
15 about taking time off, you're calling in saying             15       A. I'm -- I'm assuming. I guess I did sign
16 that you're not available to work that day --               16 it.
17    A. Correct.                                              17          (Whereupon, Evans Deposition Exhibit 2,
18    Q. -- from home, correct?                                18 Consent Form, marked for identification.)
19    A. Correct. Yeah. We're talking about                    19 BY MR. CATHELL:
20 going downstairs from my bedroom to my office; yes. 20               Q. I'm going to show you what's been marked
21    Q. Has any healthcare provider given you the             21 as Defense Exhibit 2. The first page has the
                                                                                                           JA512
                                                                                                    22 (Pages 82 - 85)
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 1 exhibit sticker on it.                                        1 Center in March of 2016?
 2    A. Um-hum.                                                 2    A. Yes.
 3    Q. The second page, I will ask you if you                  3    Q. Okay. And describe that contention for
 4 can identify the signature, which is on the                   4 me, please.
 5 left-hand column towards the bottom, please.                  5    A. I wasn't feeling like that beforehand.
 6         (Whereupon, there was a pause for                     6 The experience that I had with him left --
 7 document examination.)                                        7    Q. Him being, just so the record is clear?
 8         THE WITNESS: Yes.                                     8    A. Him being Dr. Akoda. I'm sorry. The
 9 BY MR. CATHELL:                                               9 experience I had with Dr. Akoda left me feeling
10    Q. Is that your signature on the second                   10 uncomfortable with any kind of medical professional
11 page?                                                        11 directly after that. I didn't even go for a
12    A. Yes.                                                   12 six-week check-up. And me not knowing what to do
13    Q. Also, on the first page, the top                       13 about how I -- how I felt I was treated during the
14 paragraph, there is a paragraph starting with                14 delivery of my son with the sexual things that he
15 the -- in all capital letters, Physicians Not As             15 were doing -- he was doing, I didn't know how to
16 Employees. Would you agree that those are your               16 handle that. I didn't know if it was the right
17 init- -- your initials at the conclusion of that             17 thing to do. I don't know if he was supposed to do
18 paragraph?                                                   18 that, so I was going through a lot of stuff while
19    A. Yes.                                                   19 trying to raise a newborn just by going through
20    Q. Did you ever see Dr. Moore -- strike                   20 that whole -- that whole scenario.
21 that.                                                        21    Q. That whole scenario being?
                                                      Page 87                                                        Page 89
 1         Were you ever seen by Dr. Moore at                    1    A. The -- the sex -- the way he treated me
 2 Dr. Moore's private practice?                                 2 sexually, the way that my son -- like I pushed my
 3    A. Yes.                                                    3 son out was -- my son -- I was in delivery for 12
 4    Q. Was there anything in Dr. Moore's private               4 hours before they took me to -- before they took me
 5 practice that led you to believe he was affiliated            5 for a C-section, so it was -- it was just a, a very
 6 with the Prince George's County Hospital Center?              6 long process that was draining, and I didn't leave
 7    A. At his office, no, but that's what he                   7 the hospital with the best -- like this was the
 8 told me.                                                      8 best-day-of-my-life feeling.
 9    Q. That's what Dr. Moore told you?                         9    Q. Did you report the -- did you report the
10    A. Yeah. That was the reason that's where                 10 inappropriate contact by Dr. Akoda to your
11 my delivery was scheduled.                                   11 psychiatrist, Dr. Smith, I believe?
12    Q. And what did he tell you?                              12    A. Yes.
13    A. That that's where he had privileges.                   13    Q. Did you report it to Dr. Nnamani?
14    Q. Is it -- is it your contention that you                14    A. Yes.
15 were suffering from depression, anxiety, and the             15    Q. And did you report it to your
16 sleepless nights prior to learning of the                    16 psychologist, Dr. Donato?
17 Akoda -- the allegations surrounding Dr. Akoda?              17    A. Yes.
18    A. Yes.                                                   18    Q. The Answers to Interrogatories we have
19    Q. Is it your contention that you were                    19 been referencing were received by us in July of
20 suffering those things as a result of your                   20 2018, so presumably you signed them before that
21 experience at Prince George's County Hospital                21 date, correct?
                                                                                                            JA513
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 1    A. Yes.                                                 1 2016 did not comply with the standard of care?
 2    Q. Does that in any way refresh your                    2    A. No.
 3 recollection as to when you would have first               3    Q. You would agree that when Dr. Akoda came
 4 learned of the allegations surrounding Dr. Akoda as        4 in to care for you, you agreed to allow him
 5 a result of the radio advertisement you described?         5 to -- to deliver your child and, otherwise, provide
 6    A. June or July of '18 or June or July of               6 medical care to you?
 7 that year.                                                 7    A. Yes.
 8    Q. Is it correct to say that you never                  8    Q. Have you researched or learned of any
 9 discussed with Dr. Akoda the subject of hospital           9 additional information regarding his privileging
10 privileges?                                               10 status, other than that which has been provided by
11    A. Is it safe to say that?                             11 your attorneys?
12    Q. Yes.                                                12    A. No.
13    A. Yes. Yeah, I didn't discuss that.                   13    Q. Did anything Dr. Akoda do on March 17th,
14    Q. Did you ever ask to see Dr. Akoda's                 14 2016 make you feel that he was not medically
15 driver's license?                                         15 qualified to care for you?
16    A. No.                                                 16       MS. CLARY: Objection. Other than what
17    Q. His passport?                                       17 she's testified to?
18    A. No.                                                 18 BY MR. CATHELL:
19    Q. Did you ever ask if Dr. Akoda had any               19    Q. Other than what you've testified to?
20 names, other than Dr. Akoda?                              20    A. Other than what I've testified to, no.
21    A. No.                                                 21    Q. Did you confront Dr. Akoda directly
                                                   Page 91                                                     Page 93
 1    Q. Did you see Dr. Akoda interact with staff            1 regarding the alleged inappropriate contact?
 2 on any occasions?                                          2    A. No. My husband did, and I didn't know
 3    A. No. Not interaction, no. Just in and                 3 how to -- I didn't know what to do about it,
 4 out the room preparing to get the room set up for          4 actually.
 5 delivery.                                                  5    Q. Did you at any time fire Dr. Akoda?
 6    Q. Did you see Dr. Akoda perform or act                 6    A. Fire him?
 7 inappropriately towards staff at any point?                7    Q. As your physician.
 8    A. No.                                                  8    A. He wasn't my physician to fire him.
 9    Q. You would agree that your -- the delivery            9    Q. Did you have -- I'm sorry. Go ahead.
10 of Peyton was successful?                                 10    A. No, I was just saying, he wasn't my
11    A. Yeah, meaning that Peyton is fine, and he           11 physician to fire him.
12 came out fine, but there were -- like I said, I was       12    Q. At any time while Dr. Akoda was caring
13 in labor for several hours before I actually had          13 for you on March 17, 2016, did you ask for another
14 the C-section. So, it was -- it seemed like there         14 physician to render assistance to you?
15 might have been some complications in that process, 15          A. No. I was in labor, sir.
16 because they could have just took me for a                16    Q. These are not judgmental questions.
17 C-section instead of having me push for all that          17    A. Okay.
18 time.                                                     18    Q. I'm just asking questions --
19    Q. Okay. Has -- has anyone given you -- has            19    A. Oh, no.
20 any medical provider or medical expert given you          20    Q. -- that we believe are pertaining to
21 the opinion that Dr. Akoda's actions on March 17,         21 class certification.
                                                                                                        JA514
                                                                                                 24 (Pages 90 - 93)
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 1    A. No.                                                     1 fact. I started realizing that it wasn't something
 2    Q. We've established that at no time did you               2 that was related to just the natural things of a
 3 report the event to anyone, other than your                   3 woman giving birth, if that makes sense.
 4 husband, who was, obviously, witnessing it,                   4    Q. I can't pretend to --
 5 correct?                                                      5    A. To know --
 6    A. Correct.                                                6    Q. -- to know about giving birth and making
 7    Q. Do you know of anyone else accusing                     7 sense, but I -- so, you -- the -- the symptoms
 8 Dr. Akoda of sexual impropriety?                              8 became apparent to you in February 2017, and it's
 9    A. No.                                                     9 my understanding that you first saw Dr. Smith in
10    Q. Did any of the advertisements you heard                10 February of 2018?
11 mention or discuss claims of sexual impropriety              11    A. (Nodding head yes.)
12 against Dr. Akoda?                                           12    Q. Between February of 2017 and 2018, what
13    A. No.                                                    13 were you doing, if anything, to treat those
14    Q. Are you aware that other -- strike that.               14 symptoms?
15       Are you aware if other Plaintiffs in this              15    A. Nothing. I didn't have health insurance.
16 lawsuit are claiming sexual impropriety on the part          16    Q. And when did you get health insurance?
17 of Dr. Akoda?                                                17    A. We got health insurance through my
18    A. I am not.                                              18 husband's employer around I want to say maybe
19    Q. Did any of the information you found on                19 October. Because open enrollment is in September,
20 the Internet as a result of your Internet search             20 so maybe October of '17, maybe.
21 mention or describe any claims of sexual                     21    Q. And have you maintained that health
                                                      Page 95                                                         Page 97
 1 impropriety against Dr. Akoda?                                1 insurance since that time?
 2    A. No, sir.                                                2    A. Well, now we have health insurance
 3    Q. Did you have a life-threatening                         3 through my employer, but we've -- we've remained
 4 experience when interacting with Dr. Akoda?                   4 having health insurance, not that one, but we do
 5    A. No.                                                     5 have health insurance.
 6    Q. I believe you told me that you first                    6    Q. Did you have health insurance at the time
 7 began having symptoms regarding your interaction              7 you gave birth to Peyton?
 8 with Dr. Akoda approximately one year after                   8    A. I had Medicaid.
 9 delivery; is that accurate?                                   9    Q. Had you reached out to Medicaid or to an
10    A. Yes.                                                   10 individual medical provider in an effort to receive
11    Q. And that would be approximately February               11 mental health treatment and whether that treatment
12 2017, correct?                                               12 would be covered by Medicaid?
13    A. Correct. Now, that's saying that the                   13    A. No. My Medicaid was only covering the
14 symptoms -- realizing that the symptoms weren't              14 deliver -- the delivery of my son, because I
15 just regular symptoms from childbirth or being               15 actually made too much money at my job to be
16 depressed after having a baby, you know, or                  16 qualified for regular Medicaid, and then my job's
17 something like that. Does that change any -- okay.           17 insurance didn't start until after -- after I would
18 Does that -- okay. I just want to make sure that I           18 have already been out of work. So, I was able to
19 say that.                                                    19 get emergency Medicaid for that period of time just
20       I always -- not always, but I felt -- I                20 so I could have delivery. So, I didn't have
21 didn't just start feeling that way a year after the          21 Medicaid after delivering my son.
                                                                                                            JA515
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 1    Q. Okay. And upon seeking treatment with              1 interview with Dr. Fiester?
 2 Dr. Smith in February of 2018, did you immediately       2     A. No.
 3 tell Dr. Smith that you had been touched                 3     Q. Where were you when you spoke to
 4 inappropriately by Dr. Akoda?                            4 Dr. Fiester?
 5    A. Yeah. We discussed it, everything during           5     A. Home.
 6 that first encounter.                                    6     Q. Was anyone present?
 7    Q. Did you talk with a doctor named                   7     A. No.
 8 Dr. Fiester in this case?                                8     Q. Was anyone present with you while you
 9    A. I did.                                             9 were talking to Dr. Fiester?
10    Q. And do you recall when you talked to              10     A. No.
11 Dr. Fiester?                                            11     Q. Had you discussed with anyone, other than
12    A. I don't. I don't know if it was -- I              12 your attorneys, what to expect during the call with
13 want to say it was between maybe October and            13 Dr. Fiester?
14 December of '18, but I can't be sure.                   14     A. No.
15    Q. Okay.                                             15     Q. Had you been provided any
16       MR. CATHELL: One second while I look for 16 information -- strike that.
17 that report, please.                                    17         What did Dr. Fiester ask you or -- or, if
18       (Whereupon, there was a pause for                 18 you prefer, just describe for me the interview?
19 document examination.)                                  19     A. We just talked about anything that might
20 BY MR. CATHELL:                                         20 have happened in my past, things that are going on
21    Q. How many times did you talk to                    21 now, and what I felt -- how I felt about Dr. Akoda.
                                                 Page 99                                                          Page 101
 1   Dr. Fiester?                                    1            Q. And describe for me what you discussed
 2      A. One time.                                 2          about things that occurred in the past.
 3      Q. And did you meet with Dr. Fiester in      3            A. There were no trauma in my past. Nothing
 4   person?                                         4          to talk about, really.
 5      A. No.                                       5            Q. Okay. You also mentioned that you
 6      Q. How did you talk with Dr. Fiester? Was 6             discussed things going on now. Can you describe
 7   that over the telephone, --                     7          that for me?
 8      A. Yes.                                      8            A. Um-hum. Like -- like work, every day
 9      Q. -- or was that by video conference?       9          life, being a mom. You know, just normal -- you
10      A. It was over the telephone.               10          know, just how my life is on an everyday basis.
11      Q. Have you met Dr. Fiester at any time?    11            Q. And you also said that you talked about
12      A. No.                                      12          the things going on with Dr. Akoda?
13      Q. And do you recall how long the interview 13            A. Um-hum.
14   with Dr. Fiester lasted?                       14            Q. What did you discuss in that regard?
15      A. More than an hour.                       15            A. She asked me to explain to her exactly
16      Q. More than an hour?                       16          what happened and how I felt about it, and I did
17      A. (Nodding head yes.) Maybe an hour.       17          the same as I did with you just now.
18      Q. And were you asked to prepare anything 18              Q. Did you share with her any additional
19   prior to the interview with Dr. Fiester?       19          information that we have not discussed today?
20      A. No.                                      20            A. No.
21      Q. Did you take any notes during the        21            Q. And did Dr. Fiester make any treatment

                                                                                               26 (PagesJA516
                                                                                                         98 - 101)
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 1 recommendations for you?                                     1    Q. Other than the recommendation of EIMED
 2    A. She said that I should have some kind of               2 therapy for the PTSD, did she make any other
 3 therapy, but I forget what the name of it was.               3 treatment recommendations?
 4    Q. Had you shared with her that you had been              4    A. No.
 5 receiving therapy by Dr. Donato?                             5    Q. Did she at any time refer you to anyone
 6    A. Yes. It was a specific kind of therapy.                6 else for treatment?
 7 EMI, EMD. I haven't found anyone who specializes             7    A. No.
 8 in that yet.                                                 8    Q. Just to be clear for the record, did
 9    Q. Can you say that again, please?                        9 Dr. Fiester diagnose you with depression?
10    A. It was EMI or EMD or something to that                10    A. No.
11 effect. I can't remember the initials.                      11    Q. Or anxiety?
12    Q. And do you have an understanding as to                12    A. No.
13 what that specific treatment is designed to treat?          13    Q. Or PTSD?
14    A. It's-- I think it's a mechanism -- it                 14    A. No.
15 helps to deal with PTSD, I believe, and anxiety.            15    Q. Have you read the Complaint in this
16    Q. Have you been working with Drs. Donato                16 matter?
17 and Nnamani regarding your PTSD?                            17    A. Yes.
18    A. Yes.                                                  18    Q. Okay. And do you know what the Complaint
19    Q. And we talked about Dr. Smith's diagnoses             19 is in a lawsuit?
20 of depression and anxiety. When were you first              20    A. Yes.
21 diagnosed with PTSD?                                        21    Q. And when did you first review the
                                                    Page 103                                                   Page 105
 1    A. Through Dr. Donato.                                    1   Complaint?
 2    Q. And when did Dr. Donato first diagnose                 2      A. I don't recall when I first reviewed it.
 3 you with that?                                               3      Q. Did you review it prior to it being
 4    A. During our first visit.                                4   filed?
 5    Q. Which I under -- understand to be, I                   5      A. I don't know when it was filed.
 6 believe, October of 2018; is that correct?                   6      Q. Okay.
 7    A. That's when I -- no. I saw Donato in the               7         MR. CATHELL: Do you have that?
 8 summer of '18. I saw Dr. Nnamani in October of               8         MS. CLARY: The Complaint?
 9 '18.                                                         9         MR. CATHELL: Yeah.
10    Q. Other than Dr. Donato, did Dr. Smith or               10         MS. CLARY: I have the Complaint. I'm
11 Nnamani ever diagnose you with PTSD?                        11   not sure she would know -- well --
12    A. No. I only saw Dr. Smith once                         12         MR. CATHELL: I don't think I'm really
13 face-to-face, and after that, it was phone                  13   going to follow up, but can I see just it?
14 interviews. And Dr. Nnamani was -- didn't do any            14         MS. CLARY: Yeah. Sure. It looks like
15 additional diagnosis.                                       15   there's the date stamp.
16    Q. Did Dr. Fiester diagnose you with                     16         (Document tendered.)
17 anything?                                                   17         MR. CATHELL: Yeah.
18    A. No.                                                   18         (Whereupon, there was a pause for
19    Q. Do you consider Dr. Fiester to be your                19   document examination.)
20 doctor?                                                     20   BY MR. CATHELL:
21    A. No.                                                   21      Q. I believe your response was that you
                                                                                                         JA517
                                                                                               27 (Pages 102 - 105)
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 1 don't know whether you reviewed it --                            1 been filed in court in this case, other than
 2    A. Correct.                                                   2 the -- the Complaint that we've already discussed?
 3    Q. -- prior to it being filed, correct?                       3    A. No.
 4    A. Um-hum.                                                    4    Q. Have you gone to any of the court
 5        MS. CLARY: Yes?                                           5 hearings in this case?
 6        THE WITNESS: Yes.                                         6    A. No.
 7 BY MR. CATHELL:                                                  7    Q. And why not?
 8    Q. How many times have you reviewed the                       8    A. I didn't know I needed to be at them.
 9 Complaint?                                                       9    Q. Do you plan on going to future court
10    A. Twice.                                                    10 hearings in this case?
11    Q. If you'll give your attorney a second to                  11    A. If requested by my attorney.
12 object, please. Did you meet with your attorneys                12    Q. Will you be attending the hearing on
13 before the Complaint was filed?                                 13 class certification?
14        MS. CLARY: Objection, and I'm going to                   14    A. If -- if I need to be there.
15 instruct you not to answer in that it's protected               15    Q. Do you know what class certification is?
16 by the attorney/client privilege and work product               16    A. Yes.
17 doctrine.                                                       17    Q. Please tell me what your understanding
18        MR. CATHELL: And note our response from 18 is.
19 prior depositions.                                              19    A. It's a, a lot of people with one issue, I
20        MS. CLARY: Sure.                                         20 guess, under one lawsuit instead of it all being
21 BY MR. CATHELL:                                                 21 individual ones.
                                                        Page 107                                                        Page 109
 1    Q. I would ask you a series of questions,                     1    Q. Do you know what causes of action are
 2 for the record, regarding your interactions with                 2 being asserted in the Complaint?
 3 your counsel, how many times you have met with them              3    A. No.
 4 in preparing the Complaint, in participation in                  4    Q. Do you know what damages the Complaint is
 5 preparing the Complaint, your general input in                   5 seeking?
 6 preparing the Complaint, as well as the -- the                   6    A. No.
 7 contact you've had with them regarding this class                7    Q. Do you know the names of the Defendants
 8 certification process.                                           8 that you are suing in this case?
 9       It's my understanding your attorney is                     9    A. Dimensions Health Corp.
10 going to object to those questions. I just want to              10    Q. Anyone else?
11 make sure the record is clear that I would ask                  11    A. No.
12 them, that we take exception to the objection to                12    Q. Is Dr. Akoda a defendant in this lawsuit?
13 the extent we think they're relevant for class                  13    A. No.
14 certification, and so I will move on.                           14    Q. I asked if you had been in contact with
15       MS. CLARY: Fair enough. I do object. I                    15 any of the other Plaintiffs, and you said, no. I
16 note your exception.                                            16 assume you haven't met with any of the other
17 BY MR. CATHELL:                                                 17 Plaintiffs?
18    Q. Have you been in contact with any of the                  18    A. Correct. No.
19 other class Plaintiffs?                                         19    Q. Do you know the names of any other
20    A. No.                                                       20 Plaintiff?
21    Q. Have you read any of the papers that have                 21    A. I do not.
                                                                                                              JA518
                                                                                                    28 (Pages 106 - 109)
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 1    Q. Are you aware that the Complaint is                      1 interviewed, if you know?
 2 asking the court to certify this case as a class               2    A. I don't know. It's a lot of people, I
 3 action?                                                        3 guess. I don't know. I'm assuming class action
 4    A. Yes.                                                     4 means a lot of people, and that's a lot of
 5    Q. And do you know how many proposed class                  5 interviews. I'm not sure.
 6 members there are?                                             6    Q. Do you know if there was a mediation in
 7    A. I do not.                                                7 this case? And if you don't understand what a
 8    Q. Do you know which law firms represent the                8 mediation is, I'm happy to rephrase the question.
 9 proposed class members?                                        9    A. Yes. Yes, I'm aware.
10    A. No.                                                     10    Q. Okay.
11    Q. Do you know whether each member of the                  11       MS. CLARY: She did a good job there,
12 proposed class is asserting the same claims as you            12 didn't she?
13 in the case?                                                  13       MR. CATHELL: Ready for law school.
14    A. No.                                                     14 BY MR. CATHELL:
15    Q. Have you tried to learn about the claims                15    Q. Do you know what occurred at the
16 of the other proposed class members?                          16 mediation?
17    A. No, sir.                                                17    A. Yes.
18    Q. Have you determined whether your claims                 18    Q. And tell me your understanding of what
19 are different than yours in any way?                          19 occurred, absent discussions with your attorneys.
20    A. No, sir.                                                20    A. That there was a settlement offered and
21    Q. Do you know whether each member of the                  21 rejected.
                                                      Page 111                                                    Page 113
 1 proposed class is seeking the same damages as you              1    Q. Okay. Do you -- how much was the
 2 are in this case?                                              2 settlement offer, do you know?
 3    A. I do not.                                                3    A. $1,000.
 4    Q. Are you aware that you've been designated                4    Q. $1,000 per Plaintiff, correct?
 5 as a class representative in this lawsuit?                     5    A. Per Plaintiff.
 6    A. Yes.                                                     6    Q. Prior to the mediation, what involvement
 7    Q. And do you know what it means to be a                    7 did you have in determining what dollar amount
 8 class representative in a class action?                        8 recovery would be acceptable to you and/or a
 9    A. Yes.                                                     9 potential class?
10    Q. Please describe your understanding for                  10       MS. CLARY: I'm going to object and
11 me.                                                           11 instruct her not to answer. That's protected by
12    A. My understanding is that I am -- my case                12 both the attorney/client privilege and the work
13 is just an example of the overall cases to                    13 product doctrine.
14 represent everyone else.                                      14       MR. CATHELL: Note our response for the
15    Q. And what is your role as a class                        15 record, please.
16 representative?                                               16 BY MR. CATHELL:
17    A. Just to represent or to -- yeah, to give                17    Q. Do you know whether you are responsible
18 the correct information to help represent everyone            18 for paying any of the costs or expenses for this
19 else that's -- that can't be interviewed, I'm                 19 litigation?
20 assuming. I don't know.                                       20       MS. CLARY: Same objection, and I am -- I
21    Q. And why would they not be able to be                    21 am instructing her not to answer that question.
                                                                                                            JA519
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 1 BY MR. CATHELL:                                               1    A. (Nodding head yes.)
 2    Q. Did you sign a retainer agreement with                  2    Q. I would ask you questions -- additional
 3 the Schochor law firm?                                        3 questions about the retainer agreement. Counsel
 4        MS. CLARY: I'm also going to object.                   4 has objected to those in prior depositions, and
 5 You can answer yes or no as to whether you signed             5 we've noted our responses for the record.
 6 an agreement, a retainer with us.                             6         MS. CLARY: Agreed.
 7        THE WITNESS: No -- yes. I don't know                   7 BY MR. CATHELL:
 8 what -- I don't, because what is --                           8    Q. Have you seen any documents that were
 9 BY MR. CATHELL:                                               9 produced by the Defendants in this case?
10    Q. Just a yes or no. Because I don't want                 10    A. No.
11 you to start --                                              11         MS. CLARY: Oh, I heard that.
12    A. Okay.                                                  12         THE WITNESS: That's that 40 kicking in,
13    Q. She objected, --                                       13 ma'am.
14    A. Okay.                                                  14 BY MR. CATHELL:
15    Q. -- and I don't want you to talk about you              15    Q. Do you know whether Dr. Akoda is a
16 things that --                                               16 Defendant in any other pending lawsuit?
17    A. Okay. So -- oh.                                        17    A. I do not know, sir.
18    Q. She objected. If you don't know, it's                  18    Q. Are you part of a class action lawsuit in
19 okay. I -- I don't want you to explain and say               19 the United States Federal District Court in
20 things that she objected to --                               20 Philadelphia against ECFMG regarding their
21    A. I don't know.                                          21 certification of Dr. Akoda?
                                                     Page 115                                                    Page 117
 1    Q. -- out of fairness to her.                              1    A. I am.
 2    A. I don't know.                                           2    Q. Are you a class Plaintiff in that as
 3    Q. Okay.                                                   3 well?
 4        MS. CLARY: I can certainly proffer, if                 4    A. Yes.
 5 you would like me to, that we do have a signed                5    Q. Have you given a deposition in that case?
 6 agreement of retainer from Mrs. Evans, --                     6    A. No.
 7        MR. CATHELL: Thank you.                                7    Q. What is your understanding as to the
 8        MS. CLARY: -- but I'm going to object to               8 allegations in that lawsuit?
 9 providing it.                                                 9    A. That they didn't do proper
10        MR. CATHELL: Sure.                                    10 cre- -- credentialing.
11        THE WITNESS: Okay.                                    11    Q. Based on your status as a class Plaintiff
12 BY MR. CATHELL:                                              12 in that lawsuit, do you have an understanding of
13    Q. We would -- we would request production                13 ECFMG's role in certifying Dr. Akoda?
14 of the retainer agreement. That's something that             14    A. Yes.
15 would be effected through your counsel. They're              15    Q. And what is your understanding?
16 objecting to it, and it's an issue that will be              16    A. That they have the obligation to make
17 taken up with the court. But I'm simply telling              17 sure that all of his documents are correct and that
18 you that, to put you on notice that if the court             18 he who -- he is who he says he is.
19 were to decide that we could prevail, that we would          19    Q. And do you know how ECFMG does its
20 be able to obtain a copy of your retainer                    20 certification?
21 agreement, okay?                                             21    A. I do not.
                                                                                                            JA520
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 1    Q. Are you aware of the background checks                1 she could deliver your baby safe and healthy,
 2 that ECFMG conducts?                                        2 correct?
 3    A. No, sir.                                              3    A. When choosing one, yes.
 4    Q. Earlier I was asking you questions about              4    Q. You did not care if your OB/GYN was a man
 5 radio advertisements, TV advertisements, and your           5 or a woman?
 6 Internet search, and I probably should have phrased         6    A. No.
 7 this question as to include media coverage and not          7    Q. You didn't care about the OB/GYN's race?
 8 just advertisements.                                        8    A. No.
 9       So, you told me that you didn't observe               9    Q. Or nationality?
10 any television advertisements, but have you at any         10    A. No.
11 time observed television coverage regarding the            11    Q. And you did not care about the exact
12 allegations against Dr. Akoda?                             12 location of the physician, beyond he or she being
13    A. Yes.                                                 13 local to the area, correct?
14    Q. Okay. And what was that? What were                   14    A. Correct.
15 those -- what was that coverage that you observed?         15    Q. You agree that you did not care about the
16    A. I don't know what news it was, but it was            16 OB/GYN's name alone?
17 on the news about Dr. Akoda. I believe it said he          17    A. No.
18 wasn't a doctor.                                           18    Q. In other words, would you have not
19    Q. Anything else that you recall?                       19 selected an OB/GYN based upon that OB/GYN's
20    A. No.                                                  20 specific name?
21    Q. And the same for your Internet search,               21    A. No. No.
                                                   Page 119                                                   Page 121
 1 were there -- was there information you learned             1    Q. And you've agreed earlier in the
 2 through the Internet that was not an advertisement          2 deposition, I believe, that Dr. Akoda delivered
 3 regarding Dr. -- the allegations surrounding                3 your baby safe and healthy, correct?
 4 Dr. Akoda?                                                  4    A. Yes.
 5    A. No.                                                   5    Q. We've established that you have one
 6    Q. Is that the same with the radio as well?              6 child. How many pregnancies have you had?
 7    A. Yes.                                                  7    A. Two.
 8    Q. Did you participate in any interview with             8    Q. Okay. And when was the second pregnancy?
 9 any media person or organization about your                 9    A. That was the second pregnancy.
10 involvement with Dr. Akoda?                                10    Q. When was the first pregnancy?
11    A. No.                                                  11    A. Maybe a year and a half prior.
12    Q. Did you go on The Dr. Oz Show?                       12    Q. And I apologize, but what -- what -- what
13    A. No.                                                  13 did that pregnancy result in?
14    Q. Were you contacted to go on The Dr. Oz               14    A. A miscarriage.
15 Show?                                                      15    Q. And were you under the care of an OB/GYN
16    A. No.                                                  16 during that pregnancy?
17    Q. Is it fair to say that when choosing your            17    A. No. I had a miscarriage early in the
18 OB/GYN, you selected based upon the skill set of           18 pregnancy.
19 the physician?                                             19       MR. CATHELL: I believe we're finished.
20    A. Yes.                                                 20 If I could just look at my notes, please.
21    Q. And I assume your concern was that he or             21       THE WITNESS: Yes, sir.
                                                                                                           JA521
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 1       THE VIDEOGRAPHER: Do you want to stay on                 1 don't know.
 2 the record?                                                    2         MS. CLARY: Thank you.
 3       MS. CLARY: I have just one follow-up                     3           REDIRECT EXAMINATION
 4 question.                                                      4         BY MR. CATHELL:
 5       MR. CATHELL: Okay.                                       5    Q. Just in following up with that. What --
 6       MS. CLARY: Why don't I do that while you                 6 one thing that we -- I was trying to explore --
 7 look at your notes, if you don't mind.                         7    A. Um-hum.
 8       MR. CATHELL: Go ahead.                                   8    Q. -- is you just -- you just said in
 9             CROSS-EXAMINATION                                  9 response to your counsel that your condition
10       BY MS. CLARY:                                           10 worsened when you realized that his contact with
11    Q. I apologize if -- if you've covered this                11 you wasn't the case, meaning -- I think you were
12 already, but going back to how you were feeling               12 meaning that you realized that the contact he had
13 emotionally after the delivery of your son and                13 with you, you realized may have been inappropriate;
14 after the time in which you sought care, can you              14 is that fair?
15 help us understand whether you had a worsening of             15    A. Correct.
16 how you were feeling after you found out that                 16    Q. And my questions earlier were designed to
17 Dr. Akoda was not who he said he was?                         17 try to determine when you learned or figured out or
18    A. Yes.                                                    18 understood that his contact with you may have been
19    Q. Can you describe for us how things got                  19 inappropriate, and it's my understanding that the
20 worse for you --                                              20 radio advertisements you heard did not discuss any
21    A. Um-hum.                                                 21 type of substance of the allegations regarding
                                                      Page 123                                                        Page 125
 1    Q. -- at that point in time?                                1 Dr. Akoda, correct?
 2    A. Yeah. So, after that, as I mentioned, I                  2    A. Correct.
 3 definitely didn't want to see a doctor after that.             3    Q. And the Internet articles that you read
 4 I already didn't want to see a doctor anyway                   4 did not include any of the substance against
 5 because of how I felt he was inappropriate with me,            5 Dr. Akoda, except that I think you told me they
 6 but wasn't sure if that was really the process of              6 suggested he may be a fraudulent doctor; is that
 7 having a baby. I never had a baby before,                      7 fair?
 8 so -- and his explanation seemed like it was valid.            8    A. That's correct.
 9 You know, this is what I need to do in order for               9    Q. Was there anything, outside of what you
10 the baby to come out, you know.                               10 learned from your attorney, that caused you to
11        So, realizing that that wasn't the case                11 believe that Dr. Akoda's contact with you was
12 and that I didn't say anything was extremely --               12 inappropriate?
13 that's -- I think that's the one thing that made it           13         MS. CLARY: Objection to the extent I
14 worse to me, was that I didn't say anything                   14 think she's covered that, but you can go ahead
15 beforehand. I didn't do anything beforehand.                  15 again.
16        So, it made me feel -- I don't know the                16         THE WITNESS: Well, first, I always felt
17 word to use. I -- I started feeling more                      17 it was inappropriate because of the way it made me
18 worthless. Like I couldn't even stand up for                  18 feel; however, me not being a medical professional
19 myself at that point, so that's how it got worse              19 or never having a baby before, I didn't know if
20 for me, not being able to stand up for myself and             20 what he was doing was actually a valid thing that
21 not being able to see a doctor at all because you             21 you do when someone is giving birth to stimulate
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 1 delivery.                                                    1 Ms. Evans, that we haven't, otherwise, discussed
 2        So, after I think I spoke to my cousin,               2 today?
 3 who's a doctor, I spoke to my mom, and I spoke to            3    A. No, sir.
 4 my husband, and they let me know that my feelings            4    Q. You were discharged three days following
 5 were valid, and no, he wasn't supposed to do that,           5 the birth of Peyton, correct?
 6 and you are one hundred percent okay with feeling            6    A. Yes.
 7 the way that you feel.                                       7    Q. And it seems to me that your medical
 8 BY MR. CATHELL:                                              8 records suggest that you were discharged to recover
 9    Q. And when did you have those conversations              9 without complication?
10 with your cousin, your doctor -- I'm sorry, your            10    A. Yes.
11 cousin, your husband, and your mother?                      11       MR. CATHELL: That's all I have. Thank
12    A. Well, my husband and my mom immediately 12 you very much.
13 after. You know, like, you know, maybe a week or            13       THE WITNESS: Thank you.
14 so after going through the process of bringing the          14       MS. CLARY: She'll read and sign. You're
15 baby home and all of that, and probably my cousin,          15 all done.
16 maybe a few weeks after that.                               16       THE VIDEOGRAPHER: All right. Stand by.
17    Q. And so it was during those conversations              17       This concludes today's video-recorded
18 that you came to the understanding that the contact         18 deposition of Desire Evans. The time is now 12:27,
19 Dr. Akoda made with you, that you've described for 19 and we are off the record.
20 me earlier, was inappropriate?                              20       (Deposition concluded at 12:27 p.m.)
21    A. Correct. I have validation that it was                21
                                                    Page 127                                                       Page 129
 1 inappropriate, because I always believed that it             1       Russell, et al. v. Dimensions Health Corp., et al
 2 was.                                                         2              Desire N. Evans
 3    Q. And did you share with your -- you said                3          INSTRUCTIONS TO THE WITNESS
 4 your cousin is a doctor?                                     4       Please read your deposition over
 5    A. Yes.                                                   5 carefully and make any necessary corrections. You
 6    Q. Did you share with your doctor or                      6 should state the reason in the appropriate space on
 7 your -- I'm sorry. Strike all of that.                       7 the errata sheet for any corrections that are made.
 8        Did you share with your cousin the                    8       After doing so, please sign the errata
 9 specifics of the alleged sexual impropriety against          9 sheet and date it.
10 Dr. Akoda?                                                  10       You are signing same subject to the
11    A. By me, yes.                                           11 changes you have noted on the errata sheet, what
12    Q. And what's your cousin's name?                        12 will be attached to the deposition.
13    A. Tyrell Newton, M.D.                                   13       It is imperative that you return the
14    Q. And is Dr. Newton a doctor in Maryland?               14 original errata sheet to the deposing attorney
15    A. No.                                                   15 thirty (30) days of receipt of the deposition
16    Q. And where does he live or practice?                   16 transcript by you. If you fail to do so, the
17    A. North -- Florida. Jacksonville, Florida.              17 deposition transcript may be deemed to be accurate
18    Q. To your knowledge, did Dr. Newton report              18 and may be used in court.
19 to anyone the alleged sexual contact?                       19
20    A. No.                                                   20
21    Q. Are there any claims that you are making,             21
                                                                                                            JA523
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                                      September 19, 2019



Danielle S. Dinsmore, Esquire
Paul M. Vettori, Esquire
Law Offices of Peter G. Angelos
One Charles Center
100 N. Charles Street
Baltimore, Maryland 21201

                            Re: Monique Russell, et al. v. Educational Commission for Medical
                            Graduates, Case No. 2:18-cv-05629-JW


Dear Ms. Dinsmore and Mr. Vettori:

   You have asked me to review this matter and provide a report of my expert opinions with
respect to this matter. This is my report.

     Attached is my Rule 26 case list. Also attached is my Curriculum Vitae, which includes a
list of all publications I have authored.

   I am billing my time for review and preparation of my report at $ 500 per hour and my time
for deposition and trial at $ 5000 per day.

   I have reviewed and considered the documents you have provided to me, which include bates
stamped documents you obtained from ECFMG, documents obtained from the Akoda criminal
case, the Maryland Board of Physician’s decision and the depositions (with exhibits) of William
Kelly and Kara Corrado.

  The following is a summary of the facts considered by me in forming my opinions:

   On April 6, 1992 ECFMG received an application from Oluwafemi Charles Igberase to take
the Foreign medial graduate examination in the Medical Sciences and the ECFMG English Test.
He provided ECFMG with a diploma from the University of Ibadan dated June 19, 1987.
Igberase failed both the basic medical science and clinical science components of the FMGEMS
and passed the ECFMG English test. He failed the Day 1 test again but passed it on the third try.
On October 4, 1993, after he successfully completed steps 1 and 2 of the USMLE, ECFMG
issued to him certificate number 0-482-700.

   On March 30, 1994, ECFMG received an application from Igberase Oluwafemi Charles to
take Steps 1 and 2 of the USMLE examinations. He provided a date of birth that was different
than the date of birth provided by Igberase. The diploma he submitted was the identical diploma
that had been submitted by Igberase. On December 14, 1994, after Charles successfully
completed the USMLE examinations, ECFMG issued to him certificate number 0-519-573-0.




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   At some point after this, for reasons that do not appear in the records, ECFMG became
suspicious that Igberase and Charles were one and the same person and began an investigation.
Igberase/Charles explained his actions in a handwritten letter dated July 14, 1995 in which he
admitted he had lied about not taking the examination previously and why he rearranged his
names. As a result of the investigation, the ECFMG Committee on Medical Education
Credentials invalidated certificate number 0-519-573-0 issued to Charles and revoked certificate
number 0-482-700-2 issued to Igberase. Charles appealed the decision which led to a hearing on
July 10, 1996. The ECFMG Review Committee for Appeals affirmed the decision of the
ECFMG Committee on Medical Education Credentials to revoke certificate number 0-482-700-2
but limited the length of the revocation to a period of five years from July 10, 1996, i.e., to July
10, 2001. Thereafter, the ECFMG Committee on Medical Education Credentials extended the
length of this revocation for a yet to be specified period of time and, ultimately, revoked
permanently this certificate.

   On January 3, 1996 and again on August 30, 1996, ECFMG received an application from
John Nosa Akoda to take Steps 1 and 2 of the USMLE examinations. He provided ECFMG with
a diploma from the University of Benin dated February 6, 1998. On August 18, 1998, after he
successfully completed the required examinations, ECFMG issued to him certificate number 0-
553-258-5. Although his applications did not include a social security number, at some time in
1998 he provided ECFMG with social security number xxx-xx- 9065.

  On July 1, 1998 Akoda entered the graduate residency program at Jersey Shore Medical
Center. On July 24, 1998, ECFMG received a Request for Permanent Revalidation of Standard
ECFMG Certificate from Akoda due to his having entered this program. On September 2, 1998,
ECFMG sent this validated form.

    By letter dated August 11, 2000 from James McCorkel, M.D. to Rice Holmes, ECFMG was
notified that the Jersey Shore Medical Center graduate residency program in which Akoda was
enrolled was investigating allegations that Akoda had used a social security number issued to a
person named Oluwafemi Charles Igberase. ECFMG advised Dr. McCorkel that Akoda had
provided ECFMG with social security no. xxx-xx-9065. This is the same number Akoda
provided to the Jersey Shore Medical Center.

    ECFMG sent Akoda a “charge letter” dated August 22, 2000 advising Akoda that ECFMG
had received information alleging that Akoda may have engaged in irregular behavior. This
letter was based on the matters presented by Dr. McCorkel. Akoda responded by representing to
ECFMG that Igberase Oluwafemi Charles was his cousin and admitting that he had used his
cousin’s social security number. Akoda provided ECFMG with a Nigerian passport and a
Nigerian “international driving permit.”

   The Jersey Shore Medical Center dismissed Akoda from its graduate residency program
because he used a false social security number – that of his cousin Charles Igberase - and
because the green card he had provided the hospital was inconsistent with a subsequent green
card he also provided.




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  On December 22, 2000, William Kelly, Manager of the Medical Education Credentials
Department of ECFMG, wrote a memorandum to Stephen S. Seeling, JD, Vice President of
Operations of ECFMG, in which Mr. Kelly stated “[t]his memorandum is being written
separately since I did not think it should be made part of the official file.” He advised Mr.
Seeling that both he and Dr. McCorkel believed Igberase and Akoda were one and the same
person. He concluded that he did not think there was enough information for the ECFMG
Credentials Committee.

    In October 2006, Akoda used the ERAS of ECFMG to apply to Howard University Medical
Center for a graduate residency program, which included three letters of reference. In
connection with this process, ECFMG attempted to verify the authenticity of these three letters
of reference but never received responses from the persons passed off as references for Akoda.

    Akoda successfully completed a graduate residency program at Howard University Medical
Center. He was licensed to practice medicine in Maryland and Virginia, and was granted
privileges at Prince Georges’ Hospital Center based on application and submission of required
documentation including an ECFMG certificate.

   The following are my opinions, which are based on the matters set out above and my
education, training and experience:

    ECFMG is the only organization that certifies that IMG’s have successfully completed
medical education at an approved foreign medical school and that they have successfully
completed the required medical examinations. Without an ECFMG certification, an IMG cannot
sir for required licensing exams, obtain a medical license, will not be accepted into a graduate
medical education program and cannot obtain hospital privileges. The standard of care
applicable to ECFMG’s certification process requires ECFMG to adopt reasonable policies and
procedures and to follow those procedures to ensure that IMG’s comply with all requirements for
certification. ECFMG has undertaken to provide certification services which are necessary for
the protection of the general public. Its failure to exercise reasonable care in providing these
services increases the risk of harm to the general public, including plaintiffs. Licensing agencies,
medical schools and hospitals, among others, rely upon ECFMG to act reasonably in performing
these services.

   It is my opinion, held to a reasonable degree of professional certainty, that ECFMG failed to
adopt appropriate policies for certification of IMG’s, failed to exercise reasonable care in its
certification of Akoda and failed to exercise reasonable care in its investigation of allegations
made about Akoda and that these failures caused harm to the named plaintiffs and members of
the class.

        While it is accurate to say that certification by ECFMG is only one of the steps needed
for a foreign medial graduate to obtain a license to practice medicine in the United States, it is a
requirement without which an IMG cannot obtain a license. It is also a required certification for
entering residency and obtaining hospital privileges. If ECFMG had acted reasonably, it would
have denied certification to Akoda, and would have revoked Akoda’s certificate, he would not
have been able to enter the Howard University residency program, he would not have been able

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to obtain a Maryland medical license, he would not have been granted privileges at Prince
Georges’ Medical Center, and he would not have been able to harm the plaintiffs.

         The ECFMG certification process and investigation of suspicious or irregular behavior by
ECFMG is important to ensure that individuals seeking to act as physicians treating patients are
qualified and meet professional standards of honesty, morality and character. These qualities are
critical to the physician patient relationship.

  ECFMG breached the standard of care in, among others, the following ways:

         Failing to adopt written policies and procedures for the certification of IMG’s;

        Failing to adopt written policies and procedures for the investigation of allegations of
irregular behavior;

       Failing to investigate the differences in the name on Akoda’s medical school diploma and
the name on his applications submitted to ECFMG;

         Failing to investigate fully the relationship between Igberase and Akoda;

         Failing to reasonably investigate Akoda’s diploma from the University of Ibadan;

      Failing to reasonably investigate discrepancies in official medical school seal on
documents submitted for Akoda;

       Failing to deny the requested waiver of a medical school confirmation of Akoda
photograph based on the explanation of the Nigerian postal system not providing a rapid
delivery;

         Failing to deny the Akoda application due to it being incomplete;

         Failing to reasonably investigate the allegations made by Dr. McCorkel;

         Failing to refer Akoda to the Medical Education Credentials Committee;

      Failing to follow its own procedures with respect to the charge letter sent to Akoda on
August 22, 2000;

         Failing to reasonably investigate the social security number provided to ECFMG by
Akoda;

        Failing to temporarily suspend pending investigation and discontinue to verify ECFMG
certifications after Dr. McCorkel’s allegation, admission by Akoda of using another’s social
security number and the ECFMG Investigator’s concern that Akoda and Igberase were the same
person.



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       Failing to compare photographs of Igberase and Akoda in its files;

        Failing to reasonably act when Akoda admitted to identity theft in use of another’s social
security number;

       Failing to conclude that the person – Charles -- who appeared for hours at the July 10,
1996 appeal hearing and the person who appeared in Mr. Kelly’s office on September 27, 2000 –
Akoda – were the same person;

       Failing to investigate the authenticity of the passport and green card produced to Mr.
Kelly by Akoda when he came to Mr. Kelly’s office on September 27, 2000;

       Failing to follow up on the conclusion reached by Mr. Kelly and Dr. McCorkel that
Igberase and Akoda were the same person.

        It is my opinion, to a reasonable degree of professional certainty, that, had there been
written policies and procedures for the certification of IMG’s, these would have included
requirements that ECFMG investigate fully the differences in the name on Akoda’s medical
school diploma and the name on his applications.
        It is my opinion, to a reasonable degree of professional certainty, that, had there been
written policies and procedures for the certification of IMF’s, these would have included
requirements that ECFMG investigate fully discrepancies in Akoda’a application and submitted
materials.

        It is my opinion, to a reasonable degree of professional certainty, that, had there been
written policies and procedures for the certification of IMG’s and investigations of irregular
behavior, these would have included requirements that ECFMG investigate and refer to the
Medical Education Credentials Committee in situations of identity fraud.

        It is my opinion, to a reasonable degree of professional certainty, that, had ECFMG
properly investigated the allegations of irregular behavior against Akoda, ECFMG would have
referred the matter to the Medical Education Credentials Committee and that committee would
have found that Akoda engaged in irregular behavior, which would have resulted in his
certification being revoked.

        It is my opinion, to a reasonable degree of professional certainty, that these failures on
the part of ECFMG to comply with the standard of care were the direct cause of Akoda being
certified by ECFMG and which are the direct cause of the harms caused to the plaintiffs and the
members of the class.




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                                               Very truly yours,



                                               _________________________
                                               David Samuel Markenson, MD




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H. Fee Schedule------------------------------------------------------------------------------------------------------page 31




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   A. Professional Training and Background:
Jonathan H. Burroughs, MD, MBA, FACHE, FAAPL:
Healthcare professional with:
      30-year clinical experience as an emergency physician
      16 year management experience as medical director of three emergency departments and
       increasing physician leadership roles
      9 year experience on a governing board of a not for profit healthcare entity
      15-year experience as a healthcare administrative consultant with > 1,500 clients in all 50
       states focusing on all areas of the physician/healthcare executive interface, population health,
       clinical integration, and healthcare transformation
      Author of “Redesign the Medical Staff Model-A Guide to Collaborative Change” published in
       2015 by Health Administration Press and winner of the 2016 James A. Hamilton Award for
       outstanding healthcare management book of the year
      Author/Editor of “Fundamental Operational Components for High Performing Healthcare
       Enterprises” published in 2018 by Health Administration Press
      Participant as a healthcare administrative expert in 95 legal cases since 2010 (see attached CV
       for details)
      Johns Hopkins University, Baltimore, MD (BA-1972; graduated first in class senior year)
      Case Western Reserve School of Medicine, Cleveland, OH (MD-1977)
      University of California, Davis Medical Center, Sacramento, CA (Resident in Family Medicine-
       1977-1980)
      University of Massachusetts Affiliated Hospitals, Pittsfield, MA (Resident in General Surgery-
       1980-1981)
      Board Certified Emergency Physician (1981-2015) with 30 years of clinical experience (1978-
       2008)
      Medical Director, Emergency Departments (1982-1988; 2006-2008)
      Faculty, Director’s Academy, American College of Emergency Physicians (ACEP)
      Introduced EMS defibrillation (1982) and EMS automated defibrillation (1985) into the field
       (Eastern US) in conjunction with Mickey Eisenberg, University of Washington, Seattle,
       PhysioControl, and Dartmouth Hitchcock Medical Center
      President of the Medical Staff, Memorial Hospital, North Conway, NH (2000-2004)
      Past President of the Medical Staff, Memorial Hospital, North Conway, NH (2004-2008)
      Board Member, Memorial Hospital, North Conway, NH (2000-2008)
      American Association for Physician Leadership (formerly American College of Physician
       Executives), Tampa, FL (Certified Physician Executive 2004 and Fellow of the American College of
       Physician Executives 2005-)
      Faculty, American Association for Physician Leadership (formerly American College of Physician
       Executives) (2005-)
      University of Massachusetts Eisenberg School of Business, Amherst, MA (MBA 2008; graduated
       first in class and elected into Beta Gamma Sigma, international honor society for business
       schools )
      Senior Consultant and Director of Education, The Greeley Company, Danvers, MA (2004-2012):
       worked with over 700 healthcare organizations and medical staffs to perform the following
       functions- physician leadership training (top rated educator and speaker), bylaws redesign,
       credentialing/privileging redesign, peer review redesign, medical staff assessment and redesign,
       physician-hospital alignment strategies, physician-hospital contracting, alternative dispute
       resolution, expert witness for corporate negligence cases (credentialing/privileging, peer review,
       performance management, corrective action and fair/judicial hearings), coaching for physicians
       and management regarding performance management, behavioral, and health issues,
       OPPE/FPPE, accreditation compliance, legal/regulatory compliance, author or co-author of the
       following books: The Complete Guide to FPPE (2012), Medical Staff Leadership Essentials (2011),
       Engage and Align the Medical Staff and Hospital Management: Expert Strategies and Field
       Tested Tools (2010), A Practical Guide to Managing Disruptive and Impaired Physicians (2010),
       The Top 40 Medical Staff Policies and Procedures, Fourth Edition (2010), Emergency Department
       On-Call Strategies: Solutions for Physician-Hospital Alignment (2009), and Peer Review Best
       Practices: Case Studies and Lessons Learned (2008).
      Fellow of the American College of Healthcare Executives (2012-)
      Faculty of the American College of Healthcare Executives (2013-), faculty for twelve hour cluster
       program “Redesign the Medical Staff for Healthcare Reform”, and winner of a national
       development grant (with David Nash, MD) to create a twelve hour cluster program entitled




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    “Leading in a Changing Environment-Population Health” and of a development grant with John
    Byrnes, MD and Rich Priore, FACHE to create a twelve hour cluster program entitled “Physician
    Leadership Essentials-Management Skills”, frequent national speaker at ACHE Congress,
    Chicago, Illinois.
   Co-creator of ACHE National Cluster Program entitled “Monetizing Quality in a Pay for Value
    Era”
   Co-creator of AAPL National Programs entitled “The CMO Academy” and “Optimizing Clinical
    and Financial Performance through Physician-C Suite Collaboration”
   NAMSS Faculty and featured in national webinars, meetings, and state chapter programs
    President and CEO, The Burroughs Healthcare Consulting Network, Inc. (2012-): work with
    physicians and healthcare organizations throughout the nation and beyond on clinical,
    management, governance, and business solutions to optimize quality/service and minimize
    costs. Network includes some of the nation’s top healthcare consultants
   Cumulative work with over 1,500 healthcare organizations and systems in 50 states on:
    physician leadership academies, physician engagement/alignment strategies, physician
    performance strategies, medical staff redesign (credentialing/privileging, peer review,
    performance management, strategic medical staff development planning, medical staff
    structures/functions, medical staff and corporate bylaws), service line development, contracting
    strategies, population health, quality/safety/service/cost structure optimization, leadership
    (board, management, physician) retreats and facilitations, population health, clinical integration
   Author of “Redesign the Medical Staff Model-A Collaborative Approach”, published by Health
    Administration Press, January, 2015 (2016 James A. Hamilton Book Award for outstanding
    healthcare management book)
   Author of monthly national healthcare blog on Hospital Impact, a Fierce Healthcare Publication,
    Washington, DC
   Frequent contributor to Board Room Press, a publication of The Governance Institute, San
    Diego, California
   Healthcare Legal Consulting with an emphasis in: negligent credentialing, negligent peer review,
    fair/judicial hearings, physician performance management, medical appropriateness, false
    claims act, corporate negligence and compliance
   Member of the American Health Lawyers Association (AHLA): presenter and contributor to
    association publications and American College of Legal Medicine (ACLM).




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   B. Recent Publications:

1.       Burroughs, Jon (editor and author), “Essential Operational Components for High
Performing Healthcare Enterprises,” Health Administration Press, September, 2018.
2.       Burroughs, Jon., “Redesign the Medical Staff Model-A Collaborative Approach,” Health
Administration Press, November,2015 (Winner of the 2016 James A. Hamilton Award for
Outstanding Healthcare Management Book)
3.       Burroughs, Jonathan H., “21st Century Skills for Accountable Boards,” The Board Room
Press, The Governance Institute, February 2019.
4.       Burroughs, Jon, “How to Build a Population Health Program,” Pediatric Focus, The
Governance Institute, December, 2018.
3.       Burroughs, Jon, “Rethinking Physician Documentation,” Healthcare Executive, May-June,
2018, pages
4.       Burroughs, Jon, Rural Focus: “Rural Healthcare: A Vision for 2018, The Governance
Institute, March, 2018.
5.       Burroughs, Jonathan H., Industry Voices: “The ACA is Flawed but a New Legal Threat
could set the US Healthcare System back Decades,” Fierce Healthcare, February 28, 2018.
6.       Burroughs, Jonathan H., Hospital Impact: “Medicaid on the Chopping Block for 2018.”
Fierce Healthcare, February 6, 2018.
7.       Burroughs, Jonathan H., Hospital Impact: “Why Funding of the Children’s Health
Insurance Program Matters,” Fierce Healthcare, January 9, 2018.
8.       Burroughs, Jonathan H., Hospital Impact: “Why Doctors should Oversee, Not Conduct
Clinical Documentation, Fierce Healthcare, December 7, 2017.
9.       Burroughs, Jonathan H. et al,”ACHE Roundtable: A focus on Physician Leadership,”
Healthcare Executive, volume 32, number 6, November/December, 2017, pp 20-26.
10.      Burroughs, Jonathan H., Hospital Impact: “Medical Staff Services Professionals-A New
Role for the 21st Century,” Fierce Healthcare, August 31, 2017.
11.      Burroughs, Jonathan H., Hospital Impact: “Death of the Skinny Repeal Bill and why
Covered Lives Matter,” Fierce Healthcare, August 3, 2017.
12.      Burroughs, Jonathan H., Hospital Impact: “What’s Next for the AHCA? Hopefully,
pragmatic solutions to healthcare policy dilemmas,” Fierce Healthcare, June 8, 2017.
13.      Burroughs, Jonathan H., Hospital Impact: “The Meadows-MacArthur Amendment is
Strike Two for the American Health Care Act”, Fierce Healthcare, May 1, 2017.
14.      Burroughs, Jonathan H., “What it takes to be a Top Performing Organization,” NAMSS
Synergy, May-June, 2017.
15.      Burroughs, Jonathan H., “Hospital Impact-CBO Report Reveals Republican Healthcare Bill
is Political Position,” Fierce Healthcare, March 16, 2017.
16.      Burroughs, Jonathan H., “Hospital Impact-A Closer Look at the GOP’s ‘Replace then
Repeal’ Proposal, Fierce Healthcare, February 22, 2017.
17.      Burroughs, Jonathan H., “Hospital Impact-No Consensus in Sight for the Republican ACA
Replacement,” Fierce Healthcare, February 2, 2017.
18.      Burroughs, Jonathan H., “Hospital Impact-The Implications of Donald Trump’s ACA
Executive Order,” Fierce Healthcare, January 25, 2017.
19.      Burroughs, Jon, “Regain Lost Luster with Modern Medicine Ideas,” Physician Leadership
Journal, Volume 4, Issue 1, January/February, 2017.
20.      Burroughs, Jonathan H., “Hospital Impact-Drug Companies Win, Patient Safety Loses
with the 21st Century Cures Act, Fierce Healthcare, December 15, 2016.
21.      Burroughs, Jonathan H., “Hospital Impact-Why the GOP will not Repeal the Affordable
Care Act in its Entirety,” Fierce Healthcare, November 16, 2016.
22.      Burroughs, Jonathan H., ”Industry Voices: For President Candidates, Two very Different
Views on Healthcare, Fierce Healthcare, November 7, 2016.
23.      Burroughs, Jonathan H., "Three Keys to Giving Healthcare Consumers what they Want,”
Hospital Impact, September 26, 2016.
24.      Burroughs, Jonathan H., “Everything you need to know about the New CMS Cardiac
Bundled Payment Program,” Hospital Impact, August 17, 2016.
25.      Burroughs, Jonathan H., “Healthcare Policy Implications of the Presidential Election,”
Hospital Impact, July 14, 2016.
26.      Burroughs, Jonathan H., “MACRA is Now! A Roadmap to Compliance,” Hospital Impact,
June 15, 2016.
27.      Burroughs, Jonathan H., “End Physician Burnout by Allowing Doctors to be Doctors
Again,” Hospital Impact, May 12, 2016.
28.      Burroughs, Jonathan H., “Clinical Pharmacist-An Essential Member of the Healthcare
Team,” Hospital Impact, April 21, 2016.



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29.     Burroughs, Jonathan H., “When it comes to Patient Safety-Culture is Everything,”
Hospital Impact, March 17, 2016.
30.     Burroughs, Jonathan H., “How MACRA is Hastening the Demise of Fee for Service,”
Hospital Impact, February 18, 2016.
31.     Burroughs, Jonathan H., “The Ten Traits of a Great Healthcare Organization,” Hospital
Impact, January 21, 2016.
32.     Burroughs, Jonathan H., “Five Steps to Staging and Integrating a Population Health
Program,” Hospital Impact, December 10, 2015.
33.     Burroughs, Jonathan H., “The Supreme Court and the ACA Contraception Mandate-Deja
Vu All over Again,” Hospital Impact, November 12, 2015.
34.     Burroughs, Jonathan H., “ICD-10: Collaborative Ways to Reduce Operating Costs,”
Hospital Impact, October 29, 2015.
35.     Burroughs, Jonathan H., “Medical Overuse and why Fee for Service must Go,” Hospital
Impact, September 3, 2015.
36.     Burroughs, Jonathan H., “Medicare’s Potential Reimbursement for End of Life
Discussion: A Big Step Forward,” Hospital Impact, July 23, 2015.
37.     Burroughs, Jonathan H., “Ken Cohn- In Tribute to a Colleague and a Friend,” Hospital
Impact, July 16, 2015.
38.     Burroughs, Jonathan H., “Activity Base Costing Helps Providers Deliver High Quality Low
Cost Care,” Hospital Impact, May 20, 2015.
39.     Burroughs, Jonathan H., “Strategies to Survive a Brave New Value Based World,”
Hospital Impact, April 1, 2015.
40.     Burroughs, Jonathan H. and Nash, David, “Population Health and the Disruptive
Innovative Business Models Necessary to Support It,” Boardroom Press, April 2015
41.     Burroughs, Jonathan H., “Are you ready for E-Health Invasion?” Hospital Impact,
February 19, 2015.
42.     Burroughs, Jonathan H., “How the Unraveling of the Affordable Care Act could Affect
Providers,” Hospital Impact, January 14, 2015.
43.     Burroughs, Jonathan H., “Ebola-Fear not Facts Drive Frenzy,” Hospital Impact, November
13, 2014.
44.     Burroughs, Jonathan H., “St. Luke’s Population Health Programs Promote Innovation,”
Hospital Impact, October 23, 2014.
45.     Burroughs, Jonathan H., “Silence can Kill: Doctors, Nurses, and Staff must hold each
other Accountable,” Hospital Impact, September 4, 2014.
46.     Burroughs, Jonathan H., “Disruptive Innovation in Healthcare: Are you ready?” The
Governance Institute’s E-Briefings, Volume 11, Number 7, September, 2014.
47.     Burroughs, Jonathan H., “Involving Physicians in Strategic Planning,” Hospital Impact,
August 6, 2014.
48.     Burroughs, Jonathan H., “What Does the Hobby Lobby Ruling mean for Healthcare and
the Separation of Church and State?” Hospital Impact, July 2, 2014.
49.     Burroughs, Jonathan H., “Population Health is the Next Big Thing,” Hospital Impact, June
5, 2014.
50.     Burroughs, Jonathan H., and Bartholomew, Kathleen, “New Ways for Physicians and
Nurses to Work Together, “ Physician Executive Journal, Volume 40, Number 3, May-June,
2014.
51.     Burroughs, Jonathan H., “Same Sex Marriage, Human Rights, and Affordable
Healthcare,” Hospital Impact, May 1, 2014.
52.     Burroughs, Jonathan H., “Actuarial Management Key to Changing Industry,” Hospital
Impact, March 19, 2014.
53.     Burroughs, Jonathan H., “Large Employers and the Drive for Healthcare
Transformation,” Hospital Impact, February 4, 2014.
54.     Burroughs, Jonathan H., “The ACA and the Separation of Church and State,” Hospital
Impact, January 23, 2014.
55.     Burroughs, Jonathan H., “More Unintended Consequences of Healthcare Reform,”
Hospital Impact, December 3, 2013.
56.     Burroughs, Jonathan H., “Healthcare Leaders face Unintended Consequences of
Reform,” Hospital Impact, November 25, 2013.
57.     Burroughs, Jonathan H., “The Origins of Healthcare-Aviation Comparisons,” Hospital
Impact, October 22, 2013.
58.     Burroughs, Jonathan H., “Six Strategies Hospital Should Steal from the Airline Industry,”
Hospital Impact, September 17, 2013.
59.     Burroughs, Jonathan H., “Informal Doc Leaders-A Help or Hindrance?” Hospital Impact,
August 5, 2013.
60.     Burroughs, Jonathan H., “Physician Engagement-Must Dos,” Hospital Impact, July 10,



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61.     Burroughs, Jonathan H., “Physicians are not the only ones losing their Autonomy in
Healthcare Reform,” The Governance Institute’s E-Briefings, Volume 10, Number 4, July, 2013.
62.     Burroughs, Jonathan H., “Physician Engagement-What Not to Do,” Hospital Impact, June
24, 2013.
63.     Burroughs, Jonathan H., “Just what is Healthcare Reform Anyway?” Hospital Impact,
May 20, 2013.
64.     Burroughs, Jonathan H., “Is there Life after a Data Bank Report?”, Physician Executive
Journal, March-April, 2013.
65.     Burroughs, Jonathan H., “How to Handle Medical Professional Conduct Violations,”
Hospital Impact, March 27, 2013.
66.     Burroughs, Jonathan H., “How Healthcare Leaders can Prevent Doc Suspension,”
Hospital Impact, February 27, 2013.
67.     Burroughs, Jonathan H., “Why it matters if States don’t Expand Medicaid,” Hospital
Impact, January 23, 2013.
68.     Burroughs, Jonathan H., “Is there Life for Docs after a Data Bank Report?” Hospital
Impact, December 17, 2012.
69.     Burroughs, Jonathan H., “Trends in Governance for New Care Delivery Models,”
Boardroom Press, December, 2012.
70.     Burroughs, Jonathan H., “Revisiting the Key Components of the Affordable Care Act,”
Hospital Impact, November 24, 2012.
71.     Burroughs, Jonathan H., “Dealing with the Aging Physician Advocacy or Betrayal,” The
Physician Executive,” 38:6, November-December 2012.
72.     Burroughs, Jonathan H., “What If? Two Post-Elections Scenarios for Healthcare,”
Hospital Impact, October 24, 2012.
73.     Burroughs, Jonathan H., “Succession Planning-Luxury or Necessity?” Hospital Impact,
October 10, 2012.
74.     Burroughs, Jonathan H., “More ways to Reduce Hospital Readmissions,” Hospital
Impact, September 19, 2012.
75.     Burroughs, Jonathan H., “Reducing Readmissions: It’s Harder than it Looks,” Hospital
Impact, September 12, 2012.
76.     Burroughs, Jonathan H., “New Models in Hospital-Physician Governance,” Boardroom
Press, August, 2012.
77.     Burroughs, Jonathan H., “More of what Health Reform Doesn’t Do,” Hospital Impact,
July 31, 2012.
78.     Burroughs, Jonathan H., “What the Affordable Care Act Doesn’t Do,” Hospital Impact,
July 26, 2012.
79.     Burroughs, Jonathan H., “Improve Hospital-Doc Alignment with Job Expectations and
Incentives,” Hospital Impact, June 13, 2012.
80.     Burroughs, Jonathan H., “Tips to Optimize Doc-Nurse Relationships,” Hospital Impact,
May 3, 2012.
81.     Burroughs, Jonathan H., “Have Physician-Nurse Relationships Improved?” Hospital
Impact, April 11, 2012.




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C. Sources of Information: Monique Russell, Jasmine Riggins, Elsa Powell, and Desire Evans v.
   Educational Commission for Foreign Medical Graduates (ECFMG)

1.    Jane Doe 1-10 v. Dimensions Healthcare System Class Action Complaint
2.    Final Decision and Order re Charles Akoda MD v. Maryland State Board of Physicians (7/10/17)
3.    United States District Court Judgment against Charles Akoda (3/2/17)
4.    Virginia Department of Health Professions Order of Mandatory Suspension (4/25/17)
5.    Deposition of William C. Kelly, ECFMG with Exhibits (8/20/19)
6.    Information Booklet ECFMG Certification and Application Step 1 and Step 2 of the United States
      Medical Licensing Exam (USMLE) and ECFMG English Test (1996)
7.    United States Medical Licensing Examination (USMLE) Bulletin of Information (1996)
8.    ECFMG Information Booklet (1995)
9.    Education Commission for Foreign Medical Graduates Application Form (7/95)
10.   Correspondence from William C. Kelly to Dr. Charles Olufemi Igberase (6/22/95)
11.   Correspondence from Dr. Igberase Oluwafemi Charles to William C. Kelly (7/14/95)
12.   Correspondence from William C. Kelly to Kenneth Cotton, USMLE (12/7/95)
13.   Birth Certificate of Igberase Oluwafemi-Charles (4/7/62)
14.   Correspondence from William C. Kelly to Dr. Igberase Olufemi-Charles (12/7/95)
15.   USMLE Application completed by Dr. Femi Charles Igberaese (10/23/00)
16.   Correspondence from William C. Kelly to “Dr. Femi Charles Igberaese (11/16/00)
17.   Correspondence from William C. Kelly to Dr. Igberase Oluwafemi-Charles (5/3/01)
18.   Correspondence from “Dr. Femi Charles Igberase” to William C. Kelly (6/17/01)
19.   Correspondence from William C. Kelly to “Dr. Oluwafemi Charles Igberase (5/22/02)
20.   USMLE Application completed by Dr. Charles Oluwafemi Igberaese (3/13/02)
21.   Medical Diploma from the University of Ibadan to Dr. Charles Igberaese Oluwafemi (6/18/96)
22.   Correspondence from William C. Kelly to Dr. Igberase Oluwafemi-Charles (11/12/02)
23.   Medical Diploma from the University of Ibadan to Dr. Charles Olufemi Igberase (6/19/87)
24.   Correspondence from William C. Kelly to Dr. Charles Igberaese Oluwafemi (7/22/02)
25.   Correspondence from Susan Deltsch to Dr. Charles Ugberaese Oluwafemi (6/17/03)
26.   Correspondence from Ms. Kara Corado, JD to Dr. John Nosa Akoda (12/19/16)
27.   Correspondence from Lisa Cover, MHA to National and International Professional Societies and
      Licensing Boards re ECFMG Irregular Behavior and Associated Actions/Sanctions (3/1/17)
28.   USMLE Application completed by Dr. John Nosa Akoda (12/31/95)
29.   USMLE Application completed by Dr. John Nosa Akoda (8/29/96)
30.   Medical Diploma from the University of Benin to Dr. Johnbull Enosakhare Akoda (2/6/88)
31.   ECFMG Standard Certificate Awarded to Dr. John Nosa Akoda (8/18/97)
32.   Printouts of Dr. John Nosa Akoda’s ECFMG Record
33.   Correspondence from Stephen S. Seeling, JD (ECFMG) to James McCorkel, PhD, Jersey Shore
      Medical Center (8/22/00)
34.   Request for Permanent Validation of Standard ECFMG Certificate by Dr. John-Charles Akoda
      (9/2/98)
35.   Correspondence from James McCorkel, PhD, Jersey Shore Medical Center to Rice Holms, ECFMG
      (8/11/00)
36.   Correspondence from Stephen Seeling, JD to James McCorkel, PhD (8/22/00)
37.   Correspondence from William C. Kelly to Dr. John Akoda (8/22/00)




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38.   Memorandum from William C. Kelly to Dr. John Akoda File (8/28/00)
39.   Correspondence from Dr. John Akoda to William C. Kelly (8/29/00)
40.   Correspondence from William C. Kelly to Dr. John Akoda File (9/13/00)
41.   Correspondence from William C. Kelly to Dr. John Akoda File (9/27/00)
42.   Republic of Nigeria Passport for John Nosakhane Charles Akoda Birthdate 1/1/59
43.   Transcript of Appeal Procedures ECFMG for Igberase Oluwafemi Charles (7/10/96)
44.   Notes of Telephone Conversation with William C. Kelly and Dr. McCorkel re Dr. Akoda (10/5/00)
45.   E-mail correspondence from John Akoda, MD (Ferni Charles) to William C. Kelly (12/21/00)
46.   Correspondence from William C. Kelly to Dr. John Akoda’s File (12/21/00)
47.   Memorandum from William C. Kelly to Stephen S. Seeling, JD (12/22/00)
48.   Correspondence from Ramon Heard, Senior Investigator, Office of Professional Discipline, New
      York to Stephen S. Seeling, JD (12/17/02)
49.   Correspondence from William C. Kelly to Ramon Heard (1/14/03)
50.   Correspondence from Ramon Heard to William C. Kelly (3/31/03)
51.   Correspondence from William C. Kelly to Ramon Heard (4/29/03)
52.   ERAS Residency Application Submission Form for John C. Nosa Akoda, MD (10/3/06)
53.   Letter of Reference for Dr. Akoda from Dr. Charles A. Francis, MD (10/1/06)
54.   Correspondence from William C. Kelly to Dr. Charles A. Francis, MD (11/22/06)
55.   Letter for reference for Dr. John-Charles Nosa Akoda from Dr. A.O. Roberts, Head of OBGYN,
      University of Ibadan, Nigeria (8/20/06)
56.   Correspondence from William C. Kelly to Dr. A.O. Roberts (11/22/06)
57.   Letter for Reference for Dr. John-Charles Akoda from Phil Robertson, MD, Medical Director of
      MaxiCare Inc. (9/28/06)
58.   Correspondence from William C. Kelly to Phil Robertson, MD (11/22/06)
59.   ECFMG Computer Printout for Dr. Akoda’s file (8/14/00)
60.   Deposition of Stephen Seeling, JD, Vice President of Operations, ECFMG (9/16/19)
61.   Deposition of Kara Corado, JD, Current VP of Operations ECFMG (9/10/19)
62.   Maryland State Board of Physicians Final Decision and Order re Charles Akoda, MD (7/10/17)
63.   Virginia Department of Health Professions Order of Mandatory Suspension re Charles Akoda,
      MD (4/25/17)
64.   Educational Commission for Foreign Medical Graduates Website (https://www.ecfmg.org/)




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    D. Introduction:

Mr. Schochor and Mr. Ceryes have asked me to articulate my expert opinions as to the issues of
corporate responsibility of the Educational Commission for Foreign Medical Graduates (ECFMG)
pursuant to its certification of Oluwafemi Charles Igberase AKA Johnbull Enosakhare Akoda AKA multiple
other aliases.


    E. Expert Opinions

    I.       To a reasonable degree of professional and administrative certainty, the
             Educational Commission for Foreign Medical Graduates (ECFMG) negligently
             certified Oluwafemi Charles Igberase AKA Johnbull Enosakhare Akoda AKA
             multiple other aliases which placed residency programs and the public at risk for
             having an unqualified individual and self-acknowledged felon providing medical
             services to those who rely on ECFMG to serve as an effective “gatekeeper” upon
             which the healthcare system can rely to protect the public from inadvertent harm




    F. Foundations for Expert Opinion

                1. Background of the Educational Commission for Foreign Medical Graduates
                    (ECFMG) and its mission

Established in 1956 as a private not for profit organization, The Evaluation Service for Foreign Medical
Graduates (ESFMG) was established to meet the growing needs of the US healthcare industry to utilize
foreign medical graduates to fulfill rapidly growing demand both in its graduate medical education
(GME) programs and in the US healthcare system at large. The organization then changed its name to
the Educational Council for Foreign Medical Graduates (ECFMG) and developed the first ECFMG
certification program which consisted of a basic sciences exam and English language proficiency test. In
1958, the organization administered its first exams and certified its first foreign medical graduates. The
AMA and AHA recognized ECFMG as the primary certifying body for foreign medical graduates seeking
to enter the United States healthcare system. In 1974, ECFMG merged with the Commission of Foreign
Medical Graduates (CFMG) and the combined organization was named the Educational Commission for
Foreign Medical Graduates and combined the certification exam with conducting research on
international medical graduates and monitoring the visas for exchange foreign medical visitors
(currently the J-1 visa program). Over the years, it has grown its database entitled the Electronic
Portfolio of International Credentials (EPIC) to be a primary source verification tool for healthcare
organizations with regards to foreign medical graduates. ECFMG partnered with the National Board of
Medical Examiners to create the United States Medical Licensure Examination (USMLE) which now
includes Step 1 (basic sciences), Step 2CK (clinical knowledge), Step 2CS (clinical skills), and Step 3



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(clinical management in ambulatory settings) as well as an English Proficiency examination. Other
programs include:

       Exchange Visitor Sponsorship Program (EVSP) for J-1 visa recipients
       Electronic Residency Application Service (ERAS) to transmit credentialing data to potential
        residency programs
       Certification Verification Services (CVS) that confirms ECFMG certification or accreditors and
        outside agencies
       ECFMG Certificate Holders’ Office (ECHO) which helps foreign medical graduates who become
        ECFMG certified to stay in touch with ECFMG
       Foundation for Advancement of International Medical Education and Research (FAIMER) which
        performs research to enrich foreign medical education
       GEMx which is a program that promotes foreign medical graduate exchanges

Through its work, ECFMG has enabled international medical graduates (IMGs) to integrate into the US
healthcare system and IMGs now make up 25% of the physician workforce in this country. Today,
ECFMG has over 800 employees and net assets of over $165 million and is the pre-eminent ‘gatekeeper’
for foreign medical graduates who wish to enter the United States healthcare system.



                2. The primary purpose of ECFMG is to serve as a ‘gatekeeper’ to ensure that foreign
                    medical graduates meet established criteria to transition into the United States
                    Healthcare System

ECFMG states the following on its website as its mission: “The ECFMG promotes quality health care for
the public by certifying international medical graduates for entry into U.S. graduate medical education,
and by participating in the evaluation and certification of other physicians and health care professionals
nationally and internationally. In conjunction with its Foundation for Advancement of International
Medical Education and Research (FAIMER), and other partners, it actively seeks opportunities to
promote medical education through programmatic and research activities.”

To be certified by ECFMG, a foreign medical graduate must successfully complete the following
requirements:

     A medical school listed in the “World Directory of Medical Schools” which meets ECFMG’s
      requirements
     Complete a medical school listed in the “World Directory of Medical Schools” during eligible
      years per ECFMG
     Submit an application for the ECFMG Certification Examination that includes a confirmation of
      identity, local address, and medical school graduation
     Pass the medical science examination requirement (USMLE Step 1 and Step 2 CK)
     Pass the clinical skills requirement (USMLE Step 2 CS)
     Pass the English Proficiency Examination




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Once the certification process is successfully completed, the candidate is awarded an ECFMG Certificate
that is numbered and dated. This certificate and its number must be referenced when applying for a
medical license or ACGME residency program in the United States.

Among its stated purposes, ECFMG includes the following:

     Certify the readiness of international medical graduates for entry into graduate medical
      education and health care systems in the United States through an evaluation of their
      qualifications.
     Verify credentials and provide other services to health care professionals worldwide.

Finally, ECFMG states the following as its core values:

“Improving world health through excellence in medical education in the context of ECFMG’s core values
of collaboration, professionalism and accountability.”

Thus, through its certification process, ECFMG certifies the readiness of international medical
graduates, verifies credentials, confirms the identity, local address, and medical school graduation of
its foreign medical graduate applicants, and improves world health through its accountability to the
healthcare entities it serves as both a ‘gate keeper’ and a repository of information with regards to the
qualifications of FMGs who desire to enter the US healthcare system.



                3. US Licensure Bodies, ACGME accredited Residency Programs and the public at
                     large rely on ECFMG to serve as an effective ‘gatekeeper’

US Licensure bodies, ACGME accredited residency programs rely on ECFMG’s ability to: certify the
readiness of international medical graduates, verify credentials, confirm the identity, local address, and
medical school graduation of its foreign medical graduate applicants and this was confirmed in the 30
(b) (6) deposition of Kara Corado, JD, Current Vice President of Operations at ECFMG:

“Do hospitals rely on ECFMG to provide primary-source verification of a physician's medical credentials
as part of the application process? A- I'm not sure if hospitals have a requirement to primary-source
verified medical education credentials. If they do, they can use an ECFMG certification report to
indicate whether or not a physician is certified by ECFMG which would include primary-source
verification of their medical education credentials. Q. You're aware that hospitals do use ECFMG for
that purpose? A. Yes.” (pages 42-43)

Commentary: Hospitals are required to primary source verify a physician’s medical education and
training as well as his/her identity (through at least two separate sources), and nationality (eligibility to
apply and meet the organization’s criteria for membership and privileges.
“Q. What's in an ECFMG report to the hospital? A. The status report would contain the physician's
name; date of birth; the name of the medical school, and the country of the medical school where
they went to school; their year of graduation; whether or not they are ECFMG certified, and what the




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validity of that certification is, whether it's valid indefinitely or expired, et cetera; and there may be
score information on examinations, it depends on who the recipient of the report is. Q. Was that also
true back in the late 1990s when Akoda was applying for residency programs? A. Yes. Q. Was that also
true in the mid-2000s when Akoda was applying for residency programs? A. Yes.” (pages 44-45)

“Q. Is it ECFMG's expectation that state medical boards will rely on reports of ECFMG certification
status for any purpose? A. Yes. Q. Is it ECFMG's expectation that residency programs, such as that at
Howard University, would rely on ECFMG status for any purpose? A. Yes, to demarcate that that
person met the certification so they could enter GME among whatever other requirements the
program had. Q. It is ECFMG's expectation that hospitals that are considering whether to grant clinical
privileges to a physician rely on ECFMG status for any purpose? A. I think it would be fair to say that
they have the same expectation as the licensing board and the residency programs have on the status
reports; on ECFMG providing information about certificate status.” (pages 247-248)

Stephen Seeling, JD, Former Vice President of Operations at ECFMG agrees:

“Q. Generally speaking, was it your understanding that residency programs would not attempt to
verify a foreign medical graduate's diploma on their own but instead would rely upon determination
of that diploma's veracity or authenticity? A-Generally speaking, I think that's true.” (page 26)

Commentary:

Thus, while it is true that licensure bodies, ACGME accredited residency programs and other accreditors
(The Joint Commission) perform their own assessments of the qualifications of physicians working
within the US healthcare system, they rely on ECFMG to accurately verify the: the readiness of
international medical graduates, verifies credentials, confirms the identity, local address, and medical
school graduation of its foreign medical graduate applicants entering the US healthcare system.




                4. Oluwafemi Charles Igberase AKA Johnbull Enosakhare Akoda AKA multiple other
                    aliases established himself as engaging in multiple confirmed examples of
                    ‘irregular behavior’ violating the established requirements of ECFMG

According to the 1996 United States Medical Licensing Examination (USMLE) Bulletin of Information:
Irregular behavior includes all actions on the part of applicants or examinees….that subvert or
attempt to subvert the examination process. Specific examples of irregular behavior include but are
not limited to the following: ….falsifying information on the application or registration forms;
impersonating an examinee or engaging a proxy to take the examination;…In addition to actions
described in this section, appropriate legal action will be taken when any such infringement has
occurred. If upon review and analysis of all available information, it is determined that irregular
behavior has occurred, an annotation of this determination will be entered in the applicant’s USMLE




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record and will appear on applicable score reports and on transcripts. All medical licensing authorities
having received a transcript for this examinee in the past will receive an updated transcript. If it is
determined that the irregular behavior threatens the future integrity of the examination system, the
examinee may be barred from future USMLE steps. The USMLE program reserves the right to bar an
individual from USMLE or to have special test administration procedures implemented when
information on behavior of examinees on USMLE or on predecessors of the USMLE system indicates
such actions may be necessary to ensure the security of USMLE“ (pages 22-25)

On October, 1991 a man by the ‘name’ of Oluwafemi Charles Igberase enters the United States on a
non-immigrant visa. Mr. Igberase allegedly completes his PG-1 and PG-2 years in the Department of
OBGYN at the University of Ibadan in Nigeria with outstanding standardized testing scores (99%tile)
from June, 1990-July, 1992 despite the fact that he entered the United States in October, 1991.

In November, 1991, Mr. Igberase applies for a social security number and receives a social security
number ending 5054 with a birth date of April 17, 1962.

In March 31, 1992 Mr. Igberase submits an application to the Educational Commission for Foreign
Medical Graduates (ECFMG) certification utilizing the name Oluwafemi Charles Igberase utilizing the SSN
ending 5054 and a birth date of April 17, 1962

According to William C. Kelly, Mr. Igberase did not complete his application to ECFMG properly:

“Q. We have the section here which requests a certification from medical school official regarding
the photograph that is included as part of the application. To your understanding, Mr. Kelly, what is the
purpose of having a medical school official certify that the photograph, signature, and information on
the form accurately applies to the individual named above? A. My recollection it was to help confirm
this was the individual who went to that medical school. Q. Now, in this particular application on behalf
of Igberase, there is no certification from a medical school official, correct? A. That is correct. Q.
However, there is an option as I understand it that there would be a notarized -- a signature from a
Notary and an explanation as to why the form could not be signed in the presence of a medical school
dean; is that correct? A. That is correct. Q. Those are two separate options that the applicant can select
in completing this application? A. Yes. Q. On this particular application there's no explanation provided
at all, correct? A. On this form, that is correct. Q. With respect to this form, it would not represent a
completed application on behalf of Igberase? A. Yeah, I don't know that I would say – all the information
is not on this form…” (Deposition of William C. Kelly, pages 181-183)

The following events transpired between 1992 and 1994:

July, 1992: Mr. Igberase fails both the basic medical science and clinical science of the ECFMG
certification exam.

January, 1993: Mr. Igberase fails the basic medical science portion of the ECFMG certification exam.




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September, 1993: Mr. Igberase sits for the three step United States Medical Licensing Exam (USMLE)
and fails step 1.

1992-September 1993: Mr. Igberase sits for ECFMG certification examination and passes all three parts
under the name of Oluwafemi Charles Igberase and a false birth date.

March, 1994: Mr. Akoda applies for a second ECFMG certification under the name of Igberase
Oluwafemi Charles.

August, 1994-September 1994: Mr. “Charles” passes all three parts of the USMLE.

According to the 1995 ECFMG Information Booklet, no steps that have been passed can be repeated
within a seven-year period:

1995: ECFMG Information Booklet:

“Is there a limit to the number of times an applicant can take Step 1 and Step 2?

Answer: For purposes of ECFMG certification, there is no limit on the number of attempts of step 1 and
step 2 until one or both steps have been passed. If one step is passed, applicants may not repeat that
step and will have seven years to pass the other step….If the other step is not passed within a
maximum of seven years, the applicant’s previous passing score will no longer be valid and the entire
process must be repeated.” (page 1)


In January, 1995, Mr. Igberase applies for a second social security number ending 9065 under the name
of Charles Oluwafemi Igberase, Jr. and a false birth date

According to a June 22, 1995 Correspondence from William C. Kelly, Manager of Medical Education to
Mr. Charles Olufemi Igberase, Mr. Kelly documents the following to Mr. Charles Olufemi Igberase:

•      Dr. Igberase misrepresented that he had never taken the ECFMG examination before or
completed a prior ECFMG application (September, 1994)
•      Dr. igberase represented his name as Igberase Oluwafemi Charles (September, 1994)
•      Dr. Igberase represented his birth date as 4/17/61 (September, 1994)
•      He was issued a prior ECFMG/USMLE identification number of 0-519-573-0
•      He represented his name as Oluwafemi Charles Igberase (July, 1992)
•      He represented his birth date as 4/17/62 (July, 1992)
•      He failed both step 1 and step 2 in July, 1992
•      He failed step 1 in September, 1992
•      He failed step 1 and passed step 2 and the English test in January, 1993
•      He passed step 1, met the medical educational credentialing requirement and was issued an
ECFMG Certificate # 0-482-700-2 in July, 1993
•      Contrary to ECFMG rules (see booklet), he repeated step 1 in September, 1994 which he passed




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Mr. Charles is asked to provide immediate input and provides the following correspondence back to Mr.
Kelly in July 14, 1995: Mr. Charles admits that he:

•       Attempted to get into to “150” residency programs but that his ECFMG scores were not
competitive enough
•       Knowingly lied about having taken the tests before in order to get a new identification number
and to improve upon his ECFMG scores
•       The error in date of birth (1961 v. 1962) was inadvertent (actual birthdate is 4/17/62)
•       Actual name is Igberase Oluwafemi-Charles (0-519-573-0)

As a part of the application process, Mr. Igberase signed and agreed to abide by the following
statement:

July, 1995: Education Commission for Foreign Medical Graduates Application Form
Part C: Certification by Applicant

“I hereby certify that the information in this application is true and accurate to the best of my
knowledge and that the photographs enclosed are recent photographs of me.”

“I understand that the 1)falsification of this application or the 2) submission of any false educational
documents to ECFMG….or any other conduct that subverts or attempts to subvert the examination
process may be sufficient cause for ECFMG to bar me from the examination, to terminate my
participation in the examination, to withhold or invalidate the results of my examination, to withhold
a certificate, to revoke a certificate, or to take other appropriate action.”

As a result, on December 7, 1995 The ECFMG Committee revokes Mr. Akoda’s ECFMG certification due
to the discovery that he submitted two separate applications utilizing two different names with two
different SSNs, and two different dates of birth.

That day, William C. Kelly notifies Mr. Igberase the following:
Correspondence from William C. Kelly to Mr. Igberase Olufemi-Charles (12/7/95):

Formal actions of ECFMG Committee on Medical Education Credentials include:

•     Revoke the first standard ECFMG Certificate issued under the number 0-482-700-2
•     Invalidate the second standard ECFMG Certificate issued under the second number 0-519-573-0
•     Report the actions to USMLE Committee on Irregular Behavior for further determination as
deemed appropriate

In December 31, 1995 Mr. Igberase applies for the USMLE examination under one of his aliases John
Nosa Akoda. He states that he graduated from the University of Benin, Nigeria (10/87), birthdate
1/1/59, no social security number, no prior exam or ECFMG number, could not sign in front of medical
school dean due to inconsistent mail delivery.




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1996: United States Medical Licensing Examination (USMLE) Bulletin of Information unequivocally
states that:

“Your identity will be verified before you are admitted to the testing room and at other times during
the examination.” (page 17)

On March 7, 1996, ECFMG receives a request from Dr. Charles to appeal the decision to revoke his
ECFMG Standard Certificate numbered 0-482-700-2.

It should be noted that Mr. Igberase and Mr. Akoda provide different medical school diplomas for the
ECFMG credentialing process:

June 19, 1987: Medical Diploma from the University of Ibadan to Dr. Charles Olufemi Igberase

There is no verification that the confirmation of this diploma was ever verified as being true and
accurate.

February 6, 1988: Medical Diploma from the University of Benin to Dr. Johnbull Enosakhare Akoda

There is no verification that the confirmation of this diploma was ever verified as being true and
accurate.

Thus, since one person cannot complete both schools within eight months, it is clear that one or both
diplomas is not genuine and that Mr. Igberase AKA Mr. Akoda may or may not be a physician and have
completed medical school in Nigeria.

On July 10, 1996, Mr. Charles appears before an appeals board of ECFMG in Washington DC consisting of
Floyd Malveaux, MD, PhD, Marvin M. Dunn, MD, and Alexander H. Williams III and they uphold the
original decision except that they limit the revocation of the ECFMG Standard Certificate numbered 0-
482-700-2 to five years from July 10, 1996-July 10, 2001 at which time the certificate may be reinstated
if he meets all other eligibility criteria.

On August 29, 1996, a USMLE Application is completed by Dr. John Nosa Akoda. Mr. Akoda applies for a
third application for ECFMG Certification under the name of John Nosa Akoda utilizing a false Nigerian
Passport. Again, no social security number, same false birthdate, and he applied for prior exam with
ECFMG number the year prior but was unable to make the exam.

Mr. Akoda passes all three steps of the USMLE and receives a third ECFMG Certification under the Akoda
name (ECFMG Number 0-553-258-5) on August 18, 1997.

On, September, 1998, Mr. Akoda applies for a third social security number ending 7353 under the name
of Oluwafemi Igberase with a false birthdate and uses this SSN to fraudulently apply for federal
education loans for his children.




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In 1999, Mr. Akoda applies for and receives a fourth social security number ending 1623.

Commentary: It is clear that Mr. Igberase AKA Mr. Akoda falsified his name, social security number,
birthdate, ECFMG Number, passport, and statements alleging he had never taken the USMLE exam on
any prior occasion innumerable times and had one his ECFMG certificates invalidated and the preceding
one revoked for five years due to ‘irregular behavior’. Mr. Igberase AKA Mr. Akoda clearly intended to
defraud the Educational Commission for Foreign Medical Graduates and engage in ‘irregular behavior’
over an eight-year period and thus undermined the security and integrity of the ECFMG certification
process.




                5. Charles Olufemi Igberase AKA Johnbull Enosakhare Akoda AKA multiple other
                    aliases confirmed to ECFMG that he engaged in social security and identity fraud

On August 11, 2000, Dr. James McCorkel, Residency Director at Jersey Shore Medical Center, Neptune
City, New Jersey where Mr. Akoda was serving as a resident wrote to Rice Holms at ECFMG inquiring as
to whether “Dr.” Akoda went under aliases with differing birthdates, ECFMG certificate numbers, dates
of graduation from medical school and social security numbers.

The matter is referred to Stephen Seeling, JD, Vice President of Operations who responds to Dr.
McCorkel on August 22, 2000 confirming that “Dr.” Akoda has three identities, two social security
numbers, three dates of birth, two medical schools and three ECFMG numbers.

August 22, 2000: Correspondence from Stephen S. Seeling, JD (ECFMG) to James McCorkel, PhD, Jersey
Shore Medical Center

“An inquiry is made as to whether Dr. John Nosa Akoda (birthdate 1/1/59) end social security number
of 9065 has another identity and ECFMG shares their information regarding Olafuwemi Charles
Igberase with a different birthdate (4/17/62), medical school, ECFMG number 0-482-700-2, end social
security number 5054 and the recent revocation of his ECFMG Standard Certificate due to irregular
behavior. In addition, they shared that this physician is also “Dr. Igberase Olafuwemi Charles”
(birthdate 4/17/61) and ECFMG Identification Number 0-519-573-0 without any social security
number. This ECFMG Certificate was invalidated in November, 1995.”

That same day, William C. Kelly writes to “Dr.” Akoda sharing the allegations and investigation at Jersey
Shore Medical Center and requests an immediate explanation.


On August 29, 2000, “Dr.” Akoda responds to Mr. Kelly and claims that the allegations that he has at
least three identities is false and that Dr. Igberase Olafuwemi-Charles is his cousin who is now practicing
in South Africa. He does acknowledge that he utilized Dr. Charles’ social security number while awaiting
his own.




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On September 27, 2000, Dr. Akoda stops by ECFMG to reiterate that he is not “Dr.” Charles although
he utilized his (“Dr.” Charles’) social security number and left copies of his Nigeria Passport and
International Driving Permit.

On December 21, 2000 Mr. Kelly is notified by Dr. McCorkel that “Dr.” Akoda has been suspended from
Jersey Shore Medical Center (he choses not to appeal the decision) on November 17, 2000 for the
following reasons:

•       Used a false social security number to apply to the hospital (of his ‘cousin’ Charles Igberase)
•       The two green cards utilized had different numbers, names, expiration dates, and dates of
birth

On December 22, 2000, William C. Kelly informs Stephen S. Seeling, JD that he believes that “Dr.” John
Akoda and “Dr.” Igberase are one and the same person because:

•       Dr. McCorkel has information from an unnamed informant
•       Dr. Igberase does not respond to his attempts to contact him
•       Dr. Igberase’s address is ‘correct’; however, his phone number is not
•       Dr. Akoda responds to Dr. Igberase’s e-mail requests


On April 18, 2001 the ECFMG Committee on Medical Education Credentials met to discuss the falsified
application from “Dr. Femi Charles Igberaese” and decided to:

•       Extend the revocation of ECGME Certificate for an unspecified period and to notify the
Federation of State Medical Boards Action Data Bank, Graduate Medical Residency Program Directors,
Canadian Licensing entities and refer the matter to the USMLE Committee on Irregular Behavior

On March 13, 2002, a USMLE Application completed by Dr. Charles Oluwafemi Igberaese. A birthdate is
listed as 3/1/67 with ‘non-guaranteed mailing system’, no prior ECGME identification number, no prior
exam history, and no social security number listed

On May 22, 2002, William C. Kelly notifies “Dr. Oluwafemi Charles Igberase that the ECGME Medical
Education Credentials Committee met again in May, 2002 and decided to permanently revoke his
Standard ECFMG Certificate and to report his irregular behavior to The Federation of State Medical
Boards, to the Graduate Medical Education Program Directors, and other interested entities.


On July 22, 2002, William C. Kelly notifies “Dr.” Charles Igberaese Oluwafemi that there were
irregularities in the March 13, 2002 application in which he checked that he had no prior ECFMG number
and had never taken a prior examination, a date of birth of March 1, 1967, a medical school diploma
from the University of Ibadan, Nigeria dated June 18, 1996, attested that the information provided was




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true and accurate. Mr. Kelly requests an explanation within 15 days of receipt and that he is ineligible to
sit for any examinations.

On November 12, 2002, William C. Kelly notifies “Dr.” Igberase Oluwafemi-Charles (ECFMG NO. 0-482-
700-2) that the ECGME Medical Education Credentials Committee met and affirmed to permanently
revoke his Standard ECFMG Certificate and to report his irregular behavior to the USFLE, The Federation
of State Medical Boards, to the Graduate Medical Education Program Directors, and other interested
entities.


On June 17, 2003, Susan Deltsch notifies “Dr.” Charles Ugberaese Oluwafemi (6/17/03) that the USMLE
Committee on Irregular Behavior has determined that Dr. Oluwafemi’s behavior through the multiple
applications has been irregular and thus recommend that:There be a permanent bar to him taking a
USMLE exam until such time as a State Licensing Board requests that he be permitted to take the exam
based upon his full disclosure of the events which led to this decision.

In 2006, Mr. Akoda is accepted into a second residency program utilizing a false permanent resident
card utilizing the name John-Charles Akoda and a social security number provided by another individual
in 1999.

In August 20, 2006 there are three letters of reference for “Dr.” John-Charles Nosa Akoda including
references from:

    1. Dr. A.O. Roberts, Head of OBGYN, University of Ibadan, Nigeria (who could not be identified nor
       found) who states that “Dr.” Akoda completed his PG-1 and PG-2 years OBGYN Residency
       Program from June, 1990-July, 1992 despite the fact that “Dr.” Akoda was documented as being
       in the United States throughout a significant part of that timeframe


    2. September 28, 2006 letter of Reference for “Dr.” John-Charles Akoda from Phil Robertson, MD,
       Medical Director of MaxiCare Inc. (which is not found on the internet with any url address and
       who could not be identified nor found) and which states that Dr. Akoda received his New York
       State nursing license through this corporation


    3. Letter of Reference for Dr. Akoda from Dr. Charles A. Francis, MD (who could not be identified
       nor located)


In March, 2007, Mr. Akoda is accepted into yet another residency program and from 2008-2012: Prince
George’s Hospital Center permits Mr. Akoda to rotate through its premises as a resident in medicine and
surgery




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In 2011, Mr. Akoda applies for a Maryland medical license utilizing a false permanent resident card
and a false Nigerian passport as well as the SSN ending 1623 under the name Charles John Nosa Akoda

On September 14, 2011, The State of Maryland issues Mr. Akoda a medical license under the name of
Charles John Nosa Akoda (#D73049)

From March, 2012- September 30, 2016, Mr. Akoda applies for medical staff membership and
privileges as an OBGYN at Prince George’s Hospital Center utilizing a false permanent address and
false Maryland driver’s license and serves on staff fraudulently as an OBGYN attending

On March 1, 2012, Mr. Akoda submits a Medicare enrollment application under the SSN 1623, a false
Maryland Driver’s license, and the Akoda name and is denied because he does not provide an accurate
social security number/

On June 1, 2016, The United States Attorney indicts Mr. Akoda for fraud and aggravated identity theft.
The indictment includes eleven aliases including Charles John Nosa Akoda.

On June 9, 2016, Law enforcement issues search warrants on Mr. Akoda and discover false: passports,
social security numbers (ending 1623 under John Charles N. Akoda), Nigerian passport, and US visa in
Akoda’s name. In addition, other fraudulent or altered documents relating to immigration, medical
diplomas, medical transcripts as well as letters of recommendation and birth certificates are found.
They also found fraudulent bank applications filed under the fourth SSN 1623.

On October 19, 2016, Mr. Akoda receives an indictment charging him with additional social security
fraud, false statements regarding a healthcare matter, an additional count of identity theft and fraud
as well as misuse of an immigration document.

On September 30, 2016, Mr. Akoda allows his medical license to expire while under investigation per
the Maryland Board of Physicians contrary to State law.

On November 15, 2016, Mr. Akoda pleads guilty to social security fraud as a part of plea bargain

On March 2, 2017, Mr. Akoda is sentenced to six months in prison as well as three years supervised
release and home detention for six months and a fine of $100

On April 4, 2017, The attorney general files a motion to revoke Mr. Akoda’s Maryland medical license

On April 25, 2017, Virginia Department of Health Professions Order of Mandatory Suspension re
Charles Akoda, MD and his right to renew his medical license in Virginia is suspended

On July 10, 2017, Mr. Akoda’s Maryland medical license is revoked

Commentary:




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As a credentialing expert for almost two decades who has reviewed thousands of credentialing files as
both a medical staff leader and national healthcare administrative consultant, who has participated and
testified in many negligent credentialing law suits and who has written chapters and articles on the
subject, this may be the greatest case of deliberate certification and credentialing fraud that I have
encountered. There are so many deliberate uses of fraudulent techniques by Mr. Akoda AKA Igberase
that I cannot count nor inventory them.

It is unclear to me and has not in any way been verified in this case:

    A.   That Mr. Akoda/Igberase/Charles is who he says he is
    B.   What the true birthdate of this individual is
    C.   What the true country of origin of this individual is
    D.   Whether this individual attended and completed any undergraduate medical education and is in
         fact a physician or not
    E.   What the true social security number of this individual is
    F.   What the true purpose of his residence in the United States is
    G.   Who or what is providing him with the wealth of false and fraudulent documentation that he
         has utilized (and may be continuing to utilize)
    H.   Whether he continues to ‘practice medicine’ in the United States with or without a medical or
         DEA license
    I.   The motivation of the ‘informant’ who tipped Dr. McCorkel off to the nature of Mr. ‘Akoda’s’
         deceptions

Thus, this case raises serious concerns as to ECFMG’s commitment to its own self-professed certification
process and to the wellbeing and safety of the public whom it ultimately serves.

                6. ECFMG claims that it has no obligation to the public to screen foreign medical
                    graduates who violate the law and who may be a risk to the healthcare system at
                    large

The primary purpose of certification and credentialing is to protect the public from potentially
unqualified or even dangerous professionals. It is true that the state licensure bodies, ACGME accredited
residency programs and hospitals have their own unique credentialing programs with varied
credentialing criteria that must be applied to screen potential candidates. That being said, the
Educational Commission for Foreign Medical Graduates (ECFMG) also has its own certification process
based upon criteria outlined in its website and articulated by its executives and managers under oath.

First, ECFMG agrees on its web site that it has a primary responsibility to protect the public and to
ensure that quality healthcare is delivered in the United States by its foreign medical graduates who
receive ECFMG certification:
“Overview
ECFMG is a world leader in promoting quality health care—serving physicians, members of the medical
education and regulatory communities, health care consumers, and those researching issues in medical
education and health workforce planning.”




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“ECFMG’s commitment to promoting excellence in international medical education led to the
establishment of its nonprofit foundation, the Foundation for Advancement of International Medical
Education and Research (FAIMER®)”

“The values of ECFMG are expressed in its vision statement:
“Improving world health through excellence in medical education in the context of ECFMG’s core
values of collaboration, professionalism and accountability.”

“The purposes (goals) that actuate and accomplish ECFMG’s mission are to:
Certify the readiness of international medical graduates for entry into graduate medical education
and health care systems in the United States through an evaluation of their qualifications.”

“Verify credentials and provide other services to health care professionals worldwide.”

Improve the quality of health care by providing research and consultation services to institutions that
evaluate international medical graduates for entry into their country.”

“EPIC (Electronic Portfolio of International Credentials) is a powerful tool to help them evaluate the
credentials of their physician applicants, providing the assurance that those credentials have been
authenticated through primary-source verification, a best practice.”

“ECFMG’s electronic Credentials Verification is an innovative, web-based program for international
medical schools that makes the process of verifying credentials faster, easier, and more efficient. This
program enables schools to verify the credentials of their graduates electronically and replaces the
paper-based verification process.”

“Evaluating the readiness of IMGs to enter graduate medical education (GME) programs in the United
States has long been a concern of medical organizations, hospitals, state licensing agencies, and the
public.”

“In 2006, ECFMG celebrated 50 years of promoting excellence in international medical education.
Established to evaluate the qualifications of IMGs entering GME in the United States, ECFMG has
grown to meet the needs of physicians, health care consumers, medical educators, researchers in
medical education and health workforce planning, licensing and credentialing agencies, and those
involved in the evaluation and certification of health care professionals, both in the United States and
abroad.”

These goals and values were shared by executives and management of ECFMG through their sworn
testimony:
“ECFMG works on behalf of domestic regulatory authorities to protect the public through its programs
and services including primary source verification of physician credentials? A. I would say yes. Q.
Would it be accurate to say that ECFMG protects the public by, among other ways, seeing that foreign
medical graduates have completed an acceptable medical education? A. In that that's part of the




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certification process, yes. Q. And would it be accurate to say that ECFMG serves to protect the public
by seeing to it that foreign medical graduates can successfully pass the requirements of the USLME
examinations? A. Yes.” (Deposition of William C. Kelly, page 24)

“ECFMG serves the public in a number of ways. Our original program which was the certification
program severs the public in ensuring that those physicians that are educated outside of the U.S. and
Canada meet certain minimum requirements in order to enter an accredited residency program in the
United States. We also serve the public in facilitating an appropriate review of them, at the same time
making sure that we are efficient about doing it, because IMGs -- or International Medical Graduates
represent about 25 percent of the physicians that are working in the United States. So, it's important
from a physician-workforce point of view to make sure we have qualified physicians. So in those two
broad ways I would say that we serve the public.” (Deposition of Kara Corado, page 40)

“Q. Part of ECFMG's mission is to promote public health, correct? A. Part of ECFMG's mission is to
promote public health and to protect the public, yes.” (Deposition of Kara Corado, page 47)

“Q. Do you believe patients have the right to be treated by physicians who are appropriately
credentialed? A- Yes. Do you believe that patients have the right to not be treated by physicians who
have obtained ECFMG certification based on false pretenses? A- Yes.” (Deposition of Kara Corado,
pages 52-53)

“Q-…one of the things that ECFMG does for foreign medical graduates is to check and make sure they
went to medical school, correct? A- Yes. Q. And so part of that process is establishing that a medical
diploma provided by an applicant is authentic? A. Correct. Q. Another aspect of ensuring that
applicants have attended medical school is making sure that the medical diploma submitted by the
applicant actually belongs to the applicant. Fair? A- I think that's fair”

“Q. Generally speaking, was it your understanding that residency programs would not attempt to
verify a foreign medical graduate's diploma on their own but instead would rely upon determination
of that diploma's veracity or authenticity? A-Generally speaking, I think that's true.”

“Q-Did you have an understanding, while employed with ECFMG, as to whether state medical boards
required ECFMG certification for foreign medical graduates in order to license a physician? A- For an
unrestricted license, most states, if not all states, would require ECFMG certification.” (Deposition of
Stephen Seeling, JD, pages 23-26)

Thus, ECFMG makes a strong statement to the public that its primary goals and objectives include the
protection of the public through the use of credentialing criteria to evaluate foreign medical graduates
who desire to enter the US healthcare system.

Unfortunately, there were significant lapses pertaining to the case of Mr. Akoda AKA Igberase AKA
multiple aliases that were acknowledged by members of the management team at ECFMG.

As a reminder ECFMG attests that among its certification criteria are:




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ECFMG certifies the readiness of international medical graduates, verifies credentials, confirms the
identity, local address, and medical school graduation of its foreign medical graduate applicants, and
improves world health through its accountability to the healthcare entities it serves as both a ‘gate
keeper’ and a repository of information with regards to the qualifications of FMGs who desire to enter
the US healthcare system.

     Mr. Kelly testifies that Mr. Igberase submits an application in 1992 in which there is NO
      certification by his medical school of Mr. Igberase’s photo (which would confirm that he
      attended that school) nor was there a notarized statement as to why the Dean’s Office of the
      Medical School could not certify the school, thus rendering the application ‘incomplete’ and
      ineligible to be processed:

“Q. We have the section here which requests a certification from medical school official regarding
the photograph that is included as part of the application. To your understanding, Mr. Kelly, what is
the purpose of having a medical school official certify that the photograph, signature, and information
on the form accurately applies to the individual named above? A. My recollection it was to help
confirm this was the individual who went to that medical school. Q. Now, in this particular application
on behalf of Igberase, there is no certification from a medical school official, correct? A. That is
correct. Q. However, there is an option as I understand it that there would be a notarized -- a
signature from a Notary and an explanation as to why the form could not be signed in the presence of
a medical school dean; is that correct? A. That is correct. Q. Those are two separate options that the
applicant can select in completing this application? A. Yes. Q. On this particular application there's no
explanation provided at all, correct? A. On this form, that is correct. Q. With respect to this form, it
would not represent a completed application on behalf of Igberase? A. Yeah, I don't know that I
would say – all the information is not on this form, yes. (Deposition of William C. Kelly, pages 181-183)

     On September 27, 2000, Mr. Akoda stopped by ECFMG to reiterate that he is not Dr. Charles
      although he utilized his social security number and left copies of his Nigeria Passport and
      International Driving Permit. Mr. Kelly does nothing to verify the Nigerian Passport nor the
      International Driving Permit to ensure that they are valid and belong to the individual
      identified, despite the fact that the State and Social Security Departments have ample
      capability to perform such verifications. He also makes no attempt to notify the Department
      of Justice or Social Security Department that Mr. Akoda and Mr. Igberase may be one and the
      same individual and that Mr. Akoda may be involved in social security fraud and thus may be
      in the United States under a false identity.

“Q. And did you ever go back and check the date of birth on his passport in comparison with the
date of birth on Exhibit 33, his request for permanent revalidation of standard ECFMG certificate? A. I
don't know if I did. Q. Do you know how you would go about checking the authenticity of a Nigerian
passport? A. Do I know? Q. Did you know at that time? A. I may have.” (Deposition of William C. Kelly,
page 127)




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“I Googled Nigerian passports and that search tells me that a Nigerian passport has eight digits and
one letter. How many digits do you see on the passport that I just marked as an exhibit? A. Are you
talking about the passport number? Q. Yes, sir. A. It looks like one letter and six numbers -- six digits.
Q. I think it is seven. A. Counting zero, yes.” (Deposition of William C. Kelly, page 129)

“Q. So either before Akoda came into your office on September 27 or after he came into your office,
did you undertake any investigation of your database to try to determine whether Akoda and
Igberase were one and the same person? A. I don't remember. Q. If you, either before or after
September” 27, had gone into the database to look for a photograph of Igberase and looked for a
photograph of Akoda, you could have done that? A. I believe I could have, yes. Q. You didn't do that?
A. I don't know if I did. (Deposition of William C. Kelly, pages 130-131)

“Q. Again, "he has given us a passport that appears to confirm his identify as John Akoda." You didn't
verify the authenticity of that passport, did you? A-I don’t remember. Q. Would it be safe or fair for
me to assume that if you had verified the accuracy or authenticity of his passport, you would have
made a statement to that effect somewhere? A. Yes.” (Deposition of William C. Kelly, pages 149-150)

     Despite the fact that Mr. Kelly suspected that Mr. Akoda and Mr. Igberase were the same
      individual, he never compared photographs with their respective applications to compare, nor
      did he consider referring the matter to a federal agency that would have had software tools to
      compare photographs for both authenticity and potential match.

“you had the ability to look up all the computer photographs of Igberase and Akoda to verify whether
they were one and the same person, correct? A-Yes. Q. And you didn't do that, correct? Q. So for
example, when he came into your office, you could have looked at photographs on the
computer, correct? A. Yes, that is correct. Q. Or when he left the office, you could have
done it? A. That is correct. Q. And you didn't? A. I don't remember doing it. (Deposition of William C.
Kelly pages 154-155)

     Mr. Kelly acknowledges that despite the overwhelming evidence of fraud and willful
      deception on the part of Mr. Akoda, Mr. Igberase, and his other aliases as of 2000, the ECFMG
      failed to take definitive action until 2016, despite the fact that this gentleman was actively
      caring for patients through various residencies and training programs during that time.

“Q. Well, I think we've also established that as of this date in late December 2000, you were present
during the July 10, 1996 appeal hearing where Charles testified, correct? A. Yes. Q. And you had the
ability to hear him testify at that proceeding? A. Yes. Q. And you heard him talk to you in your office
in September 2000, correct? A. When he came to the office, yes. Q. And you knew according to Doctor
McCorkel, at least, that Akoda had presented false green cards, correct? A. He had stated that, yes. Q.
You could have but didn't verify that the passport that Akoda gave you when he came to the your
office was authentic, correct? A. I did not verify the passport. Q. And as of late December 2000, you
knew that Jersey Shore Medical Center has dismissed Akoda from its residency program, correct? A.
Yes. Q. You knew that was at least in part due to the fact he used someone else's Social Security
number? A. Yes. Q. And you sent Igberase an e-mail at the address he provided and Akoda replied to
it. We've already established that, correct? A. Yes. Q. You were really surprised at that,
correct? A. Apparently, yes. Q. So Doctor McCorkel told you that he believed Igberase and Akoda were




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one and the same person as of December 2000, correct? A. Yes. Q. And you also believed Igberase and
Akoda were one and the same person, correct? A. Yes. Q. And you were so concerned about this that
you wrote a memorandum to Stephen Seeling that you didn't think should be made part of the file,
correct? A. Yes. Q. And in your original letter to Akoda after Doctor McCorkel contacted ECFMG, you
told him that all of the information would be referred to the ECFMG committee on medical
credentials for review, correct? A. Yes. Q. You didn't do that, right? A. Correct Q. So despite all of
these things that we just went over for the last couple of hours and in this last series of questions,
ECFMG took no action against Akoda until December 2016 following his conviction, isn't that true? A. I
don't know that. Q. Prior to the time you left in 2015, had ECFMG taken any action against Akoda? A. I
don't recall. Q. Would you admit in having made a mistake? A. Would I admit? Q. Yes. A. If I had, yes.
Q. Would you admit that you made a mistake not referring Akoda to the ECFMG credentials
committee? A. I don't think it was a mistake. (Deposition of William C. Kelly, pages 155-158)

    ECFMG has no verification of Mr. Akoda’s nursing New York State nursing license, despite the
     fact that Mr. Akoda AKA Mr. Igberase attests to have completed two separate medical schools
     in Nigeria and has no record of having ever attended nursing school anywhere.

“Do you know whether there's any document in ECFMG's files that ever reflects that Igberase was
licensed as a nurse in New York? A. Separate from this statement here? Q. Separate from the
information here. A. I have no knowledge.” (Deposition of William C. Kelly, page 161)

    Mr. Kelly acknowledged that ECFMG only enters certain information from a foreign medical
     graduate’s USMLE application and not the complete set of data which would have enable
     cross comparisons of similar applications to see if they differed in a significant way

“Would ECFMG do that, I mean, input the information on the application any time an IMG
submitted this application, this type of application? A. The procedure was to enter some, but not
all of the information from the application.” (Deposition of William C. Kelly, page 31)

    None of Mr. Akoda’s letters of recommendation were verified as being true and accurate by
     Mr. Kelly

“Q. In this particular case you reviewed with Mr. Vettori a series of letters that you wrote in
response to an application written by Akoda asking those individuals to verify that the letters of
recommendation were authentic. Do you recall that? A. Yes. Q. Is that not something that you would
do in the normal course? A. That was not a routine procedure. Q. And as far as what is reflected in the
record and to the best of your recollection, none of those individuals responded to your letters,
correct? A. That is correct.” (Deposition of William C. Kelly, pages 196-197)

    Mr. Kelly acknowledged that Mr. Johnbull Nosa Akoda was certified by ECFMG and allowed to
     be licensed and apply to an ACGME accredited residency program despite the fact that ECFMG
     never primary source verified his medical school credentials, thus failing to perform one of
     ECFMG’s vital functions


“This is a medical degree of some sort, a purported medical degree for Johnbull Nosa Akoda. In your
review of the medical chart, you never received a medical degree in the name of John Nosa Akoda,
correct? A. There is none in these records. Q-Despite the fact that ECFMG had not received a medical



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diploma in the name of John Nosa Akoda, it nevertheless certified that John Nosa Akoda had satisfied
the requirements of ECFMG and could proceed on with residency training. Fair?A. And apply to
residency training, yes.” (Deposition of William C. Kelly, page 208)

     Mr. Kelly makes the decision to not submit Mr. Akoda to the ECFMG Credentials Committee
      despite the fact that there is a mountain of evidence by 2000 (as documented above) that Mr.
      Akoda AKA Mr. Igberase AKA Multiple Aliases engaged to multiple episodes of deception and
      fraud involving his name, birthdate, social security number, address, medical school etc.

“In this particular case you made the decision in 2000 that this -- the Akoda matter should not
proceed to the credentialing committee, correct? A. It was my belief that it should not at that time go
to the credentialing committee, yes. Q. Did you -- and ultimately you were the one responsible for,
following discussion with staff as to making that decision whether it should or should
not. Fair? A. At that time, yes. Q. And so in this situation what were the risks or what were the
potential bad outcomes or consequences that would be associated with bringing this issue to the
credentialing committee for their consideration? A. That there was not enough information for
them to be make an informed decision.” (Deposition of William C. Kelly, page 216)

     Ironically, Kara Corado, JD, Current VP of Operations testified that there were clear ECFMG
      policies and procedures guiding when ECFMG managers should refer matters of concern to the
      ECFMG Credentials Committee.

“Q. Is there another set of polices called -- that governs when to refer cases to the credentialing
committee? A. There are procedures that we follow that would govern that. Did any procedure exist
before that time that applied to how the organization should conduct irregular behavior
investigations and when the staff should refer matters to the creds committee? A. Yes, those
procedures that were documented in 2015 were the procedures that staff had been using at least
since I started working directly on cases of irregular behavior, which is 2008 onward, and my
understanding would be prior to that as well.” (Deposition of Kara Corado, JD, pages 57-58 and page
60)

     She also testified that the acts that occurred with the Akoda/Igberase series of applications
      would be sufficient to warrant a referral to the ECFMG Credentials Committee

“So the policies and procedures on irregular behavior indicate that if staff determines there is
sufficient evidence of irregular behavior the matter will be referred to the credentials committee. A.
Sufficient evidence, it depends on the case. For example, if it's a falsified credential and the school
responded and said the diploma is false, then that response would be sufficient evidence to make an
allegation of irregular behavior on a falsified credential.” (Deposition of Kara Corado, JD, page 77)

     Ms. Corado acknowledges that at no time did ECFMG ever certify the authenticity of Mr.
      Akoda’s medical school diploma

“Q. So at no point in evaluating Akoda's credentials and qualifications did ECFMG receive an original
or a certified copy of his diploma or registration certificate, correct? A- That's correct.” (Deposition of
Kara Corado, JD, page 219)

     Most significant of all is that Kara Corado, JD, VP of Operations testified under oath that



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        ECFMG had no obligation to primary source verify or to validate a foreign medical graduate’s
        identity, social security number or to refer issues pertaining to criminal activity (e.g. social
        security fraud) as a part of its credentialing process which is in contradiction to its own
        credentialing criteria published on its website and to management’s other sworn testimony
        regarding the obligation of ECFMG to protect the public and to support the quality of
        healthcare provided by its certificate holders

“ECFMG's review of applicants that attempt to subvert it's policies and procedures is an important
role that it has, but specifically that we have a role to detect whether an individual is or isn't that
individual isn't part of our certification program.” (Deposition of Kara Corado, JD, page 223)

“A. So when we certify the status of an ECFMG certificate, we are not certifying to the organization
necessarily the identity of the individual, but that an individual with that name and date of birth has
met the requirements for certification and what the validity is of their certificate and where they went
to medical school. Q. Is ECFMG certifying to the recipients of the ECFMG certification information that
the applicant's social security number is accurate? A. No. Q. Is ECFMG certifying to the recipient of the
ECFMG certification that the location of the birth is accurate? A. No.” (Deposition of Kara Corado, JD,
page 242)



    G. Conclusion:


  I.    To a reasonable degree of professional and administrative certainty, the Educational
        Commission for Foreign Medical Graduates (ECFMG) negligently certified Charles Oluwafemi
        Igberase AKA Johnbull Enosakhare Akoda AKA multiple other aliases which placed residency
        programs and the public at risk for having an unqualified individual and self-acknowledged
        felon providing medical services to those who rely on ECFMG to serve as an effective
        “gatekeeper” upon which the healthcare system can rely to protect the public from
        inadvertent harm.

Final Commentary:

The Educational Commission for Foreign Medical Graduates (ECFMG) failed to ascertain at any time
the true identity, birthdate, social security number, address, and completion of medical education of
Mr. Akoda AKA Mr. Igberase AKA multiple aliases and by so doing placed state licensing boards,
ACGME accredited residency program, hospitals and the community at large at risk for receiving care
and services by an unqualified individual who may or may not be a physician and who may or may not
meet ECFMG’s self-professed certification standards, in violation of the applicable standards of care.

Had ECFMG complied with the administrative standard of care, “Mr.” Akoda, would not have been
issued an ECFMG certificate, would not have been able to participate in a residency at Howard
University and would not have been issued a Maryland medical license. Without an ECFMG certificate,
“Mr.” Akoda would not have been able to obtain a Maryland license nor had access to the Plaintiffs
and members of the class and therefore he would not have caused them any harm.




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According to ECFMG’s website: “ECFMG Certification is an effective screening mechanism for ensuring
that IMGs in patient care situations have met minimum standards.”
(https://www.ecfmg.org/certification/index.htm) “To be eligible for certification by ECFMG, an
international medical graduate (IMG) must meet the following requirements. Medical School
Requirements: The physician’s medical school must meet requirements established by ECFMG.
Schools that meet all requirements will be listed in the World Directory of Medical Schools as meeting
eligibility requirements for their students and graduates to apply to ECFMG for ECFMG Certification
and examination. The Application for ECFMG Certification requires applicants to confirm their
identity, contact information, and graduation from or enrollment in a medical school that is listed in
the World Directory of Medical Schools (World Directory) as meeting eligibility requirements for its
students and graduates to apply to ECFMG for ECFMG Certification and examination. As part of the
application, international medical students/graduates must also confirm their understanding of the
purpose of ECFMG Certification and release certain legal claims.”
(https://www.ecfmg.org/certification/requirements-for-certification.html)

Thus, ECFMG requires of itself to fulfill these self-avowed credentialing criteria and had at its use its
own credentialing committee and countless federal agencies to assist in a deeper investigation into
the true identity of Mr. Akoda AKA Mr. Igberase AKA Multiple Aliases to ensure that the licensure
bodies, residency programs, hospitals, and potential patients would be assured that the individual
certified by ECFMG was who he attested that he was and that he was in fact a physician and not an
individual alleging to be a physician without any formal or required medical training.

While it is true that licensing, residency, accreditation, and hospital organizations have their own
credentialing requirements, ECFMG had and has an independent duty to the public to ensure that its
certification procedures follow internal policies and are effective at protecting the public from
imposters who seek to defraud the United States healthcare system and place the public at risk.

Unfortunately, ECFMG negligently failed to follow its own internal policies/procedures and in so
doing, failed in its duty to protect the public and thus the potential quality of care provided by this
foreign medical graduate whom it was committed to appropriately certify according to its own
published criteria.
All of these opinions are stated to a degree of reasonable administrative and professional probability.
I further reserve the right to modify or add expert opinions as additional information becomes
available, including remaining expert witness depositions and any further discovery.


    H. Fee Schedule: $600/hour for expert legal consultation and for deposition (plus travel);
       $8,000/day + travel for trial testimony




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